Case 3:16-md-02738-MAS-RLS   Document 33000-16   Filed 07/23/24   Page 1 of 147
                              PageID: 195626




                EXHIBIT 13
Case 3:16-md-02738-MAS-RLS   Document 33000-16   Filed 07/23/24   Page 2 of 147
                              PageID: 195627
             Confidential - Pursuant to Protective Order

                                                                       Page 1
                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

            IN RE: JOHNSON &            )
            JOHNSON TALCUM POWDER       )
            PRODUCTS MARKETING          )
            SALES PRACTICES AND         )   MDL 16-2738
            PRODUCT LIABILITY           )   (FLW)(LHG)
            LITIGATION                  )
            _____________________       )
            THIS DOCUMENT               )
            PERTAINS TO ALL CASES       )

                    WEDNESDAY, DECEMBER 19, 2018

          CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER

                                   – – –

                      Videotaped deposition of Laura
          Plunkett, Ph.D., DABT, held at the Four
          Seasons Hotel, 999 North 2nd Street, St.
          Louis, Missouri, commencing at 9:12 a.m., on
          the above date, before Carrie A. Campbell,
          Registered Diplomate Reporter, Certified
          Realtime Reporter, Illinois, California &
          Texas Certified Shorthand Reporter, Missouri
          & Kansas Certified Court Reporter.
                              – – –
                    GOLKOW LITIGATION SERVICES
                877.370.3377 ph | 917.591.5672 fax
                          deps@golkow.com




              Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS                        Document 33000-16        Filed 07/23/24                  Page 3 of 147
                                                   PageID: 195628
                      Confidential - Pursuant to Protective Order
                                                     Page 2                                                              Page 4
     1        APPEARANCES:                                     1                INDEX
     2                                                         2                           PAGE
          BEASLEY, ALLEN, CROW, METHVIN,
     3    PORTIS & MILES, P.C.
                                                               3   APPEARANCES.................................. 2
          BY: TED MEADOWS                                      4   EXAMINATIONS
     4       Ted.Meadows@BeasleyAllen.com                      5    BY MS. BRANSCOME........................... 8
             RYAN BEATTIE                                      6    BY MS. BOCKUS.............................. 287
     5       Ryan.Beattie@BeasleyAllen.com                     7    BY MR. LOCKE............................... 319
          218 Commerce Street                                  8
     6    Montgomery, Alabama 36104
          (334) 269-2343                                       9             EXHIBITS
     7                                                        10   No. Description                   Page
     8    ASHCRAFT & GEREL, LLP                               11   1 Notice of Oral and Videotaped        8
          BY: MICHELLE A. PARFITT                                     Deposition of Plaintiffs' Expert
     9       mparfitt@ashcraftlaw.com                         12      and Duces Tecum
          4900 Seminary Road, Suite 650
    10    Alexandria, VA 22311
                                                              13   2 Expert Report of Laura M. Plunkett, 13
          (703) 931-5500                                              Ph.D., DABT, October 5, 2016
    11                                                        14
    12    LEVIN, PAPANTONIO, THOMAS, MITCHELL,                     3    Supplemental Expert Report of Laura         13
          RAFFERTY & PROCTOR, P.A.                            15       M. Plunkett, Ph.D., DABT, August
    13    BY: CHRISTOPHER V. TISI
             ctisi@levinlaw.com
                                                                       29, 2018
    14    316 South Baylen Street, Suite 600                  16
          Pensacola, Florida 32502                                 4   Rule 26 Expert Report of Laura M.   13
    15    (850) 435-7000                                      17       Plunkett, Ph.D., DABT, November 16,
    16                                                                 2018
          GOLOMB & HONIK, P.C.                                18
    17    BY: RICHARD GOLOMB
             rgolomb@golombhonik.com                               5    "Systematic Review and            16
    18    1835 Market Street, Suite 2900                      19       Meta-Analysis of the Association
          Philadelphia, Pennsylvania 19103                             between Perineal Use of Talc and
    19    (215) 278-4449                                      20       Risk of Ovarian Cancer," Taher, et
          Counsel for Plaintiffs                                       al.
    20
    21    KIRKLAND & ELLIS LLP
                                                              21
          BY: KIMBERLY OLVEY BRANSCOME                             6    Printout of Health Canada's risk      17
    22       kimberly.branscome@kirkland.com                  22       assessment of talcum powder
             WILLIAM SMITH                                    23   7    "Ovarian, Fallopian Tube, and         111
    23    333 South Hope Street                                        Primary Peritoneal Cancer
          Los Angeles, California 90071
    24    (213) 680-8370
                                                              24       Prevention (PDQ)-Health
          Counsel for Defendant Johnson &                              Professional Version," National
    25    Johnson                                             25       Cancer Institute


                                                     Page 3                                                              Page 5
     1     DYKEMA                                              1       8      "Weight of Evidence: General        211
           BY: JANE E. BOCKUS
     2        jbockus@dykema.com                                             Principles and Current Applications
              RYAN J. SULLIVAN
     3        rsullivan@dykema.com                             2             at Health Canada"
           112 East Pecan Street, Suite 1800                   3           (Exhibits attached to the deposition.)
     4     San Antonio, Texas 78205
           (210) 554-5500                                      4
     5     Counsel for the Defendant Imerys                    5
           Talc America
     6                                                         6
     7     SEYFARTH SHAW LLP
           BY: THOMAS T. LOCKE                                 7
     8        tlocke@seyfarth.com                              8
           975 F Street, N.W.
     9     Washington, DC 20004                                9
           (202) 463-2400                                     10
    10     Counsel for Defendant Personal Care
           Products Council                                   11
    11
    12     TUCKER ELLIS LLP                                   12
           BY: CAROLINE M. TINSLEY                            13
    13         caroline.tinsley@tuckerellis.com
           100 South Fourth Street, Suite 600                 14
    14     St. Louis, Missouri 63102                          15
           (314) 571-4965
    15     Counsel for PTI Union, LLC and PTI                 16
           Royston, LLC
    16                                                        17
    17                                                        18
         ALSO PRESENT:
    18    KATIE TUCKER, Beasley Allen                         19
    19                                                        20
         VIDEOGRAPHER:
    20    JACOB ARNDT,                                        21
          Golkow Litigation Services
    21                                                        22
                    –––                                       23
    22
    23                                                        24
    24                                                        25
    25



                                                                                          2 (Pages 2 to 5)
                         Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 4 of 147
                                         PageID: 195629
               Confidential - Pursuant to Protective Order
                                              Page 6                                               Page 8
      1           VIDEOGRAPHER: We are now on              1            DIRECT EXAMINATION
      2      the record.                                   2   QUESTIONS BY MS. BRANSCOME:
      3           My name is Jacob Arndt. I'm a            3       Q. All right. Good morning,
      4      videographer for Golkow Litigation            4   Dr. Plunkett. I introduced myself right
      5      Services.                                     5   before we started, but my name is Kimberly
      6           Today's date is December 19,             6   Branscome, and I am here on behalf of Johnson
      7      2018, and the time is 9:12 a.m.               7   & Johnson.
      8           This deposition is being held            8            Is it your understanding today
      9      in St. Louis, Missouri, In Re: Johnson        9   that you are giving your deposition for the
     10      & Johnson Products Marketing Sales           10   purpose of a Daubert analysis in the MDL
     11      Practices, for the United States             11   related to Johnson's baby powder?
     12      District Court for the District of           12       A. That's my understanding, yes.
     13      New Jersey.                                  13            (Plunkett Exhibit 1 marked for
     14           The deponent is Dr. Laura               14       identification.)
     15      Plunkett.                                    15   QUESTIONS BY MS. BRANSCOME:
     16           Will counsel please identify            16       Q. I want to start by handing you
     17      themselves?                                  17   what I will mark as Plunkett Deposition
     18           MR. MEADOWS: Ted Meadows for            18   Exhibit 1.
     19      plaintiffs.                                  19            Do you recognize the document
     20           MS. PARFITT: Michelle Parfitt           20   that I just handed you?
     21      for the plaintiffs.                          21       A. Yes.
     22           MR. BEATTIE: Ryan Beattie for           22       Q. Okay. Have you seen this
     23      plaintiffs.                                  23   document before?
     24           MR. TISI: Chris Tisi for                24       A. Yes.
     25      plaintiffs.                                  25       Q. All right. When was this

                                              Page 7                                               Page 9
      1             MR. GOLOMB: Richard Golomb for         1   document provided to you?
      2       plaintiffs.                                  2       A. Either earlier this -- this
      3             MR. LOCKE: Tom Locke for the           3   week or late last week. I don't recall if it
      4       Personal Care Products Council.              4   was Friday or Monday.
      5             MS. TINSLEY: Caroline Tinsley          5       Q. Okay. For the purposes of the
      6       for PTI Union, LLC, and PTI Royston,         6   record, could you just identify what the
      7       LLC.                                         7   document is that I just handed you as
      8             MR. SULLIVAN: Ryan Sullivan            8   Plunkett Deposition Exhibit Number 1?
      9       for Imerys.                                  9       A. It's a notice of oral and
     10             MS. BOCKUS: Jane Bockus for           10   videotaped deposition for myself, dated -- I
     11       Imerys.                                     11   don't see the date, but probably on the very
     12             MR. SMITH: William Smith for          12   last -- do you need that or just -- is that
     13       Johnson & Johnson.                          13   enough of an identification?
     14             MS. BRANSCOME: Kimberly               14       Q. That's all right.
     15       Branscome for Johnson & Johnson.            15            Now, contained within the
     16             VIDEOGRAPHER: Thank you.              16   deposition notice there is a reference to a
     17             The court reporter is Carrie          17   request for materials that are identified in
     18       Campbell and will now swear in the          18   more detail in Schedule A.
     19       witness.                                    19            Do you see that?
     20         LAURA PLUNKETT, Ph.D., DABT,              20       A. Yes.
     21   of lawful age, having been first duly sworn     21       Q. Have you reviewed Schedule A?
     22   to tell the truth, the whole truth and          22       A. Yes.
     23   nothing but the truth, deposes and says on      23       Q. Did you bring any documents
     24   behalf of the Defendant Johnson & Johnson, as   24   with you in response to the request in
     25   follows:                                        25   Schedule A?

                                                                             3 (Pages 6 to 9)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 5 of 147
                                        PageID: 195630
               Confidential - Pursuant to Protective Order
                                            Page 10                                               Page 12
      1        A. The only thing that I believe            1   but I'll bill separately for the time I spent
      2   that I had to bring that had not already been    2   yesterday right before the deposition and
      3   provided was additional billing since the        3   then at the deposition, so...
      4   time of my last deposition.                      4       Q. What did you do to prepare for
      5        Q. Okay. And is it my                       5   your deposition today?
      6   understanding that the documentation related     6       A. I reviewed my reports, the
      7   to additional billing that you have done         7   three reports that I filed in the litigation.
      8   since your prior deposition was produced         8   I had a meeting with attorneys on Monday, and
      9   yesterday at the deposition in the Forrest       9   then we had a short meeting yesterday evening
     10   case?                                           10   because some attorneys arrived that were not
     11        A. That's correct.                         11   here on Monday.
     12        Q. All right. And the information          12             And essentially went through
     13   contained in the documents produced at the      13   some of the documents that -- went through
     14   Forrest deposition yesterday, do those          14   some of the documents that I had cited in the
     15   contain an up-to-date record of the billing     15   report in certain paragraphs, just to refresh
     16   that you have submitted for your work in        16   my memory of what they were. So if you want
     17   connection with the litigation against          17   me to tell you which paragraphs, I can do
     18   Johnson & Johnson?                              18   that.
     19        A. Yes, with the understanding             19       Q. I will in just a moment. Okay.
     20   that I haven't submitted a bill for December    20       A. Want me to repeat that? I'm
     21   yet.                                            21   sorry.
     22        Q. Okay. How much time have you            22       Q. That's all right.
     23   spent working in connection with your           23             Dr. Plunkett, you referenced
     24   opinions in the case against Johnson &          24   the fact that you reviewed specific
     25   Johnson related to its baby powder in the       25   paragraphs of your expert reports in

                                            Page 11                                               Page 13
      1   month of December?                               1   preparation for today's deposition.
      2        A. So I'm -- on all the cases that          2            Could you identify those
      3   I am involved in that are pending, not just      3   paragraphs for me?
      4   this deposition?                                 4            And it's helpful to you, we can
      5        Q. I'll ask first all cases and             5   go ahead and mark your three expert reports,
      6   then we'll narrow it to the deposition.          6   if you're referring to all three.
      7        A. So in all --                             7       A. I'm going to refer just to the
      8        Q. I mean to the MDL, I'm sorry.            8   MDL report because that's what we're here to
      9        A. Okay. So in all cases this               9   talk about. I mean, if you want to talk
     10   month, probably eight hours so far, maybe       10   about what I did to get ready for yesterday
     11   ten.                                            11   separately or --
     12        Q. Does that include the time that         12            MR. MEADOWS: Might be helpful
     13   you've spent attending deposition?              13       to go ahead and mark them.
     14        A. No, that's not including                14            MS. BRANSCOME: Why don't we go
     15   yesterday's deposition time. I apologize. I     15       ahead and just mark the three reports,
     16   forgot about that.                              16       and then we can walk through.
     17        Q. And how much of the eight to            17            (Plunkett Exhibits 2, 3 and 4
     18   ten hours that you have spent this month        18       marked for identification.)
     19   working on these cases against Johnson &        19   QUESTIONS BY MS. BRANSCOME:
     20   Johnson, setting aside the time you spent in    20       Q. So, Dr. Plunkett, do you have a
     21   deposition yesterday, relate to the MDL         21   copy of your three reports in front of you?
     22   specifically?                                   22       A. Yes, I do.
     23        A. So it will probably be                  23       Q. Do those contain any markings,
     24   billed -- it will be one bill for the           24   highlightings or flags?
     25   preparation time because the prep overlapped,   25       A. No, they don't.


                                                                          4 (Pages 10 to 13)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 6 of 147
                                         PageID: 195631
               Confidential - Pursuant to Protective Order
                                            Page 14                                              Page 16
      1       Q. Okay. Do you mind if we mark              1   are also cited in paragraph 39 as well, some
      2   your copies as the official records?             2   of those same ones that are...
      3       A. No, that's fine.                          3            And then in Section 5 of my
      4       Q. So we will mark -- well, let's            4   report where I'm talking about exposure, I
      5   do this in chronological order. So I am          5   looked again at Parmley and Woodruff. I
      6   marking as Plunkett Deposition Exhibit           6   looked again at Vetner and Iturrulde and Egli
      7   Number 2 the expert report of Dr. Plunkett       7   and Newton last night.
      8   dated October 5, 2016.                           8            And the only other thing I
      9            Could you confirm,                      9   looked at is not cited in this report because
     10   Dr. Plunkett, that that's what I marked as      10   it came out after the report was filed, and
     11   Deposition Exhibit Number 2?                    11   that was -- and I did bring a copy of that.
     12       A. Yes, it is.                              12   That was the risk assessment that was done in
     13       Q. And then we will mark as                 13   Canada. Some people refer to it as -- by the
     14   Deposition Exhibit Number 3 supplemental        14   first author's last name, Taher, T-a-h-e-r.
     15   expert report of Dr. Laura Plunkett dated       15   And I may be pronouncing that wrong, but...
     16   August 29, 2018.                                16            (Plunkett Exhibit 5 marked for
     17            Dr. Plunkett, could you confirm        17        identification.)
     18   that I marked that as Exhibit Number 3?         18   QUESTIONS BY MS. BRANSCOME:
     19       A. Yes, that's correct.                     19        Q. All right. And I see that you
     20       Q. And then Exhibit Number 4, we            20   brought a copy of that document with you.
     21   will mark the expert report dated               21   Just for the purposes of the record, let's
     22   November 16, 2018, by Dr. Plunkett that was     22   mark that as Plunkett Deposition Exhibit
     23   produced in the MDL.                            23   Number 5.
     24            Could you confirm that I marked        24            Are there any markings,
     25   that as Deposition Exhibit Number 4?            25   highlightings or notations on that document?

                                            Page 15                                              Page 17
      1        A. Yes, that's correct.                     1      A.      No, there's not.
      2        Q. All right. And so now back to            2            And then the other document I
      3   the question of you referenced the fact that     3   looked at that was not cited in the report,
      4   you looked at specific paragraphs of your        4   there is a printout from the government of
      5   expert report in preparation for today's         5   Canada website that talks about some
      6   deposition. If you could, using Deposition       6   statements on talc, and so I printed that out
      7   Exhibit Number 4, identify which paragraphs      7   as well. This was published at the same time
      8   you looked at specifically in preparation for    8   that the risk assessment was published.
      9   the deposition.                                  9            (Plunkett Exhibit 6 marked for
     10        A. So it wasn't the paragraphs.            10       identification.)
     11   There were certain documents in paragraphs,     11   QUESTIONS BY MS. BRANSCOME:
     12   so that's what I was referring to, so...        12       Q. All right. We'll mark that for
     13             So starting in paragraph 38           13   purposes of the record as Plunkett Deposition
     14   where I'm talking about sort of the timeline    14   Exhibit Number 6. We might come back to
     15   of information about human health hazards and   15   those documents.
     16   talc dust. So I just went back and refreshed    16            So returning briefly to the
     17   on a few of the older papers.                   17   deposition notice and the requests in
     18             I looked again at the patent          18   Schedule A, the billing information you
     19   documents that are cited in the first bullet.   19   produced yesterday and then we just discussed
     20             I looked again at a paper by          20   additional information with respect to that,
     21   Eberl, 1948, which is in the last bullet.       21   are there any other documents that you have
     22   The patent documents are also there as well.    22   in your possession that are responsive to
     23             And that -- so that would be          23   requests identified in Schedule A that have
     24   all I pulled in that paragraph.                 24   not been produced?
     25             I believe that those documents        25       A. I don't believe so, no.


                                                                         5 (Pages 14 to 17)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 7 of 147
                                        PageID: 195632
               Confidential - Pursuant to Protective Order
                                            Page 18                                              Page 20
      1   Everything -- I do believe that there were       1       Q. All right. And then you
      2   some objections filed to this, so there's        2   produced a supplemental report earlier this
      3   some things that I did not provide based on      3   year, on August 29, 2018, and that's been
      4   that.                                            4   marked as Deposition Exhibit Number 3,
      5            Some of the things I don't              5   correct?
      6   have, too. I think you asked for -- maybe        6       A. Yes.
      7   you didn't ask for that. Usually people ask      7       Q. When did you begin work on the
      8   for copies of old depositions, and I don't       8   supplemental report that you produced at the
      9   keep those. And maybe you didn't ask for         9   end of August in 2018?
     10   that, but that's usually a request.             10       A. I want to say -- let's see. I
     11            Let me see.                            11   want to say sometime in the summer. Maybe as
     12       Q. Okay. Now, you mentioned that            12   early as May, but I believe May -- May, June
     13   you met with attorneys on Monday. And who       13   time frame of 2018.
     14   was present at that meeting?                    14            My billing would reflect that,
     15       A. So on Monday it was                      15   so, again, we can pull my billing. And I
     16   Mr. Meadows, sitting here. Ms. Tucker,          16   would have called it preparation of the
     17   Mr. Beattie, were at the meeting on Monday.     17   supplemental report in my billing.
     18       Q. All right. And how long did              18       Q. Okay. Why did you choose to
     19   that meeting last?                              19   draft a supplemental expert report?
     20       A. Probably six hours, I guess,             20       A. So over the time I had worked
     21   six hours with them, and then I also did some   21   on different trials here in St. Louis
     22   other work on my own, but...                    22   particularly, additional documents that were
     23       Q. Okay. And then you mentioned             23   not cited in my original report became
     24   that you had another meeting last night.        24   reliance materials based on their
     25            Who was present at that                25   presentation at trial. So there were enough

                                            Page 19                                              Page 21
      1   meeting?                                         1   of those that I thought it was important to
      2        A. So that was probably about an            2   add to the original report with additional
      3   hour, and that would have been Mr. Tisi -- or    3   documents that I had reviewed over time.
      4   maybe two hours. Mr. Tisi joined us              4             Since October of 2016 through,
      5   yesterday afternoon. And Mr. Golomb, too,        5   let's say, the summer of 2018, there were a
      6   I'm sorry.                                       6   variety of additional documents that I had --
      7        Q. All right. Okay. Now, looking            7   I had seen.
      8   at the three reports that you have produced      8             It was also my understanding
      9   in the litigation involving Johnson's baby       9   that during that time period Johnson &
     10   powder, I wanted to get an understanding of     10   Johnson had provided additional documents
     11   how those three reports relate to one           11   that weren't provided or available to me in
     12   another.                                        12   2016, so additional discovery that was now
     13             So you have the first report          13   available to look at. So some of this is a
     14   that you produced that was dated October 5,     14   matter of additional evidence that wasn't
     15   2016. I believe that was originally produced    15   available when I wrote my initial -- my
     16   in the Uhl case; is that correct?               16   initial report.
     17        A. I'm not sure the name of the            17        Q. All right. Now when you say
     18   first case, but it was in the -- some of the    18   the additional documents became reliance
     19   St. Louis cases, yes.                           19   materials in trial, what do you mean by that?
     20        Q. All right. And when did you             20        A. So additional documents that we
     21   begin work on that report?                      21   refer to in trial that I use to support
     22        A. You'd have to look at my                22   opinions that weren't necessarily
     23   billing record, which I know was an exhibit     23   specifically cited within the body of my
     24   to yesterday's deposition. I believe they       24   report or described within the body of my
     25   started in 2015.                                25   report. They were likely on my larger


                                                                         6 (Pages 18 to 21)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 8 of 147
                                         PageID: 195633
               Confidential - Pursuant to Protective Order
                                            Page 22                                              Page 24
      1   reliance list, but they weren't things that      1   ask who the -- who was involved in the
      2   were cited.                                      2   drafting of the report that was produced in
      3             In other words, if you look at         3   the MDL?
      4   my original report in -- when I say the body,    4            MR. MEADOWS: Hold on just one
      5   the paragraphs. I always put a reference         5       second.
      6   list and then I'll have Bates numbers. So        6            Ask the question one more time.
      7   during trial, things that were from my larger    7       I want to make sure we're not
      8   reliance list that weren't specifically          8       venturing into attorney work product
      9   discussed in my report became support for        9       realm here.
     10   different opinions that -- based on questions   10   QUESTIONS BY MS. BRANSCOME:
     11   at trial.                                       11       Q. Dr. Plunkett, do you consider
     12        Q. Okay. When you say these were           12   the report that you have issued in the MDL
     13   documents that "we" refer to at trial, you're   13   which is identified as Exhibit 4 to be
     14   referring to yourself and attorneys             14   attorney work product?
     15   representing the plaintiffs?                    15            MR. MEADOWS: Objection. Don't
     16        A. Yes, that's correct.                    16       answer that. That calls for a legal
     17        Q. Okay. And understanding that            17       conclusion, and at this point I'm
     18   the purpose of today's deposition is focused    18       going to instruct you not to answer
     19   specifically on the MDL, then you produced a    19       questions about how the report came
     20   report specific to the MDL on November 16,      20       into be.
     21   2018, that we've marked as Exhibit 4,           21            MS. BRANSCOME: Are you
     22   correct?                                        22       instructing her to refuse to answer
     23        A. Yes.                                    23       any questions that involve the
     24        Q. When did you begin work on the          24       development of her expert report?
     25   report that you produced specifically in the    25            MR. MEADOWS: I'm instructing

                                            Page 23                                              Page 25
      1   MDL?                                             1       her not to answer your last question.
      2       A. Sometime right after -- I would           2   QUESTIONS BY MS. BRANSCOME:
      3   say early fall of 2018, sometime after           3       Q. Are you following your
      4   this -- the supplemental report was filed.       4   attorney's instructions, Dr. Plunkett?
      5   Probably right after that.                       5       A. Yes.
      6       Q. Okay. So is it fair to say                6            MS. BRANSCOME: At this point I
      7   that you began work on your MDL report after     7       would like to go off the record,
      8   completing the supplemental expert report        8       please.
      9   that has been marked as Exhibit 3?               9            VIDEOGRAPHER: Okay. We are
     10       A. Yes, that's correct.                     10       going off the record at 9:30 a.m.
     11       Q. Okay. Who was involved in the            11        (Off the record at 9:30 a.m.)
     12   drafting of the report that's been identified   12            VIDEOGRAPHER: We are back on
     13   as Exhibit 4?                                   13       the record at 9:32 a.m.
     14             MR. MEADOWS: Objection. Hang          14   QUESTIONS BY MS. BRANSCOME:
     15       on a second.                                15       Q. Dr. Plunkett, other than
     16             Are you asking about                  16   attorneys, if attorneys were involved -- I am
     17       communications between attorneys and        17   not asking questions about that -- were there
     18       Dr. Plunkett?                               18   any individuals who assisted you in preparing
     19   QUESTIONS BY MS. BRANSCOME:                     19   the report that has been marked as Exhibit 4?
     20       Q. Dr. Plunkett, none of the                20       A. There was no one that actually
     21   questions I will ask you here today are         21   assisted in writing the report. I do -- when
     22   intended to elicit information that's           22   I did my literature searches, I had my
     23   protected by the attorney-client privilege.     23   husband help me retrieve articles that I
     24             So setting that aside, anything       24   identified for retrieval, but certainly there
     25   that you understand to be privileged, I can     25   was no -- he doesn't participate in the


                                                                         7 (Pages 22 to 25)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 9 of 147
                                         PageID: 195634
               Confidential - Pursuant to Protective Order
                                            Page 26                                              Page 28
      1   actual review of articles or in drafting of      1   been marked as Exhibits 2, 3 and 4 to each
      2   the report. That's all my work.                  2   other, what is your -- what is your position
      3        Q. Okay. And when you say that              3   with respect to opinions that you have stated
      4   your husband retrieved articles, was this        4   or language you have used in Exhibits 2 and 3
      5   simply -- what information did you provide       5   that may not appear in Exhibit 4?
      6   him in order to enable him to retrieve a         6       A. I don't think I understand what
      7   particular article?                              7   your -- what you mean by my position. Are
      8        A. So we use a service in Houston           8   you asking --
      9   called Loansome Doc, which is affiliated with    9             MS. PARFITT: And I'll object
     10   our local medical library system and also       10       to that question.
     11   with the National Library of medicine and NIH   11             THE WITNESS: Are you asking me
     12   libraries. So I give him an online search       12       to describe -- I mean, I could
     13   that I put into a clipboard. He takes that,     13       describe for you the overlap. I mean,
     14   makes the request or retrieves -- some of       14       there's not complete overlap. Is that
     15   them will be free, and so he'll actually go     15       what you're asking me or --
     16   to the websites for the -- and then put them    16   QUESTIONS BY MS. BRANSCOME:
     17   into a folder for me.                           17       Q. I am. Why don't you take a
     18             So he does that physical part         18   shot at it and then I may narrow my question,
     19   of it through the computer, but he doesn't --   19   but I'm just trying to understand how the
     20   he doesn't do the searches or decide which      20   reports relate to one another.
     21   ones to retrieve. I do that.                    21             MR. MEADOWS: Objection.
     22        Q. Okay. Did you have any                  22             THE WITNESS: So they relate to
     23   discussions with your husband about the         23       each other, I would say, based on
     24   substantive content of the report that's        24       timing first, because obviously the
     25   identified as Exhibit 4?                        25       first report was two years ago, and

                                            Page 27                                              Page 29
      1       A. No.                                       1       then many more documents. So that's
      2       Q. Does he do any evaluation --              2       how the 1 and 2 relate -- or Exhibit 2
      3   for example, if you were to provide him a        3       and 3 relate to each other.
      4   search and it generates multiple documents by    4            In the MDL litigation, I was
      5   a given author, does he identify additional      5       asked to address very specific topics
      6   articles that you might want to consider?        6       and things because there's a -- it's a
      7       A. Only -- he has done that, but             7       different -- I don't know all of them,
      8   only with the streams of letters to the          8       but there's a different set of experts
      9   editor. So I ask him always if I'm pulling       9       that work in different litigations.
     10   an article. Happens a lot at the New England    10            So my role in the MDL, I
     11   Journal of Medicine or some of the other        11       believe, is set out based on this
     12   medical journals where there's pretty active    12       report, whereas in the original
     13   letter to the editor correspondence that        13       reports I may have had -- I did have a
     14   happens.                                        14       broader role in some of those cases.
     15             So I always say to him, "If           15   QUESTIONS BY MS. BRANSCOME:
     16   there's any citation to this through the        16       Q. Okay. Can you describe for me
     17   letter to the editor comments, would you        17   your understanding of your role in the MDL?
     18   please retrieve those," and so he will do       18       A. It's my understanding that I
     19   that search to look for that.                   19   have been asked to provide opinions related
     20       Q. Okay.                                    20   to the -- generally the toxicology of talcum
     21       A. And I'm not sure that that               21   powder products, including all the individual
     22   happened in any of these articles, but I'm      22   constituents that make up that product; to
     23   talking my general process that we use.         23   look historically back in time about what was
     24       Q. Okay. In terms of the                    24   known and when about the toxic effects of
     25   relationship of the three reports that have     25   talc and different constituents within talc.


                                                                         8 (Pages 26 to 29)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 10 of 147
                                         PageID: 195635
               Confidential - Pursuant to Protective Order
                                            Page 30                                              Page 32
      1   And that was sort of the -- that's been --       1   the companies had, in fact, influenced the
      2   I consider that sort of the meat of what I've    2   regulators or PCPC?
      3   been asked to do.                                3             MR. MEADOWS: Objection.
      4           But separate from that, another          4             THE WITNESS: Not in my -- not
      5   part important part of my testimony or things    5        when I first started this process. So
      6   I was asked to provide was an overview of the    6        that is -- those opinions actually go
      7   regulatory process for cosmetics and then the    7        back into my original report. So
      8   information that accumulated scientifically,     8        that's not something, I don't believe,
      9   how that related to what a company is            9        that was not covered in my original
     10   required to do under the regulations in order   10        report or even in my supplemental
     11   to provide consumers with appropriate           11        report. I just have different -- some
     12   information about the safety of the product.    12        additional documents that I have
     13   So kind of the regulatory opinions, I guess     13        reviewed.
     14   you want to call it, that area.                 14   QUESTIONS BY MS. BRANSCOME:
     15           I have sections on that, and I          15        Q. Okay.
     16   think you can see that by the different         16        A. And this is something when I
     17   sections in my report where I set out           17   first evaluated the case and first started
     18   different general topics.                       18   looking at the documents, those are opinions
     19           And then I was also asked to            19   that I had formed based on my review.
     20   address some of the issues related to how the   20             Certainly by the time I drafted
     21   information on the safety of talc has been      21   the MDL report, I think if you listened to
     22   disseminated publicly and also based on my      22   my -- read my trial testimony, you understand
     23   review of different internal company            23   I had those opinions at the time I started
     24   documents, both from Johnson & Johnson -- or    24   writing this report.
     25   from Johnson & Johnson, Imerys, as well as      25        Q. Now, what I'd like to

                                            Page 31                                              Page 33
      1   the PCPC, which is the Personal Care Products    1   understand next is, are there -- of the
      2   Council, formerly known as the CTFA, to look     2   topics that you just identified that you
      3   at those interactions and how those companies    3   understand that you're offering opinions
      4   set about to influence the process around the    4   about in the MDL, which, if any, of those
      5   safety assessment of talc over the years. So     5   topics are in your view new as compared to
      6   different activities that happened with          6   the opinions that you have offered that are
      7   respect to the ISRTP meetings in the '90s,       7   contained in Exhibits 2 and 3?
      8   with respect to the NTP process at different     8            MS. PARFITT: Objection.
      9   points in time.                                  9            THE WITNESS: So I don't think
     10            The CIR process, I think I             10        any of the MDL opinions are new.
     11   cover, and I also talk a little bit about       11   QUESTIONS BY MS. BRANSCOME:
     12   IARC, I believe, as well.                       12        Q. Okay.
     13            So the interactions of the             13        A. I think that they may have --
     14   industry with the science and then how that     14   they may -- they may cite to additional
     15   science ends up getting described within --     15   documents that haven't been cited to in the
     16   either to regulators or to bodies that are      16   first two reports, but I believe there's a
     17   reviewing the science related to the            17   significant overlap even on the documents
     18   products.                                       18   that are cited.
     19        Q. You mentioned as one of the             19        Q. And you mentioned that your
     20   categories that you were asked to opine about   20   role in the MDL is more narrow than the role
     21   in the MDL that you were looking to set about   21   you've served in other cases.
     22   the influence that companies may have exerted   22            What topics have you opined
     23   over the regulatory process or PCPC.            23   about in other cases that you are not
     24            When you began that analysis,          24   intending to opine about in the MDL?
     25   did you start with the predicate belief that    25        A. So I am not doing general


                                                                         9 (Pages 30 to 33)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 11 of 147
                                         PageID: 195636
               Confidential - Pursuant to Protective Order
                                            Page 34                                              Page 36
      1   causation in the MDL, although I am indeed       1   principles of, first, is there a hazard, is
      2   providing opinions on certain aspects of the     2   the first step. Is there a hazard that would
      3   cause and effect relationship such as -- you     3   be relevant to human health.
      4   know, I talk about biologic plausibility,        4             Then looking at the data and
      5   underlying knowledge about different             5   determining whether that -- that body of data
      6   toxicities of the compounds over time, but       6   allows you to either quantify risk in some
      7   I'm not doing a full causation analysis in my    7   way or to qualitatively shows you that
      8   MDL report, and hopefully you see that when      8   there's a change in risk based on exposure to
      9   you read the report.                             9   the product.
     10        Q. So as you sit here today,               10             So your statement may be as
     11   Dr. Plunkett, you are not intending to offer    11   simple as there's an increased risk, or you
     12   the opinion in the MDL that Johnson's baby      12   can take data in a risk assessment and do a
     13   powder causes ovarian cancer; is that           13   quantification such as in a -- a cancer risk
     14   correct?                                        14   assessment based on an animal data set. You
     15        A. Not in those words. I think if          15   might actually calculate a cancer potency
     16   you read my report, I talk about the            16   factor, for example. Those kinds of things.
     17   fact that Johnson -- it's my opinion that       17   That's another application of risk
     18   Johnson's baby powder increases the risk of     18   assessment. Same basic process but focusing
     19   cancer -- ovarian cancer, which is a            19   just, for example, on one study.
     20   different assessment than the way you stated    20             My human health risk assessment
     21   it.                                             21   or safety assessment, like the causation
     22        Q. All right. And it is -- as you          22   analysis, does look across all kinds of data,
     23   sit here today, Dr. Plunkett, it is your        23   but my goal was not to analyze the data under
     24   understanding that you are not being offered    24   the Hill considerations, which is what I
     25   to give a, as you termed it, a general          25   would typically do, in order to go through

                                            Page 35                                              Page 37
      1   causation opinion in the MDL, correct?           1   the process of making that final opinion that
      2       A. That's my understanding, yes.             2   indeed baby powder -- exposure to baby powder
      3       Q. Now, you mentioned that the               3   through genital application is a cause of
      4   analysis as to whether a substance increases     4   ovarian cancer in women. That's -- to me,
      5   the risk of a particular outcome is different    5   that's a different way to go about thinking
      6   than a causation analysis.                       6   about the question that you have to answer.
      7            Can you explain to me what you          7             And also the -- some of the
      8   meant by that?                                   8   data that you evaluate is evaluated a bit
      9       A. So I discussed this yesterday             9   differently. So, for example, in my
     10   in my deposition. There's -- there's a          10   increase -- in my issue of increased risk, I
     11   process called risk assessment. Sometime --     11   use the epidemiology as supporting evidence,
     12   in the area of consumer products you can also   12   but I'm really focused on -- on -- more on
     13   refer to it as safety assessment. And then      13   the underlying sort of the biologic
     14   there's the process of what I call general      14   information that we have that identifies
     15   causation analysis, or full causation           15   hazard and risk. So looking at the animal
     16   analysis.                                       16   data, the exposure potential for the product,
     17            So even though the types of            17   and then using that along with what we know
     18   information that are considered may overlap     18   with the human experience to characterize
     19   between those two, the outcome or the           19   risk.
     20   statements or the -- the way you go about       20       Q. Is there a different level of
     21   assessing the information is a bit different.   21   certainty required to render a causation
     22       Q. Explain to me how they're                22   opinion than to render an opinion that
     23   different.                                      23   there's an increased risk?
     24       A. So in a risk assessment, the             24       A. I don't know that I'd describe
     25   process starts with setting out some basic      25   it quite that way but -- because to me it's a


                                                                        10 (Pages 34 to 37)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 12 of 147
                                          PageID: 195637
                Confidential - Pursuant to Protective Order
                                             Page 38                                             Page 40
      1    different process. I certainly have to be        1       statistical test you would apply, or
      2    just as certain about what I say about risk      2       what are you asking?
      3    when I do a risk assessment as I do about --     3   QUESTIONS BY MS. BRANSCOME:
      4    as I do when I'm doing a causation analysis.     4       Q. So understanding that for the
      5               I don't -- maybe you mean             5   most part if you're looking at statistical
      6    something else, so maybe you can -- I mean,      6   significance, you're looking whether the
      7    I -- I certainly use the same basic standards    7   confidence interval crosses 1.
      8    in my mind, how I weigh evidence to do the       8            Are you following?
      9    different processes, but I go about them in a    9       A. Yes, I know that, yeah.
     10    little bit different way when I do a risk       10       Q. All right. And so when you're
     11    assessment versus -- versus a causation         11   evaluating, though, whether a particular
     12    analysis.                                       12   substance, in this case Johnson's baby
     13         Q. In your view, does the strength         13   powder, increases the risk of an outcome,
     14    of the evidence have to be greater in order     14   again, in this case ovarian cancer, would it
     15    to determine that an agent causes a disease,    15   be sufficient for you if that increase was
     16    for example, than it does simply to say that    16   .01 percent, for example?
     17    an agent increases the risk of a particular     17            MR. MEADOWS: Objection.
     18    outcome?                                        18            THE WITNESS: That doesn't make
     19               MR. MEADOWS: Objection.              19       sense to me, an increase of .01
     20               THE WITNESS: I don't think           20       percent, but maybe I can answer it
     21         I've ever thought about it that way.       21       this way for you based on what you've
     22         I would say to you that strength --        22       laid out there.
     23         the strength of the association is a       23            Certainly when I do a risk
     24         consideration under Hill that you          24       assessment and I make it -- if I'm
     25         apply the epidemiology data mainly, so     25       going to make the conclusion that I

                                             Page 39                                             Page 41
      1         that is a different consideration           1       believe that it's my opinion to a
      2         under causation than you do -- as you       2       reasonable degree of scientific
      3         would do it in a risk assessment.           3       certainty that exposure to baby powder
      4              But the strength of the                4       in women increases the risk of cancer,
      5         evidence, it's still a judgment based       5       I'm having to rely on -- I do rely on
      6         on your experience and training as far      6       data that allows me to draw
      7         as whether or not there is enough           7       conclusions because either there's a
      8         information to be able to say that you      8       statistical significant finding found
      9         believe that there is -- enough             9       or the -- there's a consistency among
     10         information to say that the risk is        10       the pattern of the data that shows
     11         increased based on that exposure and       11       there's information that fits together
     12         those conditions and whatever the          12       consistently. And maybe -- you want
     13         toxicity profile of that compound is.      13       me to explain what I mean by that?
     14    QUESTIONS BY MS. BRANSCOME:                     14       No?
     15         Q. Okay. We'll get into this more          15            Whereas I think what you're
     16    a little bit later, but when you say that a     16       asking is when an epidemiologist
     17    risk is increased, is there a threshold level   17       applies -- looks at a body of -- in a
     18    of increase that you need to see in order to    18       causation analysis looks at a body --
     19    render an opinion in a court of law that an     19       and I do this, too -- looks at a body
     20    agent increases the risk of a particular        20       of epidemiological studies and you
     21    outcome?                                        21       weight the studies, obviously you're
     22              MR. MEADOWS: Objection.               22       weighting the studies differently
     23              THE WITNESS: So I need you to         23       based on whether they have shown
     24         define what you mean by threshold.         24       statistical significance or not,
     25         Are you asking me a specific               25       right?

                                                                        11 (Pages 38 to 41)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 13 of 147
                                         PageID: 195638
               Confidential - Pursuant to Protective Order
                                            Page 42                                              Page 44
      1             And it isn't that it's a one to        1   company evaluating compliance with FDA
      2       one. If you have one positive and one        2   regulations with respect to cosmetics?
      3       negative, that isn't how you may             3       A. Yes.
      4       decide to finally weight that                4       Q. Okay. What is your experience
      5       evidence, but certainly you have to          5   with respect to that?
      6       consider whether or not what was seen        6       A. So that's -- one of the clients
      7       or reported is showing you something         7   that I currently work for where I am asked to
      8       reliable -- or you can make a                8   provide input on advertising, promotion and
      9       statement reliably about whether or          9   labeling of some of the products and then
     10       not that finding was biologically           10   also some of the ingredients that are being
     11       significant. And biologically               11   promoted for use to -- to produce cosmetic
     12       significant would typically be linked       12   products. So it's the idea of providing that
     13       to a finding that has statistical           13   advice over my understanding of the
     14       significance in an epi study unless         14   regulations what can be said and can't be
     15       the study was not designed to be able       15   said about certain ingredients.
     16       to answer the question properly.            16            This company is involved in
     17             So -- and I've discussed that a       17   making both ingredients but also some
     18       little bit yesterday with Mr. Smith on      18   finished products now based on -- it's a
     19       the issue of power to detect. So            19   large company that owns a lot of little
     20       that's something you do consider in         20   subsidiaries.
     21       epi.                                        21       Q. My question, though,
     22             But, yes, statistical                 22   Dr. Plunkett, was, have you ever been in a
     23       significance certainly goes into your       23   decision-making position for a company
     24       weight of the evidence there.               24   evaluating compliance with FDA regulations
     25                                                   25   with respect to cosmetics?

                                            Page 43                                              Page 45
      1   QUESTIONS BY MS. BRANSCOME:                      1            MS. PARFITT: Objection. Asked
      2       Q. Okay. You talked about you're             2       and answered.
      3   intending to offer an opinion with respect to    3            THE WITNESS: So that's what
      4   what a company is required to do under the       4       I'm saying. They're relying on my
      5   regulations; is that correct?                    5       input to make a decision on what will
      6       A. Yes.                                      6       go in the materials.
      7       Q. Okay. What regulations are you            7   QUESTIONS BY MS. BRANSCOME:
      8   specifically referring to?                       8       Q. Do you have decision-making
      9       A. So cosmetic regulations that              9   authority within that company or, as you
     10   exist within -- so it's the entire process as   10   described it, are you providing advice and
     11   I describe how cosmetic -- what -- are          11   input?
     12   cosmetics subject to regulation by FDA? Yes.    12       A. I'm providing advice, but the
     13   What are the types of things that companies     13   things I'm advising on are the things that
     14   have to do before they're marketed, what does   14   happened. So in other words, they don't have
     15   the company have to do once the product is on   15   anybody in the company that understands the
     16   the market, those kinds of things.              16   process of what they can say. So I -- I
     17       Q. Have you ever worked directly            17   advise them that you need to remove this
     18   for any regulatory agency?                      18   language or that this is more appropriate
     19       A. No, I have not.                          19   language. They make those changes, and then
     20       Q. And suffice it to say you have           20   that is what is done.
     21   never been in a decision-making position        21            So I agree, I'm not an employee
     22   within a regulatory agency, correct?            22   of that company. I am a consultant working
     23       A. That's correct, I have not.              23   with the company, but it is a little
     24       Q. Have you ever been in a                  24   different than some of the work that I do
     25   decision-making position with respect to a      25   where I -- what I -- the advice that I'm


                                                                       12 (Pages 42 to 45)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 14 of 147
                                         PageID: 195639
               Confidential - Pursuant to Protective Order
                                            Page 46                                              Page 48
      1   giving is actually something that I know         1       A. So it's -- first off, you would
      2   actually happened. Sometimes you give advice     2   use the common English language definition.
      3   to companies, but it doesn't -- we have no       3   I don't believe that those -- I haven't seen
      4   idea whether the company actually follows our    4   a definition separate within the regulations.
      5   advice.                                          5   Sometimes there will be.
      6       Q. My question is slightly                   6            So based on that and my
      7   different, Dr. Plunkett.                         7   experience and the looking into what others
      8            If you were to give advice to           8   have described about this, this is the idea
      9   the company that you've referenced as having     9   of considering how the product is used, is
     10   experience with cosmetic regulation             10   one of the -- one of the concerns that you
     11   compliance that that company chose not to       11   have, and whether or not the -- based on how
     12   follow, that company has the ability to         12   the product is used and how the product is
     13   ignore your advice, correct?                    13   being sold, that in order to prevent a health
     14       A. Yes, I would imagine that they           14   hazard, a warning hazard -- a warning
     15   could do that.                                  15   statement would be needed.
     16       Q. Okay. Have you ever drafted              16       Q. Can you cite to me any language
     17   regulations that relate to cosmetics?           17   within the regulation or even supporting
     18       A. Actually drafted a regulation?           18   documentation, a comment, something of that
     19   No, I have not.                                 19   nature, that would define "whenever necessary
     20       Q. All right. You reference in              20   or appropriate" with respect to how the
     21   your report language out of 21 CFR 740.1, and   21   product is used?
     22   specifically -- you reference it in a few       22            MS. PARFITT: Objection.
     23   places. And I can direct you specifically to    23            THE WITNESS: I don't think I
     24   paragraph 22 in Exhibit 4.                      24       understand your question.
     25       A. Yes. I'm there.                          25            Are you asking me to cite to a

                                            Page 47                                              Page 49
      1       Q. All right. And do you see here            1        reference or a part of the regulation
      2   you have replicated language from 21 CFR         2        where they explain it, or what are you
      3   740.1 that reads, "The label of a cosmetic       3        asking me? Guidance document or --
      4   product shall bear a warning statement           4   QUESTIONS BY MS. BRANSCOME:
      5   whenever necessary or appropriate to prevent     5        Q. Yes. Can you point me to
      6   a health hazard that may be associated with      6   anything other than your personal view of the
      7   the product"?                                    7   interpretation of this language that would
      8            Do you see that?                        8   tie the requirement "whenever necessary or
      9       A. Yes.                                      9   appropriate" to how a product is used?
     10       Q. And you added emphasis on                10             MS. PARFITT: Objection. Form.
     11   particular portions of this sentence,           11             THE WITNESS: I'll have to go
     12   correct?                                        12        look for you whether there's a
     13       A. Yes, I did that, exactly.                13        guidance that states it that way.
     14       Q. All right. Now there's a                 14        This is based on my experience in
     15   clause in this sentence that states,            15        dealing with the products in the past.
     16   "Whenever necessary or appropriate."            16             I think that's also consistent
     17            Do you see that?                       17        with what is described, I would say to
     18       A. Yes.                                     18        you, within -- it's consistent -- what
     19       Q. You did not emphasize that               19        I'm describing to you, it's consistent
     20   language; is that correct?                      20        as well with how the CIR standard for
     21       A. That's correct, I did not.               21        safety assessment is done, looking at
     22       Q. What is your understanding               22        the issue of the -- of the -- of the
     23   as -- what you describe as an FDA regulatory    23        use.
     24   specialist of the meaning of "whenever          24   QUESTIONS BY MS. BRANSCOME:
     25   necessary or appropriate" in 21 CFR 740.1?      25        Q. When you say that you're basing


                                                                       13 (Pages 46 to 49)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 15 of 147
                                         PageID: 195640
                Confidential - Pursuant to Protective Order
                                            Page 50                                              Page 52
      1    your interpretation of the clause "whenever     1       look at my documents in order -- the
      2    necessary or appropriate" on your personal      2       first part of your question, I'd have
      3    experience, can you point me to something       3       to go back and look. Off the top of
      4    specific?                                       4       my head, I can't tell what I would
      5              MS. PARFITT: Objection.               5       point you to.
      6              THE WITNESS: Are you asking           6             On the second one, I think I
      7        me -- are you asking me if I've ever        7       was telling you, is I don't -- I've
      8        had a company that I worked for that        8       never -- I don't have a client that
      9        that particular clause in here was          9       I've worked for where that part of the
     10        extremely important to how we              10       language was the only issue that I had
     11        interpreted it? I don't think I can        11       to deal with when I'm looking at
     12        point you to that. I don't recall          12       whether or not the product needs a
     13        ever having to do that specifically.       13       warning or not.
     14              Or is it something different         14             So typically -- I'm just
     15        you're asking me?                          15       telling you that when I have looked at
     16    QUESTIONS BY MS. BRANSCOME:                    16       labeling for products and looked at
     17        Q. Dr. Plunkett, I asked you what          17       the issue of does it need a warning
     18    your basis was for interpreting the language   18       statement, when I'm reading it as
     19    "whenever necessary or appropriate" means      19       "whenever necessary or appropriate,"
     20    that it's related to how a product is being    20       I'm looking at whether or not the
     21    used, and the answer that you provided was     21       ingredient that I'm concerned about
     22    that it was based off of your personal         22       within the product, how that is used
     23    experience.                                    23       or what the exposure pattern would be,
     24              So I'm asking you, what is that      24       route of exposure, how those things
     25    personal experience that gives you the basis   25       might relate to how I would assess the

                                            Page 51                                              Page 53
      1   for that specific interpretation?                1        safety issue at hand. And so that's
      2            MR. MEADOWS: Objection.                 2        what I'm trying to tell you.
      3            MS. PARFITT: Objection.                 3   QUESTIONS BY MS. BRANSCOME:
      4            THE WITNESS: So it's in my              4        Q. Okay. You also have --
      5       experience in dealing with companies         5   changing topics a little bit, in this -- in
      6       that make products and what types of         6   your report marked as Exhibit 4, if you could
      7       warnings are put or not put onto -- or       7   turn to paragraph 10.
      8       not -- or on labeling. So I don't            8             On page 7, you state on the
      9       know how else to answer it other than        9   first paragraph on page 7, "In other
     10       that.                                       10   instances I have directed others to perform
     11            I can go back and look at the          11   searches on my behalf," and this is with
     12       guidance documents to see if that is        12   respect to identifying documents for review
     13       described in another way, but I don't       13   in forming your opinions.
     14       recall that.                                14             What did you mean by that?
     15   QUESTIONS BY MS. BRANSCOME:                     15        A. So in addition to doing my own
     16       Q. So as you sit here today,                16   searches of the database, sometimes I -- I
     17   you're not able to provide me either with a     17   have called the attorney's office and asked
     18   third-party document or an independent          18   them to -- to do a search for certain things
     19   document interpreting "whenever necessary or    19   that I'm looking for to add to. So in other
     20   appropriate" as you've suggested today, nor     20   words, I have a document I've identified.
     21   can you give me specific example from your      21   I'm looking for other documents like that in
     22   personal experience; is that correct?           22   the large millions and millions of documents
     23            MS. PARFITT: Objection.                23   that are available. And so sometimes I will
     24            THE WITNESS: Well, I                   24   ask attorneys to do -- to look in the
     25       certainly -- I'd have to go back and        25   database for other documents like the ones


                                                                       14 (Pages 50 to 53)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 16 of 147
                                         PageID: 195641
               Confidential - Pursuant to Protective Order
                                            Page 54                                              Page 56
      1   that I've identified.                            1       A. So that might cross over into
      2       Q. And without getting into                  2   work product because it's not my database,
      3   anything that would be -- that would call for    3   but I don't know how to answer that. I mean,
      4   information protected by the attorney/client     4   I'm sure -- it's very possible that in the
      5   privilege or attorney work product, what         5   database you can track that, but I -- I don't
      6   percentage of the overall searches for           6   know.
      7   relevant documents from these particular         7            MR. MEADOWS: Okay.
      8   databases that are discussed in paragraph 10     8            THE WITNESS: I don't have
      9   would you say that you have done yourself as     9       anything saved on my computer that
     10   opposed to directed others to do?               10       way, but when you go to the database
     11       A. Well, initially when I first             11       itself, it's possible you could track
     12   started searching, those were my own searches   12       that. I just don't have a record on
     13   exclusively. I would say that more recently,    13       my computer in my office.
     14   in the last year, since I haven't added any     14   QUESTIONS BY MS. BRANSCOME:
     15   real new areas but there's new documents that   15       Q. When you made the decision at
     16   have become available, so anything -- any of    16   some point in time -- it may have been even
     17   the searches probably in the last year that     17   prior to you issuing your first report --
     18   dealt with new discovery that was produced, I   18   that you wanted to look at company documents,
     19   would have asked the attorneys to do some of    19   did you set out specific categories of
     20   the searching in that for me. Like I'm          20   documents that you wanted to review?
     21   looking for documents that are similar to       21       A. Not so much categories but key
     22   this document that I cited in my original       22   words. So -- and areas. I guess areas is
     23   report around this same frame that may be       23   what I -- yes, I was focusing, for example,
     24   discussing this same topic area.                24   in my initial report on documents that
     25            So in the last year I have             25   described what was known -- what the company

                                            Page 55                                              Page 57
      1   asked them to do that more than I have done      1   was discussing about cancer, ovarian cancer,
      2   it, but initially it was what I did              2   cancer generally. So that was a key word
      3   initially.                                       3   used.
      4        Q. Okay. Do you keep any records            4             And then I also was linking
      5   of the various document searches either that     5   that in different searches with different
      6   you have performed or you have asked to be       6   time periods such as the NTP review process
      7   performed?                                       7   and dates. You can, you know, narrow down by
      8        A. No, I don't. My record would             8   dates or by the CIR process. Those kinds of
      9   be -- the initial -- the record would have       9   things.
     10   been what I listed in my reliance list for      10             So I did start with that,
     11   you in the initial report, but since then it    11   trying to understand what -- what is -- what
     12   would just be what is going to be changing      12   was in the company files or in the files I
     13   within my reliance list, looking at             13   had access to, the database, that dealt with
     14   additional documents. That's the only way I     14   those kinds of things because those aren't
     15   could identify for you. That would be my --     15   things that I could get to publicly.
     16   my trail to know what was new and what was      16   Obviously in the literature. So I had to --
     17   not.                                            17   if I wanted to understand what the company
     18        Q. My question is slightly                 18   knew, I had to go into their database to find
     19   different. Understanding that you have          19   out, you know, what they knew -- what they
     20   provided to some extent a record of the         20   knew or were discussing over time about the
     21   documents, my question is: Do you have any      21   ovarian cancer issue or about asbestos in
     22   type of record for the nature of the            22   talc or about CIR process, things like that.
     23   searches, what it was that you set out to       23        Q. Using the reports that you have
     24   identify in the database and how did you go     24   produced, Exhibits 2, 3 and 4, really, and
     25   about finding those documents?                  25   the full -- the entirety of the materials


                                                                        15 (Pages 54 to 57)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 17 of 147
                                         PageID: 195642
               Confidential - Pursuant to Protective Order
                                            Page 58                                              Page 60
      1   that you have produced in the MDL, is there      1   reliance list, that you read, but then once
      2   any way that someone reviewing those             2   you started reading decided weren't relevant
      3   documents, and those documents alone, could      3   to the opinions that you were offering?
      4   replicate the searches that you have             4        A. I would have to look to answer
      5   conducted in the company databases?              5   that for you. I don't know. If you want me
      6            MR. MEADOWS: Objection.                 6   to do that, I'd have to look.
      7            THE WITNESS: I don't know.              7        Q. I ask you more as a process
      8       That's a good question. I've never           8   matter.
      9       thought about whether you could              9        A. Oh.
     10       replicate or not.                           10        Q. If you pull an article and you
     11            I mean, I think I've told you          11   start reading it and you realize that it is
     12       what I did. My strategy was to focus        12   not relevant to the opinions that you offered
     13       on topic areas. So I think you              13   in this case, the example that you just gave,
     14       might -- by topic areas, if you use         14   is it something that you would include in
     15       the same kinds of topics areas as           15   your reliance list?
     16       described, I think you would come up        16        A. Yes, I -- I have given you
     17       with documents that -- what it focused      17   everything I retrieved. So if I retrieved
     18       down to.                                    18   it, you would have, yes, absolutely.
     19            For example, I also would              19        Q. Okay. So it's fair to say of
     20       sometimes, as linking those words, I        20   the articles that are on your reliance list,
     21       might put in J&J documents only or          21   you could not say as you sit here today that
     22       Imerys documents only, because the          22   you have read each and every word of each and
     23       database has a variety -- and the           23   every one of them, correct?
     24       PCPC. There's some different ways by        24        A. That's correct. And I could
     25       the Bates numbers that you can              25   probably tell you -- I could give you a

                                            Page 59                                              Page 61
      1       segregate documents as well. But I           1   little guidance in that possibly if I went to
      2       don't know other than that. That's           2   my list, I could try to pull some out that I
      3       all I can tell you.                          3   recognize, but that's all I would be able to
      4   QUESTIONS BY MS. BRANSCOME:                      4   do for you.
      5       Q. You would agree with me that              5        Q. Okay. How did you go about
      6   your report does not contain a complete          6   identifying what articles you wanted to
      7   explanation of the process by which you          7   review in forming your opinions in the MDL?
      8   identify company documents to review,            8        A. So first off, I went back to
      9   correct?                                         9   what I already had. So my MDL report is a --
     10       A. I haven't laid out my search             10   is a compilation of a lot of material that's
     11   structure, that is true.                        11   in my first few reports. That was the basis
     12       Q. All right. Now, the articles             12   for some of the things that went into it.
     13   that you have listed on your reliance list,     13             So I didn't -- I did do,
     14   have you read each and every one of those       14   though, a updating on literature searches for
     15   articles?                                       15   the MDL report, looking for anything new, for
     16       A. Unfortunately, yes, over time I          16   example, in the area, especially the area of
     17   have. Some of them I have only read parts of    17   cancer data or reports of dealing with
     18   them. For example, if I started reading a       18   ovarian cancer either -- or any articles
     19   document and I felt that it was something I     19   dealing with the link between inflammation
     20   pulled that really wasn't directly on point     20   and cancer, ovarian cancer, generally.
     21   for an area I'm covering, I may not have read   21   That's one of the areas I updated looking at.
     22   every word, but certainly I have been through   22             And then I did -- I don't think
     23   each of those, yes.                             23   I did any large, new searches, however,
     24       Q. Are there any articles in your           24   because honestly the areas covered here are a
     25   reliance list, that you maintained on your      25   little narrower than what was covered here.


                                                                       16 (Pages 58 to 61)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16          Filed 07/23/24         Page 18 of 147
                                         PageID: 195643
                Confidential - Pursuant to Protective Order
                                             Page 62                                              Page 64
      1   I don't believe that there was any from the       1   referring to the reliance list, are you
      2   published -- the publicly available medical       2   referring to the list of articles that begins
      3   literature. There wasn't a need to do a           3   on page 40 of Exhibit 4, or is there a
      4   whole new area of search. It was more             4   separate document?
      5   updating the things that I've done in the         5        A. There's a separate document.
      6   past.                                             6   So it -- that's -- I usually call reliance
      7             So it's a real easy search to           7   list the separate document. I call this
      8   update because you can just put in talc and       8   references cited. So I apologize for that
      9   cancer and just look at -- get lots, but you      9   confusion.
     10   can then just start chronologically and look     10             So these, I have read every
     11   what was published in the last year, for         11   word. If it's in my reference list, those
     12   example.                                         12   are not an issue of not having read every
     13        Q. Okay. Earlier when we were               13   word, and these should all be cited somewhere
     14   discussing the fact that you in some             14   in the report.
     15   instances have asked your husband to pull        15        Q. Okay. If you could turn to
     16   articles, have you maintained any records of     16   paragraph 21 in your initial report.
     17   the searches that you have done with respect     17        A. Yes, I'm there.
     18   to scientific literature, including the          18        Q. Okay. So we're looking at
     19   searches that you have asked your husband to     19   paragraph 21 in Exhibit 2. This is on
     20   do?                                              20   page 10.
     21        A. I have not. It's possible that           21             Do you see there is a sentence
     22   there are records on billing from the library    22   here that refers to -- it's referring
     23   that tells you how many I ordered at             23   generally to the topic of the ability of talc
     24   different times, but that is the only            24   to migrate from the site of application to
     25   records, because we do have to pay the           25   the ovaries.

                                             Page 63                                              Page 65
      1    library for the retrieval.                       1            Do you see that?
      2         Q. Okay. And if I understood what           2        A. Yes.
      3    you said earlier correctly, you indicated        3        Q. And then the next sentence
      4    that any article you have ever pulled for        4   states, "This issue was discussed by
      5    review, you have listed on your reliance         5   scientific and regulatory bodies that review
      6    list; is that correct?                           6   the toxicokinetics of talc."
      7         A. Yes. And when I -- and let's             7            Do you see that?
      8    just make sure we're talking about the same      8        A. Yes.
      9    thing.                                           9        Q. And in parentheses it
     10               So, you know, in my reports I        10   identified EPA 1992, IARC 2010, and CIR 2013.
     11    typically have articles cited in the report     11            Do you see that?
     12    separate from the reliance list. So I'm         12        A. Yes.
     13    talking about the reliance list, right?         13        Q. Okay. And then if you could
     14    Okay.                                           14   turn to Exhibit 4, which is your MDL report,
     15               So -- because I do -- I do           15   at paragraph 43. It's on page 28.
     16    usually -- I don't know whether I did that in   16            Are you with me?
     17    this report, but I typically have a list of     17        A. Yes, I am.
     18    articles cited at the back called references,   18        Q. You see that the exact same
     19    that is, things that you're actually seeing     19   sentence appears -- well, not the exact same.
     20    in the report body, and then there should be    20   It's been slightly modified to combine the
     21    a separate reliance list sent to you as an      21   first two sentences. But here you cite only
     22    appendix. I don't know what the appendix        22   to EPA 1992 and IARC 2010.
     23    was.                                            23            Why did you remove CIR 2013?
     24         Q. Well, so then let's clarify             24        A. Because of my further
     25    that. So, Dr. Plunkett, when you're             25   evaluation since my initial report in 2016 of


                                                                         17 (Pages 62 to 65)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 19 of 147
                                         PageID: 195644
               Confidential - Pursuant to Protective Order
                                            Page 66                                              Page 68
      1   the process that was involved in the drafting    1   another question. In paragraph 43, you added
      2   of the CIR and the actual production of the      2   two studies from your prior -- that were --
      3   report.                                          3   that did not appear in your prior report, and
      4       Q. Is it your position that the              4   it was Gardner 1981 and Edelstam 1997. This
      5   migration of talc was not evaluated as part      5   related to animal studies showing that in
      6   of CIR 2013?                                     6   some species talc can migrate from the lower
      7       A. No. That's not my position,               7   to the upper genital tract?
      8   no.                                              8        A. Yes.
      9       Q. Okay. And so would the                    9        Q. Okay. Were those studies that
     10   sentence that's contained in paragraph 43 in    10   you were aware of before drafting your prior
     11   Exhibit 4, which is your MDL report, if you     11   reports?
     12   cited to CIR 2013 in the parenthetical there,   12        A. I don't know that they -- I
     13   would that not be an accurate citation?         13   can't answer that without looking at my
     14       A. I believe it would not be an             14   reliance materials for the original report.
     15   accurate citation because I have formed         15   I did identify additional articles, and
     16   opinions about the reliability of that          16   there's also additional articles cited here
     17   document at this point in time.                 17   in earlier paragraph 43 that were not cited
     18            So it has to do with -- I'm            18   in my original report as well. I don't think
     19   citing to authorities here that I believe are   19   I had the -- the Kunz article then cited.
     20   reliable as far as the discussion that I see,   20   I'd have to go back and look.
     21   and it's a different -- I have a different      21            So it's possible that they were
     22   opinion now about the CIR report, which I lay   22   in my -- when I say my reliance materials, my
     23   out in pretty detail, I think.                  23   original report also had a larger list of
     24            In fact, if you go to my               24   literature I didn't cite. So I'd have to
     25   section following this now in -- you'll         25   look. I can't tell you whether I had them or

                                            Page 67                                              Page 69
      1   understand one of the issues I had was the --    1   I did not.
      2   the difference in the evidence that was          2       Q. Okay. With respect to Edelstam
      3   actually available once you dig into it a        3   1997 study, do you happen to know the title
      4   little further versus what they actually         4   of that article? Even an approximation would
      5   reviewed. That's one of the issues.              5   work.
      6        Q. And I'll follow up with some             6       A. It'll be -- should be back
      7   more questions about the CIR, but my question    7   here. Just a second. If it's not here,
      8   here is, the sentence in your report simply      8   that's a mistake.
      9   states, "The migration of talc internally        9            Oh, here it is. "Retrograde
     10   after perineal application was discussed by     10   migration of starch in the genital tract of
     11   scientific and regulatory bodies that review    11   rabbits."
     12   the toxicokinetics of talc."                    12       Q. So you are citing that article
     13             Would it be inaccurate to say         13   for the proposition that animal studies have
     14   that as part of the CIR 2013 process that       14   demonstrated that talc can migrate from the
     15   body did, in fact, discuss the migration of     15   lower to upper genital tract?
     16   talc internally after perineal application?     16       A. Yes, I'm citing it because it's
     17        A. It is true that they did                17   relevant to the issue of particle migration,
     18   discuss it. I just have an issue with the       18   which talc is a particle. So, yes, that's
     19   reliability of their findings.                  19   correct.
     20        Q. And so you made the decision to         20       Q. Okay. But that study did not
     21   just remove it from the citation; is that       21   specifically deal with talc migration,
     22   correct?                                        22   correct?
     23        A. Yes, at this point -- at this           23       A. No. Well, it -- it's relevant
     24   point, at this report, that's exactly right.    24   to talc migration, but you're exactly right,
     25        Q. All right. And then I had               25   they looked at the starch migration, yes. Or


                                                                       18 (Pages 66 to 69)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24        Page 20 of 147
                                         PageID: 195645
               Confidential - Pursuant to Protective Order
                                            Page 70                                            Page 72
      1   particles that were starch, yes.                 1   genital tract?
      2       Q. We'll cover this in more                  2            MS. PARFITT: Objection.
      3   detail, but is it your opinion that all          3            THE WITNESS: Again, I haven't
      4   particles have similar characteristics with      4      done an in-depth analysis. I mean, as
      5   respect to their ability to migrate in the       5      a toxicologist, there are differences
      6   genital tract?                                   6      between starch and talc, absolutely.
      7       A. It's my -- I don't know if I'd            7      For example, starch would -- I would
      8   state it quite that way. What I would say is     8      expect to be more easily solubilized
      9   that the evidence shows that particles           9      within fluids, and so that could
     10   generally have the ability to move up the       10      affect the ability of them to actually
     11   reproductive tract in women, yes, and that if   11      not migrate as well as a talc
     12   a particle is one that is similar to talc or    12      particle, which would be less soluble
     13   some of the other ones where the information    13      than the starch would be.
     14   has been collected, I would characterize that   14            And there's -- I even --
     15   as being within that, quote/unquote,            15      there's a paper I have in here, and I
     16   relevance of particles.                         16      can look for it if you want, that
     17             That doesn't mean all                 17      talks about that difference, and it's
     18   particles, but certainly in the ones that I     18      one of the issues of cornstarch versus
     19   have looked at and the data I've relied upon,   19      talc, on whether or not you would
     20   there's a variety of different types of         20      expect to get the long-term chronic
     21   particles or substances that have been          21      responses with the difference between
     22   studied and shown to be able to migrate.        22      those two substances.
     23       Q. So let's take Edelstam 1997 as           23            So I do think there's
     24   an example.                                     24      difference, absolutely, as
     25             Did you do any analysis that          25      toxicologists generally. And the only

                                            Page 71                                            Page 73
      1   you can point me to that establishes that        1       reason I'm citing this paper is
      2   starch would have a similar migration pattern    2       because I'm trying to be complete
      3   as talc?                                         3       about people that have looked at this
      4       A. So I would say that the paper             4       issue. And certainly it was a study
      5   itself shows -- talks about the movement of      5       that looked at this issue and talks
      6   starch, but are you asking something             6       about the movement.
      7   different?                                       7            But I wouldn't expect starch
      8            Are you asking me have I done a         8       and the talc to have the same
      9   specific analysis of any differences that may    9       liabilities, and I also wouldn't
     10   occur between the migration pattern of starch   10       expect them to move exactly the same
     11   and talc? Is that what you're asking me?        11       speed maybe. That's very true.
     12       Q. That is what I'm asking you.             12   QUESTIONS BY MS. BRANSCOME:
     13       A. I certainly didn't do an                 13       Q. So you would agree with me that
     14   in-depth analysis of the differences, no, but   14   Edelstam is not a study demonstrating that
     15   based upon my review of the literature, I       15   talc can migrate from the lower to upper
     16   believe that that paper is relevant to the      16   genital tract, correct?
     17   overall question of migration of particulate    17            MS. PARFITT: Objection. Form.
     18   through the reproductive tract, including       18            THE WITNESS: I wouldn't say it
     19   particles of talc.                              19       that way. What I would say instead is
     20       Q. Regardless of whether or not it          20       that Edelstam is a study that forms
     21   was an in-depth analysis, can you point me to   21       the overall weight of the evidence for
     22   anything other than just your belief after      22       the ethics -- for the studies that are
     23   having read these articles that starch and      23       available that address the issue of
     24   talc would have similar migratory               24       migration, but certainly it is not
     25   characteristics in the human or animal          25       studying talc. So I don't disagree

                                                                      19 (Pages 70 to 73)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 21 of 147
                                         PageID: 195646
               Confidential - Pursuant to Protective Order
                                            Page 74                                              Page 76
      1        with you there.                             1   assessment.
      2             Unfortunately, the majority of         2       Q. Okay. What publication would
      3        the information that I have relied          3   you direct me to that has used the same
      4        upon, and others such as the FDA in         4   methodology that you have used to reach your
      5        making their statements about               5   opinions in Exhibit 4?
      6        migration, is not all directed studies      6       A. I think I cite you to -- cite
      7        just to talc. It's looking at the           7   you to some of those. You could -- well, the
      8        issue of particle movement.                 8   directly relevant one would be looking at the
      9   QUESTIONS BY MS. BRANSCOME:                      9   chapter on risk -- toxicology in the
     10        Q. Now, in terms of doing your             10   reference manual on scientific evidence.
     11   risk assessment -- well, let me get back. We    11             You can also go to the NRC
     12   covered this earlier, and I want to return to   12   report where they -- it lays out the
     13   it for a moment. Just to confirm: For your      13   different steps that you use when you kind of
     14   work in the MDL, you did not do a Bradford      14   break data apart into exposure versus
     15   Hill analysis, correct?                         15   response information.
     16        A. I did not sit down and do a             16             And then I cite to -- there are
     17   Bradford Hill analysis when I started writing   17   some guidance documents that I cite to, and
     18   this report. I have done a Bradford Hill        18   this is in paragraph 13. And I'd have to
     19   analysis in the past, which is in my original   19   pull them out again to tell you which ones
     20   reports, but I certainly did not redo a         20   relate to different pieces because some of
     21   Bradford Hill when I sat down to draft my MDL   21   these are -- some of these documents are
     22   report, that is true.                           22   specific to only, for example, maybe one part
     23        Q. Okay. Let me be more precise.           23   of what I did.
     24             In the report that you have           24             But certainly the risk
     25   produced that contains a description of your    25   assessment process at IARC is -- they do what

                                            Page 75                                              Page 77
      1   opinions in the MDL, you have not set forth a    1   I call a hazard assessment. They identify
      2   Bradford Hill analysis in that document which    2   hazard and they couldn't quantify risk, but
      3   is identified as Exhibit 4, correct?             3   the steps they go through are essentially the
      4        A. That is true, yes.                       4   same types of steps that I went through as
      5            MS. PARFITT: Objection.                 5   far as gathering data on not just response
      6   QUESTIONS BY MS. BRANSCOME:                      6   but also the potential for exposure and how
      7        Q. And in fact, the paragraph that          7   that relates to the response.
      8   you -- or paragraphs that you have in your       8             And then also the data that
      9   prior reports that reference a Bradford Hill     9   I've collected on the biologic effects of
     10   analysis, those have not -- those have          10   talc, toxicology of talc, are also discussed
     11   actually not been replicated in any form in     11   within that document as well.
     12   Exhibit 4, correct?                             12       Q. Okay. Focusing specifically on
     13        A. Yes, because, again, it was not         13   the weight of the evidence tool, as you
     14   my role to do general cause.                    14   describe it, is there a particular document
     15        Q. Okay. So then when we look at           15   or publication that I would go to that could
     16   the methodology that you employed in reaching   16   lay out the same process that you used for
     17   your opinions that are contained here in        17   how you weighted certain pieces of evidence?
     18   Exhibit 4, how would you characterize the       18       A. So the documents that I've
     19   methodology?                                    19   cited for you in paragraph 13 talk about what
     20        A. As I have in the report. I              20   weight of the evidence is generally, but if
     21   talk about it being a risk assessment or a      21   you read what it is, it's essentially a
     22   safety assessment, that you could use those     22   process that each scientist brings their
     23   terms interchangeably here. And then I've       23   experience, training and judgment to.
     24   also used a weight of the evidence as a tool    24             So I try to lay out for you in
     25   to go through the different steps of the risk   25   my discussion of the literature my thought


                                                                       20 (Pages 74 to 77)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 22 of 147
                                          PageID: 195647
                Confidential - Pursuant to Protective Order
                                             Page 78                                              Page 80
      1    process as I review each piece of                1       Q. Okay. As you were forming your
      2    information, and that is what you do as part     2   opinions, Dr. Plunkett, about whether or not
      3    of weight of the evidence. You gather all of     3   there is a risk associated with the use of
      4    the relevant information that you can find       4   Johnson's baby powder with respect to ovarian
      5    that address the question you're trying to       5   cancer, how do you keep track of the pieces
      6    answer, and since I'm looking at both            6   of scientific evidence that you have reviewed
      7    exposure and response, I gather different        7   and the respective weight that you give to
      8    pools of information.                            8   them?
      9         Q. You would agree that there are           9            Presumably you did not read
     10    ways to do a weight of the evidence             10   everything in one day, for example?
     11    assessment of published literature that         11       A. No. That's correct. So I
     12    assign, for example, quantitative values to     12   typically will -- I typically will save the
     13    particular pieces of evidence, correct?         13   papers -- when I read the papers, I will
     14         A. Certain individuals have put            14   often highlight in yellow information that I
     15    together, but there's no one general accepted   15   think is going to -- will be extremely
     16    process that everyone uses. So I -- that's      16   relevant. I don't put notes on the document.
     17    the issue. Again, there are certain --          17   I highlight in yellow on the PDF file to use
     18    certain cases where I've seen that done, and    18   that to write.
     19    then there are many -- most cases that it's     19            And I also start drafting
     20    not what's done.                                20   report very early, which then gets
     21         Q. Okay.                                   21   overwritten and actually ends up looking like
     22         A. Another body, by the way, that          22   an outline that eventually becomes the
     23    I -- it's new. It's not in paragraph 13. I      23   report.
     24    just want to make sure I tell you that so       24            So one of the ways I keep track
     25    we're clear. If you look at the Canadian        25   of things is I may put a paragraph name that

                                             Page 79                                              Page 81
      1    document, they also -- in fact, a lot of what    1   I know I'm going to write, such as exposure
      2    they have, you'll see the same literature        2   migration, and then I -- as I'm reading a
      3    described within my assessment as well.          3   paper, I'll type in a paper -- the ones that
      4         Q. So using the Canadian                    4   I believe are important to my overall
      5    assessment as an example, for instance, in       5   assessment. So I will do that as I'm -- as
      6    that assessment there were actually values       6   I'm going through the evidence.
      7    assigned to particular pieces of literature,     7            So that's one of the tools I
      8    correct?                                         8   use, but I don't keep notes. I just kind of
      9         A. Mainly the epidemiological               9   use that as a living document that eventually
     10    literature, that is true. Again, but I'm not    10   becomes a report.
     11    doing causation, so I didn't approach it that   11       Q. Do your opinions ever change as
     12    way.                                            12   you read additional pieces of scientific
     13             But certainly if you look at           13   evidence?
     14    what I did, it's consistent with that because   14       A. Yes, it does. It may change.
     15    I talk about the differences between the        15   And it often -- often the changes, though,
     16    limitations of a case-control versus a          16   are not that I believe -- with the exception
     17    prospective study. I talk about both the        17   of epidemiology. In other areas.
     18    positives and the negatives within the          18   Epidemiology is a little bit different issue
     19    database, but I don't lay it out in a table     19   when you're reviewing studies.
     20    like they do. But it's certainly the same       20            But on toxicology I always
     21    basic process.                                  21   start with reviews and regulatory
     22             I was actually quite surprised         22   authorities, looking at what others have said
     23    at how similar the database of information      23   generally about the toxicology. And so even
     24    that they reviewed was to what I honed in on    24   though I may refine opinions differently or I
     25    as well.                                        25   might change, I certainly wouldn't agree to


                                                                        21 (Pages 78 to 81)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 23 of 147
                                         PageID: 195648
               Confidential - Pursuant to Protective Order
                                            Page 82                                              Page 84
      1   work on a project to start with if my initial    1   your report that have been criticized by
      2   reviews on hazard, for example, didn't           2   others at some point in time, correct?
      3   convince me that I believe that there is a       3        A. Yes, that's true.
      4   hazard. But you refine it from there.            4        Q. Okay. Now, in some instances
      5   That's exactly right.                            5   you state that you then give little weight to
      6            So there are cases, however,            6   those studies, correct?
      7   where I'm asked to work on a project where       7        A. Yes.
      8   there is no review or regulatory authority or    8        Q. But in other instances you find
      9   any kind of assessment over a period of          9   the criticized study to be helpful and
     10   years, and in those cases there are times       10   informative, correct?
     11   when I start working on a project and I stop    11        A. That's true. Because, again,
     12   and say, "I can't do this." Because that        12   judgment -- as anybody does weight of the
     13   happens, yes.                                   13   evidence, different scientists can have
     14            So opinions do change sometimes        14   different judgment.
     15   based on review of additional information.      15             Mainly, I think, when I look at
     16       Q. Is there any documentation that          16   the differences in that -- in that regard, I
     17   you've produced either in your report or        17   think you should pay attention to what the
     18   otherwise in the MDL that would allow someone   18   person is. So as a toxicologist, I may view
     19   reviewing the material to understand the        19   a certain type of -- piece of data very
     20   order in which you reviewed materials or the    20   differently than an epidemiologist may view
     21   specific weight that you assign them?           21   it, as far as the reliability or the
     22       A. So order of review, no. I                22   relevance, because we're coming at it from a
     23   don't think you would know that other than --   23   different training and experience and
     24   you will note order of review if you look at    24   judgment -- set of judgment on what is
     25   the differences in the literature cited in my   25   important to a toxicologist when I'm talking

                                            Page 83                                              Page 85
      1   original report versus in the MDL.               1   about risk versus how an epidemiologist might
      2              So in my original reliance            2   talk about risk.
      3   list, if there were documents that weren't       3        Q. Could two different
      4   there and they're now here, obviously that       4   toxicologists review the same piece of
      5   tells you it was a review.                       5   literature and give it very different weight?
      6              On the issue of a -- of the           6        A. I don't know about different
      7   weight of the evidence process, the only         7   weight, but they certainly -- I know people
      8   answer I can give you for that is that           8   come to different conclusions based on their
      9   articles that I believe are -- are reliable,     9   overall assessments. That happens,
     10   are relevant and are -- those are kind of       10   definitely. I mean, there are always going
     11   the -- you look at the reliability of the       11   to be individuals that look at things
     12   studies, whether they're peer-reviewed or not   12   differently.
     13   or if they have proper controls put into        13            I know in this case there are
     14   place, things like that, whether or not         14   people -- I've seen defense experts that
     15   the -- they're relevant to the question at      15   reports in -- not in the MDL but in other
     16   hand. That you can get from looking at how I    16   cases, where people disagree with some of my
     17   discuss them in the document. But certainly     17   opinions, and I disagree with their opinions.
     18   there's no, like, summary of that.              18   That happens.
     19              But certainly -- I think you         19        Q. Okay. And so if I were --
     20   understand -- you should understand when you    20   well, let me just ask something. You have
     21   read my report what weight I'm giving based     21   not provided any sort of quantitative
     22   on how I'm describing those -- those            22   assessment of the weight that you gave
     23   materials. I mean, it's --                      23   different pieces of evidence that you cite in
     24        Q. Well, for example, you do have          24   forming your opinions in the MDL, correct?
     25   different studies that you've identified in     25            MS. PARFITT: Objection.


                                                                       22 (Pages 82 to 85)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 24 of 147
                                         PageID: 195649
               Confidential - Pursuant to Protective Order
                                            Page 86                                              Page 88
      1       Misstates her testimony.                     1       you're looking at.
      2             MR. MEADOWS: Objection.                2            The robustness of the data.
      3             THE WITNESS: So I don't report         3       For example, the NTP GLP quality
      4       for you a table where I quantify that,       4       animal study, very high quality in the
      5       that is correct, but certainly that          5       weight of the evidence. And I talked
      6       is -- because, again, based upon             6       to you about that. In fact, it --
      7       looking at the way that I was trained        7       even though people criticize that
      8       and the documents that I'm talking --        8       study, that study is very valuable for
      9       I'm pointing you to to describe how to       9       looking at biologic changes that are
     10       do weight of the evidence, it is            10       consistent with a carcinogenic
     11       not -- it is not a numerical exercise,      11       mechanism being initiated.
     12       how many here, how many there, this         12            So even though you may say that
     13       one gets 5 points because of this or        13       you can't quantify risk from that
     14       6 points because of this.                   14       animal study as far as calculating a
     15             It's more an issue, again, of         15       cancer potency factor, what you can do
     16       judgment. It's the idea of looking          16       is use that study of high quality to
     17       across all of the available                 17       make judgments within a weight of the
     18       information and determining whether or      18       evidence for risk.
     19       not, based on that, it's your opinion       19   QUESTIONS BY MS. BRANSCOME:
     20       that there -- that, for example,            20       Q. Dr. Plunkett, you understand I
     21       talc -- talc's toxicity profile             21   have seven hours today, and I -- while I'm
     22       includes cancer. That's one of the          22   very interested in the answers that you give,
     23       judgments -- weight of the evidence         23   if we could just -- we will get to things
     24       judgments you make, for example.            24   like NTP when we get there, if you could just
     25                                                   25   attempt to answer the question that I've

                                            Page 87                                              Page 89
      1   QUESTIONS BY MS. BRANSCOME:                      1   asked.
      2       Q. So -- but, Dr. Plunkett, just             2            I simply asked the question:
      3   to be clear, you do not provide a numerical      3   Are there numerical values assigned to the
      4   value to the particular pieces of evidence       4   particular pieces of evidence that you have
      5   that you have considered as part of your         5   considered as part of your weight of the
      6   weight of the evidence assessment in the MDL,    6   evidence assessment in reaching your opinions
      7   correct?                                         7   in the MDL; yes or no?
      8             MS. PARFITT: Objection. Form.          8       A. And I said to you, not in the
      9             THE WITNESS: So I do not               9   way that it's done -- I assume you're
     10       provide a numerical value as you see        10   referring to something like what was done --
     11       it laid out, for example, in the            11   what's in the Canadian epidemiology table. I
     12       Canadian table, but certainly I do          12   have not done that, no.
     13       judge articles that I include in my         13       Q. Okay.
     14       weight of the evidence based on a           14       A. That's exactly right.
     15       system that includes different              15       Q. Have you provided a qualitative
     16       considerations such as -- like I said,      16   chart, for example, of the evidence that you
     17       peer-reviewed or not, that makes an         17   have considered in forming your opinions in
     18       issue.                                      18   the MDL?
     19             Whether or not the study that's       19            MS. PARFITT: Objection. Form.
     20       being reported is the only one -- the       20            THE WITNESS: I don't know what
     21       first or is this something that is --       21       you mean by qualitative chart. I
     22       that is describing an assessment            22       certainly have -- I certainly, I
     23       that's been done by someone else and        23       believe, have given you qualitative
     24       so you see a repetition or a                24       descriptions of my weight within my
     25       consistency among the studies that          25       discussions of each study, yes, I have


                                                                        23 (Pages 86 to 89)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 25 of 147
                                         PageID: 195650
                Confidential - Pursuant to Protective Order
                                             Page 90                                              Page 92
      1        done that.                                   1       published afterwards, and what I
      2    QUESTIONS BY MS. BRANSCOME:                      2       thought I said to you was that if you
      3        Q. You mention in response to the            3       look at that document -- it's not in
      4    prior question that you have a system for        4       paragraph 13, but if you look at that
      5    weighting the pieces of evidence that you        5       document, it lays out a process. And
      6    have reviewed.                                   6       I wouldn't call it a system. It's a
      7             Can you point me to paragraphs          7       process. It's a process by which you
      8    in your report marked Exhibit 4 that would       8       screen information for relevance to
      9    outline in detail the system that you used to    9       the question being asked and how,
     10    apply different weight analysis to different    10       then, based on that, you look at
     11    pieces of evidence?                             11       characteristics of that information
     12             MS. PARFITT: Objection. Form.          12       such as -- and I tried to give you
     13             THE WITNESS: And I think I             13       some of those.
     14        answered that, that there's no system       14            And I've said this before in
     15        written down by anyone. But what            15       depositions in these cases. You know,
     16        there is, instead, is if you read           16       you look at the issue of whether or
     17        these -- if you read these                  17       not the study was peer-reviewed,
     18        descriptions of use of weight of the        18       whether or not there was
     19        evidence that I've cited in                 19       statistically -- statistical
     20        paragraph 13 as well as the discussion      20       significance or at least statistics
     21        of methodology in the Canadian              21       applied to the data. What was the
     22        document, that is consistent with what      22       quality of the study as far as the
     23        I do. It's the idea that you start          23       size in order to be able to answer the
     24        with a literature search for                24       question being asked. Those are the
     25        peer-reviewed, publicly available           25       kinds of things that you look at.

                                             Page 91                                              Page 93
      1        information. You look at the quality         1            And then also the question --
      2        of the studies, the statistically            2       when you're looking at a specific
      3        significant findings. Those are all          3       question, you may pull in -- like you
      4        things that are discussed within these       4       asked me about the starch particle.
      5        documents I'm pointing you to.               5       You may pull in things that you give
      6    QUESTIONS BY MS. BRANSCOME:                      6       less weight because obviously that's
      7        Q. Now, you --                               7       not just talc, that's starch, and you
      8        A. But it's -- it's -- I don't               8       have to consider that. So that is
      9    know of anyone who has written down a            9       part of the process.
     10    specific system that applies in all             10   QUESTIONS BY MS. BRANSCOME:
     11    circumstances, no.                              11       Q. Dr. Plunkett, the question I
     12        Q. Okay. Have you written down a            12   asked you simply was: The paper that you
     13    system that applies specifically in this        13   reference that contains some detail about the
     14    case?                                           14   Canadian analysis, that was published after
     15        A. I think I have tried to do that          15   you completed your report that's marked here
     16    for you when I describe what I did.             16   as Exhibit 4; is that correct?
     17        Q. Okay. You just referenced the            17            MR. MEADOWS: Objection.
     18    fact that your system can be found in the       18            THE WITNESS: Yes, and I
     19    Canadian document.                              19       believe I answered that at the start.
     20             You agree that the Canadian            20       I usually try to answer your question,
     21    analysis was actually published or produced     21       and then I try to explain further some
     22    after you had completed your report in the      22       details I think are important context
     23    MDL, correct?                                   23       on my answer.
     24             MS. PARFITT: Objection. Form.          24   QUESTIONS BY MS. BRANSCOME:
     25             THE WITNESS: Certainly it was          25       Q. I understand that,


                                                                        24 (Pages 90 to 93)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 26 of 147
                                         PageID: 195651
               Confidential - Pursuant to Protective Order
                                            Page 94                                              Page 96
      1   Dr. Plunkett. You have given many                1   panel; is that correct?
      2   depositions. You understand I can ask you        2        A. Yes.
      3   for more detail if that would be helpful to      3        Q. And so is it your view that a
      4   me.                                              4   study or an analysis that reaches a
      5            If you could, just focus on the         5   particular conclusion should be assigned
      6   question that I asked, and we can explore        6   little weight if it fails to consider all
      7   additional areas if that's something I'm         7   relevant scientific evidence to the issue
      8   interested in doing.                             8   that it's evaluating?
      9            Okay?                                   9             MS. PARFITT: Objection.
     10            MR. MEADOWS: Objection.                10             THE WITNESS: I think it
     11            She's --                               11        depends on the situation, but that
     12            MS. BOCKUS: Break?                     12        could be the case, yes. It depends
     13            MR. MEADOWS: After I finish my         13        on -- on the -- depends on -- I think
     14       objection.                                  14        it would depend on each case, the
     15            She's going to answer the              15        question being asked, and what was
     16       question as thoroughly as she feels         16        omitted. But, yes, I think it could.
     17       like she needs to answer the question       17   QUESTIONS BY MS. BRANSCOME:
     18       based on the way you ask it.                18        Q. Okay. And in this situation
     19            Want to take a break now?              19   you identify -- I believe you claimed that
     20            MS. BRANSCOME: We can go off           20   eight human studies were not considered by
     21       the record.                                 21   the CIR 2013 panel; is that correct?
     22            VIDEOGRAPHER: We're going off          22        A. Let me look at the number, but
     23       the record at 10:41 a.m.                    23   that sounds about right. Yes.
     24        (Off the record at 10:41 a.m.)             24        Q. All right. And returning,
     25            VIDEOGRAPHER: We are back on           25   actually, to your prior answer, you said that

                                            Page 95                                              Page 97
      1       the record at 10:56 a.m.                     1   the failure to consider all relevant
      2   QUESTIONS BY MS. BRANSCOME:                      2   scientific evidence on a topic would lead you
      3       Q. All right. Dr. Plunkett, we               3   to assign little weight to a particular
      4   started talking a little bit about the CIR       4   conclusion. You said that that could happen.
      5   analysis that was done in 2013.                  5            Under what circumstances would
      6             Am I correct you no longer             6   you assign a conclusion little weight for
      7   consider that reliable? Is that your             7   failing to consider what you consider to be
      8   opinion?                                         8   all relevant pieces of scientific literature?
      9       A. Yes.                                      9        A. Well, I think it depends --
     10       Q. Okay. And you identify in your           10   well, the reason I specifically addressed
     11   report marked as Exhibit 4, I believe it's      11   that in this case is because that was -- the
     12   paragraph 56?                                   12   conclusions about migration is the main
     13       A. Yes, that's correct. And I               13   reason why the CIR panel then draws
     14   think I talked about it later on as well, but   14   additional conclusions later on.
     15   definitely I do here.                           15            So my issue is, migration was
     16       Q. Okay. And in paragraph 56, you           16   key to what -- the decisions they made about
     17   state that the CIR panel failed to account      17   the safety issues of talc. And so in that
     18   for all the studies that informed on the        18   particular case, this -- this failure to
     19   issue of migration of particles such as talc    19   consider all the evidence was extremely
     20   upwards through the reproductive tract.         20   important, in my view, and I gave it little
     21             Is that your opinion?                 21   weight.
     22       A. Yes.                                     22            There might be a situation
     23       Q. Okay. And then you state that            23   where some -- for example, you may only look
     24   because of that you assign, quote, little       24   at six or eight studies, even though there
     25   weight to the conclusions reached by the CIR    25   may be dozens out there. You may have a


                                                                       25 (Pages 94 to 97)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 27 of 147
                                         PageID: 195652
               Confidential - Pursuant to Protective Order
                                            Page 98                                            Page 100
      1   reason for why you only looked at six or         1   QUESTIONS BY MS. BRANSCOME:
      2   eight, or it may be -- and as a result you       2       Q. Okay. Of the eight studies
      3   may lay that out and, therefore, you may         3   that you identify on page 37 of your report
      4   still give weight to conclusions drawn. Or       4   that you contend the CIR panel did not
      5   it may be that the six or eight are --           5   account for, do any of those eight studies
      6   studies that you discuss are not -- the          6   specifically discuss the migration of talc in
      7   weight is not affected by what you've            7   human subjects?
      8   omitted.                                         8       A. No, I don't believe they do,
      9            I believe that the weight is            9   but there are a couple of these studies that
     10   affected by what is omitted when you look at    10   I found to be extremely important if you want
     11   some of the articles being review articles,     11   me to explain that to you.
     12   which give you an understanding of what was     12       Q. Do you break out in your report
     13   generally accepted within the scientific        13   in any other paragraphs which of these eight
     14   community when you get to reviews, those        14   articles you consider to be extremely
     15   kinds of things. So it really is a              15   important?
     16   case-by-case basis.                             16            And if you could just point me
     17            But certainly I do believe that        17   to paragraph numbers, that's good enough if
     18   it is possible that in another circumstance     18   you have, in fact, broken them out.
     19   where things are omitted you would come to      19       A. I have. I -- this whole
     20   the same conclusion, that you give those        20   section I break -- I talk about each one
     21   conclusions less weight.                        21   individually. So I think you can tell by
     22        Q. Is there a way, if someone were         22   what I read -- what I'm discussing what I
     23   try to replicate the weighting of particular    23   thought was important and informative about
     24   evidence based upon your process, for them to   24   each of those.
     25   know whether or not the omission of a           25       Q. Do you rank the eight studies

                                            Page 99                                            Page 101
      1   citation of certain studies means that a         1   in any way by their importance to you?
      2   study should be given little weight or           2        A. Not with any numerical rank,
      3   whether it wouldn't affect the weighting of      3   no, but certainly I think I do that for you
      4   that scientific article?                         4   when I talk about the studies. I give you an
      5             MS. PARFITT: Objection. Form.          5   understanding of ones that I think are
      6             THE WITNESS: So I think this           6   particularly informative and ones that are
      7       is the issue of judgment, training and       7   not.
      8       experiencing that is applied to all          8            So, for example, I weight the
      9       such assessments, and this is why            9   human data -- I think I tell you that -- more
     10       different scientists may come to            10   than the animal data because of the
     11       different conclusions. But certainly        11   differences between the reproductive tracts
     12       it is -- it was important to my             12   of humans versus animals generally, upright
     13       assessment on this issue because of         13   versus -- upright and habits and things that
     14       the prominent role that the CIR report      14   humans do that relate to insertions in and
     15       gives to their conclusions here for         15   out of the reproductive tract, I guess is a
     16       why they then drew conclusions about        16   nice way to describe it, versus an animal,
     17       safety. And so that link was                17   that those can have, and then also the
     18       extremely important.                        18   differences between animals and humans in
     19             MS. BRANSCOME: Can we pause           19   terms of bursal sac around the ovary, those
     20       for just a moment?                          20   kinds of things.
     21             VIDEOGRAPHER: We are going off        21            So I do -- that -- I guess that
     22       the record at 11:00 a.m.                    22   ranking I do give you here. I tell you that
     23             (Off the record at 11:00 a.m.)        23   I think these -- I think that the most
     24             VIDEOGRAPHER: We are back on          24   relevant are going to be the human studies
     25       the record at 11:01 a.m.                    25   versus the animal studies.

                                                                     26 (Pages 98 to 101)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 28 of 147
                                         PageID: 195653
                  Confidential - Pursuant to Protective Order
                                           Page 102                                            Page 104
      1      Q.      Right.                                1            So what I do is, when I'm
      2             So my question specifically is,        2   discussing about these -- all of these papers
      3   where would you point me to in your report to    3   here contribute to my weight of the evidence.
      4   understand the weight that you gave each of      4   And if it's a human study, I'm giving those
      5   these particular eight studies?                  5   more weight than I'm giving animal studies.
      6        A. At my descriptions of those              6   And that's described.
      7   studies and what I describe. That's all I        7            And then within papers I'm
      8   can tell you.                                    8   pulling out information that contributes to
      9        Q. And I'm just asking,                     9   what I think is important about what the
     10   Dr. Plunkett, can you point me in the report    10   study says, and that -- and the importance of
     11   to where that discussion takes place?           11   what is described within the study
     12        A. It takes place -- I have a              12   contributes to my weight.
     13   discussion for each study, and I would -- and   13            And I don't know how else to
     14   if you read what I say about each study, I      14   describe it to you. That is the process that
     15   try to go through what the strengths and        15   scientists go through when they evaluate
     16   weaknesses of those studies are.                16   data.
     17             And so those -- that would be,        17       Q. And so my question to you:
     18   let's see -- you want me to give you the        18   Earlier you said of these eight studies, some
     19   starting paragraph?                             19   of them were particularly important to you.
     20        Q. So, for example, Parmley and            20            How would I, using only what's
     21   Woodruff. Can you point me to where in your     21   written in your report, understand which of
     22   report you discuss Parmley and Woodruff, such   22   those eight studies was of particular
     23   that I can understand the weight that you       23   importance to you?
     24   gave that particular study?                     24       A. So it would have to do with
     25        A. So the year of it is...                 25   what I discuss about the study. So I'm

                                           Page 103                                            Page 105
      1            So I think I discuss it in              1   telling you, when I -- if you look through
      2   paragraph 44, and so I describe for you what     2   this entire section, this is the Parmley and
      3   important information is in there, which is      3   Woodruff paper. It is important because it
      4   the information that I take as forming part      4   addresses the specific issue of movement of
      5   of my weight of the evidence.                    5   environmental substances from the outside to
      6            So one of the most important            6   the inside. So I'm giving that importance in
      7   things is what -- they have a figure they        7   my evaluation because of what that author is
      8   show, and they're showing -- which is one of     8   actually discussing.
      9   the unique figures in all of the published       9             I don't know how else to
     10   literature. But it talks about the              10   describe that. I apologize. I mean, to me,
     11   differences between the female reproductive     11   weight of the evidence is a process that
     12   tract and the male reproductive tract, and it   12   scientists use bringing their training and
     13   shows the actual -- it talks about a            13   experience and judgment, and it's not a
     14   discussion of movement from substance in the    14   numerical process across the board, it just
     15   environment through -- into the vagina, into    15   is not, based on the way weight of the
     16   the fallopian tubes. So it's a paper that       16   evidence is used within science.
     17   addresses that very specific issue.             17        Q. Now, Dr. Plunkett, though, you
     18        Q. So my question to you, though,          18   would acknowledge that if you wanted to
     19   is, where do you have a discussion of the       19   assign numerical values to the studies, that
     20   weight that you give to these particular        20   has been something that has been done by
     21   articles?                                       21   other authors and other authors on whom you
     22        A. So the discussion of the weight         22   rely, correct?
     23   has to do with the information described. I     23             MS. PARFITT: Objection. Form.
     24   don't give them a numerical ranking. I told     24             THE WITNESS: I don't believe
     25   you that.                                       25        that's true. I'll need to look -- I


                                                                   27 (Pages 102 to 105)
                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 29 of 147
                                          PageID: 195654
                Confidential - Pursuant to Protective Order
                                            Page 106                                             Page 108
      1        don't believe that's true with respect       1       Q. All right. And you are aware
      2        to the biological information. I             2   that there is, in fact -- called PDQs,
      3        believe it may be true with respect to       3   correct?
      4        the epidemiology studies.                    4       A. That's the abbreviation, yes.
      5             You want me to look real quick          5       Q. Right. And you're aware that
      6        to confirm that? I can do that really        6   the National Cancer Institute has in fact
      7        quick, but...                                7   published a PDQ that addresses a potential
      8    QUESTIONS BY MS. BRANSCOME:                      8   connection between talc and ovarian cancer,
      9        Q. I'm simply saying, could you              9   correct?
     10    assign a numerical value if you chose to do     10       A. I'm aware of several that have
     11    so?                                             11   been done over the years, but, yes, I'm aware
     12             MR. MEADOWS: Objection.                12   of that.
     13        Objection. Form.                            13       Q. And have you reviewed those?
     14             THE WITNESS: And I'm -- what           14       A. Yes, I have.
     15        I'm trying to say to you is I think         15       Q. Are they listed on your
     16        that I -- that there is no one set of       16   reliance list?
     17        rules that you would assign in order        17       A. No, but they're listed within
     18        to do that for all the types of             18   the materials as discussed within my
     19        studies that you weigh.                     19   depositions, and I thought -- and my
     20             I would agree that I have seen         20   testimony. I thought that was part of my
     21        it routinely done -- well, not              21   reliance list. I believe that it -- it was
     22        routinely, but I've seen it done            22   in my reliance list, is encompassing all of
     23        within the epidemiological community        23   the testimony as well as the actual
     24        when they go through the epi data.          24   documents. Maybe I'm mistaken, but that was
     25        But not -- it's not something that          25   my understanding.

                                            Page 107                                             Page 109
      1        I've seen done when you talk about           1       Q. Okay. If they are not on your
      2        weight of the evidence as part of a          2   reliance list, should they be?
      3        human health risk assessment. That is        3       A. I believe that they are on my
      4        not something that scientists                4   reliance list by it having been pointed to as
      5        typically do as far as giving                5   part of the testimony that I have given and
      6        numerical rankings.                          6   the documents that I have relied upon during
      7    QUESTIONS BY MS. BRANSCOME:                      7   testimony.
      8        Q. You're familiar with the                  8       Q. Okay. And you are aware that
      9    National Cancer Institute, correct?              9   they have issued a PDQ that -- on the website
     10        A. Yes, I am.                               10   as of today, correct?
     11        Q. All right. They are considered           11       A. I haven't looked today, so I'm
     12    to be the nation's leader in cancer research,   12   sure -- but I know that -- I don't believe it
     13    correct?                                        13   has been removed, so I believe that there is
     14             MS. PARFITT: Objection to              14   something there, yes.
     15        form.                                       15       Q. All right. And what is your
     16             THE WITNESS: The National              16   understanding of the position stated in the
     17        Cancer Institute?                           17   PDQ with respect to a possible link between
     18             Yes, they are. I don't know if         18   talc and ovarian cancer?
     19        they're "the" leading, but they're one      19       A. So I'd have to look at the one
     20        of the leading, that's true.                20   today to tell you what it says, but it's
     21    QUESTIONS BY MS. BRANSCOME:                     21   evolved over time and it's changed over time,
     22        Q. Okay. And you're familiar with           22   and I have specific opinions that I've
     23    publications that they issue called physician   23   expressed at trial about that issue.
     24    data queries?                                   24            Do you want me to go into that
     25        A. Yes, I am.                               25   details or I mean --


                                                                    28 (Pages 106 to 109)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 30 of 147
                                          PageID: 195655
                Confidential - Pursuant to Protective Order
                                            Page 110                                             Page 112
      1        Q. I'm not asking about your                 1   any -- whatever portion of this is helpful to
      2   opinions about what their position is. I'm        2   you.
      3   simply asking you, Dr. Plunkett, the most         3            And then if you could answer my
      4   recent NCI PDQ that you have reviewed, what       4   question, Dr. Plunkett, of what is the
      5   is the position that the National Cancer          5   position as stated in Deposition Exhibit
      6   Institute has taken with respect to the           6   Number 7 of the National Cancer Institute
      7   relationship between talc and ovarian cancer?     7   with respect to the relationship between talc
      8        A. So I would want to pull it out            8   and ovarian cancer?
      9   to give you the specific statement of their       9       A. So I would be looking at the
     10   position, but their position has changed such    10   section on page 12 of 18, and maybe you're
     11   that later in time they've weakened the          11   looking somewhere else, but that's where they
     12   link -- their statements about the link          12   actually talk about perineal talc exposure.
     13   between ovarian cancer and genital talc use.     13   And it's under the section where they have
     14            So it used to be seen as a              14   now moved into factors with an adequate
     15   cause, and now I believe it's not seen as a      15   evidence of an association and they describe
     16   cause. I don't know the exact language,          16   it here. So they're calling it an
     17   though. I'd have to look at it as -- maybe       17   association where the weight of the evidence
     18   risk factor is the better word to use.           18   is not adequate to support that association.
     19            And I need to look at the most          19       Q. All right. And so the first
     20   recent one. And that would be the best way.      20   sentence of the section under perineal talc
     21   Let's just see what it says.                     21   exposure states, "The weight of the evidence
     22        Q. Okay. 'Cause is it your                  22   does not support an association between
     23   position as you sit here today that the          23   perineal talc exposure and an increased risk
     24   National Cancer Institute has ever issued a      24   of ovarian cancer."
     25   statement that talc causes ovarian cancer?       25            Did I read that correctly?

                                            Page 111                                             Page 113
      1        A. I believe it was listed as a              1       A. You did read that correctly.
      2    risk factor for ovarian cancer in the older      2       Q. All right. And it indicates
      3    PDQs.                                            3   that "results from case-control and cohort
      4             (Plunkett Exhibit 7 marked for          4   studies are inconsistent."
      5        identification.)                             5            Did I read that correctly,
      6    QUESTIONS BY MS. BRANSCOME:                      6   Dr. Plunkett?
      7        Q. I do have a copy here. Just               7       A. You did.
      8    for the sake of the record, we will mark this    8       Q. And the question that I would
      9    as Plunkett Deposition Exhibit Number 7.         9   ask simply is, do you discuss the National
     10             Handing a copy to you,                 10   Cancer Institute PDQ in the report that
     11    Dr. Plunkett, do you recognize the document     11   you've issued in the MDL, which is identified
     12    that I just handed you that's marked as         12   as Exhibit 4?
     13    Exhibit 7?                                      13       A. I don't specifically discuss
     14             MR. LOCKE: What's the date of          14   this document, no, I do not.
     15        that?                                       15       Q. Okay. And you understand that
     16             MS. BRANSCOME: This was                16   the NCI PDQ did a weight of the evidence
     17        printed on December 14, 2018.               17   analysis that followed a formal evidence
     18             THE WITNESS: It's -- the               18   ranking system, correct?
     19        updated date is June 22, 2018, if that      19            MS. PARFITT: Objection.
     20        helps.                                      20            THE WITNESS: So I -- it's not
     21             MR. LOCKE: Yes, thank you.             21       laid out here, but they do have a
     22             THE WITNESS: I have seen this          22       process they use.
     23        one, yes.                                   23            Is that what you're asking me?
     24    QUESTIONS BY MS. BRANSCOME:                     24   QUESTIONS BY MS. BRANSCOME:
     25        Q. All right. And you can review            25       Q. Yes.


                                                                    29 (Pages 110 to 113)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 31 of 147
                                         PageID: 195656
               Confidential - Pursuant to Protective Order
                                           Page 114                                             Page 116
      1       A. Yes. And again, they're                   1   of epidemiological evidence?
      2   ranking the epidemiological data, and so I       2       A. If by -- you mean prevent, was
      3   understand that that is there, yes.              3   someone stopping me from doing that, no. But
      4       Q. Now, you've said a few times              4   if you ask what would be standard practice
      5   that you could qualitative -- you could give     5   based on my experience, I would not be doing
      6   a quantitative weight to an epidemiological      6   that.
      7   study, somehow suggesting that it is             7       Q. Has anyone -- and I'm not
      8   different from other types of studies.           8   referring in this case to any attorneys. But
      9            What is it about a                      9   has anyone reviewed your -- the weighting
     10   toxicological study, for example, that would    10   that you gave specific pieces of evidence as
     11   prevent someone from giving a quantitative      11   essentially a form of a peer review process?
     12   weight in a weight of the evidence analysis?    12       A. If by that you mean have I
     13       A. Because it is just what is               13   submitted my opinions for publication, no, I
     14   typically done and not done. There are          14   have not done that. Part of -- that's partly
     15   certain practices within the community, what    15   driven by my understanding of the evidence
     16   is kind of -- I would say that scientists use   16   that I reviewed, that some of it may not be
     17   routinely, or scientists have used. Not all     17   something that I should be discussing
     18   scientists give numerical rankings to           18   necessarily in a public form outside of the
     19   epidemiological data either, because even       19   cases I'm working in.
     20   within a Bradford Hill assessment, when you     20            But certainly I have not
     21   use the considerations, there's no              21   submitted it for publication, if that's what
     22   requirement for ranking studies in order to     22   you mean. No, I have not done that.
     23   meet the requirements of use of that            23       Q. Okay. Has the methodology that
     24   methodology.                                    24   you have used in the MDL, has that been --
     25       Q. Okay.                                    25   have you submitted any type of analysis using

                                           Page 115                                             Page 117
      1       A. But I have seen it done in the            1   that methodology for publication even outside
      2   epidemiology community, and that is the most     2   of particularly looking at Johnson's baby
      3   common place I see it. I do not see other        3   powder, for example?
      4   toxicologists that are assessing animal          4        A. Yes, in -- if you look at my
      5   studies and in vitro studies doing it that       5   publications that describe risk assessments
      6   same way.                                        6   that I have done. So the one that would come
      7            When you do a human health risk         7   to -- to play that's similar as far as the
      8   assessment, that isn't routine practice to do    8   scope of the weight of the evidence would --
      9   numerical rankings on studies.                   9   at least with the animal and the in vitro
     10       Q. Okay.                                    10   studies, would be the paper that I published
     11       A. At least in my experience and            11   on copper, looking at the database of copper
     12   in my training, and I was trained in the use    12   and identifying points of departure and
     13   of risk assessment by one of the individuals    13   target organs and risk -- risk issues based
     14   who actually invented the process.              14   on copper use in humans, trying to set a --
     15       Q. Okay. Okay. But do you                   15   understand what a safe exposure level could
     16   consider the epidemiological evidence as part   16   be to copper in water. And that was
     17   of your risk assessment in the MDL?             17   published -- that actually was one of the
     18       A. I do, because I'm looking at it          18   papers that's published with Dr. Krewski, who
     19   in the context of what is out there and         19   is one of the authors of this risk assessment
     20   what's available. I don't always have human     20   in Canada.
     21   data when I do risk assessments, but in this    21        Q. And is it your position that
     22   one I do. So I do consider them, yes.           22   you follow the same methodology in what
     23       Q. Okay. Did anything prevent you           23   you've reported in the MDL with respect to
     24   from doing a quantitative assessment of the     24   Johnson's baby powder that you did in your
     25   weight that you were giving different pieces    25   analysis of copper?


                                                                   30 (Pages 114 to 117)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 32 of 147
                                         PageID: 195657
                Confidential - Pursuant to Protective Order
                                           Page 118                                              Page 120
      1       A. Yes, with the process of going             1   include something like the Gonzales 2016
      2   through all of the publicly available             2   study, but yet you will disagree the
      3   information, putting it together based on its     3   2013 -- the CIR 2013, you will give it little
      4   relevancy and reliability.                        4   weight for not discussing particular studies?
      5            We did a process where we                5        A. So that's a very different
      6   grouped it based on animal versus human, just     6   exercise. You want me to explain my thinking
      7   like I've done here. And we call it the           7   on that? I can do that for you, but I
      8   bins, but it's the same idea. I have a bin        8   believe that's apples and oranges question.
      9   of human idea, I have a bin of animal data        9             My reasons for giving little
     10   and a bin of in vitro data. And so, yes, the     10   weight to the CIR overall assessment versus
     11   process was very, very similar.                  11   my weight or the assessment I make of an
     12       Q. Okay. Returning back to some              12   individual piece of data, that's different.
     13   documents that you chose not to cite in your     13   And that's what you're describing for me.
     14   report, you do not discuss the Gonzales 2016     14             And I believe Gonzales is in my
     15   study in your report for the MDL, correct?       15   overall reliance list, so I have read
     16            MS. PARFITT: Objection. Form.           16   Gonzales. It is something that I have
     17            THE WITNESS: I'll have to               17   considered; it's not something that I've
     18       look. It is not cited in the                 18   cited in my paragraphs. So it doesn't mean
     19       reference list to my report, that is         19   it didn't go into my weight of the evidence,
     20       true. So that means it would not be          20   because I do have it and I have reviewed it.
     21       mentioned specifically in the body of        21   I just don't recall the details on it.
     22       the report.                                  22        Q. Is it your position as you sit
     23   QUESTIONS BY MS. BRANSCOME:                      23   here today that you know for sure that the
     24       Q. You're familiar with the                  24   CIR panel did not -- was not aware of or even
     25   Gonzalez 2016 study, correct?                    25   considered any of the eight studies that you

                                           Page 119                                              Page 121
      1         A. If you want me to talk about             1   contend the omission of which makes it of
      2    it, you'd have to pull it out for me, but I      2   little weight?
      3    know the name, yes.                              3             MS. PARFITT: Objection. Form.
      4         Q. Okay. And it was looking at an           4             THE WITNESS: I would say I'm
      5    association between the perineal use of talc     5        99.9 percent sure, based on the
      6    and ovarian cancer, correct?                     6        process that is -- that goes in. And
      7         A. That, I'd have to look at it to          7        if you want me to explain, I'll tell
      8    tell you. I believe it was a human study         8        you why I feel that level of surety.
      9    that would be consistent with that, but I        9             You know, I can always say that
     10    need to pull it out to look at it.              10        maybe there was someone that came to
     11         Q. All right. Do you, as you sit           11        the panel that did a search on their
     12    here today, do you know why you did not         12        own, but that is not what's done. The
     13    discuss it in your report?                      13        individuals that come to the panel are
     14         A. I wasn't doing a full causation         14        given a body of information provided
     15    analysis in this report, so as a result I'm     15        to them in written form that they
     16    not trying to characterize every piece of       16        review. So it's not like they -- they
     17    human data. But I certainly am looking at       17        have access to anything that isn't
     18    the consistency across the studies, and         18        cited in the actual report.
     19    that's what I've done.                          19   QUESTIONS BY MS. BRANSCOME:
     20             And I mention it here. I do            20        Q. Okay. The eight articles that
     21    think I mention here that there are studies     21   you discuss that are not mentioned in the CIR
     22    that came to different conclusions than the     22   panel's work, they are publicly available
     23    ones that I'm specifically describing.          23   pieces of scientific literature, correct?
     24         Q. Okay. And so why is it that --          24        A. Yes, which was why it's
     25    why is it acceptable for you to choose not to   25   interesting to me that those were not grabbed


                                                                    31 (Pages 118 to 121)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 33 of 147
                                         PageID: 195658
                Confidential - Pursuant to Protective Order
                                           Page 122                                            Page 124
      1   and included within -- within the assessment     1   section on the role of the industry in
      2   done by the -- by the PCPC's group that          2   Section 7.
      3   handles CIR -- handled the CIR process here.     3       Q. Okay. So the newspaper
      4        Q. Okay. We received just before            4   articles are not something that you are
      5   your deposition, a few days in advance, a        5   considering as part of your analysis of
      6   list of materials that have been added to        6   whether there is a risk of ovarian cancer
      7   your reliance list since you produced your       7   from Johnson's baby powder, correct?
      8   report in this case.                             8       A. No, that's a separate issue
      9            Did you provide that list of            9   because it's not -- it's not scientific data,
     10   materials to counsel to -- are you aware of     10   per se.
     11   the materials that were identified?             11       Q. Okay. All right. Now, if you
     12        A. Yes, I am. They're ones that I          12   could turn to paragraph 31 in your report.
     13   have reviewed since my report and -- yes,       13            Okay. You discuss the
     14   which would have been, I believed, important    14   biological effects of talc in this paragraph
     15   for you to know about, because obviously you    15   and in others, correct?
     16   wouldn't know if I hadn't provided that to      16       A. Yes, I would call this my
     17   you, and fair game for you to ask me about.     17   introductory paragraph to transition into a
     18        Q. On that list was contained a            18   specific topic, yes.
     19   number of news articles.                        19       Q. Okay. And you talk here about
     20        A. Uh-huh.                                 20   the structure and size of talc affecting its
     21        Q. Are news articles pieces of             21   properties.
     22   scientific information that you typically       22            What do you mean by that?
     23   consider in performing a risk assessment?       23       A. So whether it's fibrous enough,
     24        A. No, they're not part of my risk         24   platy, fibrous. Whether it is particle sizes
     25   assessment, but they -- but they were           25   of less than 10 microns, less than 5 microns,

                                           Page 123                                            Page 125
      1    relevant to -- they were relevant to my         1   greater than 75 microns. There's
      2    overall assessment of the issue of what the     2   different -- certain pieces of literature
      3    company is doing with regard to public          3   deal with different size ranges of talc. The
      4    dissemination of information.                   4   smaller the size range, the more toxic it is,
      5             So it's not the risk assessment        5   for example, to lung tissue; the more likely
      6    part. It's more on the issue of the -- when     6   it is to be able to move, based upon the
      7    I talk about the different influences of the    7   size, versus being engulfed by a macrophage
      8    company on public dissemination of              8   if it's a larger particle, things like that.
      9    information, I went through the different       9        Q. So focusing specifically on
     10    specific issues. So this would be a specific   10   ovarian cancer, what role does size and
     11    issue related to a news report that someone    11   structure of a talc particle play with
     12    comes out with, the Reuters report, and then   12   respect to a risk of ovarian cancer in your
     13    looking at what the company is saying in       13   opinion?
     14    addition to that.                              14        A. I don't think I formed a
     15             So it's understanding -- for          15   opinion that it has to be a specific size or
     16    example, the documents that Reuters            16   structure, because the -- my opinions are
     17    discusses, many of those I'm sure I have       17   related to the fact that we have a complex
     18    seen, although I don't have access to -- I     18   mixture of ingredients within the body
     19    wasn't able to go on websites and download     19   powder, and my assessment's been on the
     20    everything that they cite. But certainly       20   overall consumer product, not on any one
     21    they looked familiar, some of the ones I did   21   particular ingredient only within it.
     22    see.                                           22              So it's the idea of just
     23             So it's that issue of -- the          23   understanding that size and structure of
     24    last part of my report, I think. Want me to    24   these particles are general principles that
     25    tell you the section? It would be in the       25   affect toxicology. So a larger particle or a


                                                                   32 (Pages 122 to 125)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16         Filed 07/23/24         Page 34 of 147
                                          PageID: 195659
                Confidential - Pursuant to Protective Order
                                            Page 126                                             Page 128
      1   fibrous particle may have a different tissue      1   known to affect tissue toxicity as far as
      2   toxicity response than a smaller particle.        2   adverse events like inflammation and/or
      3            So in other words -- I think I           3   irritation.
      4   discuss this later in a paragraph about           4        Q. Okay. So that's -- that's what
      5   pleurodesis, the idea that you can get acute      5   I'm trying to understand in more detail.
      6   versus chronic inflammation, or respiratory       6             What is your opinion with
      7   distress or not. So it's just this idea of a      7   respect to -- let's take size to start with.
      8   general principle that outlines how you would     8   Is there a particular size talc particle that
      9   think about particles generally as a              9   is more or less likely to cause inflammation,
     10   toxicologist.                                    10   in your opinion?
     11        Q. Well, okay. So you said that             11        A. It depends whether you're
     12   your assessment is based on the overall          12   talking about acute or chronic. I would say
     13   consumer product. That would be Johnson's        13   for acute inflammation the larger particles,
     14   baby powder or SHOWER TO SHOWER®, correct?       14   such as some of the particle sizes that are
     15        A. Yes.                                     15   used in the pleurodesis products, are more
     16        Q. All right.                               16   likely to initiate an acute inflammatory
     17        A. Or Shimmer. I think that's the           17   response due to the fact that they're large
     18   other name. There's a third product.             18   enough that the body will recognize them with
     19        Q. Okay. But my question to you             19   a fairly robust foreign body response.
     20   is, you actually cite a number of pieces of      20        Q. What is your definition of
     21   literature in the section about the alleged      21   large?
     22   toxicity of talc that don't relate to the        22        A. So the literature varies, but
     23   overall consumer products at issue in this       23   certainly particles that are above -- some of
     24   case, correct?                                   24   the literature talks about particles that are
     25            MS. PARFITT: Objection. Form.           25   in the range of 25 to 75. Some of them talk

                                            Page 127                                             Page 129
      1               THE WITNESS: No, I would              1   about larger particles even than that.
      2         disagree with that when you use the         2             It has to do with the fact
      3         word "relate." Relate to me means is        3   that -- this is complicated by the fact that
      4         it relevant to the assessment, and          4   any consumer product -- or any talc sample
      5         they are, even if they're not just on       5   will have a range of sizes because they don't
      6         the finished product.                       6   select for one size. They select for smaller
      7               But if what you mean is that          7   than. So a 200 mesh, a 400 mesh, that has do
      8         there are studies that did not test         8   with what will filter through.
      9         the consumer product but individual         9             So pleurodesis, they try to
     10         ingredients or -- that is true, yes,       10   avoid for those products the really small --
     11         but all of that is relevant or relates     11   large amounts of less than 10 because that
     12         to the overall risk assessment.            12   leads to respiratory distress, whereas many
     13    QUESTIONS BY MS. BRANSCOME:                     13   of the consumer talc products are using much
     14         Q. Okay. So given your view that           14   smaller, finer particles to get that feel and
     15    information about the individual constituents   15   performance they want from the consumer body
     16    is relevant to evaluating the overall           16   powders.
     17    toxicity of the ultimate consumer products,     17       Q. Have you reviewed -- focusing
     18    then my question to you is: How does the        18   specific on Johnson & Johnson's products,
     19    structure and size of the component talc        19   have you reviewed the documents that relate
     20    particles play a role in toxicity with          20   to the specifications for the Johnson's
     21    respect to ovarian cancer?                      21   products with respect to the size of the
     22         A. Just generally -- it's not              22   plate particles?
     23    just -- well, with respect to ovarian cancer,   23       A. I have seen those, yes. I
     24    we start with irritation, inflammation          24   can't tell you what each of them says without
     25    potential. Size of particles and shape are      25   pulling them out, but, yes, that is certainly


                                                                     33 (Pages 126 to 129)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 35 of 147
                                         PageID: 195660
               Confidential - Pursuant to Protective Order
                                           Page 130                                             Page 132
      1   documents I have seen and relied upon.           1   effects that beneficiation can have on the
      2       Q. Is it consistent with your                2   level of the component -- the components in
      3   understanding that it was Johnson & Johnson's    3   talc and what ultimately ends up in one of
      4   intention to select large platy talc             4   Johnson & Johnson's consumer products?
      5   particles for its products?                      5            MR. MEADOWS: Objection.
      6            MS. PARFITT: Objection to               6            THE WITNESS: So I'm not -- I'm
      7       form.                                        7       not familiar with all the details, but
      8   QUESTIONS BY MS. BRANSCOME:                      8       I am familiar that it is a process
      9       Q. Have you seen that in the                 9       they're using to attempt to result in
     10   documents?                                      10       a product that has characteristics
     11       A. I don't know that it's                   11       that would be desirable for a consumer
     12   described quite that way, but they certainly    12       product.
     13   were doing a 200 mesh selection. So -- for      13            Again, there is my
     14   their body powders products. So -- and they     14       understanding that others are going to
     15   were trying -- and they did make attempts to    15       be discussing the geology or the
     16   look for sources that were more platy talc      16       processing, and that is not something
     17   than other forms, but that doesn't ensure       17       I'm looking at.
     18   that everything is platy talc.                  18            The literature as it relates to
     19       Q. Are you familiar with the term           19       what has been tested in the public
     20   "fines"?                                        20       literature in particular, and that
     21       A. Yes, generally, but I'm not --           21       would be either an ingredient or a --
     22   but I'm not an expert in the processing of      22       or a consumer product or a -- they may
     23   talc as far as how you would go about           23       discuss exposure occupationally to
     24   choosing an ore or a mine. There's others       24       mining or milling, which is -- which
     25   that will be addressing that. That's not my     25       is an issue that you can consider when

                                           Page 131                                             Page 133
      1   area.                                            1        you're reviewing that literature as
      2       Q. What is your understanding of             2        well.
      3   the term "fines"?                                3   QUESTIONS BY MS. BRANSCOME:
      4       A. My understanding of the term              4        Q. Okay. And so when you cite --
      5   "fines" has to be looking for a sample or a      5   for example, you have a significant number
      6   group that has been processed such that it       6   of -- I'm trying to find the right paragraph.
      7   has certain characteristics.                     7            You have a section in your
      8            Other than that, I would refer          8   report where you discuss a number of
      9   you to the individuals in litigation that are    9   different articles that relate to talc, and
     10   going to be dealing with the processing.        10   in parentheses you identify that the talc
     11       Q. Okay. Have you taken into                11   source might be cosmetic, it might be
     12   account in your analysis in any way the         12   industrial, things of that nature, correct?
     13   beneficiation process that occurs between the   13        A. Yes, I do that on purpose
     14   time that the talc is mined and it ends up in   14   because I wanted -- I did look at the
     15   one of the consumer products that is relevant   15   literature to understand what they were --
     16   to your analysis?                               16   what they were -- what type of exposure they
     17            MR. MEADOWS: Objection.                17   were describing.
     18            THE WITNESS: So what do you            18        Q. Okay. And so understanding
     19       mean by taking it into account? Am I        19   that some of those products are not
     20       aware that they have something that's       20   representative of what ultimately is in
     21       in place for that? Yes.                     21   Johnson's baby powder, do you have anything
     22            But take into account, what do         22   in your report that explains how you did or
     23       you mean by that?                           23   did not give weight to those particular
     24   QUESTIONS BY MS. BRANSCOME:                     24   studies?
     25       Q. Are you familiar with the                25            MS. PARFITT: Objection. Form.


                                                                   34 (Pages 130 to 133)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 36 of 147
                                         PageID: 195661
                Confidential - Pursuant to Protective Order
                                           Page 134                                            Page 136
      1              THE WITNESS: Let me look and           1   something that ever ended up in Johnson's
      2        see what I say.                              2   products, correct?
      3              If the question has to do with         3           MR. MEADOWS: Objection.
      4        numerical rankings, no, I did not do         4           THE WITNESS: I don't think I
      5        that. But you're asking something            5      can answer that yes or no. I haven't
      6        else, right, broader than that,              6      done an assessment to see whether it
      7        correct?                                     7      ever ended up in the products. That's
      8    QUESTIONS BY MS. BRANSCOME:                      8      a different question.
      9        Q. The question that I have is,              9           I certainly am aware of the
     10    how did -- is there somewhere in this report    10      fact that was not a primary source of
     11    that I can understand the weight that you       11      their talc, that is true. I do know
     12    assigned to say a study that related to         12      that.
     13    industrial talc as opposed to information       13           In other words, I don't have
     14    about cosmetic talc, for example?               14      records from -- going back from 1894
     15              MR. MEADOWS: Objection.               15      on what the source of their talc was.
     16              THE WITNESS: So I -- I'm -- I         16      So I can't tell you over time.
     17        believe I address that. I don't know        17           What I do know, what's been put
     18        it's exactly answering your question,       18      into depositions and testimony of
     19        but I lay out for you the                   19      company employees more recently, where
     20        characteristics of the literature in        20      it's my understanding that the
     21        paragraph 37, and I point out that the      21      principal sources over the years were
     22        scientific literature varies.               22      either the Vermont mine, the Italian
     23              And the fact -- and I point --        23      mine or the Chinese mine. And there
     24        and I admit -- I'm not admitting. I'm       24      were different interruptions in time
     25        stating the fact that in some cases         25      where different mines were used,

                                           Page 135                                            Page 137
      1        the authors will not describe it             1       depending on sourcing.
      2        specifically as the type of talc, but        2   QUESTIONS BY MS. BRANSCOME:
      3        just talc, whereas -- with no                3       Q. So as part of your expert
      4        description of purity or state, for          4   analysis where you are evaluating articles
      5        example. But in cases where the              5   that relate to different types of talc from
      6        literature does, I did consider that         6   different sources of talc, have you done an
      7        in my weight of the evidence.                7   analysis of how those particular types of
      8             So, for example, when I -- when         8   talc do or do not relate to what is in the
      9        I lay it out here in these bullets           9   consumer product manufactured by Johnson &
     10        where I'm putting for you tremolite         10   Johnson?
     11        mining industrial grade cosmetic, it        11            MS. PARFITT: Objection. Form.
     12        certainly is something that I weighed.      12            THE WITNESS: The first part of
     13        And obviously as much information as I      13       your question, again? I'm sorry.
     14        can get on cosmetic-grade talc is           14            MS. BRANSCOME: Would you read
     15        going to be most important in the           15       it back?
     16        assessment, but that doesn't mean the       16            THE WITNESS: Could you read it
     17        other information isn't relevant.           17       back to me again? I didn't mean to
     18             You want me to explain why?            18       wander, but the first few words I
     19    QUESTIONS BY MS. BRANSCOME:                     19       missed.
     20        Q. Well, so, for example, you               20            (Court Reporter read back
     21    describe the Dreessen article that related to   21       question.)
     22    trimellitic talc that's mined out of            22            THE WITNESS: Okay. So I
     23    New York.                                       23       certainly did, which is why I'm
     24             You would agree that                   24       breaking this out here for you this
     25    trimellitic talc from New York is not           25       way.


                                                                    35 (Pages 134 to 137)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 37 of 147
                                         PageID: 195662
               Confidential - Pursuant to Protective Order
                                           Page 138                                            Page 140
      1            So I am -- I am certainly               1        that to draw conclusions based upon
      2       recognizing, and I analyzed on the           2        what was available for me to assess.
      3       paper -- through the papers what type        3   QUESTIONS BY MS. BRANSCOME:
      4       of product, if available, that the           4        Q. Okay.
      5       data is on.                                  5        A. I don't know how else to answer
      6            But if you read my report in            6   it for you. That's what the section is meant
      7       the process of risk assessment, all of       7   to do, and that's why I broke it out that
      8       these categories of papers are               8   way. You know, I recognize that there is
      9       relevant to telling you something            9   data on different things.
     10       about what talc can do. And then when       10             What's interesting about even
     11       you talk about drawing final                11   the data on different things, there's a
     12       conclusions, I'm looking for                12   common mechanism that is involved with the
     13       information, if I can, and I have it,       13   type of tissue toxicity you get, and that's
     14       that is on point to the product that        14   irritation and inflammation. Regardless of
     15       was sold.                                   15   whether it is of a certain grade or not, you
     16            So certainly the studies that          16   get certain types of adverse reactions. May
     17       give me information on cosmetic-grade       17   be a more sustained reaction with a
     18       talc are extremely important to my          18   industrial grade versus cosmetic grade, but
     19       assessment, and they're ones that I've      19   they all have the capability to produce that
     20       discussed or we've even used in trial       20   type of adverse effect.
     21       before when we've talked about putting      21        Q. Dr. Plunkett, where can you
     22       together a timeline.                        22   point me to in your report that you discuss
     23            That's what this is about, by          23   the weight that you give studies that relate
     24       the way. This discussion here, I'm          24   to talc from New York as opposed to studies
     25       starting to lay out what information        25   that relate to cosmetic talc that ultimately

                                           Page 139                                            Page 141
      1       was available over time, and that's          1   ended up in Johnson's baby powder?
      2       simply what this is. It's a survey of        2           MS. PARFITT: Objection. Form.
      3       the literature that talks about              3           THE WITNESS: I've tried to
      4       adverse effects of talc, and if I can,       4      answer that for you. The weight that
      5       I separate it into different qualities       5      I'm giving -- the weight that I'm
      6       or purities.                                 6      giving is part of my assessment. So,
      7   QUESTIONS BY MS. BRANSCOME:                      7      again, I don't give numerical
      8       Q. Dr. Plunkett, respectfully, I             8      rankings. I've answered that for you.
      9   don't believe you answered my question.          9      I don't do that.
     10            Can you point me to anywhere in        10           What I instead do is I'm
     11   your expert report that's been produced in      11      looking at everything that's relevant,
     12   this MDL where you do an analysis of how the    12      everything that's available. I do
     13   different talc types and sources that you are   13      categorize it, so I am selecting -- I
     14   citing as support for the toxicity of talc      14      am identifying or analyzing the
     15   generally relate to the products manufactured   15      information for what it describes.
     16   by Johnson & Johnson?                           16      And then if you go further on down, I
     17            MR. MEADOWS: Objection.                17      try to tell you what I think is
     18            THE WITNESS: So I don't know           18      important about that information.
     19       how else to answer that but to tell         19           The overall conclusions I'm
     20       you I think that's what this whole          20      drawing in the report, though, when I
     21       section is about. I step you                21      cite to specific studies in the risk
     22       through -- I identify different types       22      assessment, the majority of those
     23       of evidence. I identify for you what        23      studies I believe that I'm citing for
     24       was tested in those different pieces        24      you, outside of notice, have to do
     25       of evidence, and then I step through        25      with -- that's more of a warnings

                                                                   36 (Pages 138 to 141)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 38 of 147
                                         PageID: 195663
                Confidential - Pursuant to Protective Order
                                           Page 142                                            Page 144
      1        issue -- have to do with the issue of       1   QUESTIONS BY MS. BRANSCOME:
      2        cosmetic talc. Because the human            2       Q. I was simply asking: Did you
      3        studies are describing cosmetic talc.       3   do an analysis that would allow you to
      4        The NTP studies is a pure talc. Many        4   compare the ingredients in another product,
      5        of the in vitro studies and other           5   like consumer Cashmere Bouquet, before you
      6        animal studies are looking at,              6   rendered an opinion with respect to Johnson's
      7        quote/unquote, a talc that is not an        7   baby powder based on tests of Cashmere
      8        industrial grade or from a mine that        8   Bouquet? Did you do that analysis?
      9        would have -- be looked at in that          9            MR. MEADOWS: Objection.
     10        way. So --                                 10            THE WITNESS: I do not have
     11    QUESTIONS BY MS. BRANSCOME:                    11       access to internal company documents
     12        Q. You understand that there are           12       for the manufacturers of Cashmere
     13    different types of cosmetic talc, correct?     13       Bouquet, so I certainly couldn't do
     14        A. Yes, I am aware.                        14       the analysis in the same way that I
     15        Q. And cosmetic talc can be mined          15       can do it here, where I can identify
     16    from a number of different mines globally,     16       what Johnson & Johnson and Imerys
     17    correct?                                       17       describe as sources of the talc that
     18        A. That's correct.                         18       was used for the Johnson & Johnson
     19        Q. And some of the studies that            19       baby powder, without --
     20    you cite in your report are testing cosmetic   20   QUESTIONS BY MS. BRANSCOME:
     21    talc from other consumer products, for         21       Q. So you have no way of knowing
     22    example, Cashmere Bouquet, correct?            22   one way or the other whether that talc is
     23        A. Some. The majority of them are          23   similar, correct?
     24    not, but I would agree that some do, yes.      24            MR. MEADOWS: Objection.
     25        Q. Okay. Have you done an                  25            MS. PARFITT: Objection.

                                           Page 143                                            Page 145
      1   analysis of how the talc that is used in         1            THE WITNESS: Well, I think I
      2   Cashmere Bouquet, for example, relates to the    2       do know it's similar, if you look on
      3   talc that is used in Johnson's baby powder?      3       the bottle as far as what is described
      4            Is that an analysis that you            4       it being, but if you're asking me --
      5   have done before relying on that information     5       if you're asking did we fingerprint it
      6   in your report?                                  6       to only a particular mine, this is the
      7            MR. MEADOWS: Objection.                 7       beauty of the data. The data shows
      8            MS. PARFITT: Objection.                 8       that regardless of the type of product
      9            THE WITNESS: My analysis -- I           9       you're looking at, there's consistency
     10       did do an analysis to look at what was      10       across the study.
     11       described, what products are                11            So -- but I did not try to
     12       described, but I certainly -- I             12       segregate out studies that only dealt
     13       certainly did not throw out studies         13       with Cashmere Bouquet, no, I did not
     14       that described Cashmere Bouquet             14       do that.
     15       because I would -- I still believe as       15   QUESTIONS BY MS. BRANSCOME:
     16       a toxicologist and a risk assessor          16       Q. Okay. As you sit here today as
     17       that those types of products are            17   a toxicologist, is it your position that
     18       important to the overall weight of the      18   industrial-grade talc that might contain up
     19       evidence about the hazard and the           19   to 70 percent tremolite presents the same
     20       risks posed by talc.                        20   level of toxic effect as cosmetic talc that
     21            You know, I just -- I just -- I        21   may contain no tremolite or tremolite at a
     22       guess I disagree with you if you're         22   very, very low level?
     23       saying they're irrelevant. I don't          23            MS. PARFITT: Objection. Form.
     24       believe that they are.                      24            THE WITNESS: I haven't formed
     25                                                   25       that opinion, no.

                                                                   37 (Pages 142 to 145)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 39 of 147
                                         PageID: 195664
                Confidential - Pursuant to Protective Order
                                           Page 146                                             Page 148
      1   QUESTIONS BY MS. BRANSCOME:                       1   identified characteristics.
      2       Q. Okay. And so have you formed               2            There's -- within the
      3   an opinion that I could find in your report       3   asbestos -- the asbestos literature
      4   that discusses in any way the relative            4   there's -- it's one of the forms -- forms of
      5   toxicity of different types of talc?              5   asbestos that's described. For example, in
      6       A. That, you may find. I need to              6   IARC, they describe all of the ones that have
      7   go back and look how I set it out, but I          7   carcinogenic properties. It's one of them.
      8   think I -- I talked with you about the            8            Within the literature within
      9   difference between fibrous versus platy. I        9   Johnson & Johnson's documents, there's
     10   do discuss that.                                 10   tremolite discussed as -- I assume them
     11             And I talk about the problems          11   referring to asbestos tremolite, asbestos in
     12   when you have a complex mixture that has         12   a tremolite characteristic. I have seen
     13   added to it things like asbestos and heavy       13   tremolite talc also mentioned in the
     14   metals, because I talk about the additivity      14   literature.
     15   issue that can come to play. So that -- in       15            If you want a specific
     16   other words, increased risk when you have a      16   discussion of each of those, again,
     17   complex mixture with additional components       17   there's -- I understand there's experts that
     18   that all share the same toxic properties as      18   are going to describe the distinguishing
     19   far as target organs or types of effects or      19   characteristics of each of those.
     20   mechanisms that are triggered in the body.       20            I'm only setting out this is
     21   That's what I point you to.                      21   what I have seen, talked about, in the
     22             I -- I don't -- that's the only        22   literature.
     23   way I can answer that for you, I think, based    23        Q. So you are not an expert on the
     24   on what I know I have in here.                   24   differences between fibrous talc, asbestiform
     25       Q. Okay. You talk about the term             25   talc, non-asbestiform talc and tremolite as

                                           Page 147                                             Page 149
      1    "asbestiform talc."                              1   it relates to toxicity. Is that your opinion
      2             You talk about asbestiform              2   today?
      3    talc.                                            3        A. No, that's not what I'm saying.
      4             Are you familiar with that?             4   I'm saying that if you want me to -- I'm --
      5        A. I do mention that in my report,           5   if you want me to describe the
      6    yes.                                             6   characteristics and the morphology of each of
      7             Where are you?                          7   those individually, that's something a
      8        Q. At paragraph 30. It's on                  8   geologist would do.
      9    page 19 of your report.                          9             But certainly as far as the
     10        A. Yes, I'm here.                           10   toxicity assessment I did, each of these
     11        Q. Okay. And the first sentence             11   types of -- each of these words, I guess, or
     12    in paragraph 30 you state, "In the published    12   names have been applied in the literature
     13    medical literature, there is often discussion   13   when they talk about toxicity of talc. Some
     14    of talc using terms such as fibrous talc,       14   of the literature talks about fibrous talc or
     15    asbestiform talc, non-asbestiform talc or       15   just -- other literature just talks about
     16    tremolite."                                     16   talc. Some of it, for example, the IARC
     17             Do you see that?                       17   monographs, distinguish between asbestiform
     18        A. Yes, I do.                               18   talc and non-asbestiform talc in their
     19        Q. Okay. Is it your opinion that            19   assessments of the cancer risk.
     20    tremolite is a form of talc?                    20             And then tremolite is discussed
     21        A. So tremolite is a -- is a -- is          21   as a component of talc. And I have seen
     22    a type of fiber or a -- tremolite is a -- is    22   papers that talk about tremolite --
     23    a substance or a entity that has been           23   nontremolite talc or tremolite-containing
     24    identified as a specific morphology, I guess,   24   talc. That's how you most often see it.
     25    identified characteristics of a -- it has       25             So it's the idea that it is a


                                                                    38 (Pages 146 to 149)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 40 of 147
                                         PageID: 195665
                Confidential - Pursuant to Protective Order
                                            Page 150                                             Page 152
      1    constituent of certain mines that -- and         1        Q. Okay. And so when you're
      2    that's my understanding of it. But if you        2   looking at a complex mixture, you would agree
      3    want -- and they all -- they all certainly do    3   as a toxicologist it would be important to
      4    show that the toxicity can be affected,          4   understand the constituent elements of that
      5    whether it's a fiber or a platy particle. So     5   mixture, correct?
      6    tremolite being a fiber would certainly          6        A. Yes, it is important to
      7    affect my overall assessment of risk. The        7   understand that this is -- what is in the
      8    more tremolite that you would have would         8   mixture, and that's -- that's part of what I
      9    make -- would make it more likely to be          9   try to do.
     10    reactive in terms of a foreign body response,   10        Q. Okay. And it would be
     11    depending on the size.                          11   important before drawing conclusions from one
     12        Q. What's your basis for saying             12   study that might have different constituent
     13    that?                                           13   components, it's important to understand the
     14        A. That's based on a fibrous form           14   relative toxicity of individual constituent
     15    versus a platy particle form. That's the        15   elements, correct?
     16    issue of -- I have that paragraph where I       16        A. Depends if you can or not. I
     17    talk about what macrophages look for, can       17   mean, there's certain types of studies you
     18    engulf or not engulf. So those are all          18   can, where in the published literature that's
     19    things that are important to a toxicologist     19   been described. That's why I'm pointing this
     20    to understand exist.                            20   out. It's the idea that within the
     21             But certainly within my                21   literature, when you go through, it's
     22    assessment I have to include literature from    22   important to understand what you can say
     23    all of those because of the fact that all of    23   about the consistency across the literature
     24    those are relevant to the toxicity profile,     24   where maybe different types of talc are
     25    since I know that the cosmetic baby powders     25   discussed.

                                            Page 151                                             Page 153
      1   and the data I've seen shows detection of         1            And that's what I -- I think I
      2   something called fibrous talc.                    2   lay out for you. I tell you there's
      3            I see detection of tremolite             3   consistency in certain toxic effects that are
      4   within certain samples of baby powder.            4   seen. Regardless of the form that you're
      5            And then I have just the                 5   looking at, talc has certain properties, and
      6   general category of asbestiform versus            6   all of these things are -- been shown to be
      7   non-asbestiform when I consider the way, for      7   in the complex mixture, so I have -- as a
      8   example, IARC has reviewed the                    8   result, all of that literature has relevance
      9   carcinogenicity.                                  9   to at least the hazard part of my assessment,
     10            So those are -- those are terms         10   and certainly have relevance to -- when you
     11   that I'm laying out because I think they are     11   want to talk about warning and the final risk
     12   something you need to understand exists in       12   assessment, they're definitely relevant, but
     13   the literature.                                  13   certainly the -- when I go through this
     14        Q. Okay. But I'm trying to                  14   process, I am trying to focus as much as I
     15   understand, not helping me understand the        15   can on a product that is most similar to the
     16   literature. I'm trying to understand your        16   one I'm assessing.
     17   opinions with respect to toxicity.               17            So obviously that's why --
     18            Is it, for example, your                18   that's one of the reasons I do look at the
     19   opinion that fibrous talc has the same toxic     19   human data, because the human data is
     20   potential -- let's focus specifically with       20   involving a consumer product use, which is
     21   respect to ovarian cancer -- as tremolite?       21   what I'm talking about here.
     22        A. I haven't formed that opinion,           22        Q. Is it using specifically
     23   but, again, I would -- my opinion has been       23   Johnson's baby powder?
     24   formed on the fact that we have complex          24        A. Many of them are, yes.
     25   mixture that includes all of these things.       25        Q. Okay.

                                                                     39 (Pages 150 to 153)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16          Filed 07/23/24         Page 41 of 147
                                         PageID: 195666
               Confidential - Pursuant to Protective Order
                                           Page 154                                              Page 156
      1       A. Based on my understanding of              1         across the studies that are dealing
      2   what I see discussed within the literature.      2         with not the consumer product but
      3       Q. Did you identify in your report           3         other descriptions, there is a
      4   specifically which report -- which studies       4         consistency in the types of effects
      5   have used a consumer product manufactured by     5         you see.
      6   Johnson & Johnson?                               6              And since I'm not quantifying
      7       A. I haven't laid them out                   7         the risk but identifying it as being
      8   individually, no, but I am aware of              8         increased or not, in other words, is
      9   discussions of this general issue within some    9         it more likely than not that someone
     10   of the documents I've seen, and essentially     10         exposed in this way could be at a risk
     11   Johnson's body powders products were the        11         of ovarian cancer, that's what I'm
     12   overwhelming share of the market.               12         talking about.
     13       Q. But you would agree that                 13              So again, it's -- if I was
     14   studies that did not involve the consumer       14         trying to identify differences in
     15   product manufactured by Johnson & Johnson       15         cancer potency factors for different
     16   should be given less weight when analyzing      16         types, then, yes, if I had an animal
     17   whether or not there are risks associated       17         study on each of those, I could
     18   specifically with Johnson & Johnson's           18         compare potency for cancer, but that
     19   products?                                       19         hasn't been done.
     20            MS. PARFITT: Objection. Form.          20    QUESTIONS BY MS. BRANSCOME:
     21            MR. MEADOWS: Objection.                21         Q. Okay.
     22            THE WITNESS: It depends on the         22         A. So instead, what I have to do
     23       question being asked within the             23    is rely on what is available to me. And
     24       assessment, the risk assessment. It         24    based on my judgment, that's how I review the
     25       really does, I mean, because each of        25    studies.

                                           Page 155                                              Page 157
      1       these studies brings a piece of              1       Q. And so for the opinions that
      2       evidence to the risk assessment.             2   you are offering in the MDL, you agree that
      3             And so the question is -- for          3   you are not quantifying the risk associated
      4       each one, you consider it on a               4   with Johnson's baby powder, SHOWER TO SHOWER®
      5       case-by-case basis. It is possible,          5   or Shimmer with respect to the potential for
      6       yes, that you would give less weight.        6   causing ovarian cancer?
      7       It's also possible that you would not,       7            MS. PARFITT: Objection. Form.
      8       dependent upon what you know about           8            THE WITNESS: In terms of a
      9       that study and how it relates to other       9       cancer potency factor, that is true, I
     10       studies that are out there.                 10       am not. Instead, what I am doing is I
     11   QUESTIONS BY MS. BRANSCOME:                     11       am quantifying whether or not I
     12       Q. So methodologically, how would           12       believe that the risk is increased
     13   I understand from your report marked as         13       above a background risk.
     14   Exhibit 4 under what circumstances to give a    14            That has to do with -- that's
     15   study that relates to, for example,             15       where I bring in, in my risk
     16   industrial talc less weight than a study that   16       assessment, the human data, because
     17   actually used Johnson's baby powder?            17       the human data is showing
     18             MR. MEADOWS: Objection.               18       statistically significant increases in
     19             THE WITNESS: Well, I've tried         19       risk in populations using the consumer
     20       to tell you that. That's what I said        20       product.
     21       for you. That's why I am doing it. I        21            So I have a quantification
     22       certainly am trying to focus in on          22       where I'm using the word "increased,"
     23       studies that deal with the consumer         23       and I believe to a reasonable degree
     24       product.                                    24       of medical certainty that indeed the
     25             But what I find when I look           25       risk is increased. So I'm quantifying


                                                                     40 (Pages 154 to 157)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16         Filed 07/23/24         Page 42 of 147
                                          PageID: 195667
                Confidential - Pursuant to Protective Order
                                            Page 158                                             Page 160
      1       in that way, but I'm not giving it a          1   QUESTIONS BY MS. BRANSCOME:
      2       number. I'm not saying that the               2      Q. In reaching your opinion in the
      3       cancer potency factor is such that you        3   MDL that there is an increased risk above
      4       increase the risk from one in a               4   background of ovarian cancer from the use of
      5       million to 10 in a million to 1 in a          5   products manufactured by Johnson & Johnson,
      6       thousand. That I have not done                6   have you made an attempt to identify
      7       because I don't have the data, the            7   specifically which studies, the human studies
      8       studies. The company has not done             8   on which you rely, test or look at people who
      9       studies on each of these to allow me          9   have used Johnson & Johnson's products?
     10       to do that.                                  10           MS. PARFITT: Objection. Form.
     11   QUESTIONS BY MS. BRANSCOME:                      11           THE WITNESS: It's my -- my
     12       Q. Okay. The reference that you              12      review of the study indicates that I
     13   made to the human data that you believe shows    13      would say for the vast majority of
     14   a statistically increased risk in populations    14      them you cannot do that.
     15   using the consumer product, have -- which --     15           But you can take what is
     16   have you identified in your report which of      16      reported and look at things such as
     17   those studies are specifically using a           17      market share and those kind of things
     18   product that was manufactured by Johnson &       18      to get an idea of what you believe the
     19   Johnson?                                         19      exposure would have been.
     20       A. I don't lay that out for my               20           But certainly I have not -- I
     21   report, I do not, but certainly it is            21      have not tried to apply some kind of a
     22   something that for some of the studies I         22      numerical value to how many people in
     23   believe you can -- you might be able to get      23      the study may have used Johnson's baby
     24   some of that information from. But certainly     24      powder or not, no, that has not been
     25   I have not laid that out individually in my      25      done. I don't think anybody -- any of

                                            Page 159                                             Page 161
      1    report, no.                                      1       the bodies that have looked at this
      2        Q. And you would agree that for              2       have done that.
      3    some of those studies there is no information    3   QUESTIONS BY MS. BRANSCOME:
      4    as to the specific type of consumer talc that    4       Q. You have not done a market
      5    the individuals who are being studied used,      5   share analysis, correct?
      6    correct?                                         6       A. No, I've seen this in documents
      7             MS. PARFITT: Objection. Form.           7   only. I have not done my own. There are
      8             THE WITNESS: I would agree              8   company documents that talk about their
      9        that in some of those studies they're        9   market share.
     10        not saying, but that is why you look        10       Q. Okay. Have you made an attempt
     11        at the evidence overall.                    11   to examine the levels of fibrous talc or
     12             And what's important to look at        12   asbestiform talc that are in different
     13        in terms of now -- if you wanted to go      13   consumer products, aside from Johnson's baby
     14        to Bradford Hill, that's why you look       14   powder or SHOWER TO SHOWER® or Shimmer?
     15        at things such as consistency. So           15       A. So for that are you referring
     16        what do the studies show. We see a          16   to things such as -- other types of cosmetics
     17        certain level of increased risk across      17   like foundations or lipsticks or --
     18        studies, regardless of who did the          18       Q. I'll rephrase.
     19        study or what population was being          19            Have you made any attempt to
     20        looked at.                                  20   examine whether other cosmetic talc body
     21             So that's the best way I can           21   powders have a different percentage of
     22        answer that for you. That is -- that        22   fibrous, or what you refer to as asbestiform
     23        is part of the -- of the assessment         23   talc, from the Johnson & Johnson products?
     24        that you look at.                           24            Have you done any analysis to
     25                                                    25   make that comparison one way or the other?


                                                                     41 (Pages 158 to 161)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS            Document 33000-16        Filed 07/23/24          Page 43 of 147
                                        PageID: 195668
               Confidential - Pursuant to Protective Order
                                          Page 162                                            Page 164
      1             MS. PARFITT: Objection. Form.         1       that I state for you that it's my
      2             THE WITNESS: I certainly              2       opinion that Cashmere Bouquet has this
      3        haven't done -- I certainly didn't do      3       specific pattern of constituents as
      4        a directed analysis to try to              4       compared to Johnson & Johnson's. No,
      5        determine that, but there is               5       I have not done that.
      6        information, I believe, in -- I think      6   QUESTIONS BY MS. BRANSCOME:
      7        if you look at some of Dr. Longo's         7       Q. Okay. And that would be true
      8        work, that may be there.                   8   for any other brand of cosmetic talc, body
      9             And I believe in Dr. Blount's         9   powders, Jean Nate, Lily of the Valley, not
     10        published paper there may be a            10   just Cashmere Bouquet, correct?
     11        discussion of the type of powder          11            MS. PARFITT: Objection.
     12        product used, where she was looking       12            THE WITNESS: That is correct,
     13        for -- at least for asbestiform --        13       I don't have access to that
     14        asbestos within the talc. It may be       14       information.
     15        tremolite as well, but -- if you want     15   QUESTIONS BY MS. BRANSCOME:
     16        me to look, I can do that. I just         16       Q. Have you done any analysis of
     17        don't recall whether -- I think she       17   the constituent components of talc and how
     18        did talk about sources of the talc,       18   they have changed even within Johnson's --
     19        where it came from, so...                 19   Johnson & Johnson's manufactured products,
     20    QUESTIONS BY MS. BRANSCOME:                   20   how the constituents of the consumer products
     21        Q. Okay. But as you sit here              21   may or may not have changed over time?
     22    today, you can't point me to any analysis     22       A. I've done some of that, yes,
     23    that you did or an analysis that you relied   23   and I laid that out, I think, for you, when I
     24    on that would relate different brands of      24   talk about the differences in the products
     25    cosmetic talc body powders with respect to    25   that are described within the documents, the

                                          Page 163                                            Page 165
      1   their constituent components?                   1   company documents, from the '70s versus the
      2            MS. PARFITT: Objection.                2   '80s versus later on, as far as the changes
      3       Completely misstates her testimony.         3   that were made to specifications of the
      4       She mentioned Dr. Blount. She               4   product, for example. That's something --
      5       mentioned others.                           5   and I think I've talked about that a bit at
      6            THE WITNESS: So I think what I         6   trial as well.
      7       started with, I said I haven't done a       7        Q. Okay. And is it your view that
      8       directed analysis to try to determine       8   the risk potential for Johnson & Johnson's
      9       specifically how this product versus        9   manufactured products have changed at all
     10       this product versus this product may       10   over time with respect to ovarian cancer?
     11       have looked over time, because I don't     11             MS. PARFITT: Objection.
     12       have access to a full data to do that.     12             THE WITNESS: I have not -- I
     13            But what I do have is data that       13        have not attempted to differentiate a
     14       has -- I do see published data, for        14        risk potential at only one point in
     15       example, Blount and maybe some of the      15        time.
     16       other published studies, that looked       16             What I have done over points of
     17       at this issue, at least of asbestos        17        time is looked at the issue of
     18       presence in talc. And I believe            18        warnings and what should be warned
     19       Dr. Longo also had things that weren't     19        about.
     20       just Johnson's. I believe he had           20             But my analysis related to the
     21       Cashmere Bouquet, for example, samples     21        hazard or the risk assessment of the
     22       in some of the things he looked at.        22        products is considering all of the
     23            So I can point you to those           23        available information, which would be
     24       things that I have reviewed, but I         24        all of that information over time.
     25       haven't -- there's nowhere in here         25


                                                                  42 (Pages 162 to 165)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 44 of 147
                                         PageID: 195669
               Confidential - Pursuant to Protective Order
                                           Page 166                                            Page 168
      1   QUESTIONS BY MS. BRANSCOME:                      1   you with specific percentages, and so I'm
      2       Q. Okay. You talk about, in                  2   asking you, is that something that as a
      3   paragraph 35 primarily -- we'll talk about       3   toxicologist would be important information
      4   the fragrance components in more detail, but     4   to you?
      5   you talk about the idea of chemicals being a     5        A. Depends. Certainly with the
      6   potential irritant.                              6   fragrance -- and I'm talking about the
      7            Are you familiar with that?             7   conversation about this paragraph is focusing
      8       A. Yes, that's correct.                      8   on the fragrance components.
      9       Q. Is it your position that any              9             So, yes, I mention that it
     10   product that contains chemicals that could be   10   would be nice to know, it would be good to
     11   an irritant should be labeled with a health     11   know, if we could, exactly what was in there,
     12   warning?                                        12   because I could quantify the hazard or
     13            MS. PARFITT: Objection.                13   quantify the risk, actually. So instead, I
     14            MR. MEADOWS: Okay.                     14   have -- I identify it as a hazard, but I
     15            THE WITNESS: I don't think             15   can't quantify it without those levels.
     16       that's -- no, I don't think I've            16             But does that change -- make a
     17       formed that specific opinion.               17   difference in the overall conclusions I draw?
     18            But the opinion that I think           18   No, it doesn't affect the overall conclusions
     19       I'm expressing here is that when you        19   that I have drawn, but it adds that other
     20       have a -- the information that I have,      20   piece of the puzzle that deals with the fact
     21       which unfortunately the company hasn't      21   that we have a complex mixture that have a
     22       given us percentages or actual levels,      22   combination of ingredients that target
     23       instead, what I do as a toxicologist,       23   irritation.
     24       I look at what is there. And when I         24             And irritation and the
     25       see over a hundred chemicals there,         25   potential to produce an inflammatory

                                           Page 167                                            Page 169
      1       that 70 percent of them have been            1   response, in my -- if you've read my report,
      2       linked as an irritant hazard, there is       2   you understand that I think that's a key
      3       the issue of toxicological additivity        3   factor in increasing the risk for ovarian
      4       to consider.                                 4   cancer.
      5             So certainly as a risk                 5       Q. Understanding the percentages
      6       assessor, when I have that many              6   of the constituent components, is that
      7       potential sources of irritation as far       7   limited only to fragrance, or would it also
      8       as chemicals going into a complex            8   be important to understand the percentages
      9       mixture, certainly I think I have            9   for the heavy metals that you contend are in
     10       formed the opinion that I think that        10   Johnson's baby powder?
     11       is something that needs to be               11       A. So if I was trying to define
     12       considered when you're talking about        12   the hazard of each component, I would
     13       providing information to consumers,         13   certainly want one to know that. As a
     14       yes.                                        14   result, what I'm doing instead is looking at
     15   QUESTIONS BY MS. BRANSCOME:                     15   the complex mixture. In other words, this is
     16       Q. As a toxicologist, would it be           16   a mixture of all these things.
     17   important to you to understand the exact        17            I break out those individual
     18   percentages of all of the constituent           18   components, or constituents, to tell you
     19   components of, say, Johnson's baby powder,      19   about the hazard that is brought to play or
     20   for example?                                    20   the toxicity profiles that exists. And
     21       A. Are you talking about just the           21   what's important about that in my overall
     22   fragrance or are you talking about everything   22   evaluation of the end product, which is what
     23   that's in it?                                   23   my risk assessment is based on, the end
     24       Q. Dr. Plunkett, you referenced             24   product, shows that I have multiple
     25   the fact that the company has not provided      25   components with similar types of effects.


                                                                   43 (Pages 166 to 169)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 45 of 147
                                         PageID: 195670
               Confidential - Pursuant to Protective Order
                                           Page 170                                            Page 172
      1   And as a toxicologist, when you do that, that    1   using a word such as an increase -- an
      2   affects the conclusion that you can draw         2   increased risk.
      3   about a body of literature.                      3             Is that a specific number? Am
      4       Q. Okay. You do understand that              4   I telling you that it's increased by two
      5   there is testing data available about the        5   times or four times or six times? No. The
      6   percentages of the constituent components        6   data available did not allow us to do that,
      7   with respect to heavy metals, et cetera, that    7   with the exception of the epidemiological
      8   have been in Johnson's baby powder over time,    8   data. And the epidemiological data can show
      9   correct?                                         9   you that in that piece of evidence there
     10       A. There is some information.               10   appears to be a 30 percent increased risk
     11   Unfortunately, the information is not           11   above background.
     12   complete as to every lot or every sample, as    12        Q. Did you make an attempt to
     13   far as what I have seen. And also, there's      13   quantify the risk with the data that you had
     14   some -- some of the sampling is reported as     14   available to you with respect to the final
     15   more of a limit versus an actual                15   consumer product?
     16   quantification. So it depends upon which --     16        A. I could not, based on the data
     17   which result, study result or document,         17   I had, because I didn't have a
     18   you're looking at.                              18   well-controlled animal study to be able to
     19            There is some there, yes, and          19   pull that out that way.
     20   that's one of the reasons why I identified      20             Instead, what I -- in this type
     21   these as part of my risk assessment, because    21   of weight of the evidence, you look at what
     22   I look for a pattern of these metals that are   22   you might be able to quantify based on the
     23   known to carry a hazard and whether or not      23   human data. And certainly the human data
     24   these are ones I'm seeing detected time and     24   showing the statistically significant
     25   time again.                                     25   consistent findings across studies for that

                                           Page 171                                            Page 173
      1       Q. But you made no attempt to                1   30 percent increased risk, that is part of my
      2   quantify the risk with respect to any of         2   overall weight of the evidence for me making
      3   those components or use that data in any way,    3   the statement the risk is increased.
      4   correct?                                         4            But you'll notice I don't say
      5            MS. PARFITT: Objection. Form.           5   increased risk of 30 percent, because I don't
      6            THE WITNESS: No, I used                 6   believe that I can state that with certainty
      7       that -- that data as part of -- my           7   in the way I do a risk assessment. But
      8       risk assessment as part of my hazard         8   certainly as any one individual -- any one
      9       assessment, absolutely. It's part of         9   individual piece of evidence or any one body,
     10       the hazard assessment.                      10   like the epi data, others have made -- other
     11            But as far as quantifying them         11   bodies who have looked at the -- talked about
     12       individually, no. I am quantifying          12   the consistency of the increased risk signal
     13       the risk and looking at the risk of         13   in the epi studies as being in the range of
     14       the entire product, not of just one         14   30 percent.
     15       individual component of the product.        15       Q. Okay. But you would agree that
     16   QUESTIONS BY MS. BRANSCOME:                     16   based on the methodology that you applied in
     17       Q. Well, we already discussed               17   this case, you could not say to a reasonable
     18   you're not quantifying the risk with respect    18   degree of scientific certainty that there is
     19   to the entire product, correct?                 19   an increased risk of, for example, 30 percent
     20       A. Well, I'm quantifying it in              20   with respect to use of Johnson's baby powder
     21   terms of an increase above background, which    21   and ovarian cancer, correct?
     22   I'm not giving you a -- I told you I wasn't     22            MR. MEADOWS: Objection.
     23   giving you a cancer potency factor. That is     23            THE WITNESS: I have not done
     24   true. That I am not doing.                      24       that. And I'm not saying that
     25            But I am quantifying it by             25       somebody else couldn't do that. I


                                                                   44 (Pages 170 to 173)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 46 of 147
                                         PageID: 195671
               Confidential - Pursuant to Protective Order
                                          Page 174                                              Page 176
      1        have not -- I have not chosen to do         1       Q. Is it your opinion as you sit
      2        that based on my evaluation of the          2   here today that someone could develop ovarian
      3        data.                                       3   cancer through -- exclusively through the
      4    QUESTIONS BY MS. BRANSCOME:                     4   inhalation of Johnson's baby powder?
      5        Q. And the same would be true if I          5            MS. PARFITT: Objection.
      6    asked that question and substituted any         6            THE WITNESS: I haven't formed
      7    particular number, a 10 percent increased       7       that opinion at this point in time.
      8    risk, a 20 percent increased risk, correct?     8   QUESTIONS BY MS. BRANSCOME:
      9             MR. MEADOWS: Objection.                9       Q. Have you done any analysis or
     10             THE WITNESS: I haven't given a        10   can you point me to any analysis in your
     11        specific number in my final opinions,      11   report that makes a comparison of the
     12        that is true.                              12   exposure levels that might be seen in an
     13    QUESTIONS BY MS. BRANSCOME:                    13   occupational setting to what would be seen by
     14        Q. Okay.                                   14   a consumer?
     15        A. I've tried to explain to you            15       A. Are you asking me for a piece
     16    what evidence I do think is there, however.    16   of evidence that does that comparison, or is
     17        Q. Now, we've talked about                 17   there evidence that allows you to do that
     18    different types of talc that might have        18   comparison?
     19    different constituent components, but you      19       Q. Have you cited or discussed any
     20    also look at exposure to talc in an            20   of the evidence or done an analysis in any
     21    occupational setting.                          21   way that would compare exposure levels in an
     22             Do you recall that?                   22   occupational setting to what you would
     23        A. Some of the studies that I've           23   anticipate a consumer using Johnson's baby
     24    relied upon, yes, some of them were            24   powder might be exposed to?
     25    occupational.                                  25       A. I don't think I did it as a

                                          Page 175                                              Page 177
      1       Q. Okay. And you understand that             1   separate analysis, but as part of my analysis
      2   in an occupational setting, you would agree      2   I considered evidence that showed -- provided
      3   that the exposure, particularly via              3   me with such data. So, for example, if you
      4   inhalation, would be much higher than it         4   want, I can point you to a -- I have an
      5   would be through the use of a consumer           5   inhalation paragraph, I think.
      6   product, correct?                                6            Let me look for it real quick.
      7       A. It depends on the occupation,             7   See if I can find it quickly for you. I
      8   but, yes. For example, I would agree a miner     8   don't want to waste your time.
      9   would be expected to have that, but there are    9       Q. Sure.
     10   certain, quote/unquote, occupational studies    10       A. So there's -- I don't see it
     11   where the exposure levels that -- for           11   cited here, but there's at least one document
     12   example, there are -- I believe there's at      12   I reviewed where the company themselves made
     13   least one study that looked at application of   13   a comparison, and I have seen that, of
     14   talc powders in -- maybe in a material,         14   inhalation exposure to talc suspended in air
     15   coating materials in a factory. Those kinds     15   with diapering. Dr. Longo has done a
     16   of studies would be different than a mining     16   measurement of exposure in air with perineal
     17   study.                                          17   application of talc. So I'm aware of those
     18            But, certainly, yes, I                 18   studies.
     19   understand that occupational studies, the       19            And then I certainly am aware
     20   inhalation exposure is the pathway that would   20   of the fact that those numbers are different,
     21   be predominant versus in the consumer body      21   or smaller, than many of the numbers I see
     22   powder use, I'm talking about the predominant   22   reported in some of the occupational studies.
     23   exposure pathway in my opinion is going to be   23   But I can't say that's true for all.
     24   through perineal use, even though inhalation    24            I would certainly, though, say
     25   exposure can occur.                             25   that if you're just talking inhalation, I


                                                                    45 (Pages 174 to 177)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 47 of 147
                                         PageID: 195672
               Confidential - Pursuant to Protective Order
                                           Page 178                                             Page 180
      1   certainly would expect a miner or a miller to    1   QUESTIONS BY MS. BRANSCOME:
      2   have a greater potential for inhalation          2       Q. Okay. Now, you would agree
      3   exposure than routine use of the consumer        3   that -- so let's set aside inhalation.
      4   product, with the exception of the studies --    4            You agree that for talc -- for
      5   the reports of large amounts of exposure in      5   Johnson's baby powder or another one of
      6   children where the inhalation -- where they      6   Johnson & Johnson's consumer talc products to
      7   were inhaling large amounts of powder.           7   reach an individual's ovaries, it must pass
      8            And so that's a different               8   from the perineum, through the vagina and the
      9   story. That's sort of an acute overdose          9   cervical canal, move across the uterus -- and
     10   exposure, I guess, versus the typical daily     10   again, it's the ciliary motion of the
     11   exposure through occupational or consumer       11   fallopian tubes -- cross the peritoneal space
     12   use.                                            12   between the fimbriae and ovaries, escape
     13       Q. And that raises an interesting           13   phagocytosis in the peritoneal space, and
     14   question. You discuss health hazards            14   then attach to the surface of the ovaries,
     15   associated with talc being known, and in some   15   correct?
     16   cases deaths had been reported.                 16            MS. PARFITT: Objection. Form.
     17            You're aware that those relate         17            MR. MEADOWS: Okay.
     18   to asphyxiation deaths, correct?                18            THE WITNESS: If the issue is
     19       A. Or long-term injury to lungs.            19       attaching to the surface, yes.
     20   Maybe not an immediate asphyxiation, but lung   20       There's also some information
     21   damage produced by large amounts -- some of     21       indicates the site of attack may be
     22   the children would go to the hospital and be    22       actually at the fallopian tube exit to
     23   sick for a while and then die. So they          23       the peritoneum. But, yes, that's
     24   didn't asphyxiate immediately, right? But       24       correct, there's been some discussion
     25   some of them did. You're exactly right.         25       in the literature on ovarian cancer

                                           Page 179                                             Page 181
      1              Both of those things occur, and       1       about whether the tumors are arising
      2   I address that also in my warning section        2       in the tubes versus the ovaries.
      3   about the fact that that warning didn't --       3            But I would agree, I think
      4   was not put on the product for a long period     4       both -- I think both of those
      5   of time even though those types of reports       5       things -- those things -- there is a
      6   were coming in early.                            6       passage that has to happen, regardless
      7        Q. You would agree that that is a           7       of whether the end point is at the
      8   completely different biologic mechanism than     8       fallopian tube or at the ovary.
      9   what you are proposing the biological            9   QUESTIONS BY MS. BRANSCOME:
     10   mechanism is for ovarian cancer to develop      10       Q. Okay. Is it your view that the
     11   with respect to talc use, correct?              11   consensus has been reached that ovarian
     12              MR. MEADOWS: Objection.              12   cancer can be caused by talc landing in the
     13              THE WITNESS: I would agree           13   fallopian tubes?
     14        that it's an acute response versus         14       A. I haven't formed that opinion,
     15        chronic, yes, that I agree with.           15   though I do believe this will be discussed by
     16              It's not entirely different in       16   some of the other experts.
     17        some cases because some of the tissue      17       Q. Okay. Have you personally
     18        reactions you saw were indicative of       18   conducted any tests or experiments to confirm
     19        irritation when some of the lung           19   the theory that talc migrates from
     20        samples were looked at. But                20   application at the perineum to the ovaries?
     21        certainly, yes, that's acute exposure      21       A. If by that you mean something
     22        versus chronic exposure, and I'm           22   where I performed a laboratory test myself,
     23        focusing on ovarian cancer on chronic      23   no, I have not done that.
     24        exposure scenarios.                        24       Q. As a toxicologist, are you
     25                                                   25   capable of doing that?


                                                                    46 (Pages 178 to 181)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 48 of 147
                                          PageID: 195673
                Confidential - Pursuant to Protective Order
                                            Page 182                                             Page 184
      1        A. Yes, I believe if asked I                 1            And then on top of that, you
      2   could -- I could attempt to design something      2   have the review articles that talk about
      3   to look at that issue.                            3   migration of particles in the female
      4        Q. Okay.                                     4   reproductive tract and are describing it as
      5        A. But I would argue that I think            5   an event that is known to occur. So it's
      6   it doesn't make a lot of sense to revisit         6   those things weighed together.
      7   based upon what we already know from the          7            But certainly routine could be
      8   scientific literature and the review papers       8   supported by the observations where the
      9   from the gynecological community. I believe       9   majority of the patients in the studies were
     10   it's -- it's understood that it can migrate.     10   showing movement of inert particles.
     11        Q. In your opinion, has an animal           11       Q. Is it your opinion that every
     12   model been successfully developed that would     12   perineal application of cosmetic talc powder
     13   allow the testing of talc migration in humans    13   results in talc being deposited on the
     14   from the perineum to the ovaries?                14   ovaries?
     15        A. I think I tell that you in my            15       A. I have not formed that opinion,
     16   report. I believe that the human data is the     16   no.
     17   relevant data to look at this issue.             17       Q. Have you formed an opinion as
     18               So it would be very difficult        18   to with what frequency -- so let's say
     19   to design a study to do this based on the        19   someone uses a cosmetic talc on a perineal
     20   typical laboratory species that are used in      20   application ten times. Out of those ten
     21   toxicology testing. Even -- even the monkeys     21   times, have you formed an opinion as to how
     22   have issues, and the biggest issues with         22   many of those instances would talc deposit on
     23   monkeys is the ethicality of using a monkey      23   the ovaries?
     24   to settle -- to address a question that I        24            MS. PARFITT: Objection.
     25   believe is settled within the gynecological      25            THE WITNESS: I haven't formed

                                            Page 183                                             Page 185
      1    and scientific community.                        1        an opinion in that particular way, no.
      2        Q. Now, you state in your report             2        I think what I've -- I've tried to
      3    that talc that's applied through perineal        3        describe to you in my report is that I
      4    use -- I believe the term you use --             4        believe it is known that inert
      5    routinely migrates to the ovaries.               5        particles have the ability to migrate.
      6             Is that your opinion?                   6        And based on that, I form the opinion
      7        A. Are you reading from my report?           7        that it's my opinion to a reasonable
      8             MR. MEADOWS: To the extent              8        degree of scientific certainty, which
      9        that question is still lingering, I          9        would be a more likely than not
     10        object to it.                               10        standard, that particles of talc would
     11    QUESTIONS BY MS. BRANSCOME:                     11        be migrating when women are using them
     12        Q. On paragraph 43 on page 29.              12        perineally. But I haven't told you
     13        A. So I think as I've stated it,            13        that it has to be a specific number,
     14    the studies that I have reviewed demonstrate    14        no.
     15    that inert particles routinely move from the    15   QUESTIONS BY MS. BRANSCOME:
     16    lower female reproductive tract up into         16        Q. Have you done any analysis to
     17    fallopian tubes and towards the ovaries.        17   establish over a lifetime use of cosmetic
     18        Q. What do you mean by routinely?           18   talc where the app -- the perineal
     19        A. It's the percentages of                  19   application, with what frequency during a
     20    movement that are reported in the patients.     20   lifetime the talc may have been deposited on
     21    In other words, if you look at some of the      21   that individual's ovaries?
     22    individual studies -- if you want we can pull   22        A. So I certainly looked for
     23    them out, but, you know, eight of ten           23   information to allow me to assess that, but
     24    patients, nine of ten patients, all the         24   unfortunately those kinds of studies would be
     25    patients showed movement of the particles.      25   unethical to do. Because that would be a


                                                                    47 (Pages 182 to 185)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 49 of 147
                                          PageID: 195674
                Confidential - Pursuant to Protective Order
                                            Page 186                                            Page 188
      1   matter of sampling women during -- using them     1             MS. BRANSCOME: Okay. Can we
      2   and then taking biopsies, and that's              2        just go off the record for a second?
      3   something that would be difficult to do. I        3             VIDEOGRAPHER: We are going off
      4   would say impossible to get approval to do        4        the record at 12:23 p.m.
      5   under human testing guidelines.                   5         (Off the record at 12:23 p.m.)
      6       Q. Okay. So it's your opinion                 6             VIDEOGRAPHER: We are back on
      7   that it is possible for talc that is applied      7        the record at 12:24 p.m.
      8   through a perineal application to reach the       8   QUESTIONS BY MS. BRANSCOME:
      9   ovaries, but you cannot say with what             9        Q. As you sit here today, how
     10   frequency that occurs?                           10   would you characterize the biological
     11             MS. PARFITT: Objection. Form.          11   mechanism by which you claim Johnson's baby
     12       Misstates her testimony.                     12   powder, their other cosmetic talc products,
     13             THE WITNESS: That's not --             13   present a risk of ovarian cancer?
     14       what I'm telling you is, I think it --       14        A. So I outline this for you in
     15       that to a reasonable degree of               15   the MDL report. I think I have a section
     16       scientific certainty that it migrates,       16   on -- let's see if I can -- you want me to
     17       and that would be the standard of more       17   tell you where or...
     18       likely than not. I think it's more           18             So paragraph 65, I think I set
     19       likely than not that the talc is             19   out part of this argument or part of this.
     20       reaching the ovaries when people are         20   And then also in paragraph -- I believe in
     21       using it perineally.                         21   67.
     22             I did form the opinion -- and          22        Q. All right. Well, let me take a
     23       I've talked about this at trial and          23   step back.
     24       yesterday. I have formed the opinion         24             Is it your opinion that the
     25       that this is a issue of chronic or --        25   biological mechanism by which talc, cosmetic

                                            Page 187                                            Page 189
      1         or use of the products. In other            1   talc, can in your view cause ovarian cancer,
      2         words, people aren't just using it          2   is that something that has been definitively
      3         once, but people are using it -- you        3   established?
      4         can use the word "routinely," as a          4        A. What do you mean by
      5         habit, in their daily life perineally.      5   definitively? I mean, I think -- I believe
      6         And that would be consistent with the       6   more likely than not that -- so I believe I
      7         studies that have been done that have       7   have reached a conclusion that I think what
      8         looked at the issue of dose response.       8   the most likely biologically plausible
      9              And I discuss that in my               9   mechanism, but maybe you're ask -- meaning
     10         report, too.                               10   something else.
     11    QUESTIONS BY MS. BRANSCOME:                     11        Q. Okay. Well, let's start with
     12         Q. Okay. But you have not made an          12   specifically you discuss a number of
     13    attempt to quantify, nor have you seen it in    13   different potential mechanisms in your
     14    the literature, the overall dose of talc that   14   report. So if you believe you have reached
     15    someone might be exposed to in terms of         15   an opinion more likely than not about the
     16    contact with the ovaries throughout their       16   specific biological mechanism by which
     17    lifetime, chronic use of cosmetic talc?         17   cosmetic talc and specifically Johnson &
     18              MS. PARFITT: Objection. Form.         18   Johnson's products can cause ovarian cancer,
     19              THE WITNESS: Those -- that's          19   can you describe that for me?
     20         the kinds of studies that have not         20        A. So it's a chronic inflammatory
     21         been done and I believe could not be       21   process, and so -- but like all compounds,
     22         done based upon ethics of human            22   constituents, even drugs that we look at, we
     23         testing. But certainly I -- that --        23   don't know each individual step within the
     24         that data is not available that I'm        24   molecular mechanism.
     25         aware of.                                  25            Instead, what we know is that


                                                                    48 (Pages 186 to 189)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 50 of 147
                                         PageID: 195675
               Confidential - Pursuant to Protective Order
                                           Page 190                                            Page 192
      1   there are certain components to the process      1   discuss those issues.
      2   of cancer that are consistent with the           2             I think it's consistent with --
      3   effects produced by talc, and we know that       3   I don't know if the ACOG statement goes that
      4   talc can produce a chronic inflammatory          4   far on mechanism, but it does talk about
      5   process.                                         5   ovarian cancer. That's a recent statement.
      6            And so that's why I was                 6             And I believe it's consistent
      7   pointing you to the paragraph 65 and I think     7   with some of the -- I believe my opinions are
      8   67.                                              8   consistent with some of the opinions reached
      9       Q. Is it your opinion that                   9   by others in science, but that's the only way
     10   consensus has been reached in the scientific    10   I can answer that for you.
     11   community that cosmetic talc can cause          11        Q. Okay. Because you have not,
     12   ovarian cancer through a chronic inflammatory   12   one way or the other, done an evaluation of
     13   response?                                       13   whether or not chronic inflammatory process
     14            MS. PARFITT: Objection.                14   is a biological mechanism on which the
     15            THE WITNESS: I don't know that         15   scientific community has reached general
     16       that's exactly the opinion I've             16   consensus with respect to the causation of
     17       formed.                                     17   ovarian cancer; is that correct?
     18            Would you like me to -- I could        18             MR. MEADOWS: Objection.
     19       restate what I believe, but I don't         19             THE WITNESS: I can't tell you
     20       think that's exactly how I would state      20        that -- I can't tell you that every
     21       it, no.                                     21        body that's looked at it, but I have
     22   QUESTIONS BY MS. BRANSCOME:                     22        tried to point you to evidence that I
     23       Q. Okay. So then yes or no: Has             23        believe is consistent with that.
     24   consensus been reached in the scientific        24             For example, the IARC would be
     25   community that cosmetic talc can cause          25        a good example of consensus on

                                           Page 191                                            Page 193
      1   ovarian cancer through a chronic inflammatory    1        biologic mechanism because they have a
      2   process?                                         2        whole part of their assessment of
      3       A. I don't believe I formed the              3        non-asbestiform talc and perineal
      4   opinion either way, that it's yes or no,         4        cancer -- of perineal use and ovarian
      5   because I haven't tried to -- I haven't tried    5        cancer that discusses mechanism. And
      6   to form the opinion about what the -- in         6        that is consistent with what I have
      7   other words, I haven't -- I can't say for        7        said. So there is a consensus
      8   every scientist out there.                       8        opinion.
      9            I certainly can tell you what I         9              But I guess what I'm saying to
     10   believe based on what the consensus of          10        you is I can't tell you that all --
     11   science says about mechanisms underlying        11        all people who have put statements
     12   cancer and the consistency of those             12        have come to that exact opinion. But
     13   mechanisms with talc, and then I have an        13        there aren't that many places out
     14   opinion about what I believe that information   14        there that are addressing that issue
     15   says.                                           15        as far as the consensus on a
     16            I do believe my opinions,              16        mechanism. There's more statements
     17   however, are consistent with some consensus     17        about the relationship between ovarian
     18   statements, such as the issue on the            18        cancer and talc use than there are
     19   mechanism is consistent with consensus          19        drilling down to what the mechanism
     20   opinion reached by IARC, where they discuss     20        must be.
     21   the inflammatory process as an underlying       21   QUESTIONS BY MS. BRANSCOME:
     22   biologically plausible mechanism that can       22        Q. Okay.
     23   lead to ovarian cancer.                         23        A. So that's the issue. It's a
     24            I think it's consistent with           24   little -- it's a little hard to answer that
     25   the Canadian risk assessment where they         25   yes or no because of that.


                                                                   49 (Pages 190 to 193)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 51 of 147
                                         PageID: 195676
               Confidential - Pursuant to Protective Order
                                           Page 194                                            Page 196
      1       Q. Okay. When we talk about the              1       are known to be able to produce,
      2   idea of biologic -- a biologically plausible     2       specifically, ovarian cancer.
      3   mechanism, what is your understanding of the     3   QUESTIONS BY MS. BRANSCOME:
      4   term "plausible" in that expression?             4       Q. Is it your opinion that IARC,
      5       A. When I use the word                       5   for example, has concluded that the
      6   "biologically plausible mechanism" or            6   biological mechanism by which talc may cause
      7   "biologic plausibility," I'm using it            7   ovarian cancer is chronic inflammation?
      8   consistent with what Bradford Hill uses,         8            MS. PARFITT: Objection.
      9   that's it's the idea that the evidence that      9            THE WITNESS: I don't know that
     10   available makes -- the evidence that            10       they have used -- they've described it
     11   available supports a pathway where you can go   11       quite that way, but they do describe
     12   to exposure to response.                        12       what they believe is the biologically
     13              So in other words, there's a --      13       plausible mechanism. Because they do
     14   the biological information is consistent with   14       organize and use within the
     15   how we know cancer can develop. That's the      15       definitions of how they describe some
     16   response we're looking at. And the exposure     16       things that are consistent with what
     17   we're looking at is known to produce those      17       Bradford Hill uses.
     18   kind of biologic events.                        18   QUESTIONS BY MS. BRANSCOME:
     19              So as a result, based upon           19       Q. Okay. And obviously you're
     20   knowing that there's a consistency between      20   familiar with the IARC evaluation of talc
     21   the data that we have on the -- on the          21   with respect to the possibility of causing
     22   exposure and the data that we have on the way   22   ovarian cancer, correct?
     23   cancer can occur, those things -- those         23       A. Yeah. If you mean the recent
     24   things align. So that makes it biologically     24   one, yes, the most recent assessment.
     25   plausible that that could occur.                25       Q. Yes.

                                           Page 195                                            Page 197
      1       Q. But you would agree that                  1            And that IARC has in fact
      2   biological plausibility suggests that it is a    2   classified cosmetic talc not containing
      3   plausible explanation, but it may not have       3   asbestos as possibly carcinogenic to humans,
      4   been established as the definitive pathway by    4   correct?
      5   which a disease is caused, correct?              5        A. It's a possible human
      6            MS. PARFITT: Objection. Form.           6   carcinogen 2B, that's correct.
      7            THE WITNESS: Well, I would              7        Q. Okay. And if a product is
      8       agree that in the discussion of              8   listed in the 2B category, does that
      9       biologic plausibility in the Bradford        9   necessarily mean the product, in your view,
     10       Hill paper that is true. But if you         10   is carcinogenic?
     11       look at people's discussion of the use      11        A. Not always, because that comes
     12       of -- I want to say "biological             12   down to an assessment of -- then you're
     13       mechanism" rather than the word             13   putting together a -- a risk assessment that
     14       "biologic plausibility," because            14   looks at -- looks at -- across the
     15       really as a toxicologist I'm trying to      15   information that you have available. And
     16       understand whether there's a biologic       16   that may be that -- that the -- the possible
     17       mechanism that makes sense. Those are       17   is all you can say, or it may be that you
     18       words I like to use. Does it make           18   believe that the information -- there's
     19       sense that this exposure could lead to      19   enough information there to take it further.
     20       this response.                              20            Has a possibility -- that's
     21            And that involved looking at           21   what I said, they do a hazard assessment.
     22       the mechanistic data or the data on         22   They rank things on hazard based on -- on
     23       the way toxic responses are produced        23   unlikely -- not enough evidence, less -- the
     24       by talc, and whether or not they align      24   possibility, the probability or it's known.
     25       with the types of toxic insults that        25        Q. In your opinion, is your


                                                                   50 (Pages 194 to 197)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 52 of 147
                                         PageID: 195677
                Confidential - Pursuant to Protective Order
                                           Page 198                                             Page 200
      1   characterization of the risk of Johnson's        1   opinion.
      2   baby powder or talcum powder products with       2        Q. Is there a threshold of the use
      3   respect to ovarian cancer, are you in the MDL    3   of Johnson & Johnson's talcum powder products
      4   characterizing that risk as a higher level of    4   below which there is no increased risk, in
      5   risk than what IARC characterized it, or do      5   your opinion, of ovarian cancer?
      6   you agree with the 2B characterization of        6        A. We have not identified that
      7   possibly carcinogenic?                           7   threshold. That's what's missing within
      8            MS. PARFITT: Objection. Form.           8   the -- the literature that exists today. So
      9            THE WITNESS: So I'm not IARC,           9   I can't tell you whether or not with only a
     10       so I don't try to second-guess there.       10   thousand applications over a lifetime that
     11       They have reached a conclusion, and I       11   is -- is not enough for every individual or
     12       use that as part of my weight of the        12   not, but certainly I do believe that the --
     13       evidence. So I haven't formed the           13   that the exposure has to be habit, routine,
     14       opinion they're right or wrong.             14   chronic, something that is done maybe not on
     15            But I have done a different            15   a daily basis but on a routine basis in a
     16       assessment. My assessment, first off,       16   woman's life.
     17       includes more information than IARC         17             So that is consistent, I think,
     18       had, so as a result, I have formed the      18   with the literature.
     19       conclusion that I believe that it's         19             MS. BRANSCOME: Okay. We can
     20       more likely than not that exposure          20        go off the record.
     21       to -- perineal exposure to talc body        21             VIDEOGRAPHER: We are going off
     22       powders increases the risk of ovarian       22        the record at 12:36 p.m.
     23       cancer in women who use that product.       23        (Off the record at 12:36 p.m.)
     24            And I will put the caveat this         24             VIDEOGRAPHER: We are back on
     25       has to be chronic use or repeated use,      25        the record at 1:35 p.m.


                                           Page 199                                             Page 201
      1        because I've gone -- I've said that         1   QUESTIONS BY MS. BRANSCOME:
      2        many times.                                 2       Q. Good afternoon again,
      3             So that -- that is my opinion.         3   Dr. Plunkett.
      4        So that's a different statement and a       4       A. Good afternoon.
      5        different assessment than what IARC         5       Q. I want to talk a little bit
      6        does.                                       6   about the Health Canada assessment.
      7             But -- so I don't disagree with        7            We talked about this before,
      8        their possible -- I weigh that, but I       8   but this is something that you reviewed after
      9        believe the evidence for the risk           9   you completed your report which has been
     10        assessment shows me that it's more         10   marked as Exhibit 4, correct?
     11        likely than not that this -- this          11       A. Yes, and I wanted to tell you,
     12        exposure will increase the risk above      12   I did not bring all those documents printed.
     13        a background risk for women who are        13   I apologize. So there is a separate Health
     14        using this product.                        14   Canada draft risk assessment that I didn't
     15    QUESTIONS BY MS. BRANSCOME:                    15   print.
     16        Q. And how do you define chronic           16       Q. Okay. So when you're referring
     17    or repeated use?                               17   to the Health Canada analysis, what document
     18        A. Well, that is variable within           18   are you specifically referring to?
     19    the literature. For me, chronic is             19       A. So I'm referring to the -- the
     20    exposure -- if as a toxicologist, I would      20   combined documents, but there are times when
     21    typically say chronic use is years of use.     21   you've asked me questions that I've been
     22    It doesn't have to be daily, but it would be   22   referring -- and I tried to say, I believe,
     23    years. That's the most common description      23   Taher.
     24    you see in toxicology, so I would say that's   24            But, yes, some of the questions
     25    fair. That's a fair assessment of my           25   you asked me when I said Health Canada, I was


                                                                    51 (Pages 198 to 201)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 53 of 147
                                         PageID: 195678
                Confidential - Pursuant to Protective Order
                                           Page 202                                              Page 204
      1   talking about the combined documents, which       1   there is a association between those two
      2   would include their -- I guess it's called a      2   things, the exposure and the response, which
      3   draft risk assessment document, yeah, which       3   is more than a possible association, if you
      4   refers to this document but is a separate --      4   want to use those words.
      5   is their own separate statement.                  5            But my assessment that I've
      6        Q. As you sit here today, what is            6   done is not exactly the same, for example, as
      7   your understanding of the current position        7   IARC does, which is more of just a hazard
      8   that has been articulated in the collection       8   assessment.
      9   of documents that you refer to as Health          9       Q. Right.
     10   Canada with respect to any potential             10            So I'm focusing my questions
     11   relationship between cosmetic talc and           11   now on your risk assessment as compared to
     12   ovarian cancer?                                  12   the documents that you've supplied us with
     13        A. So that's why I did print out            13   with respect to Health Canada. And if I
     14   the small one, because I think it summarized     14   understand it correctly, are you stating that
     15   it. So here, if you look at this Exhibit 6,      15   your opinion with respect to the relationship
     16   it makes specific conclusions or draws --        16   between cosmetic talc and ovarian cancer, you
     17   makes statements. And essentially it talks       17   believe that it is an association that is
     18   about talc being a possible risk of ovarian      18   stronger than a possible risk; is that
     19   cancer, but then it gives women specific         19   correct?
     20   advice about what to do in order to minimize     20       A. Well, I don't say it's a
     21   exposure to the products, and some of that       21   possible risk; I say there is an increased
     22   was relevant as well.                            22   risk. So I think it's a different statement,
     23             Just one reason I printed it           23   yes, absolutely.
     24   out, it has to do with either choosing an        24            Of course, I'm not Health
     25   alternative product or avoiding genital          25   Canada, so, you know, they have a framework

                                           Page 203                                              Page 205
      1    exposure to talc.                                1   upon which they make decisions, and I'm doing
      2              And let me see the exact words         2   an analysis based on what I have done. And
      3    that they use, but --                            3   so it's not exactly the same, although some
      4         Q. Before you do that, do you               4   of the same documents and information is
      5    agree with the characterization that cosmetic    5   weighed within -- and then that's when you
      6    talc presents a possible risk of ovarian         6   have the issue of what Health Canada does
      7    cancer?                                          7   versus what they rely upon.
      8         A. No, I don't think that's my              8            But this Taher risk assessment
      9    opinion. I think my opinion is stronger than     9   is just one piece of information that Health
     10    that.                                           10   Canada has weighed in their assessment if you
     11              But are you talking about my          11   read their -- their draft risk assessment.
     12    causation analysis opinion or just my risk      12        Q. So the question I have about
     13    assessment opinion?                             13   the Taher risk assessment, earlier you were
     14         Q. I'm asking about any opinion            14   referring to the fact that you have only seen
     15    you intend to offer in the MDL.                 15   a quantitative assessment of the weight of
     16         A. Okay. So I will not be giving           16   particular components of scientific evidence
     17    the causation analysis opinion, so that -- I    17   in evaluating epidemiological studies; is
     18    will take that off the table.                   18   that correct?
     19              So I think my opinion is a            19        A. So that's what I typically see,
     20    little stronger because I say that the          20   yes. And I don't know that -- I've never
     21    exposure to the perineal -- the talc by         21   seen it. But the typical approach would be
     22    perineal application in women increases the     22   to use it there as opposed to using it in the
     23    risk. So I'm not saying it's a possible         23   context of a human health risk assessment
     24    risk. I'm actually -- I believe that it         24   based on animal in vitro data.
     25    increases the risk. And I do believe that       25        Q. All right. Are you familiar


                                                                     52 (Pages 202 to 205)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 54 of 147
                                          PageID: 195679
                Confidential - Pursuant to Protective Order
                                            Page 206                                            Page 208
      1    with something called the Klimisch scoring       1             So, yes, if they stated they've
      2    system?                                          2   done -- we'd have to pull the supplementary
      3        A. I don't know if I am now.                 3   materials out, but I recall them doing
      4    You'll need to show me what it is you're         4   scoring based on epi studies but not on
      5    referring to. The name doesn't ring a bell,      5   the -- all of the animal studies that they
      6    no.                                              6   talk about. But we can pull it out and look.
      7        Q. Okay. So it's not something               7   I could be wrong.
      8    that you've used in the past?                    8        Q. Okay. Did you review the
      9        A. No, not that I recall using.              9   supplementary material 7, 8 and 9?
     10        Q. All right.                               10        A. Yes, I did, and we'd have to
     11        A. Unless it has another name, and          11   pull them out because I don't recall the
     12    that's why I'm asking you.                      12   details.
     13        Q. All right. So if you have                13        Q. All right. We may take a look
     14    actually -- it's the document in front of you   14   at those in a minute.
     15    that we've already marked as Deposition         15             It talks about them classifying
     16    Exhibit 5, I believe.                           16   the animal and in vitro studies into four
     17        A. Yes.                                     17   categories of reliability.
     18        Q. And that is the Taher study              18             Do you see that?
     19    that we were discussing and is cited by the     19        A. Yes.
     20    Health Canada risk assessment.                  20        Q. So did you make any attempt,
     21             If you turn to page 5 -- well,         21   when you were reviewing the various studies
     22    actually beginning on page 4, do you see        22   in reaching your opinion about the potential
     23    there is a section entitled "Literature         23   risk of talc in causing ovarian cancer, did
     24    Search and Identification of Relevant           24   you make any attempt to separate out the
     25    Nonhuman Studies"?                              25   different pieces of evidence into categories

                                            Page 207                                            Page 209
      1              Do you see that?                       1   of reliability like the authors of this paper
      2        A. Yes.                                      2   have done?
      3        Q. And this is related to an                 3       A. I didn't do it exactly the way
      4    analysis that these authors performed on         4   they did it, but I certainly do do that as
      5    potentially relevant animal and in vitro         5   part of my screening.
      6    studies, correct?                                6            I told you one of the
      7        A. Yes, that is true.                        7   characteristics or one of the assessments I
      8        Q. All right. And it states here             8   make is whether I believe the data is
      9    that "all retrieved studies were examined for    9   reliable data that I can -- that I can use in
     10    relevance, reliability and overall quality      10   a weight of the evidence. So I make a -- and
     11    using the Klimisch scoring system."             11   when I talk about reliability, I'm talking
     12              Do you see that?                      12   then about things such as I mentioned, peer
     13        A. Yes, I do see that. So I have            13   review, whether or not there is statistical
     14    seen that before. I just didn't -- I didn't     14   analysis, whether or not the study is
     15    recall it.                                      15   designed in a way that's consistent with
     16        Q. Okay. And so would you agree             16   general principles of toxicology, control
     17    that it is possible and in fact has been done   17   groups or not control groups.
     18    in a study that you rely on to apply a          18            Those kinds of things I do -- I
     19    quantitative scoring system to animal and in    19   do consider when I am assessing the use of a
     20    vitro studies, particularly in the context of   20   study or not.
     21    looking at the relationship between talc and    21       Q. Is it your testimony here today
     22    ovarian cancer?                                 22   that contained within your report that's
     23        A. Well, I didn't say it was                23   marked as Exhibit 4, I could find
     24    impossible. I said I don't believe it's         24   categorization of reliability of each of the
     25    routine based on my experience.                 25   pieces of scientific literature that you have


                                                                    53 (Pages 206 to 209)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 55 of 147
                                         PageID: 195680
                Confidential - Pursuant to Protective Order
                                            Page 210                                             Page 212
      1    included in your weight of the evidence          1   reliance list?
      2    analysis? Is that your testimony today?          2        A. I believe it was, yes.
      3        A. No, that's not what I'm telling           3        Q. Okay. And so for this one I
      4    you, no.                                         4   just want to direct your attention to the
      5        Q. Okay. So you would agree that             5   conclusion section -- well, let me ask you
      6    you did not -- first of all, did you develop     6   first: How does this document relate to the
      7    categories of reliability in which you           7   collection of documents with respect to
      8    separated the particular scientific studies      8   Health Canada that you identified as relevant
      9    into as part of your weight of the evidence      9   to your opinion?
     10    analysis?                                       10        A. It was one of the materials
     11        A. I do look at -- I do categorize          11   that they rely upon or they cite. That's the
     12    studies based upon my assessment of their       12   reason I pulled it. It was -- I pulled
     13    reliability and their ability to be used to     13   documents that they provided on the website
     14    answer the question I'm asking, but I -- I      14   that were cited.
     15    already told you, I didn't do it the way it's   15        Q. Okay. And if you could turn to
     16    set out here. I didn't have these specific      16   page 11 of that document, there's a
     17    five categories, no. That's not what I did.     17   conclusion section. The first sentence of
     18        Q. Okay. Other than the CIR 2013            18   the third paragraph reads, "The given --
     19    publication, which you have said that you do    19   given the context-specific nature of each
     20    not find reliable and you assign little         20   risk assessment and the diversity of tools
     21    weight to it, can you point me to another       21   and criteria applicable, transparent
     22    place in Exhibit 4 where you assign a           22   documentation of the specific application of
     23    specific category of weight that you have       23   the WOE approach is especially important."
     24    given to a particular study that you include    24            Did I read that correctly?
     25    in your weight of the evidence analysis?        25        A. Yes, you did.

                                            Page 211                                             Page 213
      1       A. If what you're asking me is do             1       Q. And is your understanding of
      2   I make a specific statement next to each          2   WOE that it is weight of evidence?
      3   study that I discuss about little weight or       3       A. Yes, that's correct.
      4   great weight, no, I don't do that, if that's      4       Q. Do you agree with this
      5   what you're asking me.                            5   statement?
      6       Q. Okay. As part of the                       6       A. In a regulatory context, I do
      7   collection of documents that relate to Health     7   believe that that is true, because within the
      8   Canada that was provided to us as part of         8   regulatory context when they do the risk
      9   your new reliance list, did you review a          9   assessment, there's a need to understand why
     10   document entitled weight of the evidence --      10   decisions are made. So, absolutely, in a
     11   or "Weight of evidence: General principles       11   regulatory context, I would agree that this
     12   and current applications of Health Canada"?      12   kind of transparency is even being adopted by
     13       A. Yes, I've seen that.                      13   EPA.
     14            (Plunkett Exhibit 8 marked for          14       Q. And is it your opinion then
     15       identification.)                             15   that a different level of transparency is
     16   QUESTIONS BY MS. BRANSCOME:                      16   needed for expert testimony in court?
     17       Q. All right. We will mark this              17       A. No, that's not what I'm saying.
     18   as Plunkett Deposition Exhibit Number 8.         18   I'm saying that's a different process. And
     19            All right. The document that I          19   that's what part of this process is. It's
     20   just handed you that's marked as Plunkett        20   understanding the ability to provide a dialog
     21   Deposition Exhibit Number 8, are you familiar    21   about what was done.
     22   with that document, Dr. Plunkett?                22            So as a result, this is
     23       A. Yep, I've seen this before.               23   something that is common to the work that
     24       Q. Is this listed among the new              24   I've done in the past. Even in a
     25   materials that have been added to your           25   nonlitigation context with my regulatory


                                                                    54 (Pages 210 to 213)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 56 of 147
                                         PageID: 195681
                Confidential - Pursuant to Protective Order
                                           Page 214                                            Page 216
      1    clients, doing a risk assessment doesn't        1   study. In other words, as I discussed many
      2    necessarily involve the same level of detail    2   times in deposition, when you're talking
      3    that a regulatory -- a regulator would apply    3   about doing a human health risk assessment,
      4    to the transparency of the assessment. Not      4   there's certain types of data that are most
      5    to say that it couldn't be done, but it's       5   relevant. I mean, when they use the word
      6    just -- I would say it's not necessarily        6   "reliable" -- I don't know that many of these
      7    typical.                                        7   studies have the same level of reliability as
      8        Q. So this specifically refers to           8   far as peer review, but they're -- for
      9    transparent documentation.                      9   example, on the issue of migration, it's my
     10              Do you see that?                     10   opinion that the data from the human studies
     11        A. Yes.                                    11   is a more reliable or relevant source of
     12        Q. Would you agree that the report         12   information. And I've laid out why, because
     13    that you have produced in the MDL does not     13   of differences in the anatomy, things like
     14    have documentation of the specific             14   that, with the data.
     15    application of the weight of evidence          15        Q. Are you familiar with the term
     16    approach?                                      16   "binning exercise"?
     17              MS. PARFITT: Objection.              17        A. Yes, I am. And that is
     18        Excuse me, objection. Form.                18   certainly something that I have used in other
     19              THE WITNESS: I disagree to an        19   aspects of work that I have done.
     20        extent because I did attempt to            20        Q. Did you do a binning exercise
     21        provide in my report a description of      21   in rendering your opinions and what you've
     22        the methods that I used and the            22   provided to us in the context of your
     23        resources that I've relied upon for a      23   opinions in the MDL?
     24        discussion of how those methods are        24        A. Yes, that's the exercise I
     25        used.                                      25   start with. I'm binning them into human,

                                           Page 215                                            Page 217
      1            And then in addition to that,           1   animal, mechanistic, in vitro data. That's
      2       I've attempted to lay out for you in         2   the first bins.
      3       my report a discussion of the pieces         3             In fact, in the copper work we
      4       of evidence that I've relied upon,           4   did, that's what we did. We separated the
      5       including some -- for some of those --       5   data into in vitro/only mechanistic
      6       that's one of the reasons I got so           6   information, animal studies, did we have
      7       detailed in the section on migration         7   human studies.
      8       and providing you an analysis of each        8             And we also looked at
      9       of the papers that I relied upon and         9   studies -- we had a separate bin of exposures
     10       what I thought was important within         10   like I do. I have studies that just address
     11       them that led to my -- the formation        11   the issue of exposure potentially.
     12       of my opinions.                             12             So, yes, it's -- it's
     13            So I disagree to some extent.          13   consistent with doing that. It's --
     14   QUESTIONS BY MS. BRANSCOME:                     14   essentially binning is just separating the
     15       Q. Okay. Turning back to what               15   information into groups based on what
     16   Taher did in classifying different studies      16   questions those -- those data can answer.
     17   into different categories of reliability.       17       Q. Okay. Have you ever -- do you
     18   Have you done that type of analysis in the      18   ever separate them into bins based on the
     19   past where you have separated out different     19   level of weight that you would give a
     20   studies into different categories of weight     20   particular study?
     21   or reliability as part of an overall            21       A. I do that when I'm analyzing
     22   analysis?                                       22   each of the studies within that group or that
     23       A. Well, I do that every time I do          23   bin. That's what I do. I give them -- in my
     24   a weight of the evidence when I separate into   24   weight -- in my analysis, I weigh those
     25   categories first based upon the type of         25   studies based upon my judgment on the


                                                                   55 (Pages 214 to 217)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 57 of 147
                                         PageID: 195682
               Confidential - Pursuant to Protective Order
                                           Page 218                                             Page 220
      1   relevance, the reliability, the power of the     1   inflammation, cause ovarian cancer?
      2   study, the statistical analysis that's done,     2        A. Because it doesn't change the
      3   the inclusion in animal studies, in              3   phenotype of the cell. It has to -- the --
      4   particular, of controls. Those are all parts     4   and I discuss that. You have to -- you have
      5   of that analysis that I do. So, yes, I do do     5   to set up a chronic inflammatory process that
      6   that.                                            6   leads to changes within the cellular
      7            And then in -- there have been          7   phenotype to go from a cell that is -- that
      8   exercises that I've done in the past with        8   is -- is dividing normally to a cell that
      9   other individuals where we may have taken a      9   isn't.
     10   yellow sticky note and put down on top of it    10             So it's -- it's the same issue
     11   animal data with exposure information, animal   11   that you address even in a study in animals.
     12   data without exposure information. That's       12   Why do not all animals exposed to -- exposed
     13   the process that I'm doing when I am looking    13   to a chemical develop tumors. It's the idea
     14   across the data. I'm separating those pieces    14   that something has to be initiated beyond the
     15   of data into groups and what types of           15   exposure or maybe beyond inflammation to lead
     16   questions they can answer.                      16   to the series of events.
     17            So that is consistent with what        17             And so, yes, it's recognized
     18   I do when I do a weight of analysis approach    18   that you can get inflammation, and
     19   in the work that I do in both nonlitigation     19   inflammation can go down the road in becoming
     20   and litigation context.                         20   a carcinogenic process, or inflammation can
     21       Q. Okay. But we have no specific            21   no longer -- can stay where it is. It
     22   documentation of the different ratings that     22   doesn't progress beyond just a chronic
     23   you gave the various pieces of evidence that    23   inflammatory process.
     24   you included in your weight of the evidence     24        Q. And so if you had a study that
     25   analysis, aside from occasional references to   25   demonstrated that a particular agent causes


                                           Page 219                                             Page 221
      1   giving something less or more weight,            1   inflammation, you would need more information
      2   correct?                                         2   in order to make the conclusion that that
      3        A. Well, I certainly -- I told you          3   agent can in fact cause cancer, correct?
      4   I have not given numerical values that you're    4            MR. MEADOWS: Objection.
      5   asking me, but I've attempted to do that when    5            THE WITNESS: You would look
      6   I have described them in groups, when I talk     6       for more informative information,
      7   about human versus animal versus in vitro.       7       exactly, which is why, when I've
      8   Because I've already told you, I believe,        8       talked about the individual
      9   it's my opinion that certain types of            9       constituents in the context of
     10   information are more informative than others.   10       consistency on mechanism for cancer,
     11   And so the more informative it is, the more     11       I've pointed to documents where that
     12   weight you're giving it in -- obviously in      12       information has been discussed.
     13   your analysis.                                  13            So like when I talk about
     14            But it is a different exercise         14       asbestos or cobalt or I point to
     15   than what is described here. And here I'm       15       the -- for example, the IARC
     16   pointing to Exhibit 8. And it's a different     16       assessment where they go through
     17   exercise, obviously, than what a regulatory     17       that -- that discussion of the fact
     18   body is required to do where they are trying    18       that there's not just data showing
     19   to come up with ways to increase the            19       that a biologically plausible
     20   transparency when no one can go and actually    20       mechanism may be inflammation, but
     21   talk to each of the regulators individually     21       there's also data to show that that
     22   to understand what their thinking was.          22       can lead to tumor development as well.
     23        Q. Okay. Returning to biological           23   QUESTIONS BY MS. BRANSCOME:
     24   mechanism for a minute, why doesn't             24       Q. Okay. How does talc change the
     25   inflammation generally, including chronic       25   phenotype of the ovarian cell?


                                                                    56 (Pages 218 to 221)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 58 of 147
                                         PageID: 195683
               Confidential - Pursuant to Protective Order
                                           Page 222                                             Page 224
      1       A. So this is one of the details             1   in vitro or an animal experiment -- by which
      2   we don't know, other than generally it's         2   you would expose either cells or animal to
      3   changing the phenotype to go from a normal       3   talc with different constituent products to
      4   cell to a tumor cell. That is being              4   identify or separate out the individual
      5   observed. When you find the presence of the      5   effects of the components? Is that a study
      6   tumor, that is what you're observing.            6   that you could design as a toxicologist?
      7       Q. Does pure talc with no other              7        A. I think that would be difficult
      8   constituent components, can it change the        8   to do, but I'm not saying impossible to do.
      9   phenotype of an ovarian cell?                    9   And here's the -- there are some very
     10             MR. MEADOWS: Objection.               10   specific considerations you'd have to put
     11             THE WITNESS: So that's a              11   into that design.
     12       difficult question to answer with           12              I would argue that some of that
     13       certainty because of the fact that I        13   is already available, where we have studies
     14       don't believe that we have assurance        14   that have looked at the dose-response effects
     15       that any of the studies are done with       15   for toxicity with cobalt, with chromium, with
     16       essentially pure talc.                      16   asbestos.
     17             However, in the studies that          17              When you get to asbestos and
     18       claim to have been done with pure           18   talc, it's more problematic because then the
     19       talc -- for example, the NTP study          19   question is what is -- what is it? What are
     20       claims to have been done with pure          20   the specific characteristics in all the
     21       talc. So if that is pure talc, truly        21   different studies of exactly what the
     22       is, then that study is an example of        22   asbestos was versus exactly what the talc
     23       evidence for the chronic inflammatory       23   was.
     24       process leading to preneoplastic            24              But I think you could attempt
     25       lesions that are setting down the road      25   to do that, and then the question would be,

                                           Page 223                                             Page 225
      1       mechanism towards cancer.                    1   being able to use that data not so much to --
      2            So there are data out there.            2   not so much to identify a dose response for a
      3       The problem you have, I believe, in          3   certain insult, but to look at the fact --
      4       the literature is whether or not,            4   look at potency differences across the
      5       based on the discussion that is              5   compounds. And then there's the issue of
      6       becoming apparent now with sensitivity       6   then looking at additivity when you know you
      7       and ability to take the natural              7   have a complex mixture.
      8       product and actually determine exactly       8             So that could be done, but,
      9       what's in it, that I don't think there       9   again, it would be difficult to do based on
     10       is the ability to assure that any --        10   what we know about talc, being able to really
     11       any of these studies with the samples       11   know that -- you would have to really be very
     12       of talc they're using is absolutely,        12   careful that what it is that you're looking
     13       100 percent, only platy talc. I think       13   at is -- is not containing any of those
     14       there's -- there's some concern about       14   things that we unfortunately know co-occur
     15       that. But certainly you will take --        15   with constituents within the natural product.
     16       you have to take what is discussed          16             But no one has done those
     17       within the study as evidence from what      17   studies. I point that out. I haven't seen
     18       they're claiming.                           18   that study that you're asking for. I have
     19            So many of the studies say we          19   not seen somebody do that.
     20       used asbestos-free talc or platy --         20        Q. And a study like that would be
     21       pure platy talc and we got a toxic          21   relevant in evaluating the potency of the
     22       response.                                   22   individual constituents and what might
     23   QUESTIONS BY MS. BRANSCOME:                     23   actually be the driving factor for phenotypic
     24       Q. Would it be possible to design           24   change, correct?
     25   an experiment -- and now I'm talking about an   25        A. Not necessarily. I would argue


                                                                   57 (Pages 222 to 225)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 59 of 147
                                         PageID: 195684
               Confidential - Pursuant to Protective Order
                                           Page 226                                             Page 228
      1   that we already have an answer to that by        1   been linked to an inflammatory response.
      2   looking at the data that's been collected on     2   Oxidative stress is often a triggering
      3   the complex mixture itself. So the issue         3   mechanism.
      4   would be why -- the question is what do you      4        Q. Does the body have protective
      5   gain by being able to say that we're only        5   mechanisms that limit tissue damage from
      6   pointing to this constituent or that             6   oxidative stress?
      7   constituent. That isn't what is occurring.       7        A. Yes, which is why not everybody
      8            What people are exposed to is           8   that's exposed to any particular chemical is
      9   the complex mixture, not just each one of        9   going to get cancer. Some people will
     10   those individual components. To me this is      10   respond better. Some cells will respond
     11   not a case of asbestos-only exposure. This      11   better. Some individuals in a population at
     12   is a case of exposure to consumer products      12   one time in their life may respond better.
     13   that are talc that may have within them at      13        Q. You would agree that in vitro
     14   any given time -- and data indicates that       14   studies do not account for the body's natural
     15   there are substantial chance that asbestos      15   defenses outside of what exists at the
     16   may be in -- is in certain of these products.   16   cellular level, correct?
     17            But my opinions are not                17        A. Depends on the in vitro study
     18   dependent on there being asbestos there at a    18   that's being done and whether or not there is
     19   particular level or copper there -- or, I'm     19   components added.
     20   sorry, cobalt there at a particular level       20            So I've seen studies done where
     21   because my opinions are based on the            21   they take cells and then add extra levels of
     22   observations we have on the complex product     22   glutathione to try to protect the cells from
     23   as it exists.                                   23   certain stressors that could lead to damage,
     24        Q. And you recognize that                  24   but I agree with you that an isolated cell on
     25   different types of talc and different talc      25   its own is a different microenvironment than

                                           Page 227                                             Page 229
      1   products have different constituent              1   an intact tissue, which is a different
      2   components in different amounts, correct?        2   environment than an intact animal, which is
      3       A. Some can. I agree with that.              3   even different than an intact human being.
      4   That is true.                                    4   Yes, they're all -- you look at those levels
      5            So if you're being broad, as in         5   of evidence or those types of evidence
      6   pharmaceutical-grade versus industrial-grade     6   differently, depending upon the end points
      7   or chemical-grade, yeah, because they'll have    7   you're collecting.
      8   a purity level assigned.                         8        Q. And so you would give lower
      9            But as far as what the -- what          9   weight to an in vitro study as compared to an
     10   the components are, it isn't always defined     10   in vivo study, for example?
     11   even specifically within that.                  11        A. Depends on the question you're
     12       Q. Okay. And does the presence of           12   asking. I would give a lot of weight if the
     13   oxidative stress in a tissue indicate that      13   question is what do I know -- if I want to
     14   cancer will develop in that tissue?             14   try to understand the biologically plausible
     15       A. Will definitively develop?               15   mechanism, some of those in vitro studies are
     16   Not -- I don't think you could say              16   some of the most important, because it's the
     17   definitively develop, but it's certainly in     17   only ones that allow us to answer a question.
     18   the biologically plausible mechanism that's     18            If the question is higher level
     19   been understood to lead to chronic              19   about what is the evidence to show that
     20   inflammation and also has been linked to        20   there's an increased risk overall for cancer
     21   cancer.                                         21   or a hazard for cancer, then certainly you
     22            So that's the issue of not             22   need to have more than an in vitro study.
     23   necessarily saying it has to be there, but it   23            So as -- so on -- if you want
     24   certainly is something that is observed         24   to layer it up, obviously, if all you had was
     25   routinely in cases where carcinogenesis has     25   in vitro data, you'd have much less


                                                                   58 (Pages 226 to 229)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS            Document 33000-16         Filed 07/23/24          Page 60 of 147
                                        PageID: 195685
               Confidential - Pursuant to Protective Order
                                          Page 230                                              Page 232
      1   confidence in the conclusions you can draw       1   weight, but it could if you only had one
      2   unless you had some in vivo data. In vivo        2   crappy human study, one really badly designed
      3   data is going to allow you to interpret the      3   human study, and I had a GLP quality cancer
      4   in vitro data.                                   4   bioassay then, absolutely. I mean, IARC does
      5            So certainly there would be             5   this. They look at that animal data and say,
      6   more weight given in that assessment to the      6   "This one tells us -- answers the questions
      7   fact that you had in vivo data.                  7   we want to answer, and this very poorly
      8       Q. And so when you made the                  8   designed case series isn't going to allow us
      9   statement that, for instance, you always give    9   to do that."
     10   more weight to human data, is that true, or     10            So you could, but I would say
     11   does that also depend?                          11   it's more the other issue, that you look at
     12       A. Well, it depends on whether you          12   animal and human more on an equal basis if
     13   have human data. So if I have human data and    13   the relevance and the extrapolation can be
     14   I have a doubt, any doubts at all, about        14   done reliably.
     15   whether or not the exposure-response            15            And that's the question you
     16   relationship would be affected by the way the   16   have to ask, can I extrapolate from animals
     17   animal studies are designed, then, yes, I       17   to humans in a reliable manner.
     18   would give more weight to the human studies.    18        Q. Okay. Would you agree that the
     19            In a case, however, such as            19   response to cosmetic talc can vary depending
     20   inhalation exposure assessments where           20   on tissue type in the body?
     21   there -- it's much better, actually, to do an   21        A. Yes, I would say that that is
     22   animal study where we can do a dose response    22   true, whether or not there's certain
     23   across different sizes of particles and         23   protective barriers in place, for example,
     24   actually observe lesions as they develop over   24   yes.
     25   time, which is why I love -- I love the NTP     25        Q. And so in order to draw

                                          Page 231                                              Page 233
      1   93 study of interim sacrifices, looking at       1   conclusions based on a study of one cell
      2   that issue. That data is very reliable in        2   type's reaction to cosmetic talc to another,
      3   order to understand the risk of lung damage      3   you would need to understand the differences
      4   as compared to a human study where we don't      4   in similarities between those two cell types,
      5   have those serial time points, doses that are    5   correct?
      6   defined tightly.                                 6            MS. PARFITT: Objection.
      7             So -- and the relevance between        7            THE WITNESS: It's a different
      8   those kinds of initial lung injury in certain    8       question. So you were asking me
      9   animals versus humans match fairly well.         9       about -- I didn't think you were just
     10             That's my problem, though, in         10       asking about cells. I thought you
     11   the case with the perineal exposure. I'm        11       were asking me about like routes of
     12   saying to you, because of the route of          12       exposure, dermal versus inhalation.
     13   contact -- we need to be able to get it there   13       Those things differ.
     14   to the tissue -- the human data is extremely    14            Cell types may or may not.
     15   important.                                      15       That may or may not be true. Because
     16       Q. So is it fair to say that in             16       if two cells -- two different cell
     17   some circumstances animal data gets more        17       types in the body share similar
     18   weight than human data and in other             18       characteristics as far as the -- for
     19   circumstances human data gets more weight       19       example, if they're both epithelial
     20   than animal data? It is circumstance            20       cells or mesothelial cells, those type
     21   dependent?                                      21       of cells you would expect to respond
     22       A. I would put it a different way.          22       the same way.
     23   I would say in some cases animal data is        23            But I would agree that, for
     24   weighted in a similar manner to human data.     24       example, a neuronal cell versus a GI
     25   I don't necessarily say it would get more       25       cell versus a liver cell, there could


                                                                   59 (Pages 230 to 233)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 61 of 147
                                         PageID: 195686
               Confidential - Pursuant to Protective Order
                                           Page 234                                             Page 236
      1       be differences in how they would             1       Q. Okay. And in your -- in your
      2       respond, yes, and so you would -- you        2   report, as part of your risk assessment that
      3       would look at those things                   3   you did in the MDL -- this is paragraph 12 on
      4       individually.                                4   page 8.
      5   QUESTIONS BY MS. BRANSCOME:                      5       A. Yes, I'm there.
      6       Q. And so it's important to                  6       Q. Okay. You state about
      7   understand the differences and the               7   two-thirds of the way down the paragraph that
      8   similarities between the different cell types    8   "weight of the evidence methods were critical
      9   before drawing conclusions using studies from    9   to defining the literature that identified
     10   different cell types?                           10   the hazards of talc exposure as well as
     11            MS. PARFITT: Objection.                11   defining the dose-response relationship
     12            MR. MEADOWS: Objection.                12   between talc exposure and the risk of adverse
     13            THE WITNESS: I certainly think         13   health effects."
     14       you should consider the cell types          14            Did I read that correctly?
     15       that are being used and whether or not      15       A. You did. That's correct.
     16       those cell types are ones that are          16       Q. All right. Is it your view
     17       relevant to your risk assessment            17   that in the case you have reached an opinion
     18       question you're asking, yes.                18   that defines the dose-response relationship
     19   QUESTIONS BY MS. BRANSCOME:                     19   between talc exposure and the risk of ovarian
     20       Q. Okay. You would agree as a               20   cancer?
     21   toxicologist, dose is an important part of a    21       A. It depends what you mean by
     22   toxicological analysis of an agent, correct?    22   define. I can tell you what I mean in this
     23       A. If you're doing risk, yes. If            23   sentence, and maybe that would help you.
     24   you're only doing hazard, it may not be as      24       Q. Dr. Plunkett, it is your
     25   important. It depends upon the question         25   report. And so I am asking you, using your

                                           Page 235                                             Page 237
      1   you're asking about hazard.                      1   own definition of "define," have you rendered
      2            Do you want me to explain?              2   an opinion that defines the dose-response
      3       Q. I do want you to explain the              3   relationship between talc exposure and the
      4   difference between a risk analysis and a         4   risk of ovarian cancer?
      5   hazard analysis.                                 5        A. I have formed opinions about
      6       A. Okay. So in an initial hazard             6   the dose-response relationship generally, but
      7   analysis, if the question is, is there a         7   unfortunately -- I answered that question for
      8   hazard associated with exposure, let's say,      8   you earlier when you asked me, I think, about
      9   by inhalation, it may not matter whether it      9   is there -- I don't know if you used the word
     10   was a high dose or a low dose study. Both of    10   "threshold," but I did.
     11   those can identify hazard.                      11            So the available information
     12            Then you ask the question: Is          12   doesn't allow us to identify an ultimate
     13   there a dose-response relationship? That's      13   threshold, for example, in the case of women
     14   the next step beyond hazard.                    14   exposed to talc perineally and their -- and
     15            So hazard is -- to me is               15   their development of ovarian cancer.
     16   identifying the end points that you're going    16            Instead, in defining the dose
     17   to monitor for toxicity, sort of the target     17   response, what we can do with the data -- and
     18   organs, those things, and so whether or not     18   that is what I attempted to do. This is
     19   there's a dose-response study available, it     19   where you look at defining the dose response
     20   wouldn't be as important.                       20   in the animal studies, which we can look at,
     21            But certainly when you go to           21   or defining dose response in cell studies,
     22   that next step to assess risk, you'd like to    22   showing that as the dose increases, the
     23   be able to see whether or not there is a        23   hazard and the risk increase. So risk
     24   dose-response relationship in the effect that   24   actually you quantify. There's a certain
     25   you're assessing.                               25   response at this dose and a different


                                                                   60 (Pages 234 to 237)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 62 of 147
                                          PageID: 195687
                Confidential - Pursuant to Protective Order
                                            Page 238                                            Page 240
      1   response at the next dose, or have we             1       or -- that they may make a -- an
      2   plateaued, that the responses are the same as     2       author may make a statement, but I'm
      3   dose increases.                                   3       talking about looking -- this is
      4            So that, I did do that as part           4       weight of the evidence. I'm looking
      5   of my assessment, trying to define the dose       5       across. And I'm saying, across the
      6   as far as how that linked to the responses in     6       data, when I look at the human data
      7   each of the studies I looked at.                  7       versus the animal data, for example,
      8       Q. You would agree, though, that              8       versus in vitro studies, the in vitro
      9   some studies did not show a dose relationship     9       studies and the animal studies allow
     10   between talc and ovarian cancer or the           10       you to look at dose response for talc
     11   clinical signs that were indicative of the       11       toxicity.
     12   potential for development into ovarian           12            The -- even the animal studies
     13   cancer, correct?                                 13       allow you to look at dose response for
     14            MS. PARFITT: Objection.                 14       development of precancerous lesions,
     15            THE WITNESS: If you're talking          15       you're on the way to cancer, for
     16       about the human data; is that what           16       example, in the NTP studies.
     17       you're referring to? Or are you              17            And then in the human studies,
     18       talking about all -- any of the data?        18       some of those studies are designed
     19   QUESTIONS BY MS. BRANSCOME:                      19       such that the authors could draw
     20       Q. Any of the data.                          20       conclusions about dose response and
     21       A. So I would disagree on the                21       some are not.
     22   animal data. I think on the animal data they     22            Even in some of the studies
     23   often -- most of the animal studies I've         23       where they attempted to look at dose
     24   relied upon have looked at more than one dose    24       response, some of the authors indicate
     25   or at least looked a no exposure versus a        25       they don't see an effect. So that is

                                            Page 239                                            Page 241
      1    dose, and most of them have looked at more       1       true. And part of that may be driven
      2    than one dose.                                   2       by the design of the study, the number
      3             In the case of the human                3       of individuals in the study, the way
      4    studies, unfortunately, some of those studies    4       that the questions were asked.
      5    were not designed to be able to define dose.     5       There's limitations on the way that
      6    In other words, the questions weren't asked,     6       information is collected.
      7    for example, of the individuals even in the      7            If you want to look at each
      8    prospective studies. Some of those               8       study, we can, but --
      9    included -- did not include the information      9   QUESTIONS BY MS. BRANSCOME:
     10    collected on frequency and duration of use.     10       Q. So my question to you, whether
     11             So if it's not collected,              11   you agree or disagree with the author's
     12    obviously, I don't have it to look at. And      12   conclusion, is simply that if you look at the
     13    that's one of the limitations of human          13   overall animal and human studies that you
     14    epidemiological investigations, is that it      14   cite in your report or have considered on
     15    often is not designed appropriately to look     15   your reliance list that look at a potential
     16    at dose response.                               16   dose-response relationship for talc toxicity,
     17        Q. Is it your opinion that there            17   do some of those studies conclude that there
     18    are no studies looking at talc and the risk     18   is not a dose-response relationship?
     19    of ovarian cancer in which the authors of the   19            MS. PARFITT: Objection.
     20    study have concluded there was no clear         20            THE WITNESS: I disagree for
     21    pattern of increased risk with dose?            21       talc toxicity, but I would say if
     22             MS. PARFITT: Objection.                22       you're going to limit it to the issue
     23             THE WITNESS: No, that's not            23       of the ovarian cancer response, I
     24        what I've said. No. It's very               24       would agree. I have seen that in some
     25        possible that an individual paper           25       of the studies.

                                                                    61 (Pages 238 to 241)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 63 of 147
                                          PageID: 195688
                Confidential - Pursuant to Protective Order
                                            Page 242                                            Page 244
      1             I think talc toxicity, I don't          1   is that you give them less weight because you
      2        know if anybody has made the                 2   believe that the individuals who conducted
      3        comment -- I would doubt it -- that          3   the study had been paid by either a company
      4        there is no dose response for toxic          4   or agencies that had some investment in the
      5        effects of talc.                             5   outcome of the study; is that correct?
      6   QUESTIONS BY MS. BRANSCOME:                       6        A. Is that my opinion?
      7        Q. Okay. You discuss in your                 7        Q. Yes.
      8   report -- wait a moment. It's in                  8        A. For any particular study,
      9   paragraph 58 on page 38. And I just want to       9   you'll need to show me what you're pointing
     10   make sure I understood what you were citing      10   to. I do have opinions about some of the
     11   here.                                            11   work by Drs. Huncharek and Muscat, yes. I
     12             In paragraph 58 you state that         12   think I address that specifically, and that
     13   "It is important to remember that                13   has -- that's not so much to do with my
     14   administration of even a single dose of talc     14   weight of the evidence; that has more to do
     15   in animals has been shown to produce adverse     15   with transparency and what was being
     16   effects locally at the site of the exposure."    16   disseminated to the public and disseminated
     17             What are you referring to              17   to the FDA as far as evaluations.
     18   there?                                           18            That's a different issue than
     19        A. Acute doses. In other words,             19   the weight of -- the weight of -- the weight
     20   in studies that have described installation      20   of the evidence assessment for risk. I think
     21   of a single dose of talc in some form into a     21   those were separate.
     22   tissue, that they are observing adverse          22        Q. So then I'll ask you that.
     23   responses.                                       23            In doing your weight of the
     24             An example of that may be              24   evidence analysis for risk, have you
     25   the -- I think it's Hamilton. Is that the        25   discounted the weight that you've given to

                                            Page 243                                            Page 245
      1    one where they stilled it into the ovaries       1   any particular piece of scientific evidence
      2    with a single dose?                              2   based off of potential affiliations of the
      3         Q. So these are large-dose                  3   authors?
      4    exposures?                                       4        A. I certainly did with the CIR
      5         A. Well, not all --                         5   review document. I've already told you that.
      6         Q. Or are they, I should say?               6   And that's because I have evidence that shows
      7         A. I don't know that they all are,          7   it's not just an affiliation issue, but it's
      8    no. There are -- there are -- I don't think      8   actually -- it's more -- it's more important
      9    I have attempted to quantify large in this       9   than that.
     10    sentence.                                       10        Q. Are there any other examples?
     11              What I'm stating here is not an       11        A. I think that's the only one
     12    issue of large versus small. It's an issue      12   right now as I sit here that I can tell you
     13    of the fact that there are toxic effects with   13   that I had identified as carrying little
     14    single exposures. And I'm just making the       14   weight because of an issue of either
     15    comment -- this has to do with hazard, right?   15   authorship or input in the way it was
     16    It's the idea even a single dose -- or a        16   described.
     17    single exposure you can get irritant,           17             There are certainly studies
     18    inflammatory reactions at the site of           18   within my weight of the evidence evaluation,
     19    exposure. And that's all I'm trying to say.     19   some of which were performed by industry. I
     20    That's why I'm citing as reviewed by EPA. I     20   certainly look at that issue, but unless I
     21    believe EPA even makes a very similar           21   have -- have a reason to believe that there's
     22    statement.                                      22   an inherent bias based on something I know,
     23         Q. Okay. Do you take into                  23   they go into the weight of the evidence
     24    account -- there are some studies for           24   without making a correction for that.
     25    which -- at least my reading of your report     25             In many cases that I work in


                                                                    62 (Pages 242 to 245)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 64 of 147
                                         PageID: 195689
                Confidential - Pursuant to Protective Order
                                           Page 246                                            Page 248
      1   litigation, I will find situations like the      1   tested, that he reports are Johnson's baby
      2   situation here with Huncharek and Muscat         2   powder, did you also consider the work that
      3   where I have, for example -- I think this        3   was done by experts that have been retained
      4   came up in the Risperdal litigation for me.      4   on behalf of the defendants to characterize
      5   It's the idea that there was a series of         5   the components of Johnson's baby powder? Do
      6   papers put out by an individual investigator     6   you give them equal weight?
      7   where documents that I could get access to       7        A. So I haven't seen a variety of
      8   show me that indeed their analysis was not       8   the documents that you're talking about,
      9   done by them but it was ghostwritten by          9   so -- because I have not worked in the
     10   somebody else. So that gives me pause,          10   litigation cases that have involved asbestos
     11   although I would never have known that unless   11   only. So -- which I think is where those
     12   I had access to internal documents.             12   documents are.
     13             So initial weight of the              13            In the litigation I -- in the
     14   evidence I did not discount it, but then I      14   litigation I worked in, I am aware of what
     15   went back and had to reevaluate the role        15   other experts on both sides have said. I
     16   those studies played in my overall              16   don't believe I've seen an analysis from a
     17   assessment.                                     17   defense expert that is -- that is like
     18        Q. Do you take into account in any         18   Dr. Longo's, at least in the litigation I've
     19   way in evaluating the weight of a study if it   19   worked in. Certainly I would consider that
     20   is conducted by someone who serves as an        20   and look at that if it's available, and I
     21   expert on behalf of the plaintiffs in the       21   would consider it.
     22   active litigation?                              22            I would point out, Dr. Longo's
     23        A. It would be the same -- same            23   analysis is not the piece of evidence that
     24   issue. I certainly consider it as part of       24   you start with, though. You start with what
     25   what I look at, but just like if they were an   25   I discuss in the published literature first,

                                           Page 247                                            Page 249
      1   expert for the defense versus an expert for      1   because there are published documents out
      2   the plaintiff, you judge that information        2   there in the literature that describe exactly
      3   based on what you know. And if I don't have      3   what Dr. Longo is now describing.
      4   information to discount it, I will not           4       Q. What published documents are
      5   discount it.                                     5   those?
      6            But absolutely, I understand.           6       A. Those are Dr. Blount's reports
      7   Just as people we all -- look at some of the     7   in 1991, which is before the litigation came
      8   things I've published where I have said my       8   about, is my understanding.
      9   work was sponsored by the American Chemistry     9             There's also -- there's five or
     10   Council. You know, people -- that's why you     10   six. I can tell you the paragraph.
     11   disclose the conflicts. You put it there so     11       Q. For Johnson's baby powder, I
     12   people can weigh it if they want, but it        12   would be interested in that, yes.
     13   doesn't mean you discount the work              13       A. So I -- I'll have to look and
     14   automatically.                                  14   see if it's Johnson's baby powder only, but
     15            And so I think for any paper,          15   certainly there is other evidence on the
     16   plaintiff, defense, whoever it is that's        16   issue of asbestos contamination and
     17   writing it, you need to consider it based on    17   specifically in talc.
     18   the information you have. And if you believe    18             So I -- you want me to find the
     19   that you have information to indicate that      19   paragraph for you?
     20   there's some issue with the reliability of      20       Q. Please. If you think there is
     21   the analysis, then absolutely you consider      21   published literature documenting asbestos in
     22   that.                                           22   Johnson's baby powder, I would like to see
     23       Q. So, for example, when you rely           23   that.
     24   on Dr. Longo's characterization of the          24       A. So this is my paragraph 32.
     25   constituent components in samples that he has   25   And I'd have to pull each of these articles


                                                                   63 (Pages 246 to 249)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 65 of 147
                                         PageID: 195690
               Confidential - Pursuant to Protective Order
                                           Page 250                                             Page 252
      1   out because I don't recall what each of them     1   look.
      2   says. But I'm pointing to Paoletti, Blount,      2       Q. Have you reviewed Dr. Blount's
      3   Mattenklott, Moon, Gordon, Anderson, Rohl,       3   deposition?
      4   Pooley and Rowlands, Blejer and Arlon,           4       A. I have reviewed a -- something
      5   Cralley, Millman.                                5   by Dr. Blount. Whether it was trial
      6             And then I cite -- and then of         6   testimony or deposition, I have seen
      7   course the next piece of evidence is there       7   something, yes, that she has said regarding
      8   are actually documents from J&J and Imerys       8   this issue.
      9   that show detection of asbestos or               9       Q. To the extent that there is
     10   asbestos-like minerals in talc.                 10   confusion about whether or not a sample
     11        Q. As you sit here today, can you          11   tested by Dr. Blount is in fact Johnson's
     12   identify which of these published articles      12   baby powder, would you reduce the weight that
     13   that you list in paragraph 32 relate to         13   you give that particular piece of evidence in
     14   Johnson's baby powder?                          14   evaluating whether asbestos has been present
     15        A. I would have to pull them to            15   in Johnson's baby powder?
     16   answer that.                                    16            MS. PARFITT: Objection. Form.
     17        Q. Okay.                                   17            MR. MEADOWS: Objection.
     18        A. As I sit here, I'd have to pull         18            THE WITNESS: I don't know
     19   them. But I would refer you -- I know at        19       reduce the weight because -- because
     20   least some of them do based on the statement    20       there's -- there are plenty of
     21   I've made, but...                               21       documents here that talk about that.
     22        Q. So you did not make an attempt          22            I would consider it --
     23   in this paper to identify which products were   23       certainly it would -- it's not so much
     24   being analyzed in these specific articles.      24       weight. It's a different bin. We'll
     25   It's not indicated on the face of this          25       call it a bin, a different bin of

                                           Page 251                                             Page 253
      1   paragraph, correct?                              1        information. There's information on
      2       A. I don't tell you on the face,             2        talc powders generally, and then
      3   but you if read the sentence I said, "When       3        there's some information that's
      4   commercially available, talcum powder            4        specific to certain body powders.
      5   products were analyzed, including powders        5             So certainly -- would I pay
      6   sold by Johnson & Johnson. The data has          6        attention if they identified it? Yes.
      7   shown that the powders contained varied          7             But in the statement I'm making
      8   levels" -- and I'm saying "fibers," so it's      8        here, I'm not claiming that every one
      9   just asbestos -- "including fibers that          9        of these is relating to just the
     10   stated to be asbestos."                         10        powder sold by Johnson & Johnson.
     11            So to tell you which of those,         11        This is across the available
     12   I'd have to pull them. And I apologize, I       12        information that's public and then
     13   didn't bring them all with me.                  13        also the information that's available
     14       Q. Have you been provided --                14        in the files of Johnson & Johnson.
     15   you're aware that Dr. Blount's paper does not   15   QUESTIONS BY MS. BRANSCOME:
     16   identify Johnson's baby powder in the face of   16        Q. What is your definition of
     17   the article, correct?                           17   asbestos?
     18       A. I believe that's true. You'd             18        A. My definition of asbestos is
     19   have to go to her deposition, I believe,        19   exactly what the different documents describe
     20   where she's given -- where she discusses what   20   it typically. It's a fibrous mineral,
     21   the source of that was, and maybe even a --     21   typically. It occurs in a variety of
     22   there may even be a separate document,          22   different forms. Most of the times they'll
     23   actually, not a deposition, that was -- that    23   say "asbestos." Sometimes they'll say
     24   was in the files of Johnson & Johnson that      24   "chrysotile." Sometimes they'll say
     25   goes along with that, but I'd have to go        25   "tremolite." Sometimes they'll say


                                                                    64 (Pages 250 to 253)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 66 of 147
                                         PageID: 195691
               Confidential - Pursuant to Protective Order
                                           Page 254                                             Page 256
      1   "anthophyllite." Those are the three most        1       A. Has to do with the fact that we
      2   common ones I see. But those are all mineral     2   have a complex mixture that has multiple
      3   forms of asbestos.                               3   carcinogenic substances.
      4            So just like IARC puts those            4            And asbestos is important from
      5   all within one bin, I'm putting those all in     5   the aspect of the way that it has been
      6   one bin because they have a similar toxicity     6   assessed even by regulatory bodies, the idea
      7   profile.                                         7   that even very low levels of fibers pose a
      8       Q. Is it your view that each of              8   cancer hazard and a cancer risk in
      9   the different types of asbestos has the same     9   individuals have been shown to be
     10   toxicity profile?                               10   carcinogenic.
     11       A. They all have the same ability           11            So that's what I'm saying about
     12   to cause cancer, but they have different        12   potency of asbestos is different than potency
     13   potencies. So they do have -- there will be     13   of some other carcinogens that you might look
     14   some differences in the dose response and the   14   at. But the importance of it is it's a
     15   potency of them, but certainly they've all      15   complex mixture, talc, body powders, a
     16   been linked as being carcinogens by IARC.       16   complex mixture that includes constituents
     17            And I would agree, when you            17   that are known human carcinogens as well as
     18   look at their data, there is data and           18   some that are -- been ranked other ways by
     19   evidence to indicate that.                      19   regulatory bodies.
     20       Q. Which type of asbestos is the            20       Q. If Johnson's talcum powder
     21   most potent?                                    21   products do not contain asbestos, does that
     22       A. For which end point? For lung            22   change your opinion with respect to the risk
     23   cancer? I believe chrysotile is. For other      23   they pose with respect to ovarian cancer?
     24   end points, I'd have to go look. I mean,        24       A. No, and I think that was very
     25   chrysotile is the sharp -- is the sharp --      25   clear if you looked at my first report. So

                                           Page 255                                             Page 257
      1   the sharded-type structure.                      1   even -- there's -- I don't think in any of my
      2             But there's data on fibrous --         2   reports I've opined that without looking at
      3   the fiber -- the fibrous forms of asbestos       3   the complex mixture that we wouldn't be here.
      4   rather than the -- or the amphibole forms of     4            In other words, I have not
      5   asbestos as opposed to chrysotile, which is      5   opined that if it doesn't have -- if it
      6   the serpentine form.                             6   doesn't have asbestos, it's not a risk. I
      7       Q. Do you consider yourself an               7   have not opined that, and I don't believe
      8   expert in asbestos?                              8   that, because I think there is independent
      9       A. Not in --                                 9   risk for the fact that we have a complex
     10             MS. PARFITT: Objection.               10   mixture of talc that has been tested and
     11             THE WITNESS: Not the geology          11   shown to be carcinogenic.
     12       of asbestos, no.                            12            It's my opinion, I told you --
     13             I have expertise in toxicology        13   maybe it wasn't you. I may have told this
     14       as it relates to interpretation of the      14   yesterday, I'm sorry, to Mr. Smith that I
     15       data related to asbestos. I have            15   believe that there is evidence to show that
     16       never give -- given testimony in a          16   there is a significant exposure to asbestos
     17       case on asbestos, but it's something        17   based on the data that's been collected.
     18       I've studied in the past in my work as      18            But certainly, you know, in
     19       a toxicologist, not as a testifying         19   some -- the data has shown that in the assays
     20       expert.                                     20   that have been done or the analyses that have
     21   QUESTIONS BY MS. BRANSCOME:                     21   been done that you can't say that talc is
     22       Q. What role does your analysis of          22   asbestos-free.
     23   the possibility that there may be asbestos in   23       Q. Well, so --
     24   Johnson's talcum powder products play in your   24       A. So --
     25   risk assessment in the MDL?                     25       Q. -- the question I have


                                                                   65 (Pages 254 to 257)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 67 of 147
                                         PageID: 195692
                Confidential - Pursuant to Protective Order
                                           Page 258                                             Page 260
      1    specifically relates to ovarian cancer.          1   asbestos above background through the
      2             Is it your view that through an         2   perineal use of Johnson's talcum powder
      3    exposure route that is relevant for ovarian      3   products?
      4    cancer, that the use of Johnson's talcum         4            MR. MEADOWS: Objection.
      5    products involve a substantial exposure to       5            MS. PARFITT: Objection.
      6    asbestos?                                        6            THE WITNESS: I don't think
      7        A. I believe based on the use of             7       that's the opinion I have formed to
      8    the products that -- where the data has been     8       date, but certainly the opinion I have
      9    collected that there would be a substantial      9       formed is that the data I have seen
     10    exposure to asbestos, regardless of how         10       indicates that you can't separate out
     11    you're exposed, perineal -- perineally or by    11       talc without asbestos versus talc with
     12    inhalation.                                     12       asbestos in the information that's
     13        Q. What is your basis for reaching          13       been collected. Because there's --
     14    that conclusion?                                14       all -- the information that's been
     15        A. It's looking at the number of            15       collected has shown there's no
     16    fibers that have been detected in the           16       evidence that asbestos-free talc is
     17    products, in looking at the -- the widespread   17       available.
     18    nature of the presence of asbestos fiber --     18            If by asking that question
     19    asbestos in the talcum powder products and      19       you're trying to say that it's the
     20    the fact that even though it's at a very low    20       asbestos alone that's causing the
     21    level by their -- their level of detection,     21       cancer, that is not my opinion. So
     22    again, can't be said to be asbestos-free.       22       that is when the dose issue would
     23             So regardless of whether it's          23       become very important for asbestos.
     24    talc that's being applied perineally or a       24   QUESTIONS BY MS. BRANSCOME:
     25    talc that you're inhaling while you're          25       Q. Okay.

                                           Page 259                                             Page 261
      1    applying it perineally, the fibers are still     1       A. So that's -- so that's a
      2    going to be present within that talc.            2   different question I have not answered.
      3        Q. Have you or anyone done an                3       Q. And in reaching your opinion
      4    analysis of the dose of asbestos to which        4   that there is no evidence that asbestos-free
      5    someone might be exposed perineally?             5   talc exists, you have not been provided with
      6        A. I haven't done a specific                 6   the reports by the defense experts, including
      7    calculation, no.                                 7   Dr. Matthew Sanchez, analyzing Johnson's
      8        Q. Has anyone done that                      8   talcum powder products for the presence or
      9    calculation?                                     9   absence of asbestos, correct?
     10             MS. PARFITT: Objection. Form.          10            MS. PARFITT: Objection. Form.
     11    QUESTIONS BY MS. BRANSCOME:                     11            I think you're aware that the
     12        Q. That you have seen?                      12       MDL expert reports have not yet been
     13             MS. PARFITT: Objection.                13       provided to us.
     14             THE WITNESS: I'm trying to             14            MS. BRANSCOME: Yeah.
     15        remember whether I saw that done in         15            MS. PARFITT: I'm just making a
     16        any of the documents related to             16       point.
     17        Dr. Longo.                                  17            THE WITNESS: I have not seen a
     18             I don't know. I'd have to go           18       report by Dr. Sanchez. I assume I
     19        look.                                       19       will, because typically after -- later
     20    QUESTIONS BY MS. BRANSCOME:                     20       in the litigation, once all experts
     21        Q. Okay. So as you sit here                 21       have been deposed or revealed, I'm
     22    today, can you give an opinion to a             22       usually given defense expert reports
     23    scientific degree of certainty, reasonable      23       and their deposition testimony. So I
     24    degree of scientific certainty, that an         24       expect to see that; I just haven't
     25    individual would be exposed to a dose of        25       seen it yet.

                                                                    66 (Pages 258 to 261)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 68 of 147
                                         PageID: 195693
               Confidential - Pursuant to Protective Order
                                           Page 262                                             Page 264
      1   QUESTIONS BY MS. BRANSCOME:                      1   application for any of the heavy metals. So
      2       Q. And you haven't seen it in any            2   the three that I've mentioned, no, I have not
      3   of the cases in which you've rendered an         3   done that calculation.
      4   opinion, correct, not just the MDL?              4        Q. You would agree, based on your
      5       A. Well, none of the cases that I            5   training and experience as a toxicologist,
      6   have worked in have involved the issue of        6   that in order for an agent -- and we can talk
      7   looking for asbestos exposure.                   7   specifically about a metal -- to present a
      8            The cases I have worked on have         8   risk of cancer it needs to be bioaccessible,
      9   been talking about talc exposure that may        9   correct?
     10   include asbestos as a constituent, but it       10        A. If by bioaccessible you are not
     11   wasn't focused on asbestos exposure.            11   limiting that definition to solubilized into
     12            So, no, none of the cases I            12   the blood and carried systematically, yes, I
     13   worked on have provided testimony in that       13   would agree with that. Bioaccessible meaning
     14   area.                                           14   it has to be in a form that can somehow
     15            You understand what I'm saying?        15   interact with the tissue, yes, I agree with
     16       Q. Let me just make it clear. You           16   that. But it could be as simple as tissue
     17   have not, in any of the cases in which you      17   contact versus needing to be solubilized.
     18   have offered opinions with respect to the       18        Q. Okay. Is silica bioaccessible?
     19   contents of talc, been provided with an         19        A. It depends on the form of the
     20   expert report or testimony by Dr. Sanchez       20   silica. So silica particles can be
     21   about what he did or did not find in            21   bioaccessible if inhaled and found on the
     22   Johnson's talcum powder products with respect   22   surface of the lung. That can cause injury
     23   to asbestos?                                    23   at the site of the lung. So that's an
     24            MS. PARFITT: Objection. Form.          24   accessibility to that particular tissue that
     25            THE WITNESS: So I can't tell           25   it contacts.

                                           Page 263                                             Page 265
      1        you that I have not. I don't recall         1       Q. We talked earlier -- it's
      2        it. That's all I can say. I don't           2   somewhat related to bioaccessibility, but we
      3        recall that name.                           3   talked about the way in which different
      4   QUESTIONS BY MS. BRANSCOME:                      4   particles might move specifically through the
      5        Q. It's certainly not something             5   genital tract in women.
      6   you discuss in your report, correct?             6            Do you recall that?
      7        A. No, I do not. And I don't know           7       A. Yes. A general discussion.
      8   that it's in my reliance materials. That's       8       Q. Yes.
      9   why I'd ask you to look there, because if        9            And when you testified that
     10   it's in my reliance materials, then I've seen   10   starch and talc might not move at the same
     11   it.                                             11   rate, do you have an opinion as to which
     12        Q. Okay.                                   12   might move more quickly through the tract?
     13        A. And I mean big reliance                 13       A. I haven't formed that opinion,
     14   material list, not my reference list.           14   no.
     15        Q. All right. With respect to the          15       Q. Okay. And do both talc and
     16   other potential constituents of talc, have      16   starch particles remain in the body for the
     17   you done any analysis to provide an answer as   17   same length of time?
     18   to how much -- what dose of chromium, for       18       A. I haven't done an analysis to
     19   example, an individual might be exposed to      19   see if the data tells us what the -- what the
     20   through the perineal use of Johnson's talcum    20   differences might be. I would expect there
     21   powder products over a lifetime?                21   to be differences, which is what I told you
     22        A. No, and I have -- well, I know          22   earlier, because I would expect the starch to
     23   it's a separate deposition. We discussed        23   be able to be solubilized, where I would not
     24   this yesterday. No, I have not done a -- a      24   necessarily expect the talc to act in that
     25   calculation of a potential dose with perineal   25   same manner.


                                                                   67 (Pages 262 to 265)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 69 of 147
                                         PageID: 195694
                Confidential - Pursuant to Protective Order
                                           Page 266                                            Page 268
      1        Q. Is cornstarch capable of                 1   only three heavy metals: chromium, cobalt
      2   causing an inflammatory process?                 2   and nickel.
      3        A. It can. It is -- but it is --            3             Do you see that?
      4   it's a different level of risk for               4       A. Yes.
      5   inflammatory responses than is talc, just by     5       Q. Why did you remove three of the
      6   its chemical nature.                             6   heavy metals?
      7        Q. Have you done an analysis in             7       A. It's not so much removing.
      8   your report that examines the differences        8   Those three heavy metals that I focused on in
      9   between the inflammatory response that can be    9   my MDL report are ones that have been talked
     10   triggered by talc as opposed to cornstarch?     10   about with a similar mechanism of action as
     11        A. I haven't analyzed inflammatory         11   far as irritation and biologic -- biologic
     12   response. Instead, what I've done is done a     12   plausibility mechanism being irritation and
     13   comparison of what the toxicity -- the          13   inflammation.
     14   differences in the toxicity potential have      14             So that's why I focus on those
     15   been described in medical literature, and I     15   three, which may not -- which is not
     16   cite -- I have a paragraph where I cite to      16   necessarily the case for some of the others,
     17   some sources that talk about the differences    17   even though they're also -- have a
     18   in the toxicity potential or biocompatibility   18   carcinogenic hazard, pose a risk.
     19   of starch versus talc.                          19       Q. So in your -- as part of your
     20        Q. Now, I had a question about             20   risk assessment that you performed in the
     21   your supplemental report that was marked as     21   MDL, are you offering the opinion that to the
     22   Exhibit 3 to the deposition.                    22   extent they exist in any of the Johnson
     23             At paragraph 67...                    23   talcum powder products, that arsenic, lead --
     24        A. Okay.                                   24       A. Cadmium.
     25        Q. You identify here six heavy             25       Q. -- and cadmium play any role in

                                           Page 267                                            Page 269
      1    metals - arsenic, chromium, lead, cobalt,       1   the risk of developing ovarian cancer?
      2    cadmium and nickel - that in your               2       A. That is not an opinion that I
      3    supplemental report dated August 29, 2018,      3   would be offering in the MDL.
      4    you say have been reported across lots of       4       Q. Okay. Now, you talk about
      5    talc powders.                                   5   these heavy metals having been classified by
      6             Do you see that?                       6   different agencies as either known probable
      7        A. Are you in -- now you're in my           7   or possible human carcinogens, correct?
      8    MDL report or here?                             8       A. You're in my MDL report again?
      9        Q. No.                                      9       Q. Oh, yes.
     10        A. Oh, so where are you? I'm               10       A. Okay. I'm sorry. Okay. Let
     11    sorry.                                         11   me get there.
     12        Q. Same report. It's the sentence          12            Yeah, I do have that
     13    that begins at the bottom of page 6.           13   discussion. I'm just trying to find it.
     14        A. Okay. Hold on.                          14       Q. Sure.
     15             About that they have varied at        15       A. Okay. Yes, I'm there.
     16    the levels --                                  16       Q. Is it your view, based on your
     17        Q. Yes. So you identify six                17   expertise, that because a compound can cause
     18    different types of heavy metals.               18   one type of cancer, it can cause all types of
     19             Do you see that there?                19   cancer?
     20        A. Yes, I do.                              20       A. No, not necessarily. It
     21        Q. Okay. And the question I had            21   depends on the -- well, it depends on a
     22    for you was that in your report in the MDL,    22   couple of things. It depends on what's been
     23    if you look at paragraph 36 --                 23   studied. Have all types of cancer even been
     24        A. Yes.                                    24   studied. And then it also -- it also depends
     25        Q. -- you identify -- you identify         25   upon, I believe, the route of exposure as


                                                                   68 (Pages 266 to 269)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 70 of 147
                                         PageID: 195695
               Confidential - Pursuant to Protective Order
                                           Page 270                                             Page 272
      1   well. So can it get to where it could cause      1   you can extrapolate with scientific basis
      2   that, could it distribute there. And then in     2   from one type of cancer cause to ovarian
      3   addition to that, what data has been             3   cancer with respect to the heavy metals
      4   collected. Is there enough data, for             4   specifically?
      5   example, to show that there's extrapolation      5       A. Well, I haven't attempted to
      6   from animals to humans in the types of tumors    6   that, because I haven't attempted to define a
      7   or is it -- or if we have good human data,       7   independent risk for each of those metals
      8   then we would focus on the types of cancers      8   individually.
      9   that you're seeing in humans, for example.       9             The issue -- the issue I have
     10       Q. Okay. But you recognize even             10   with those metals is -- there's a paragraph
     11   where there is complete data some compounds     11   here where I talk about pathogenesis of
     12   can cause one type of cancer and they are       12   carcinogenesis, where I talk about different
     13   incapable of causing another type, correct?     13   stages of cancer development and the fact
     14             MS. PARFITT: Objection. Form.         14   that inflammatory responses may be operating
     15             THE WITNESS: I don't know             15   at all those different stages.
     16       about incapable, but I would agree          16             So the issue is you have
     17       that you certainly would see -- you         17   potential -- you have compounds that are
     18       could potentially see different             18   known to produce cancer or have been shown to
     19       observations.                               19   have a potential risk of cancer. They share
     20             If you're talking about animals       20   a similar mechanism to talc, so as a result
     21       versus humans, or are you talking           21   of that, they factor into your risk
     22       about --                                    22   assessment as far as there being an exposure
     23   QUESTIONS BY MS. BRANSCOME:                     23   to a mixture.
     24       Q. If humans.                               24             But on the issue of ovarian
     25       A. Based on what you had seen in            25   cancer, I'm looking at the data that's been


                                           Page 271                                             Page 273
      1   the animals; is that what you're asking me?      1   collected on talc itself, which would be talc
      2        Q. Yes.                                     2   with the constituents that could include the
      3        A. Yes. So, yes, there is not               3   metals. But certainly I'm not saying that it
      4   always a one-to-one concordance. So that's       4   is -- without the presence of one or the
      5   why -- that's why I made the comment that        5   other of these there would be no risk of
      6   it's important to have some human data or        6   ovarian cancer. I'm not saying that either.
      7   experience, so that you can put in context       7        Q. So my question is, though, can
      8   the data you collected in animals.               8   you point me either to scientific literature
      9            I would say to you there are            9   directly documenting that these heavy metals
     10   certain kinds of tumors in animals, for         10   can cause ovarian cancer or to scientific
     11   example, that are shown to be not relevant at   11   literature that enables you to extrapolate
     12   all to human risk assessment. Like four         12   from the types of cancer that they are known
     13   stomach tumors in rats is an example. I've      13   or believed to cause to ovarian cancer?
     14   dealt with that one a lot.                      14        A. So I -- on the issue of can I
     15        Q. What types of cancer -- type or         15   point you to the data on ovarian cancer, I'd
     16   types of cancer are the basis for the           16   have to go back. I can't answer that without
     17   classification of chromium as a known human     17   looking at the assessments.
     18   carcinogen by IARC?                             18            But on the other -- second
     19        A. So I have to pull it out, but I         19   question you asked me, that's the question I
     20   believe that there may be some GI cancers and   20   was just trying to answer before. It's the
     21   maybe some skin cancers, but I'm not sure.      21   idea that regardless of where the cancer is
     22   I've got it pull it out. It's been a while      22   developing, the fact that these compounds
     23   since I've looked at it.                        23   have the ability to stimulate similar toxic
     24        Q. Okay. Have you done an                  24   responses in tissues could lead to a --
     25   analysis to evaluate whether or not the types   25   setting up a situation where the -- where the


                                                                    69 (Pages 270 to 273)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 71 of 147
                                         PageID: 195696
               Confidential - Pursuant to Protective Order
                                           Page 274                                             Page 276
      1   tissue is primed for cancer development.         1            So, again, that's what I'm
      2        Q. And do you have --                       2   pointing to and why I have cited the data.
      3        A. And so that --                           3       Q. Now, you talked about -- when
      4        Q. Sorry.                                   4   we were discussing mechanism, you said that
      5        A. And that has to do with the              5   inflammation alone is not necessarily
      6   basic science of carcinogenesis when you look    6   sufficient to cause cancer, correct?
      7   at underlying mechanisms, especially with        7       A. Yes, I did.
      8   tissue contact, direct tissue contact, with      8       Q. All right. Do you have
      9   irritants or inflammatory processes.             9   scientific studies that show that any of the
     10             But I would -- I am not -- I          10   heavy metals or the fragrance constituents
     11   have not formed the opinion, again, that with   11   that you identify as potential carcinogens
     12   or without either one of these that I would     12   create -- generate phenotypic changes like
     13   expect ovarian cancer to be the target. I'm     13   you discussed were next for the formation of
     14   saying that ovarian cancer risk is increased    14   cancer?
     15   based on exposure to talc, which includes a     15       A. I believe that data is
     16   variety of constituents.                        16   available on nickel. I need to go back and
     17        Q. Okay. And do you cite anywhere          17   look at chromium and cobalt, but I do believe
     18   in your report to studies documenting -- I      18   with nickel you'll find similar data on
     19   know you said you'd need to go look at them,    19   tissue irritation and inflammatory processes.
     20   but I'm asking if it's in your report           20            Nickel is also a sensitizer, so
     21   anywhere a discussion of any studies showing    21   it has interaction with the immune system, so
     22   that the particular heavy metals that you       22   I do believe that for nickel you can find
     23   cite as potential constituents of Johnson &     23   some of that data.
     24   Johnson's products have been demonstrated to    24       Q. Okay. But as you sit here
     25   increase a risk for ovarian cancer on their     25   today, can you point me into any of that

                                           Page 275                                             Page 277
      1   own?                                             1   that's discussed in your report?
      2       A. So, no, I haven't addressed               2       A. No specific discussion other
      3   that in my report. And again, I think that's     3   than, again, all -- the IARC -- I'm citing to
      4   inconsistent with the way I'm using these        4   the IARC assessments, and the IARC
      5   data. But that's fine. I mean, no, I             5   assessments for each of those discuss
      6   haven't done a specific assessment of ovarian    6   carcinogenesis and a biologically plausible
      7   cancer risk with each of those metals            7   mechanism being linked to the ability of
      8   individually.                                    8   these compounds to induce oxidative stress
      9       Q. I would ask the same questions            9   and/or inflammatory processes.
     10   for the different fragrance constituents that   10       Q. Okay. In your opinion, you
     11   you allege in your report are potential         11   talk about the mixture of constituents that
     12   carcinogens.                                    12   are involved in talc.
     13            Have you done any analysis, and        13            Have you done any analysis to
     14   can you point me to any scientific studies      14   look at how the different constituents
     15   that establish that those particular            15   interact with each other?
     16   compounds are capable of causing ovarian        16       A. Well, yes, that's my issue at
     17   cancer?                                         17   looking at underlying mechanism.
     18       A. No, I haven't done that                  18            But are you asking me -- I
     19   analysis, but, again, general principles of     19   certainly don't have a -- the only studies
     20   toxicology and cancer risk assessment, when     20   that I have to rely upon on the interaction
     21   you look at the presence of multiple --         21   of the mixture is the actual studies on the
     22   excuse me, multiple carcinogens with similar    22   powders themselves, where we know that the
     23   mechanisms of action, you would assume in       23   powders contain constituents other than just
     24   your risk assessment that those risks could     24   platy talc.
     25   be additive.                                    25       Q. Okay. And do the constituents


                                                                   70 (Pages 274 to 277)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 72 of 147
                                         PageID: 195697
               Confidential - Pursuant to Protective Order
                                           Page 278                                            Page 280
      1   need to have the same underlying potential       1        So those two -- we'd have human data
      2   carcinogenic mechanism for them to have an       2        to show that.
      3   additive effect?                                 3             But on the issue of cobalt, it
      4       A. By general principles of                  4        may only be -- I need to go back and
      5   toxicology, yes, you look at mode -- mode of     5        look, but it may indeed just be animal
      6   action or mechanism of action before you         6        data.
      7   apply that additivity principle to the cancer    7   QUESTIONS BY MS. BRANSCOME:
      8   risk assessment.                                 8        Q. And so your basis for that
      9       Q. And so as you sit here, you               9   would be the IARC classification?
     10   believe there have been scientific              10             Is that where I would go to
     11   documentation that nickel might operate         11   look if I wanted to look at it after this
     12   through the same biological mechanism as you    12   deposition?
     13   purport talc to operate, but you're not sure    13        A. I'd go to the IARC reviews.
     14   about the other heavy metals or the fragrance   14   I'd go to those three which I believe I have
     15   constituents; is that correct?                  15   cited down here for you and given you where
     16            MS. PARFITT: Objection.                16   to go to find them.
     17            THE WITNESS: For the fragrance         17        Q. Okay. You discuss in your
     18       constituents, I'd definitely have to        18   report -- and if you'd like to reference it,
     19       pull because I haven't looked at that       19   it's paragraph 69 on page 47 -- the concept
     20       individual assessment in a while.           20   of genotoxic and nongenotoxic carcinogens.
     21            For these three, what I do know        21             Do you recall that?
     22       is that they do share the ability to        22        A. Yes.
     23       at least induce oxidative stress.           23        Q. And as you sit here today, is
     24            What I can't recall for                24   it your opinion that talc is more likely a
     25       chromium and for cobalt is whether          25   nongenotoxic carcinogen?

                                           Page 279                                            Page 281
      1       they're taking it the next step from         1        A. As the direct insult, yes. And
      2       oxidative stress to inflammatory             2   I would like to -- I would like to point out
      3       process. I believe that they do, but         3   that in the literature -- the reason I have
      4       I'd have to check, whereas I know            4   this paragraph here is because in the
      5       nickel has been shown to lead to an          5   literature in the past, in the area of
      6       inflammatory process after oxidative         6   chemicals, it's been -- toxicologists have
      7       stress has been induced.                     7   attempted to put two bins, direct genotoxic
      8   QUESTIONS BY MS. BRANSCOME:                      8   insult versus nondirect genotoxic. It
      9       Q. And you would agree, even more            9   doesn't mean you can't get a genotoxic event
     10   than requiring an inflammatory process, you     10   after the initiation.
     11   would actually have to see that these           11            So I want to make sure you
     12   compounds can generate phenotypic changes,      12   understand that. I'm not saying that there
     13   correct?                                        13   is no possibility of this chemical in its --
     14            MS. PARFITT: Objection.                14   in its process of inducing cancer leading to
     15            THE WITNESS: Well, we know             15   indirect genotoxicity, but I'm talking about
     16       they do because they've been shown to       16   the direct mechanism at the site of the cell.
     17       be carcinogenic. If you've been shown       17            So talc, for example, has been
     18       to be carcinogenic, you've done a           18   shown to not be genotoxic in cells. And so
     19       phenotypic change in the cell from a        19   that's why I believe, then, when I look at
     20       normal cell to a cancer cell.               20   the rest of the data that fits, that it fits
     21            So we know they have the               21   the definition of a nongenotoxic carcinogen
     22       capability to induce tumors, or             22   by its initial mechanisms to induce cancer.
     23       cancer, all three of those, at least        23        Q. Okay. And if talc is, in fact,
     24       in animals if not in humans as well,        24   a nongenotoxic carcinogen, it would suggest
     25       because two of them are known human.        25   that there is likely a threshold dose below


                                                                   71 (Pages 278 to 281)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 73 of 147
                                         PageID: 195698
               Confidential - Pursuant to Protective Order
                                           Page 282                                             Page 284
      1   which it does not have a carcinogenic effect,    1       what they've done, but is it possible
      2   correct?                                         2       that they would do it? Any regulatory
      3             MS. PARFITT: Objection.                3       agency, it's possible they could do
      4             THE WITNESS: It is possible,           4       it, yes.
      5        and that's the problem. In order to         5   QUESTIONS BY MS. BRANSCOME:
      6        fully assess that, you would have to        6       Q. Do you have any information
      7        have the data to prove it.                  7   with respect to Health Canada's
      8             But that's the assumption. You         8   decision-making, other than what you have
      9        assume with nongenotoxic carcinogens        9   read on the face of the documents?
     10        that you could identify a level where      10       A. That is all I have to look at
     11        you wouldn't turn on that indirect         11   is what is provided on the website.
     12        mechanism. So that -- yes, that is         12       Q. Okay. And so the statement
     13        true.                                      13   that you think Health Canada was suggesting a
     14   QUESTIONS BY MS. BRANSCOME:                     14   dose threshold by their statement of
     15        Q. And you have not been able to           15   discouraging routine use, you're basing that
     16   identify, nor can you point to, scientific      16   entirely on what you read on the piece of
     17   literature that identifies a threshold -- a     17   paper, correct?
     18   threshold dose for talc with respect to its     18            MS. PARFITT: Objection. Form.
     19   carcinogenic potential for ovarian cancer,      19            THE WITNESS: Well, that's what
     20   correct?                                        20       they state. So, yes, I'm -- I am
     21        A. Not a specific dose, but I              21       telling you what I see on their
     22   think that's why I mentioned to you -- and      22       website. If that's what you're asking
     23   I -- I think that's why Canada, when you look   23       me, yes, that is true.
     24   at their document, they talk about              24   QUESTIONS BY MS. BRANSCOME:
     25   discouraging routine use generally. So it's     25       Q. Okay. Can you point me --

                                           Page 283                                             Page 285
      1   the issue of what -- single use of a body        1   well, do you discuss -- have you looked at,
      2   powder or an occasional use is a different       2   as part of your opinion specifically in the
      3   risk assessment than routine use.                3   MDL, the studies exploring a potential link
      4             So if you want to talk about           4   between asbestos and ovarian cancer? Just
      5   thresholds that way, that's very imprecise,      5   asbestos.
      6   but you could do that. You can talk about        6        A. Some of the studies, yes, but I
      7   whether or not there -- I do believe there's     7   have not -- I have not done a separate risk
      8   a different risk profile for one or two uses     8   assessment just for asbestos by itself,
      9   of talc body powder versus a risk profile of     9   because I have not assumed that there is
     10   somebody who uses it routinely, because I       10   asbestos-only exposure.
     11   think that fits that threshold definition.      11             Does that make sense?
     12   It's the idea that you have limited             12             But I do cite -- for example, I
     13   availability for enough particles to migrate    13   cite to some of the early literature on -- so
     14   to lead to the tissue toxicity that it cannot   14   this -- I guess where this opinion comes in
     15   be recovered from or repair.                    15   is on hazard and warning. So in the warnings
     16        Q. You're familiar with the                16   I talk about when it was known that asbestos
     17   concept of the precautionary principle,         17   was linked with cancer, because the warning
     18   correct?                                        18   standard is not causation proven but the
     19        A. Yes.                                    19   identification of the potential. And so that
     20        Q. All right. And you understand           20   is in my report on warnings, but that is not
     21   that Health Canada may have made                21   within my discussion of the weight of the
     22   recommendations with respect to product usage   22   evidence for risk assessment of the talc
     23   that are purely precautionary, correct?         23   product.
     24             MS. PARFITT: Objection. Form.         24        Q. Okay.
     25             THE WITNESS: I disagree that's        25        A. Does that make sense?


                                                                   72 (Pages 282 to 285)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 74 of 147
                                         PageID: 195699
               Confidential - Pursuant to Protective Order
                                           Page 286                                             Page 288
      1      Q.      Uh-huh.                               1   not classified any of the heavy metals that
      2            For example, have you rendered          2   you've identified in your MDL report as
      3   an opinion about what dose of asbestos           3   carcinogenic to the ovary?
      4   exposure would be necessary to cause ovarian     4       A. So the answer is I'd have to
      5   cancer in an individual?                         5   look. I don't recall that, but I'd have to
      6       A. No, I have not formed that                6   look to confirm.
      7   opinion at this time.                            7       Q. Okay.
      8       Q. Okay. Do you have an opinion              8       A. That's the answer I believe I
      9   about the background level of asbestos to        9   gave a few minutes ago, yes.
     10   which individuals are exposed with no           10       Q. So if I look at the IARC
     11   increased risk of any type of cancer?           11   website, then I can confirm whether or not
     12       A. No, I do not have an opinion.            12   they have identified any of those as
     13   I do believe others do, but I do not.           13   carcinogenic to the ovary?
     14       Q. Okay. You may have been asked            14       A. Not so much the web -- well,
     15   some of these questions before, but I will      15   the website or the actual documents. I think
     16   keep them brief.                                16   I would actually point you to the actual
     17            Have you ever published any            17   monograph --
     18   articles that state that talc causes ovarian    18       Q. To the monograph.
     19   cancer?                                         19       A. -- because there may be
     20       A. No, I have not.                          20   evidence in there of ovarian cancer as being
     21       Q. Have you ever publicly                   21   seen in studies. And I'd have to go look.
     22   expressed the opinion that talc increases the   22       Q. Okay. That was not part of
     23   risk of ovarian cancer outside of literature?   23   your consideration here, correct?
     24       A. No. My work has been in the --           24       A. So ovarian cancer is part of my
     25   in the courtroom.                               25   consideration, but I didn't -- in this part

                                           Page 287                                             Page 289
      1            MS. BRANSCOME: I think we can           1   of my evaluation I'm trying to -- trying to
      2       take a break.                                2   describe these metals. And this is really
      3            VIDEOGRAPHER: We are going off          3   about mechanism of biologic plausibility and
      4       the record at 2:57 p.m.                      4   the fact that these two things can go
      5        (Off the record at 2:57 p.m.)               5   together, and then the concept of additivity
      6            VIDEOGRAPHER: We are back on            6   is they're on hazard. The idea if you have a
      7       the record at 3:13 p.m.                      7   cancer hazard generally and you have similar
      8            MS. BRANSCOME: Dr. Plunkett, I          8   mode of action, regardless of the tissue, you
      9       have no more questions for you on            9   would be expected to have a potential
     10       behalf of Johnson & Johnson, subject        10   additive effect when you do a risk
     11       to your counsel doing a direct of any       11   assessment.
     12       kind.                                       12            So that's my use of that data,
     13            THE WITNESS: Sure. Thank you.          13   which is why I didn't do a separate ovarian
     14              EXAMINATION                          14   cancer assessment for each of the each
     15   QUESTIONS BY MS. BOCKUS:                        15   constituents but just on powder.
     16       Q. Good afternoon, Dr. Plunkett.            16        Q. And you discuss that topic on
     17   You and I have met before. My name is Jane      17   page 47, paragraph 68, of your report,
     18   Bockus, and as you know, I represent Imerys     18   correct, the -- whether there's an additive
     19   in this case.                                   19   effect?
     20       A. Yes.                                     20            And you cite to Casarett and
     21       Q. Correct?                                 21   Doull. I don't know if I'm pronouncing those
     22            I want to go back to just touch        22   names correctly.
     23   briefly on a couple of issues that have         23        A. I'm sorry, on what page?
     24   already been addressed.                         24        Q. I'm on page 47, paragraph 68.
     25            Would you agree that IARC has          25        A. Okay. Sorry. I should know


                                                                   73 (Pages 286 to 289)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 75 of 147
                                         PageID: 195700
                Confidential - Pursuant to Protective Order
                                            Page 290                                             Page 292
      1    where it is, but...                              1       a genetically susceptible mouse study
      2              Okay. I'm there, yes. Okay.            2       to hurry the process along to look at,
      3              Yes, I do cite to a chapter in         3       but you might not be able to do it
      4    Casarett and Doull, yes.                         4       through perineal exposure. You might
      5         Q. Okay. And Casarett and Doull             5       have to do it through another route
      6    is a resource that you cite to for a couple      6       such as either inhalation or maybe
      7    of different toxicological principles that       7       even you could -- you could look at it
      8    you discuss in your -- in your report,           8       through intraperitoneal injections,
      9    correct?                                         9       for example.
     10         A. Yes, because it's one of the            10   QUESTIONS BY MS. BOCKUS:
     11    most well-recognized textbooks that is used     11       Q. Well, and what the textbook
     12    across different either universities or         12   talks about is the fact that you need to
     13    schools or even in regulatory agencies.         13   study it to find out whether the effects are
     14              I would also say I cite EPA           14   additive, whether the effects are something
     15    2000 there. I'm not citing just Casarett,       15   that multiply the risk, you know, so that the
     16    but I am citing Casarett as well as an EPA      16   two together are greater than either one
     17    guidance document.                              17   alone, or do the effects offset each other
     18         Q. In Casarett and Doull, do they          18   and reduce the risk, correct?
     19    actually discuss talcum powder in Chapter 2,    19       A. That is discussed there --
     20    or is it more just the concept of the           20            MS. PARFITT: Objection.
     21    potential of the effects when you have two      21            THE WITNESS: -- which is why
     22    different chemicals that you're exposed to at   22       I've cited the EPA document. Because
     23    once or three or four?                          23       the EPA document addresses the issue
     24         A. It's the latter. It's the --            24       of mixtures, and this is the issue of
     25    because you'll notice the title is              25       mode of action. If you have chemicals

                                            Page 291                                             Page 293
      1    "Principles of Toxicology," so it's the          1       that you're looking at on the issue of
      2    general chapter teaching principles for risk     2       additivity or no effect, you will --
      3    assessment and toxicology as used in risk        3       you look at that issue of how they're
      4    assessment.                                      4       affecting the tissue and underlying
      5        Q. And whether there is an                   5       mechanism.
      6    additive effect of, say, talc and nickel,        6            But the only way to look at the
      7    that's something that an experiment could be     7       magnitude absolutely of how the risk
      8    designed to study, correct?                      8       would change is by doing an
      9             MS. PARFITT: Objection.                 9       experiment. That is true.
     10             THE WITNESS: If you're talking         10   QUESTIONS BY MS. BOCKUS:
     11        generally for cancer and not worried        11       Q. And to your knowledge, that
     12        about the issue of ovarian cancer, if       12   experiment has never been done; is that
     13        you're talking about cancer, like           13   correct?
     14        doing an inhalation experiment to look      14       A. I can't guarantee that it's
     15        what happens to the lung, that you          15   only been done for nickel and talc alone, but
     16        could do.                                   16   I would -- I would state that based on --
     17             The problem with the animal            17   there are studies out there that have been
     18        studies and ovarian cancer due to           18   done where they've used the body powder that
     19        perineal exposure is it's very              19   we know have metals -- a variety of things
     20        difficult to understand how you design      20   within it that are not just platy talc, but
     21        a study to expose the animals that way      21   those experiments are that kind of data.
     22        reliably in the way that humans are         22            But as far as gathering
     23        exposed.                                    23   dose-response information or teasing out
     24             But generally you could                24   individual components, that is not available.
     25        study -- you might even be able to do       25       Q. Do you agree that dose response


                                                                    74 (Pages 290 to 293)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS            Document 33000-16         Filed 07/23/24          Page 76 of 147
                                        PageID: 195701
               Confidential - Pursuant to Protective Order
                                          Page 294                                              Page 296
      1   is the fundamental principle of toxicology       1       A. That is true with the exception
      2   that underpins the effects that chemicals can    2   of Parmley and Woodruff, which addresses this
      3   have on living organisms?                        3   issue of --
      4        A. When you're talking general              4            MS. PARFITT: Objection.
      5   toxicology, yes, I think it's talked about in    5            THE WITNESS: Talks about the
      6   the textbook.                                    6       issue of exposure from the outside to
      7        Q. And you agree that it is the             7       the inside.
      8   dose of the chemical and the pattern of          8            But the data that is collected
      9   exposure that determines whether a chemical      9       with the different studies they have
     10   produces an adverse effect on an organism,      10       deposited at some point -- at some
     11   not simply the presence of the chemical?        11       position within the vagina, that is
     12        A. For a typical dose-response             12       true.
     13   relationship for non -- for nongenotoxic        13   QUESTIONS BY MS. BOCKUS:
     14   events, absolutely, I would agree that is       14       Q. And that is not how talc is
     15   probably true. And I don't mean nongeno --      15   deposited in women who use it regularly in
     16   noncancer events.                               16   their daily routine, correct?
     17            In the issue of cancer biology,        17            MS. PARFITT: Objection.
     18   some of those issues don't hold all the time.   18       Misstates the evidence.
     19   In other words, there are certain chemicals     19            THE WITNESS: So I would say
     20   and certain ways of looking at cancer risk      20       that depends on what women are doing.
     21   assessment where you can't assume where the     21       Perineal application, for example,
     22   threshold is or identify what a safe dose       22       application on the underwear, can lead
     23   would be. But certainly I agree on the issue    23       to contact of the vaginal opening
     24   of noncancer risk assessment generally, or      24       depending on the woman.
     25   general end points of toxicity, that is true.   25            For example, a woman who has

                                          Page 295                                              Page 297
      1        Q. And again, do you agree that in          1        a -- had many children has a tract
      2   general toxicology the effects that might be     2        that is stretched. There, indeed, you
      3   reported at high doses will not occur at         3        can have more direct contact than you
      4   lower doses if the concentration at the site     4        can with a very tight -- so I would
      5   of action falls below the threshold for          5       say it depends on the woman and it
      6   toxicity?                                        6       depends on the situation.
      7        A. Yes, that could -- that could            7             But I do think it's generally
      8   be possible, yes.                                8       accepted, based on my review of the
      9        Q. And do you agree that                    9       literature, that there is the
     10   evidence-based toxicology and epidemiology      10       opportunity for exposure internally
     11   dictates that the dose of the chemical is the   11       from perineal application.
     12   critical factor when examining the risk posed   12   QUESTIONS BY MS. BOCKUS:
     13   by a chemical, not just its presence even in    13        Q. And if I understand what you
     14   the human body?                                 14   testified to earlier today and yesterday, you
     15        A. I would say that's generally            15   don't have any data that would advise on --
     16   true, yes, which is why I have attempted to     16   out of the talc that is deposited in the
     17   look at the dose-response relationship as       17   underwear, what percentage of it makes it
     18   well as the prevalence of the contact.          18   into the reproductive tract?
     19        Q. And with regard to the human            19       A. That's the data that's missing,
     20   studies that you cite, would you agree that     20   that is true. And unfortunately, no one has
     21   none of the studies that you cite in your       21   done a study. It would be -- if there was a
     22   report that have to do with migration of        22   way to do that, it would be interesting to do
     23   particles within the genital tract of the       23   that. I just don't see how you design that
     24   female involve applications to the perineum     24   study, especially knowing the hazard of talc
     25   or outside of the genital tract?                25   at this point. I think that would be a

                                                                    75 (Pages 294 to 297)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 77 of 147
                                         PageID: 195702
               Confidential - Pursuant to Protective Order
                                           Page 298                                             Page 300
      1   difficult study to get approval for.             1   migration occurs every day, once a week, once
      2        Q. And do you have an opinion as            2   a month?
      3   to whether it is even correct that each day      3            MS. PARFITT: Objection. Form.
      4   that a woman uses talc in her underwear, that    4            THE WITNESS: I haven't
      5   some of the talc makes its way to the ovary?     5       formulated my point -- my opinion
      6             MS. PARFITT: Objection. Form.          6       quite that way; however, I do believe
      7             THE WITNESS: Have I -- can I           7       that it is something that is going to
      8        quantify that?                              8       happen routinely with exposure. I do
      9             No, I haven't quantified it. I         9       believe that migration is something
     10        think I got asked that earlier. I          10       that is going on routinely with
     11        can't quantify the amount that gets        11       application.
     12        there. Or, I'm sorry, I may have           12            So with applications, I do
     13        misheard the start of your question.       13       believe that that is, but I can't tell
     14        I apologize.                               14       you that this amount has migrated on
     15   QUESTIONS BY MS. BOCKUS:                        15       this particular day with this
     16        Q. Yeah, I'm really asking: Do             16       particular application, no. That --
     17   you have an opinion as to whether it happens    17       the data that we have collected is not
     18   every single time a woman applies talc to her   18       there to allow us to do that.
     19   perineal area? Does some of that talc make      19   QUESTIONS BY MS. BOCKUS:
     20   it to her ovary?                                20       Q. How do you define the word
     21             MR. MEADOWS: Objection.               21   "routinely" as you're using it in that
     22             MS. PARFITT: Objection.               22   answer?
     23             THE WITNESS: I don't think I          23       A. So that would be the idea of
     24        stated it quite that way, but              24   repeated exposures, you know, within a week,
     25        certainly I think the opportunity is       25   within a month, within a year. So not --

                                           Page 299                                             Page 301
      1       there with every application. And of         1   routine to me would not be -- would not be
      2       course it would depend upon the amount       2   applying it once a month one month, waiting
      3       of time that the contact may be in           3   six months, doing it again, and then not
      4       place. But the opportunity is there.         4   doing it until the next year.
      5             So, for example, if you applied        5              Again, it's the idea -- some
      6       it to your underwear and 30 minutes          6   people may -- routine may be during the hot
      7       later you go to the bathroom, it's           7   season of the year, they're routinely getting
      8       very possible that you will have wiped       8   daily exposures when it's warm, and during
      9       away, and so that that application may       9   the cold weather not applying. But then the
     10       have taken an opportunity away. But I       10   next year doing -- that's a routine for them
     11       do believe that the opportunity is          11   and their habits based on their pattern of
     12       there based on the literature I have        12   exposure.
     13       seen.                                       13              Again, we know that talc, when
     14             And so I haven't formed the           14   it -- when it migrates and gets into the
     15       opinion, though, that it's absolutely       15   body, we have data to show that it is -- it
     16       every time. My opinion, I think, is         16   is able to persist in the body. The fact
     17       based on the fact that I believe that       17   that you may have not been exposed for three
     18       there is data to indicate that              18   months because it was cold doesn't mean that
     19       exposure occurs, and that with              19   you -- that that changes the fact that you're
     20       routine, continual habit, sort of a         20   still at risk with additional exposures the
     21       habit exposure, that indeed that there      21   next -- the next time that that habit
     22       was some migration that occurs.             22   becomes -- comes into place.
     23    QUESTIONS BY MS. BOCKUS:                       23              So I think there's multiple
     24       Q. And is it fair to say that you           24   exposure patterns that are possible, but when
     25    don't have an opinion as to whether that       25   I use routine, it's something that people are


                                                                   76 (Pages 298 to 301)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24          Page 78 of 147
                                          PageID: 195703
                Confidential - Pursuant to Protective Order
                                            Page 302                                             Page 304
      1   doing throughout their -- a period of their       1   opinion on a set number, no. I can't --
      2   life. And so it would be something that           2   can't point you a specific number.
      3   happens either on a weekly basis for a good       3             I'm not doing case-specific, so
      4   part of the year. I haven't defined it with       4   I've not looked at any of those pieces of
      5   a particular number, though, no.                  5   information for any given plaintiff.
      6         Q. And my question had to do with           6       Q. And I'm just trying to get the
      7   out of the number of times a given woman --       7   threshold.
      8   or an average woman uses talc, what               8       A. Uh-huh.
      9   percentage of the time does talc make its way     9       Q. As I understand it, that is
     10   into her reproductive tract?                     10   part of a toxicological evaluation, is the
     11        A. So I don't think that                    11   threshold below which there's not an issue.
     12   anybody -- anybody can point to a piece of       12             So I think you've said you
     13   data that tells you that, but, again, it's       13   don't know if it's less than a year, but you
     14   based upon the anatomy, I would expect there     14   think it's more likely than not that it's
     15   to be the potential each time it's applied.      15   greater than one month.
     16             And on your question on                16             MR. MEADOWS: Objection.
     17   routine, when I'm talking routine, I'm           17   QUESTIONS BY MS. BOCKUS:
     18   looking at not just frequency but also           18       Q. Is that fair?
     19   duration. So when I'm talking about dose,        19       A. No, that's not exactly what I'm
     20   it's the fact that they do it on a repeated      20   saying. I'm saying we don't know the
     21   basis for a number of -- a period of years as    21   threshold. So as a result, I'm not of the
     22   well.                                            22   opinion that it absolutely can't -- it only
     23             That's what the data shows in          23   has to be this long.
     24   the human studies. It's not something,           24             What I'm saying to you is per
     25   again, that may have been done routinely for     25   general principles of toxicology and based on

                                            Page 303                                             Page 305
      1    one year, but it does appear to be something     1   the human data that we have, it indicates
      2    that's done more -- longer term than that.       2   that it's more frequent than just one month,
      3              But we can't give a number. We         3   but I can't tell you that it's absolutely not
      4    have no threshold. We don't know exactly         4   possible.
      5    what that minimum number is.                     5             That's where -- I do think when
      6         Q. Do you think that the minimum            6   you're talking about those kinds of patterns,
      7    number is greater than a year?                   7   that's a case-specific issue for individuals,
      8              MS. PARFITT: Objection. Form.          8   because I think that would have to be
      9              THE WITNESS: I haven't formed          9   considered for each individual. But
     10         that opinion, no.                          10   certainly as a toxicologist, I'm using the
     11    QUESTIONS BY MS. BOCKUS:                        11   words "routine," "repeated," "longer
     12         Q. Do you think it's greater than          12   duration," "chronic exposure." And when I
     13    a month?                                        13   defined "chronic" earlier, I talked about
     14              MR. MEADOWS: Objection.               14   years of exposure versus just one month.
     15              THE WITNESS: Greater than a           15             That would be consistent with
     16         month?                                     16   what I have said, yes, but I'm not -- I -- I
     17    QUESTIONS BY MS. BOCKUS:                        17   certainly don't want to rule out that there
     18         Q. Yes.                                    18   couldn't be somebody out there that could
     19         A. One month in their life?                19   show something different, because it may very
     20         Q. One month in their life, where          20   well be that there are people that you can
     21    they're using it every day for a month.         21   identify with the presence of talc in their
     22         A. So I haven't formed that                22   ovaries and all of their other case-specific
     23    opinion at this point in time, but I'd say      23   things that could -- could make that pattern
     24    it's more likely to occur when you do it more   24   a -- make someone be able to draw a
     25    than a month. But I haven't formed an           25   case-specific, reliable conclusion.


                                                                    77 (Pages 302 to 305)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 79 of 147
                                         PageID: 195704
                Confidential - Pursuant to Protective Order
                                           Page 306                                             Page 308
      1             But that's not my role. I              1   QUESTIONS BY MS. BOCKUS:
      2    don't do case-specific.                         2       Q. Okay. An ingredient supplier.
      3        Q. And I am simply trying to get            3             And you agree that Imerys does
      4    the parameters of your opinions with regard     4   not sell any products to the general public,
      5    to the amount of talc use one would need to     5   correct?
      6    have before you would feel comfortable --       6             MR. MEADOWS: Objection.
      7    well, that in your opinion would be             7             THE WITNESS: I don't know
      8    sufficient to create a toxic environment.       8       that's definitely true, but I'm not
      9             MR. MEADOWS: Objection.                9       aware that they do.
     10             THE WITNESS: Well, that's a           10   QUESTIONS BY MS. BOCKUS:
     11        different question. So toxic               11       Q. And what Imerys supplies to
     12        environment could be with a much           12   Johnson & Johnson is not a finished cosmetic
     13        shorter time exposure, okay?               13   that is ready to be sold on the market,
     14    QUESTIONS BY MS. BOCKUS:                       14   correct?
     15        Q. Right.                                  15             MR. MEADOWS: Objection.
     16        A. So but if you're talking                16             MS. PARFITT: Objection.
     17    about -- the opinion that I have formed has    17             THE WITNESS: I don't know that
     18    to do with an increased risk of ovarian        18       I can answer that except in the
     19    cancer. So with that opinion, that's the       19       context of Johnson & Johnson's baby
     20    description, I believe, I was giving this      20       powder, SHOWER TO SHOWER® and Shimmer,
     21    morning. It's the idea that the data that      21       it's my understanding that Johnson &
     22    I've seen indicates that my opinion that       22       Johnson mixes -- has some fragrance
     23    perineal use of talc body powder products      23       added to the talc.
     24    increases your risk for ovarian cancer above   24             I don't believe Imerys does
     25    that background level that you know exists.    25       that, but I don't know for sure.


                                           Page 307                                             Page 309
      1              That opinion is based on data         1              So based on what I know -- I'm
      2    that is -- is -- the supporting data would      2         telling you what I know, and I would
      3    indicate that it has to be a habit, routine,    3         call them, again, an ingredient
      4    a chronic exposure. And so as a                 4         supplier, and I would call Johnson &
      5    toxicologist, I've tried to put that in         5         Johnson a cosmetic manufacturer.
      6    context.                                        6              Does that answer the question?
      7              I don't know what else to tell        7     QUESTIONS BY MS. BOCKUS:
      8    you. That's the opinions I have formed to       8         Q. It does.
      9    date.                                           9              Would you agree that the
     10        Q. A chronic -- a habit, routine,          10     minerals that you have identified in your
     11    a chronic exposure for years?                  11     report, that the documents that you have
     12        A. Well, chronic --                        12     seen, would classify their -- to the extent
     13              MR. MEADOWS: Objection.              13     that they are ever in the powder, that
     14              THE WITNESS: -- is defined as        14     they're trace ingredients?
     15        years, typically, by a toxicologist,       15              MS. PARFITT: Objection.
     16        and so that's what I -- that's what I      16              MR. MEADOWS: Objection.
     17        told you.                                  17              THE WITNESS: So which
     18    QUESTIONS BY MS. BOCKUS:                       18         ingredients are you referring to?
     19        Q. Shifting to your regulatory             19              So some of the metals, no, are
     20    opinions, you would agree that Imerys is a     20         not trace ingredients.
     21    raw material supplier to J&J; is that          21              Are you talking about the --
     22    correct?                                       22         are you talking about the -- like the
     23              MR. MEADOWS: Objection.              23         presence of tremolite or the presence
     24              THE WITNESS: I would call them       24         of chrysotile --
     25        an ingredient supplier, yes.               25

                                                                    78 (Pages 306 to 309)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS           Document 33000-16        Filed 07/23/24          Page 80 of 147
                                       PageID: 195705
               Confidential - Pursuant to Protective Order
                                         Page 310                                             Page 312
      1    QUESTIONS BY MS. BOCKUS:                      1   QUESTIONS BY MS. BOCKUS:
      2        Q. No. No, I'm sorry. I'm                 2       Q. Have you seen any studies where
      3    talking about the three metals that you       3   women's blood has reflected the presence of
      4    identify in your report. Those are trace      4   nickel or cobalt or chromium?
      5    elements that are -- that are sometimes       5            MR. MEADOWS: Objection.
      6    detected in the studies of the -- of the      6   QUESTIONS BY MS. BOCKUS:
      7    talc.                                         7       Q. Who are parts of these
      8             MR. MEADOWS: Objection.              8   studies -- these ovarian cancer studies?
      9             THE WITNESS: It's not how I          9            MR. MEADOWS: Objection.
     10        would say it. I would say they're        10            THE WITNESS: The
     11        heavy metal components that are          11       epidemiological literature you're
     12        naturally occurring within the product   12       asking me?
     13        that are sometimes -- sometimes          13   QUESTIONS BY MS. BOCKUS:
     14        detectable at levels that are reported   14       Q. Yes, ma'am.
     15        as trace based on the detection limit    15       A. It's possible in the Nurses'
     16        within the analysis, but at other        16   Health Study that we can go to that, because
     17        times they're not listed as trace.       17   I know they do collect some heavy metal
     18        They're actually listed with a           18   levels. I've done that for other clients on
     19        specific amount.                         19   other issues.
     20             So that's what -- how I would       20            Most of the others, I doubt
     21        define what I call trace. Usually        21   that we have heavy metal levels in blood.
     22        that's how it will be reported in the    22   But certainly there are levels of heavy metal
     23        lab, trace, which means below the        23   in blood, especially things like lead, for
     24        limit of quantification, but it's        24   example, that we have very limited capacity
     25        there. You're detecting it.              25   to eliminate.

                                         Page 311                                             Page 313
      1            I would agree that -- that            1            So whether or not you carry
      2       there are other descriptions of heavy      2   around a significant body burden of a heavy
      3       metals in the heavy metal literature       3   metal in your blood is somewhat driven by the
      4       that talk about trace amounts being        4   exposure pattern you get. It's something
      5       found in -- naturally occurring in         5   that's commonly -- or can you excrete it
      6       food, for example, and I agree that        6   quickly or not. So...
      7       that does occur. But in the case of        7       Q. And are you familiar with any
      8       this product, we actually have             8   studies that have suggested that the use of
      9       often -- we actually have a -- a limit     9   body powders leads to a heavy burden of
     10       that is set for acceptability in the      10   nickel, chromium or cobalt in the blood?
     11       specification.                            11       A. So I have not seen such
     12            And so I would think it's more       12   analysis done, no, I have not.
     13       proper to call it a level of the heavy    13       Q. In paragraph 67 of your report,
     14       metal that is allowable by the purity     14   which is on page 46 -- I'm sorry, on -- oh,
     15       specifications set by the product.        15   I'm sorry. Paragraph 64, I apologize.
     16       And sometimes those levels may be         16       A. No. No, that's fine.
     17       above, and most of the times those        17       Q. It's on page 44.
     18       levels are below, which is why it's       18            You cite to two abstracts --
     19       cleared. Because I've seen some           19       A. Yes.
     20       analyses where different products may     20       Q. -- one by Fletcher and one by
     21       have been, I guess, turned away or        21   Fletcher and Saed.
     22       considered not acceptable based on the    22            Do you consider these abstracts
     23       analysis of certain types of minerals     23   to be reliable sources of data?
     24       or metals.                                24       A. They're not as reliable at all
     25                                                 25   as a peer-reviewed article. So there's a


                                                                 79 (Pages 310 to 313)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 81 of 147
                                         PageID: 195706
                Confidential - Pursuant to Protective Order
                                           Page 314                                             Page 316
      1    difference in the weight you give an            1         A. I attempted to do that. I
      2    abstract, absolutely.                           2   can't tell that you there isn't something in
      3             However, knowing the papers            3   here I've missed. But, yes, I read this
      4    that Dr. Saed has actually published in the     4   report six or seven times before I finalized
      5    peer-reviewed literature, I have -- I have      5   it, trying to make sure that the language I
      6    mentioned them in here because I do believe     6   was using was an accurate reflection of the
      7    that they are -- they are pieces of             7   opinion I'm expressing.
      8    information that are highly relevant to some    8               But it's possible, if you want
      9    of the issues raised in other cellular          9   to point to something that you want to ask me
     10    studies, and so that's why they're here. But   10   about, I can tell you whether or not that was
     11    certainly I do not give them the same weight   11   something that I would change.
     12    as in my assessment of overall risk.           12         Q. So on page 77, paragraph 118 in
     13             And I would say that I had the        13   the middle of it, you say, "Based on the
     14    same opinions on risk before I had these       14   knowledge available by the 1950s, talc body
     15    studies. Because in my original reports,       15   powders manufactured and sold by Imerys and
     16    obviously, I have gone further than risk and   16   Johnson & Johnson."
     17    talked about cause, and I didn't have the      17               And that's the question that I
     18    Fletcher studies.                              18   have for you.
     19             The Fletcher studies are more         19         A. I see what you're saying.
     20    on the issue of biologic plausibility and      20         Q. Was Imerys selling anything to
     21    mechanism versus being important               21   Johnson & Johnson in the 1950s?
     22    underpinnings, for example, for a hazard       22               MR. MEADOWS: Objection.
     23    assessment.                                    23               THE WITNESS: I'm thinking.
     24        Q. Is there any way that someone           24         It's possible they did not. That may
     25    reading your report could tell that you        25         be true.

                                           Page 315                                             Page 317
      1    attribute less weight to the abstracts by       1   QUESTIONS BY MS. BOCKUS:
      2    Saed and Fletcher just by reading your          2         Q. Well, and actually --
      3    report?                                         3         A. You know what? When I wrote
      4               MR. MEADOWS: Objection.              4   this sentence, I assumed that they did, but
      5               THE WITNESS: I don't know if         5   if that is not true, then certainly this
      6         they could or not. Hopefully they          6   sentence should be just Johnson & Johnson.
      7         would based upon where they appear in      7         Q. Well, earlier in your report,
      8         the report. They're not cited a lot        8   in a footnote you indicate that Imerys began
      9         of other places, but they certainly        9   supplying talc to Johnson & Johnson in 1989
     10         are cited.                                10   or the late 1980s.
     11               So that's why I'm here today,       11             Do you remember making that
     12         though. You're asking me these            12   notation?
     13         questions; I'm telling you. That's        13         A. So let me look. So if that's
     14         how I look at these studies. That's       14   an inconsistency, then that should change.
     15         all I can say.                            15   Let me look.
     16               I haven't -- I haven't,             16         Q. And that's all I want to know,
     17         certainly, as I've told you, given        17   if it's an inconsistency, should it change.
     18         things numerical weight throughout my     18         A. If it is an inconsistency --
     19         report.                                   19   certainly if Imerys was not selling talc to
     20    QUESTIONS BY MS. BOCKUS:                       20   Johnson & Johnson in 19 -- the 1950s, then --
     21         Q. Looking at paragraph 118...            21   then certainly Johnson & Johnson's products
     22               Well, when you were preparing       22   would not -- would not be affected by Imerys'
     23    your report, were you careful with the         23   activity.
     24    language that you used in it to be precise     24             However, if Imerys is selling
     25    and accurate?                                  25   talc to anyone that makes a consumer product


                                                                   80 (Pages 314 to 317)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 82 of 147
                                         PageID: 195707
                Confidential - Pursuant to Protective Order
                                           Page 318                                             Page 320
      1   in the 1950s, then -- or a precursor company     1   complete assessment the way I did, then I
      2   to Imerys is making talc that's selling for      2   would agree that other people could come to a
      3   body powder to somebody other than Johnson &     3   different conclusion, absolutely.
      4   Johnson, then that opinion would still hold.     4             So I think it depends what you
      5            So -- but I certainly agree, I          5   mean by "reasonable scientist." But I would
      6   think I -- you're right, I think I have a        6   agree that individuals can look at the same
      7   statement about the link between the two in      7   body of data and, based on their judgment and
      8   '89. So in that case, then certainly the --      8   experience, based on looking at that same
      9   the link here would be related to Johnson &      9   body of data, could come to a different
     10   Johnson's products.                             10   conclusion, yes. That's true.
     11       Q. Okay. Yeah.                              11       Q. You've been involved in this
     12       A. Whether or not -- if they                12   talc litigation for at least a couple of
     13   weren't sourced from Imerys, then that's a      13   years, right?
     14   separate duty on a product, not this product.   14       A. Yes.
     15       Q. If you look on the bottom of             15       Q. And you know that various
     16   page 7, I think you'll see the footnote I was   16   defendants have offered experts who disagree
     17   referencing.                                    17   with your conclusions, right?
     18            And with regard to your last           18       A. Some of my conclusions, yes. I
     19   answer, you don't have any information as to    19   don't know that there is somebody that's in
     20   whether Imerys existed and, if it did,          20   the litigation that does exactly what I do
     21   what -- who its customers were in 1950s,        21   across all the opinions I've expressed, but,
     22   correct?                                        22   yes, certain parts of my opinions there are
     23       A. I don't believe I do, no.                23   other experts I'm aware of, yes.
     24            MS. BOCKUS: I think that's all         24       Q. Well, they -- you're aware that
     25       that I have. Thank you.                     25   there are defense experts who disagree with

                                           Page 319                                             Page 321
      1            MR. LOCKE: I've got a few               1   your opinion that talc increases the risk of
      2       questions.                                   2   ovarian cancer; is that correct?
      3               EXAMINATION                          3        A. Yes, I -- I am aware of that
      4   QUESTIONS BY MR. LOCKE:                          4   fact.
      5       Q. Doctor, my name's Tom Locke. I            5        Q. And in your review of the
      6   represent the Personal Care Products Council.    6   records that go back or the scientific
      7   We met a couple of times before, I think.        7   materials that go back 35 years or more,
      8       A. I apologize, I don't recall               8   you've seen that there's disagreement
      9   your name at least. The face looked              9   regarding that issue; is that correct?
     10   familiar, though. I apologize.                  10        A. So what documents are you
     11       Q. I try to maintain a low                  11   referring to? Are you asking me about a
     12   profile.                                        12   specific -- just the published medical
     13            I have relatively few                  13   literature? Are you asking about documents
     14   questions. I wanted to ask you overall about    14   like internal company documents, reviews by
     15   your opinion.                                   15   others? What are you asking me about?
     16            Would you agree that reasonable        16        Q. Well, let's focus on the
     17   scientists can disagree with your opinion       17   published medical literature.
     18   that talc increases the risk of ovarian         18             There are scientists who have
     19   cancer?                                         19   disagreed with your opinion; is that correct?
     20       A. I'd say I wouldn't say it quite          20             MS. PARFITT: Objection.
     21   that way. I'd say that I agree that             21             THE WITNESS: I'm not aware of
     22   scientists can disagree on conclusions they     22        a paper in the published medical
     23   draw, depending on the -- depending on the      23        literature that has done the exact
     24   way that they have assessed.                    24        assessment I have done.
     25            So certainly based on a                25             So I am aware of the fact,


                                                                   81 (Pages 318 to 321)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 83 of 147
                                         PageID: 195708
               Confidential - Pursuant to Protective Order
                                           Page 322                                             Page 324
      1       however, that there are individual           1   what I've been doing in the litigation.
      2       papers by scientists that, for               2       Q. Okay. As to that second
      3       example, have concluded that there is        3   bucket, the US regulatory requirements for
      4       no association between exposure to           4   marketing cosmetic ingredients and products,
      5       talc perineally and ovarian cancer,          5   that's not relevant to the scientific
      6       yes. Individual papers, I am aware of        6   question whether talc may cause ovarian
      7       that, but that's different than what I       7   cancer; am I right?
      8       have done.                                   8       A. No. I disagree with that based
      9   QUESTIONS BY MR. LOCKE:                          9   on the fact that a company that markets a
     10       Q. Let me just ask you about what           10   cosmetic product is required to do a safety
     11   you were requested to do on behalf of           11   assessment. And if in that safety assessment
     12   plaintiff's counsel.                            12   issues relate to cancer or ovarian cancer and
     13            Plaintiff's counsel asked you          13   the use of talc, then those two things are
     14   to provide opinions related to the human        14   related.
     15   health hazards posed by exposure to talcum      15            But I would agree that -- that
     16   powder products and how those hazards relate    16   doing a risk assessment like I've done is a
     17   to the regulatory requirements for marketing    17   separate issue from doing a safety assessment
     18   cosmetic ingredients and cosmetic products in   18   for a product, because there's actually even
     19   the United States; is that correct?             19   a lesser standard for an issue of looking at
     20            MR. MEADOWS: Objection.                20   a safety assessment for a product versus
     21            THE WITNESS: I didn't write            21   actually forming the opinion that there is an
     22       that, but that sounds like an accurate      22   increased risk of cancer with exposure to
     23       reflection of what -- what we -- what       23   talc.
     24       I have done at least in parts of my         24       Q. Now, did IARC in 2006, did it
     25       report, yes.                                25   look at the US regulatory process in

                                           Page 323                                             Page 325
      1   QUESTIONS BY MR. LOCKE:                          1   considering whether talc may cause ovarian
      2       Q. Well, if you look at your                 2   cancer?
      3   report, I think you go to part where you were    3            MR. MEADOWS: Objection.
      4   asked to provide -- and I just pulled it from    4            THE WITNESS: I don't think I
      5   what you said.                                   5       understand what you mean. It's not a
      6       A. So I did write it, I apologize.           6       US regulatory process, no, if that's
      7   It didn't sound like me.                         7       what you're asking me.
      8       Q. It started with "to provide               8            They have a -- they have a
      9   opinions related to the human health hazards"    9       discussion of what the products are,
     10   and so forth, so I just wanted to make sure     10       which is part of the way they're sold.
     11   we're clear on that.                            11       But I don't think they're discussing
     12       A. Sure.                                    12       the duty of a company under the
     13       Q. So does that sound right in              13       regulatory process, no, that's a
     14   terms of what you were asked to do?             14       separate issue.
     15       A. I said I -- certainly those are          15   QUESTIONS BY MR. LOCKE:
     16   the kinds of things that I was definitely       16       Q. So their analysis of whether
     17   asked to do. I was asked to do two basic --     17   talc may cause ovarian cancer, that's
     18   two basic things, which was having to do with   18   different than the analysis of whether a
     19   toxicology and risk assessment, and then a      19   company may have a duty, whatever that duty
     20   separate issue related to regulatory            20   may be?
     21   concerns.                                       21            MR. MEADOWS: Objection.
     22            So, yes, those are the two             22            THE WITNESS: It's a different
     23   basic, I guess, buckets of information and      23       process, absolutely. IARC is a
     24   documents that I reviewed and opinions I've     24       separate, independent body that does
     25   expressed, and I think that's consistent with   25       an assessment looking at the issue of


                                                                   82 (Pages 322 to 325)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24         Page 84 of 147
                                         PageID: 195709
                Confidential - Pursuant to Protective Order
                                           Page 326                                             Page 328
      1       cancer hazard and looking at whether          1      this is a different assessment and
      2       or not there is sufficient evidence to        2      different standard. It's a much lower
      3       categorize that hazard, whereas a duty        3      standard on cosmetics for what needs
      4       of a company under the regulatory             4      to be done as far as warning.
      5       situation is broader than just cancer         5           Now, when a company comes and
      6       hazard; it's a whole different thing.         6      initiates a safety assessment on their
      7       It's what you do internally before you        7      product, before they even think about
      8       market a product. Totally different.          8      what am I going to warn, they should
      9             And so certainly when I --              9      be doing a comprehensive assessment of
     10       that's why I have separate sections in       10      safety based on what's available
     11       my report, and that's why I even             11      publicly, knowing what others have
     12       have -- I've had discussions about the       12      reported and then what data they've
     13       difference between the regulatory            13      collected.
     14       standard for warning versus the              14           If they don't have data at all
     15       assessment of risk that may be               15      on the safety of the product, then the
     16       required in order to start to produce        16      product has to say that. We don't
     17       a -- identify a association or an            17      know. We do not know if this product
     18       increased risk or even if you did a          18      is safe. And that's one of the things
     19       causation analysis. Totally different        19      that is allowed under FDA -- under FDA
     20       type of exercise.                            20      regulations as well.
     21    QUESTIONS BY MR. LOCKE:                         21           But essentially some -- some
     22       Q. Do you first, in that exercise,           22      assessment must be done to understand
     23    look at the scientific issue of whether talc    23      from the perspective of the company
     24    may cause ovarian cancer?                       24      that this product is safe for
     25       A. Are you asking me in either of            25      consumers to use as -- under the

                                           Page 327                                             Page 329
      1    these exercises?                                 1       directions of use.
      2        Q. Well, let's say when you're               2             So in the case of this, it
      3    getting to -- you mentioned the duty to warn.    3       would be a body powder being used on
      4    So if you're looking at the duty to warn, do     4       the body surface but also perineally
      5    you first have to look at does talc cause        5       because -- because that was an
      6    ovarian cancer?                                  6       exposure pattern that was understood.
      7              MR. MEADOWS: Objection.                7   QUESTIONS BY MR. LOCKE:
      8              THE WITNESS: That's not the            8       Q. Okay. You described two
      9        question you asked. No. I would              9   different buckets. They're independent
     10        argue, based on the regulations, if         10   assessments; is that correct?
     11        you look at the standard, the question      11             MR. MEADOWS: Objection.
     12        is, is there evidence to indicate that      12             THE WITNESS: Initially that's
     13        there is a chance, there is a               13       where I started, and now I'm talking
     14        potential -- not that it does, but is       14       two different duties. There's a duty
     15        there a potential for that type of          15       to warn, but there's first a duty to
     16        hazard to be posed to consumers who         16       collect information before you market
     17        use the product.                            17       it. It's your premarket safety
     18              It's a possibility versus being       18       assessment.
     19        a -- I'm taking it beyond possibility       19   QUESTIONS BY MR. LOCKE:
     20        when I'm doing my assessment for            20       Q. Okay. I'm not actually talking
     21        increased risk. And I talked about          21   about the manufacturer's duty. I wanted to
     22        that this morning, and I can't              22   just first address your scientific analysis.
     23        remember her last name. The                 23             That's a separate question that
     24        Johnson -- I apologize. But I -- with       24   led you to your opinion on the -- your
     25        Johnson & Johnson. I talked about           25   opinion that talc increases the risk of

                                                                    83 (Pages 326 to 329)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 85 of 147
                                         PageID: 195710
                Confidential - Pursuant to Protective Order
                                           Page 330                                            Page 332
      1   ovarian cancer, correct?                         1   also sort of -- that's a piece along the way
      2            MR. MEADOWS: Objection.                 2   to doing a causation analysis, but it's not
      3            THE WITNESS: Yes, that's what           3   the same.
      4       I described. And I thought you were          4       Q. Your opinion regarding the
      5       talking about duty of the company, and       5   FDA's responsibilities and functions, that's
      6       so I apologize. I didn't mean to go          6   not related to your opinion that talc may
      7       off on a tangent.                            7   cause an increased risk in ovarian cancer; is
      8            If you want to focus just on            8   that correct?
      9       the risk assessment -- is that what          9            MR. MEADOWS: Objection.
     10       you want to do? -- that's what I'm          10            THE WITNESS: I don't think
     11       doing.                                      11       that's true the way you're asking that
     12   QUESTIONS BY MR. LOCKE:                         12       question, because I don't know how you
     13       Q. No, I just want to understand,           13       divorce the fact that as a -- in a
     14   those are two different things, though,         14       regulatory assessment, if I identify
     15   right?                                          15       cancer hazard, I have identified a
     16       A. Those are two different --               16       duty to warn. That's certainly
     17   those are two different tasks that I            17       something that should be warned about
     18   undertook, yes. I undertook a risk              18       when I understand that there's not
     19   assessment task to form opinions based on       19       only the potential, but I believe
     20   what I can say about risk, and then I           20       there's an increased risk.
     21   separately -- and I had done this earlier on    21            But I would agree with you that
     22   the issue of warnings, looking at what do we    22       in my report, I'm laying out for you
     23   know about the product and whether or not --    23       even different bodies of information
     24   and when did we know it, and what should        24       that -- as I step through it.
     25   consumers have been warned about based on the   25            Does that make sense to you?

                                           Page 331                                            Page 333
      1   safety information that was available over       1   QUESTIONS BY MR. LOCKE:
      2   time.                                            2       Q. Not really.
      3        Q. The risk assessment task,                3       A. I'm sorry.
      4   that's what you mean by your analysis that       4       Q. I'm talking about your
      5   talc increases the risk of ovarian cancer?       5   scientific analysis here, not your regulatory
      6        A. That's correct.                          6   analysis.
      7        Q. You could have stopped at that,          7            To do your scientific analysis,
      8   but then you performed an additional task; is    8   you looked at scientific materials, right?
      9   that right?                                      9       A. Yes, but I do the same thing
     10        A. Well, actually, no, because the         10   for my regulatory analysis. That's why I'm
     11   first task I actually started with was the      11   confused. I -- to me they are connected.
     12   regulatory task. When I first started           12            But I would agree with you, I
     13   getting involved in the litigation very --      13   had an analysis. Let's just talk about that,
     14   before I wrote my first report, one of the      14   my analysis on risk assessment and my
     15   first things I was looking at was the issue     15   opinions that I've expressed. Those are laid
     16   of the duty of the manufacturer to provide      16   out in a separate section of my report,
     17   warnings.                                       17   absolutely. So we could talk about that if
     18             And then after that, I expanded       18   you'd like.
     19   that role to be an inclusion as well of a       19       Q. Well, I just want to
     20   causation analysis.                             20   understand, and I think I do now, that's a
     21             And then now I'm not doing a          21   separate issue from your regulatory opinion?
     22   full causation analysis in this litigation,     22       A. It's not a separate issue.
     23   but I'm using essentially some of the same      23   That's where I'm having trouble with your
     24   information to provide you with a description   24   language.
     25   of a -- a health risk assessment, which was     25            It's a separate task because,


                                                                   84 (Pages 330 to 333)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 86 of 147
                                         PageID: 195711
               Confidential - Pursuant to Protective Order
                                           Page 334                                             Page 336
      1   for example, I may have only been asked, but     1       But I practice in both those areas in
      2   I wasn't, to just describe whether or not, as    2       my consulting practice and in my
      3   a human risk assessor and toxicologist, there    3       experience.
      4   is a hazard or a risk posed by the product,      4   QUESTIONS BY MR. LOCKE:
      5   and I could stop there.                          5       Q. Let me ask you a few questions
      6             But I was asked, based on --           6   about your cosmetic ingredient review
      7   based on my experience working in the area of    7   statements, CIR.
      8   regulatory toxicology but also on regulatory     8            We can agree to call it that,
      9   issues for clients where I give advice, I was    9   right?
     10   asked to look at how does that scientific       10       A. Yes, that's fine.
     11   information impact what the company should be   11       Q. In parts of your report, you
     12   doing.                                          12   cite the CIR as an authoritative source on
     13             And so that's -- that's why I'm       13   cosmetic ingredients; is that correct?
     14   saying you can't divorce them, because the      14       A. So where are you looking at,
     15   warning issue I'm talking about is intimately   15   the background information on the CIR?
     16   tied into the human health risk assessment      16            Yes, they certainly are a
     17   results.                                        17   source of information that FDA relies upon as
     18        Q. So do you consider yourself             18   far as assessments, yes, that's true.
     19   primarily here as a warning expert?             19       Q. Well, and on page -- or
     20             MR. MEADOWS: Objection.               20   paragraph 35, page 23, you cite to the CIR
     21             THE WITNESS: I consider that          21   on, for example, chemicals purportedly in
     22        one of my roles, yes, absolutely.          22   cosmetics. You have a footnote there.
     23             It depends upon how individual        23       A. So --
     24        cases, individual attorneys, will --       24       Q. I believe it's footnote 31.
     25        will ask -- decide to use me. For          25       A. Yes, I have looked at -- looked

                                           Page 335                                             Page 337
      1       example, I have been used in one trial       1   at the CIR as a source of information because
      2       to only talk about the toxicology.           2   many of the chemicals, many of the
      3       Other trials, I've talked about              3   ingredients within the fragrance of Johnson &
      4       toxicology as well as regulatory             4   Johnson, the only available information may
      5       issues. So I think it just depends on        5   be found within the CIR that's publicly
      6       the case.                                    6   available.
      7             In the MDL, I am prepared,             7       Q. And you rely on the report of
      8       however, to come to talk at a trial on       8   Dr. Cralley; is that correct?
      9       the regulatory system that guides            9            MR. MEADOWS: Objection.
     10       cosmetics as well as provide opinions       10            MS. PARFITT: Objection.
     11       that talk about what are the hazards        11   QUESTIONS BY MR. LOCKE:
     12       of talc, what is the toxicology of          12       Q. You reference Appendix D to
     13       talc, what do -- how can you be             13   your report. I believe if you stay on the
     14       exposed to talc, that migration issue,      14   same page you'll see that, the same
     15       and then my opinions about whether or       15   paragraph.
     16       not I believe that there is an              16       A. I wouldn't say I rely on the
     17       increased risk of ovarian cancer.           17   report of Dr. Cralley because I form my
     18             So I would be -- be prepared to       18   opinions independent of Dr. Cralley, but
     19       talk about both of those things.            19   certainly his -- I believe if you go to his
     20       That's why I said I do think I'm a          20   reports, his report is supportive of my
     21       little different than some of the           21   opinions in this area.
     22       other experts that you may encounter,       22       Q. Did you read his report?
     23       for example, in the defense side,           23       A. I have read it now, but I did
     24       where someone may just do regulatory        24   not read it before I -- before I formed my
     25       or somebody may just do toxicology.         25   opinions in this particular paragraph, yes.


                                                                   85 (Pages 334 to 337)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS              Document 33000-16        Filed 07/23/24         Page 87 of 147
                                          PageID: 195712
                Confidential - Pursuant to Protective Order
                                            Page 338                                            Page 340
      1        Q. I'm a little confused because             1   is no other source available.
      2   you're citing to his report.                      2        Q. Okay. In your report you state
      3            You read it or you didn't read           3   that the CIR process is administered
      4   it before you wrote this paragraph?               4   independent of the FDA.
      5        A. I read it before I wrote the              5             But the FDA is on the CIR
      6   paragraph. I didn't read it before I had          6   steering committee; is that correct?
      7   formed the opinion. Do you understand what        7        A. That is correct.
      8   I'm saying?                                       8        Q. You don't mention that in your
      9            I did my review of the irritant          9   report, although you mention others who were
     10   chemicals independently before I looked at       10   on the CIR steering committee, correct?
     11   Dr. Cralley's report. So I had formed the        11        A. Yes, there's a paragraph where
     12   opinion that -- of the chemicals I had           12   I talk about others, yes.
     13   searched for that this is what I identified.     13        Q. But you don't mention that the
     14   And that's what this is talking about, right?    14   FDA is on the steering committee?
     15            I'm saying here that of the             15        A. I believe I -- I believe I've
     16   more than 100 chemicals included, over           16   been asked that question before, and I said
     17   70 percent are compounds linked with some        17   yes, but certainly in this report I don't
     18   level of irritant hazard. That was done on       18   believe I state that, that is true.
     19   my own.                                          19        Q. CIR solicits input from the
     20            Then, if you go to look at              20   public; is that correct?
     21   Dr. Cralley's report, I cite it here because     21             MS. PARFITT: Objection.
     22   it's consistent. That is, his report             22             THE WITNESS: I would say they
     23   provides support additionally for the            23        solicit input from industry, yes.
     24   statement I'm making.                            24   QUESTIONS BY MR. LOCKE:
     25            So I'm not relying on his               25        Q. Well --

                                            Page 339                                            Page 341
      1    conclusions to make my opinion, but it's         1       A. But they -- and they do have a
      2    certainly -- I am citing it here as it being     2   public comment period, which is mainly input
      3    a piece of evidence that is consistent with      3   from industry.
      4    my opinions.                                     4            But I agree that they do -- and
      5         Q. Sorry, I seem to have messed up          5   if what you're referring to is a public
      6    my microphone. I'll try to hold it for a         6   comment period, yes, there is that for the
      7    little bit then.                                 7   documents.
      8              Do you disagree with                   8       Q. You can go on the website and
      9    Dr. Cralley's report?                            9   see what ingredients CIR is going to review,
     10         A. I have not formed an opinion            10   right?
     11    that I agree or disagree. He -- with his --     11       A. Yes, you can.
     12    I believe he has information that is            12       Q. Have you done that?
     13    consistent with the opinion I'm expressing in   13       A. Yes, I've done it many times
     14    the sentence, however.                          14   before.
     15         Q. And do you know that                    15       Q. Okay. And did you submit
     16    Dr. Cralley repeatedly cites to the CIR as an   16   comments on talc in 2012?
     17    authoritative source regarding cosmetic         17       A. No, I did not.
     18    ingredients?                                    18       Q. Okay. You could -- the public
     19         A. I don't know that he uses that          19   can submit comments many times during the
     20    exact language, but he does cite to it, yes,    20   process of an ingredient review; is that
     21    in his report. Certainly he does.               21   correct?
     22         Q. More than 20 times, right?              22       A. There are different --
     23         A. That, I have not counted. I             23   different stages of the draft document. Is
     24    can't tell you that. But he does, just like     24   that what you're asking me? Yes, that can be
     25    I do, as a source of information when there     25   done.


                                                                    86 (Pages 338 to 341)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 88 of 147
                                         PageID: 195713
               Confidential - Pursuant to Protective Order
                                           Page 342                                            Page 344
      1       Q. Well, even before it's a draft,           1   submitted.
      2   CIR is soliciting information about the          2       Q. And CIR meetings are open to
      3   ingredient to include in the initial             3   the public, right?
      4   materials provided to the expert panel; isn't    4       A. That is true, they are open to
      5   that correct?                                    5   the public, but in my experience it -- they
      6       A. Technically I believe that is             6   are not meetings that are heavily attended by
      7   true, but I would disagree that that is          7   the public but indeed are -- tend to be
      8   something that happens routinely. But I          8   meetings attended by industry stakeholders
      9   would agree that -- I would say technically      9   within the ingredients that are being
     10   you may be -- that is something that could      10   reviewed.
     11   occur, yes, but that is not the situation,      11       Q. You know Mr. Steinberg here.
     12   for example, in the case of talc.               12   He was a plaintiff's expert for a while?
     13       Q. Why not?                                 13       A. I don't know him personally,
     14       A. Based upon what I have seen              14   but I know his name and I know he was a
     15   described as how the review was done, and       15   plaintiff's expert, yes.
     16   that has to do with the testimony of            16       Q. You know he attended the talc
     17   different -- or different documents that I've   17   meeting, right?
     18   reviewed and the testimony of individuals       18       A. Yes, I believe he was working
     19   related to this document.                       19   with indus -- he works with industry, so I
     20       Q. Well, Dr. Cramer could have              20   believe indeed he did attend that meeting.
     21   submitted comments to the CIR regarding talc,   21       Q. You're not claiming he was
     22   couldn't he?                                    22   working with any industry member regarding
     23            MR. MEADOWS: Objection.                23   talc, are you?
     24            MS. PARFITT: Objection.                24       A. That's not what I stated. I
     25            THE WITNESS: You'd have to ask         25   know he's a consultant to the cosmetic

                                           Page 343                                            Page 345
      1         Dr. Cramer if he was aware that they       1   industry, so it doesn't surprise me. And I
      2         were reviewing it. I can't answer          2   believe he lives in the area, so it doesn't
      3         that for Dr. Cramer.                       3   surprise me that he attended.
      4              But if he was aware of it,            4            I haven't spoken to him about
      5         certainly -- if you're aware of the        5   any of that, though, so I have no specific
      6         process going on and the timing of it,     6   details of that.
      7         certainly you can submit comments.         7       Q. Transcripts of the meeting are
      8         I'm not disagreeing with you on that.      8   available to the public, right?
      9         That is true.                              9       A. You can download the
     10    QUESTIONS BY MR. LOCKE:                        10   transcripts, yes.
     11         Q. CIR publishes in advance what          11       Q. They're on the website?
     12    it's going to review; isn't that correct?      12       A. That's what I said. You can
     13         A. What is coming up for review?          13   download. I'm sorry.
     14         Q. Yes.                                   14       Q. Okay.
     15         A. Yes, things that are proposed          15       A. Yes, you can download them from
     16    for the next meeting, yes, that's true.        16   the website.
     17         Q. And you could submit comments          17       Q. Did you submit comments to the
     18    to the first draft of the CIR report; isn't    18   CIR regarding talc?
     19    that correct?                                  19       A. No, I did not.
     20         A. I would agree that that is             20       Q. Why not?
     21    possible to happen, yes.                       21       A. I wasn't aware of the process
     22         Q. And you can submit comments            22   that was going on in the draft form at the
     23    before the final report is drafted, correct?   23   time.
     24         A. Yes, as long as it's still in          24       Q. Why is that?
     25    draft form, yes, those comments can be         25       A. I was not following the CIR for

                                                                   87 (Pages 342 to 345)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 89 of 147
                                         PageID: 195714
               Confidential - Pursuant to Protective Order
                                           Page 346                                            Page 348
      1   talc at that particular time. I have a lot       1   same level of review of any of these
      2   of other clients and a lot of other issues       2   ingredients as can be provided -- as was
      3   that go on on a routine basis, and I -- I        3   provided by the IARC.
      4   literally would not have time to follow every    4             And so, again, that's one of
      5   assessment they do, considering that they do     5   the comparisons I'm doing. I'm talking about
      6   thousands of chemicals.                          6   the difference in the time, the effort, the
      7        Q. Did you know of the CIR prior            7   difference in the independence of the
      8   to your retention by plaintiff's counsel?        8   reviews. And so that -- when I'm talking
      9        A. Yes. In fact, I -- one of the            9   about, those numbers, that's what I'm
     10   journals that I receive, International          10   focusing on. I'm focusing on the fact that
     11   Journal of Toxicology, maybe, publishes many    11   you have so many reviews in a very short
     12   of their safety assessments. So I certainly     12   period of time, with a one-expert panel, it's
     13   am, yes.                                        13   impossible for that level of analysis and
     14             I was aware -- when I was at          14   review to be anywhere near what IARC panels
     15   Eviron, I was aware of the existence of CIR.    15   do, and also nowhere near the level of review
     16        Q. Have you ever provided prior to         16   that I have done based on the number of
     17   this litigation -- and by "this litigation" I   17   documents that I have analyzed and looked at.
     18   mean any aspect of the talc litigation -- an    18   So it's a different type of review.
     19   expert opinion on cosmetics' ingredients?       19       Q. Let me ask you a few questions
     20        A. You're asking me in any other           20   because you have criticized the panel.
     21   litigation on a cosmetic ingredient?            21             You would agree with that,
     22             I'm thinking back to the cases        22   correct?
     23   I've worked on. Not as a -- not as a            23       A. Yes. Oh, absolutely. This
     24   testifying expert.                              24   particular analysis I have. I have made some
     25             At Eviron, though, we worked on       25   general criticisms of the overall process,

                                           Page 347                                            Page 349
      1   litigation involving cosmetic ingredients,       1   and then I made some specific criticisms of
      2   thought I was not the testifying expert.         2   this particular review.
      3        Q. In your report you talk about            3        Q. And one of your criticisms is
      4   the percentage of -- or the number of            4   that the CIR -- I think you said two CIR
      5   ingredients that the CIR listed as unsafe.       5   expert panelists had conflicts of interest;
      6            Do you recall that?                     6   is that correct?
      7        A. Yes. I mean, if you want me to           7        A. Yes, that -- they did, that
      8   verify the number, I need to go there. But,      8   were not -- that were not -- I believe not
      9   yes.                                             9   understood even by Dr. Andersen at that time.
     10        Q. You don't mention that CIR has          10   I think these are things brought up to him
     11   put limitations on approximately 50 percent     11   that he was not aware of.
     12   of the ingredients that it has reviewed, do     12        Q. All right. Now, you read his
     13   you?                                            13   testimony in one of the trials in California,
     14        A. I don't mention that, but they          14   right?
     15   do. They have -- they have -- when they have    15        A. Yes, that's the -- in fact,
     16   a statement about safety, they will -- they     16   that's the source of the information where
     17   will often talk about the limitations from      17   I'm citing to those names of those
     18   the safe use based on either concentration or   18   individuals. I think I refer to that, his
     19   even maybe route of exposure, that is true.     19   trial testimony.
     20        Q. Why don't you do that? Why              20        Q. And didn't he, though, say,
     21   didn't you include that in your report?         21   well, he didn't view it as a conflict of
     22        A. No particular reason. I mean,           22   interest because the money wasn't going to
     23   the point I'm trying to make is really the      23   them personally, it was going to their
     24   workload that's going on here and the           24   organizations?
     25   impossibility of the task of providing the      25        A. He did make that statement,


                                                                   88 (Pages 346 to 349)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24         Page 90 of 147
                                         PageID: 195715
                Confidential - Pursuant to Protective Order
                                           Page 350                                            Page 352
      1    yes.                                            1       from an industry or a company that has
      2         Q. And you disagree with that              2       to do with the issue you're looking
      3    statement?                                      3       at, yes, a conflict -- a conflict of
      4         A. I don't -- I mean, his                  4       interest absolutely needs to be
      5    testimony is what it is.                        5       described.
      6               Are you asking me do I disagree      6   QUESTIONS BY MR. LOCKE:
      7    that that's a conflict of interest?             7       Q. And that would -- well, let me
      8               I disagree that you shouldn't        8   just ask you: You're not an ethicist, are
      9    disclose that as a potential conflict in the    9   you?
     10    documents that are produced, just like I do    10       A. No, I'm not trained as an
     11    when I write an article and I disclose that    11   ethicist.
     12    I've had funding. I don't say what the         12       Q. And you're not a lawyer, are
     13    funding specifically paid for, but I've had    13   you?
     14    funding or support from this industry          14       A. Well, no, but I have passed the
     15    individual or that industry individual.        15   patent bar, but I'm not trained as a lawyer.
     16    It's -- it's something that just is about      16       Q. That doesn't make you an
     17    transparency.                                  17   ethicist, right?
     18         Q. So when you write articles, you        18       A. No, it does not.
     19    say that you've been paid a lot of money by    19       Q. Okay. Let's talk about one of
     20    plaintiffs' lawyers?                           20   the people you criticized, Dr. Wilma
     21               MR. MEADOWS: Objection.             21   Bergfeld.
     22               MS. PARFITT: Objection.             22             Did you know she was the first
     23               THE WITNESS: Well, I haven't        23   woman who was the president -- to be the
     24         written an article that overlaps with     24   president of the American Academy of
     25         an issue that I've addressed in           25   Dermatology?

                                           Page 351                                            Page 353
      1        plaintiffs' litigation, but I               1        A. No, I don't know her
      2        certainly have given my conflict of         2   personally, so, no, I did not know that.
      3        interest statements that relate to the      3        Q. Did you investigate her at all
      4        issue in the article.                       4   when you criticized her?
      5             I do that -- I've done that            5        A. I wasn't criticizing her, I was
      6        with -- on my work -- several of my --      6   criticizing the CIR process for failing to
      7        several of my assessments talking           7   disclose the conflicts of interest of
      8        about risks of pesticides. I've done        8   individuals that were involved in their
      9        it with the work that I've done that        9   assessment.
     10        that's been sort of, I guess,              10             I certainly am not giving
     11        policy-type work on behalf of the          11   personal criticism to either of those
     12        American Chemistry Council.                12   individuals.
     13             So absolutely I do.                   13        Q. You would agree that the
     14    QUESTIONS BY MR. LOCKE:                        14   American Academy of Dermatology is a
     15        Q. Okay. You don't think it's              15   reputable organization?
     16    relevant that you receive 50 percent of your   16        A. I haven't formed an opinion one
     17    money solely from plaintiffs' products         17   way or the other; however, I'm aware of them,
     18    liability lawyers?                             18   and certainly I know individuals that are
     19             MR. MEADOWS: Objection.               19   members of it, yes.
     20             MS. PARFITT: Objection. Form.         20        Q. Are those individuals reputable
     21             THE WITNESS: If it has nothing        21   people?
     22        to do with the issue that I'm              22             MS. PARFITT: Objection.
     23        addressing in the paper, no, I do not      23             THE WITNESS: They are people
     24        think that.                                24        that practice medicine that certainly
     25             But when you're accepting money       25        I would go see. I mean, you're asking


                                                                   89 (Pages 350 to 353)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 91 of 147
                                         PageID: 195716
                Confidential - Pursuant to Protective Order
                                           Page 354                                             Page 356
      1        me if I formed a very specific opinion      1   and also gynecological -- gynecological
      2        about them as individuals, and I            2   sciences on the issue of migration.
      3        haven't done that.                          3       Q. You're not a epidemiologist,
      4   QUESTIONS BY MR. LOCKE:                          4   are you?
      5        Q. Do you have any reason to                5       A. Not by training. It's a tool I
      6   believe that the American Academy of             6   use all the time, but I'm not an
      7   Dermatology is disreputable?                     7   epidemiologist by training.
      8        A. No. Again, I haven't formed an           8       Q. And panel members on the CIR,
      9   opinion one way or the other. I'm aware of       9   they might have used the same tool that
     10   the organization, and it certainly is one       10   you're using to form your opinion about talc,
     11   that is -- has within its members a number of   11   correct?
     12   people that I know that practice in             12             MR. MEADOWS: Objection.
     13   dermatology.                                    13             THE WITNESS: Based on what
     14        Q. Did you know that Dr. Bergfeld          14       I've reviewed from the minutes and the
     15   was the first woman to be president of the      15       write-up, I would disagree that that
     16   Cleveland Academy of Medicine?                  16       is -- they have done -- they've used
     17        A. To the what? What was the               17       the tools in the same way I have. I
     18   first word?                                     18       disagree with that.
     19        Q. Cleveland Academy of Medicine?          19   QUESTIONS BY MR. LOCKE:
     20        A. No. Again, I'm not aware of             20       Q. No, but I'm saying their
     21   her CV specifically, other than what may have   21   epidemiology could be the same background
     22   been discussed -- it's possible her -- I know   22   that you have. You haven't reviewed who they
     23   her affiliation will be listed in some of the   23   are, so you really don't really know.
     24   documents as to where she is today, but I do    24             MR. MEADOWS: Objection.
     25   not know her CV and her history.                25             THE WITNESS: Well, I do

                                           Page 355                                             Page 357
      1         Q. Are you aware that she was the          1       know -- I do know Dr. Klaassen, who I
      2    first president -- or she was a president of    2       believe was on the panel as a
      3    the American Society of Dermatopathology?       3       toxicologist. He is not somebody
      4         A. No. Same thing. If I'm not              4       that -- he is not somebody that I
      5    aware of her CV, I wouldn't know that.          5       understand does a significant amount
      6         Q. How about that she was the              6       of evaluation in risk assessment for
      7    former chair to the FDA's drug -- FDA's         7       epidemiological studies. He has done
      8    Dermatology and Ophthalmology Advisory          8       some of that, yes, I agree, but it's
      9    Committee?                                      9       different training than mine.
     10         A. Same answer. I don't know her          10   QUESTIONS BY MR. LOCKE:
     11    CV, so I have no knowledge.                    11       Q. You're better qualified than he
     12         Q. Is it your opinion that                12   is?
     13    Dr. Bergfeld was not qualified to chair the    13       A. No, that's not what I'm saying.
     14    CIR panel that considered talc?                14   I'm saying it's different background.
     15         A. I don't think I formed that            15            The question that I heard you
     16    specific opinion. Instead, what I have --      16   ask me, I believe, was directed towards the
     17    the opinions I formed relate to the overall    17   differences in my background versus somebody
     18    makeup of the panel that failed to include     18   else's.
     19    individuals with expertise that were -- that   19            And I'm saying that I'm not
     20    are really key to assessing the safety of      20   aware that he has the same background I do,
     21    talc. And that had to do with the issues of,   21   but there is not -- there was not somebody on
     22    as I discuss it, epidemiology -- oh, I'm       22   the panel that had specific expertise and
     23    sorry, I think I need to put this back --      23   analysis of epidemiological studies as an
     24    period -- sorry. In the area of epidemiology   24   epidemiologist. And I think that's important
     25    is one that I talked about it specifically,    25   in this case where you're analyzing in a


                                                                    90 (Pages 354 to 357)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16         Filed 07/23/24          Page 92 of 147
                                         PageID: 195717
                Confidential - Pursuant to Protective Order
                                            Page 358                                             Page 360
      1    causation analysis a wide variety of studies.    1   I'm sorry.
      2    So I do think it's important.                    2       Q. The FDA frequently seeks
      3        Q. You're not a gynecological                3   information, scientific information, from
      4    oncologist, are you?                             4   cosmetic manufacturers; is that correct?
      5        A. No, I'm not. But again, that              5       A. I don't understand what you
      6    would have been an important expertise to        6   mean by "frequently seeks." They rely on
      7    have on the panel when --                        7   cosmetic manufacturers to do their own safety
      8        Q. And yet you formed your opinion           8   assessments.
      9    with --                                          9            Is that what you're referring
     10             MR. MEADOWS: Hold on.                  10   to?
     11             MR. LOCKE: No. No. Go ahead.           11       Q. Well, they ask PCPC to comment
     12             You can ask follow-up questions        12   on scientific issues, correct?
     13        if you want.                                13       A. Yes, I would agree that that
     14             MR. MEADOWS: You're                    14   interaction has happened, but that's not
     15        interrupting her.                           15   where the responsibility lies. But I agree,
     16             MR. LOCKE: Well, I've got a            16   they have.
     17        limited amount of time, and I've got        17       Q. I'm not asking about
     18        to keep moving.                             18   responsibility. I'm asking: Has the FDA
     19             MR. MEADOWS: Well --                   19   asked cosmetic manufacturers for scientific
     20             MR. LOCKE: They're very long           20   information?
     21        answers to questions that I'm not           21       A. Yes, they have in this case. I
     22        asking. So I -- you follow up if you        22   discuss some of that, yes.
     23        would like with your questions, but I       23       Q. And they do that frequently,
     24        got to keep moving.                         24   right? Not just in this case, but generally?
     25             MR. MEADOWS: Well, I'm sorry,          25       A. I can't answer that for all

                                            Page 359                                             Page 361
      1        but you're not going to be allowed to        1   situations. I have seen it happen before,
      2        interrupt her.                               2   yes.
      3             MR. LOCKE: Okay. Then we'll             3        Q. The FDA asked, for example, for
      4        go longer. If she's going to answer          4   then CTFA to cosponsor the 1994 workshop on
      5        questions I'm not asking, then I need        5   talc, correct?
      6        to go -- I need to be able to go             6        A. Yes, they did.
      7        longer.                                      7        Q. The FDA knew that the report
      8             MR. MEADOWS: You're not going           8   prepared by Dr. Huncharek and Dr. Muscat was
      9        to be allowed to interrupt her.              9   based on PCPC's retention of those
     10        That's just the bottom line.                10   consultants, correct?
     11    QUESTIONS BY MR. LOCKE:                         11        A. So what are you -- what time
     12        Q. You're not a gynecological               12   period are you talking about?
     13    oncologist, right?                              13        Q. Well, now, there was only one
     14        A. I'm not trained as a                     14   time that Drs. Huncharek and Muscat submitted
     15    gynecologic oncologist, that is true.           15   a report to the FDA regarding talc, correct?
     16        Q. You're not a medical doctor,             16        A. So I need to look to confirm
     17    correct?                                        17   that. Which time period are you talking
     18        A. I am not a physician, that is            18   about?
     19    correct.                                        19        Q. 2009. Citizens petition.
     20        Q. Let's talk about the citizens            20        A. Oh, that is true. In the
     21    petition.                                       21   citizens petition, that is true, yes. But
     22             The FDA frequently seeks               22   I -- but...
     23    scientific information from cosmetic            23        Q. I mean, it says in the letter,
     24    manufacturers; is that correct?                 24   "We're submitting a report written by Drs.
     25        A. First part of the question?              25   Huncharek and Muscat," correct?


                                                                    91 (Pages 358 to 361)
                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 93 of 147
                                         PageID: 195718
                Confidential - Pursuant to Protective Order
                                           Page 362                                             Page 364
      1        A. In the cover letter from the             1       Q. And you're not aware of any
      2    CRE?                                            2   other document indicating that PCPC ever
      3        Q. From -- not CRE, from PCPC.              3   hired Drs. Huncharek or Muscat?
      4        A. Okay. So let -- I need to -- I           4       A. So that's where I'll need to go
      5    need to refresh my memory on the way the        5   back and look at the documents, because --
      6    submissions were made. I apologize.             6   that I have discussed. So I need to find
      7             Do you remember which paragraph        7   that on my paragraph.
      8    that you're referring to?                       8            If you want to go off the
      9        Q. Well, it's throughout your               9   record for a minute so I don't waste your
     10    report you're talking about the citizens       10   time, I will look.
     11    petition.                                      11       Q. Sure.
     12        A. So it's my recollection, based          12       A. It's up to you. Or we can stay
     13    upon the documents that I have seen, that it   13   on the record.
     14    was not a transparent process at all times     14            MR. LOCKE: I'm fine going off.
     15    that Drs. Huncharek and Muscat were being      15            VIDEOGRAPHER: We are going off
     16    identified as independent consultants and      16       the record at 4:23 p.m.
     17    were not ones that were being actually paid    17        (Off the record at 4:23 p.m.)
     18    by the industry for some of the work that      18            VIDEOGRAPHER: We are back on
     19    they did. And I think that's discussed in my   19       the record at 4:25 p.m.
     20    report.                                        20   QUESTIONS BY MR. LOCKE:
     21        Q. Well, let's break that down.            21       Q. The question I asked: Are you
     22        A. If you want me to confirm the           22   aware of any other document indicating that
     23    issue of the 2009 -- if you will point me to   23   PCPC ever hired Dr. Huncharek and Muscat
     24    where you say I discuss this, I will confirm   24   other than for the 2009 response or
     25    that or not.                                   25   submission to the citizens petition?

                                           Page 363                                             Page 365
      1       Q.     Well, let me break it down.           1        A. I would have to pull this
      2             Citizens petition submitted in         2   document, but in paragraph 90 I make a
      3    2008, right?                                    3   statement: A 2005 response written by
      4         A. Well, there were two: one in            4   Dr. Muscat says -- this is not '09, this is
      5    1994 and another -- I'm sorry, 1992, and        5   2005, and Dr. Huncharek critiqued the work of
      6    another in 2008.                                6   Dr. Cramer, who also failed to disclose the
      7         Q. Well, there are actually                7   financial relation -- I'll start over.
      8    several more than that, but let's just focus    8             Okay. So I'm sorry to repeat
      9    on the 2008.                                    9   myself, but there was a little noise.
     10             In 2008, a citizens petition          10            You asked 2009. So the other
     11    was submitted?                                 11   time period I have in my report in
     12         A. Yes, that is true.                     12   paragraph 90 talks about 2005, but I'd have
     13        Q. And PCPC responded to that              13   to pull this document.
     14    citizens petition in 2009, correct?            14            But I am citing to the
     15        A. They submitted comments. Is             15   deposition of Dr. Loretz, who was a PCPC
     16    that what you're asking me? Yes, they did.     16   employee, so I think I would need to pull
     17         Q. Yes.                                   17   this in order to confirm.
     18             And that was a cover letter,          18            But I see depositions of her
     19    correct?                                       19   and Dr. Nicholson as talking about them
     20         A. A cover letter -- that's all it        20   failing to disclose the financial
     21    was was a cover letter?                        21   relationship between their work and industry.
     22         Q. Well, attached to the cover            22        Q. So if Dr. Loretz did not
     23    letter was a report from Drs. Huncharek and    23   testify that PCPC had retained Drs. Huncharek
     24    Muscat?                                        24   and Muscat in 2005, you'd have no other
     25         A. Yes, that is true.                     25   evidence?


                                                                   92 (Pages 362 to 365)
                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS             Document 33000-16        Filed 07/23/24          Page 94 of 147
                                         PageID: 195719
               Confidential - Pursuant to Protective Order
                                           Page 366                                             Page 368
      1       A. I can't answer that                       1       Q. What evidence do you have of
      2   definitively, but this is what I would point     2   that?
      3   you to. So I'd have to pull these documents      3       A. Based upon the close
      4   to confirm, but I have -- both paragraphs 89     4   interaction between PCPC, Imerys and Johnson
      5   and 90 address these general issues for you,     5   & Johnson throughout these time periods when
      6   but I think that's the sentence and the          6   different actions were being taken to comment
      7   documents that I think would be relevant.        7   or to submit information on behalf of
      8   But I'd have to pull them to fully answer        8   industry.
      9   your question.                                   9       Q. Do you have a single document
     10       Q. The reason I ask the question            10   you can point to or is that an assumption?
     11   is because you frequently say "the cosmetics    11       A. That is something I seem to
     12   industry" without identifying a party or a      12   remember based on my review of these
     13   person. And -- well, I'll just leave it at      13   documents, but if you need a document, I
     14   that.                                           14   would have to -- have to go and look for it.
     15       A. And I guess the reason I'm               15       Q. Sitting here today, you can't
     16   saying I need to -- I'm questioning that it     16   recall?
     17   doesn't have to do with PCPC is because I am    17       A. I can't give you a specific
     18   citing to a deposition of their employee. So    18   document as I sit here today, no.
     19   I need to -- I would -- to affirm it, though,   19            MR. LOCKE: I have no further
     20   I'd need to -- I don't want to say that         20       questions.
     21   100 percent the answer to your question is      21            MR. MEADOWS: Yeah, short
     22   this is the evidence, but I believe that I      22       break. Maybe we're done, maybe we're
     23   would need to go here to confirm one way or     23       not.
     24   the other. But certainly I would -- this        24            VIDEOGRAPHER: We are going off
     25   raises suspicion about that for me.             25       the record at 4:30 p.m.

                                           Page 367                                             Page 369
      1       Q. You have no evidence that PCPC            1        (Off the record at 4:30 p.m.)
      2   ever retained the Center for Regulatory          2            VIDEOGRAPHER: We are back on
      3   Effectiveness; is that correct?                  3       the record at 4:45 p.m.
      4       A. I believe my evidence is hiring           4            CROSS-EXAMINATION
      5   through Imerys, but let me look to make sure     5   QUESTIONS BY MS. PARFITT:
      6   that is true.                                    6       Q. All right. Dr. Plunkett, good
      7       Q. Why don't you look at page --             7   afternoon. I know it's been a long day.
      8   or I'm sorry, paragraph 95, page 63.             8            Dr. Plunkett, you were asked
      9       A. That's where I am. That's                 9   throughout the course of the day about
     10   where I am, so let me read what I have here     10   different constituents which are part of the
     11   because it's been a while since I've read       11   talcum powder products.
     12   this paragraph.                                 12            Do you recall those questions?
     13             So the question is, do I have         13       A. Yes.
     14   in evidence this paragraph that PCPC directly   14       Q. All right. If -- without going
     15   hired the CRE?                                  15   through each and every one of different
     16             No, that is not provided by           16   constituents that we've talked about that are
     17   this paragraph.                                 17   contained or could be contained in the talcum
     18        Q. Okay.                                   18   powder products, if they are present, do
     19       A. However, in this paragraph,              19   those various constituents present and
     20   based on these documents that I'm seeing and    20   provide biologically plausible evidence that
     21   I'm -- my memory of what is discussed,          21   talcum powder products can increase the risk
     22   certainly I believe PCPC would have been        22   of ovarian cancer?
     23   aware of the interaction of CRE at these time   23            MS. BOCKUS: Object to the
     24   points when I'm talking about this event --     24       form.
     25   these events.                                   25            THE WITNESS: Yes, which is --


                                                                    93 (Pages 366 to 369)
                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16             Filed 07/23/24                      Page 95 of 147
                                      PageID: 195720
              Confidential - Pursuant to Protective Order
                                        Page 370                                                           Page 372
      1      I think I have a couple of paragraphs     1             CERTIFICATE
                                                       2
      2      where I talk about that issue. It has     3           I, CARRIE A. CAMPBELL, Registered
                                                           Diplomate Reporter, Certified Realtime
      3      to do -- there's other information as     4   Reporter and Certified Shorthand Reporter, do
      4      well, but that is a key piece of that         hereby certify that prior to the commencement
                                                       5   of the examination, Laura Plunkett, Ph.D.,
      5      information. And I focused on mode of         DABT was duly sworn by me to testify to the
                                                       6   truth, the whole truth and nothing but the
      6      action and additivity. That's on              truth.
      7      mechanism, biologic plausibility.         7
                                                                    I DO FURTHER CERTIFY that the
      8           So the fact that you have a          8   foregoing is a verbatim transcript of the
                                                           testimony as taken stenographically by and
      9      variety of constituents that have a       9   before me at the time, place and on the date
     10      known cancer hazard that share a mode         hereinbefore set forth, to the best of my
                                                      10   ability.
     11      of action, that increases your           11            I DO FURTHER CERTIFY that I am
                                                           neither a relative nor employee nor attorney
     12      confidence in the biologic               12   nor counsel of any of the parties to this
     13      plausibility of that relationship             action, and that I am neither a relative nor
                                                      13   employee of such attorney or counsel, and
     14      between ovarian cancer and exposure to        that I am not financially interested in the
                                                      14   action.
     15      talc body powders, yes.                  15
     16           MS. PARFITT: Thank you. I           16
                                                      17      ____________________________
     17      have no further questions. Thank you             CARRIE A. CAMPBELL,
                                                      18      NCRA Registered Diplomate Reporter
     18      very much, Dr. Plunkett. And a happy             Certified Realtime Reporter
                                                              California Certified Shorthand
     19      holiday to you.                          19
                                                              Reporter #13921
     20           THE WITNESS: Thank you.             20      Missouri Certified Court Reporter #859
                                                              Illinois Certified Shorthand Reporter
     21           MS. BRANSCOME: I have no            21      #084-004229
                                                              Texas Certified Shorthand Reporter #9328
     22      questions.                               22      Kansas Certified Court Reporter #1715
     23           MS. BOCKUS: No questions.                   Notary Public
                                                      23
     24           VIDEOGRAPHER: The time now is               Dated: 12/20/18
     25      4:47 p.m. This concludes the             24
                                                      25


                                        Page 371                                                           Page 373
      1       deposition, and we are going off the     1                 INSTRUCTIONS TO WITNESS
      2       record.                                  2
      3      (Deposition concluded at 4:47 p.m.)       3               Please read your deposition over
      4            –––––––                             4       carefully and make any necessary corrections.
      5                                                5       You should state the reason in the
      6                                                6       appropriate space on the errata sheet for any
      7                                                7       corrections that are made.
      8                                                8               After doing so, please sign the
      9                                                9       errata sheet and date it. You are signing
     10                                               10       same subject to the changes you have noted on
     11                                               11       the errata sheet, which will be attached to
     12                                               12       your deposition.
     13                                               13               It is imperative that you return
     14                                               14       the original errata sheet to the deposing
     15                                               15       attorney within thirty (30) days of receipt
     16                                               16       of the deposition transcript by you. If you
     17                                               17       fail to do so, the deposition transcript may
     18                                               18       be deemed to be accurate and may be used in
     19                                               19       court.
     20                                               20
     21                                               21
     22                                               22
     23                                               23
     24                                               24
     25                                               25


                                                                       94 (Pages 370 to 373)
                Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS                 Document 33000-16    Filed 07/23/24      Page 96 of 147
                                             PageID: 195721
                Confidential - Pursuant to Protective Order
                                               Page 374                                    Page 376
      1        ACKNOWLEDGMENT OF DEPONENT                  1          –––––––
      2                                                               LAWYER'S NOTES
      3                                                    2          –––––––
      4            I,______________________, do            3   PAGE LINE
          hereby certify that I have read the foregoing
      5   pages and that the same is a correct             4   ____ ____ _____________________________
          transcription of the answers given by me to      5   ____ ____ _____________________________
      6   the questions therein propounded, except for     6   ____ ____ _____________________________
          the corrections or changes in form or            7   ____ ____ _____________________________
      7   substance, if any, noted in the attached         8   ____ ____ _____________________________
          Errata Sheet.                                    9   ____ ____ _____________________________
      8
      9                                                   10   ____ ____ _____________________________
     10                                                   11   ____ ____ _____________________________
     11                                                   12   ____ ____ _____________________________
     12   ________________________________________        13   ____ ____ _____________________________
          Laura Plunkett, Ph.D., DABT DATE                14   ____ ____ _____________________________
     13                                                   15   ____ ____ _____________________________
     14
     15   Subscribed and sworn to before me this
                                                          16   ____ ____ _____________________________
     16   _______ day of _______________, 20 _____.       17   ____ ____ _____________________________
     17   My commission expires: _______________          18   ____ ____ _____________________________
     18                                                   19   ____ ____ _____________________________
     19   Notary Public                                   20   ____ ____ _____________________________
     20                                                   21   ____ ____ _____________________________
     21
     22
                                                          22   ____ ____ _____________________________
     23                                                   23   ____ ____ _____________________________
     24                                                   24   ____ ____ _____________________________
     25                                                   25


                                               Page 375
      1          –––––––
                   ERRATA
      2          –––––––
      3   PAGE LINE CHANGE/REASON
      4   ____ ____ _____________________________
      5   ____ ____ _____________________________
      6   ____ ____ _____________________________
      7   ____ ____ _____________________________
      8   ____ ____ _____________________________
      9   ____ ____ _____________________________
     10   ____ ____ _____________________________
     11   ____ ____ _____________________________
     12   ____ ____ _____________________________
     13   ____ ____ _____________________________
     14   ____ ____ _____________________________
     15   ____ ____ _____________________________
     16   ____ ____ _____________________________
     17   ____ ____ _____________________________
     18   ____ ____ _____________________________
     19   ____ ____ _____________________________
     20   ____ ____ _____________________________
     21   ____ ____ _____________________________
     22   ____ ____ _____________________________
     23   ____ ____ _____________________________
     24   ____ ____ _____________________________
     25


                                                                   95 (Pages 374 to 376)
                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16        Filed 07/23/24      Page 97 of 147
                                     PageID: 195722
               Confidential - Pursuant to Protective Order
                                                                                    Page 377

            A            311:10            128:12,13,16       108:7 292:23      agency 43:18,22
    a.m 1:15 6:7       acceptable          178:9 179:14       296:2               284:3
      25:10,11,13        119:25 311:22     179:21 242:19    addressing          agent 38:15,17
      94:23,24 95:1    accepted 78:15     add 21:2 53:19      130:25 193:14       39:20 220:25
      99:22,23,25        98:13 297:8       228:21             351:23              221:3 234:22
    abbreviation       accepting          added 47:10       adds 168:19           264:6
      108:4              351:25            54:14 68:1       adequate 112:14     ago 28:25 288:9
    ability 46:12      access 57:13        122:6 146:13       112:18            agree 45:21 59:5
      64:23 70:5,10      121:17 123:18     211:25 228:19    administered          73:13 78:9
      72:10 185:5        144:11 163:12     308:23             340:3               81:25 91:20
      210:13 213:20      164:13 246:7     addition 53:15    administration        106:20 135:24
      223:7,10           246:12            123:14 215:1       242:14              142:24 152:2
      254:11 273:23    accessibility       270:3            admit 134:24          154:13 157:2
      277:7 278:22       264:24           additional 10:3   admitting             159:2,8 173:15
      372:10           account 95:17       10:7 17:20         134:24              175:2,8 179:7
    able 39:8 42:15      100:5 131:12      20:22 21:2,6     adopted 213:12        179:13,15
      51:17 61:3         131:19,22         21:10,12,14,18   advance 122:5         180:2,4 181:3
      70:22 92:23        228:14 243:24     21:20 27:5         343:11              195:1,8 198:6
      123:19 125:6       246:18            32:12 33:14      adverse 128:2         203:5 207:16
      158:23 172:18    accumulated         55:14 68:15,16     139:4 140:16        210:5 213:4,11
      172:22 196:1       30:8              81:12 82:15        140:20 236:12       214:12 227:3
      225:1,10 226:5   accurate 66:13      94:7 97:14         242:15,22           228:13,24
      231:13 235:23      66:15 315:25      146:17 301:20      294:10              232:18 233:23
      239:5 265:23       316:6 322:22      331:8            advertising 44:8      234:20 238:8
      282:15 291:25      373:18           additionally      advice 44:13          241:11,24
      292:3 301:16     acknowledge         338:23             45:10,12,25         254:17 264:4
      305:24 359:6       105:18           additive 275:25     46:2,5,8,13         264:13,15
    absence 261:9      ACKNOWLE...         278:3 289:10       202:20 334:9        270:16 279:9
    absolutely 60:18     374:1             289:18 291:6     advise 45:17          287:25 293:25
      72:6,24 171:9    ACOG 192:3          292:14             297:15              294:7,14,23
      204:23 213:10    act 265:24         additivity        advising 45:13        295:1,9,20
      223:12 232:4     action 268:10       146:14 167:3     Advisory 355:8        307:20 308:3
      247:6,21 293:7     275:23 278:6,6    225:6 278:7      affect 72:10 99:3     309:9 311:1,6
      294:14 299:15      289:8 292:25      289:5 293:2        125:25 128:1        318:5 319:16
      304:22 305:3       295:5 370:6,11    370:6              150:7 168:18        319:21 320:2,6
      314:2 320:3        372:12,14        address 29:5      affiliated 26:9       324:15 332:21
      325:23 333:17    actions 368:6       30:20 73:23      affiliation 245:7     333:12 336:8
      334:22 348:23    active 27:12        78:5 134:17        354:23              339:11 341:4
      351:13 352:4       246:22            179:2 182:24     affiliations          342:9 343:20
    abstract 314:2     activities 31:6     217:10 220:11      245:2               348:21 353:13
    abstracts 313:18   activity 317:23     244:12 329:22    affirm 366:19         357:8 360:13
      313:22 315:1     actual 26:1 66:2    366:5            afternoon 19:5        360:15
    Academy              103:13 108:23    addressed 97:10     201:2,4 287:16    ahead 13:5,13
      352:24 353:14      121:18 166:22     275:2 287:24       369:7               13:15 358:11
      354:6,16,19        170:15 277:21     350:25           age 7:21            air 177:14,16
    acceptability        288:15,16        addresses         agencies 244:4      al 4:20
                       acute 126:5         103:17 105:4       269:6 290:13      Alabama 2:6

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16        Filed 07/23/24    Page 98 of 147
                                  PageID: 195723
               Confidential - Pursuant to Protective Order
                                                                               Page 378

    Alexandria 2:10   96:4 113:17      anatomy 216:13     139:19 140:5      4:3
    align 194:24      114:12 116:25     302:14            141:4 146:23     appears 65:19
      195:24          117:25 119:15    and/or 128:2       159:22 192:10     172:10
    allege 275:11     124:5 131:12      277:9             193:24 210:14    appendix 63:22
    alleged 126:21    131:16 137:4,7   Andersen 349:9     217:16 218:16     63:22 337:12
    Allen 2:2 3:18    139:12 143:1,4   Anderson 250:3     222:12 226:1     apples 120:8
    allow 82:18       143:9,10 144:3   Angeles 2:23       229:17 232:7     applicable
      144:3 158:9     144:8,14 161:5   animal 36:14       250:16 263:17     212:21
      172:6 182:13    161:24 162:4      37:15 68:5        273:16,20        application
      185:23 229:17   162:22,23         69:13 71:25       288:4,8 300:22    36:17 37:3
      230:3 232:8     163:8 164:16      88:4,14 101:10    308:18 309:6      64:24 67:10,16
      237:12 240:9    165:20 176:9      101:16,25         318:19 343:2      175:13 177:17
      240:13 300:18   176:10,20         104:5 115:4       355:10 359:4      181:20 184:12
    allowable         177:1,1 185:16    117:9 118:6,9     360:25 366:1,8    184:20 185:19
      311:14          201:17 203:12     142:6 156:16      366:21            186:8 203:22
    allowed 328:19    203:17 205:2      172:18 182:11    answered 45:2      212:22 214:15
      359:1,9         207:4 209:14      205:24 207:5      90:14 93:19       264:1 296:21
    allows 36:6 41:6  210:2,10,25       207:19 208:5      139:9 141:8       296:22 297:11
      176:17          215:8,18,22       208:16 217:1,6    237:7 261:2       299:1,9 300:11
    alternative       217:24 218:2,5    218:3,11,11      answering          300:16
      202:25          218:18,25         219:7 224:1,2     134:18           applications 5:1
    America 3:5       219:13 234:22     229:2 230:17     answers 88:22      200:10 211:12
    American 247:9    235:4,5,7         230:22 231:17     232:6 358:21      295:24 300:12
      351:12 352:24   244:24 246:8      231:20,23         374:5            applied 92:21
      353:14 354:6    247:21 248:16     232:5,12         anthophyllite      99:8 149:12
      355:3           248:23 255:22     237:20 238:22     254:1             173:16 183:3
    amount 298:11     259:4 263:17      238:22,23        anticipate         186:7 258:24
      299:2 300:14    265:18 266:7      240:7,9,12        176:23            299:5 302:15
      306:5 310:19    271:25 275:13     241:13 280:5     Antonio 3:4       applies 41:17
      357:5 358:17    275:19 277:13     291:17           anybody 45:15      91:10,13
    amounts 129:11    310:16 311:23    animals 101:12     84:12 160:25      298:18
      178:5,7,21      313:12 325:16     101:18 220:11     242:2 302:12     apply 38:25 40:1
      227:2 311:4     325:18 326:19     220:12 231:9      302:12            90:10 160:21
    amphibole         329:22 331:4      232:16 242:15    apart 76:14        207:18 214:3
      255:4           331:20,22         270:6,20 271:1   apologize 11:15    278:7
    analyses 257:20   332:2 333:5,6     271:8,10          64:8 105:10      applying 259:1
      311:20          333:7,10,13,14    279:24 291:21     201:13 251:12     301:2,9
    analysis 8:10     348:13,24        answer 24:16,18    298:14 313:15    approach 79:11
      31:24 34:7      357:23 358:1      24:22 25:1        319:8,10 323:6    205:21 212:23
      35:4,6,15,16   analyze 36:23      37:6 40:20        327:24 330:6      214:16 218:18
      36:22 38:4,12 analyzed 138:2      42:16 50:21       362:6            appropriate
      41:18 70:25     250:24 251:5      51:9 56:3 60:4   app 185:18         30:11 45:18
      71:9,14,21      266:11 348:17     68:13 78:6       apparent 223:6     47:5,16,25
      72:4 74:15,17 analyzing           83:8 88:25       appear 28:5        48:20 49:9
      74:19 75:2,10   141:14 154:16     92:23 93:20,23    68:3 303:1        50:2,19 51:20
      90:10 91:21     217:21 261:7      94:15,17 96:25    315:7             52:19 373:6
      93:14 95:5      357:25            112:3 136:5      APPEARAN...       appropriately

                Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16        Filed 07/23/24   Page 99 of 147
                                    PageID: 195724
               Confidential - Pursuant to Protective Order
                                                                                Page 379

      239:15             122:21 124:4     23:24 161:13       325:7 326:25     141:22 149:10
    approval 186:4       133:9 137:4      180:3 218:25       332:11 341:24    150:7,22 153:9
      298:1              184:2 249:25   asked 18:6 29:5      346:20 350:6     153:12 154:24
    approximately        250:12,24        29:19 30:3,6       353:25 358:22    154:24 155:2
      347:11             286:18 350:18    30:19 31:20        359:5 360:17     157:16 159:23
    approximation      articulated        44:7 45:1          360:18 363:16    165:21 169:23
      69:4               202:8            50:17 53:17      aspect 256:5       170:21 171:8,9
    area 30:14 35:12   asbestiform        54:19 55:1,6       346:18           171:10 173:7
      54:24 59:21        147:1,2,15       62:15,19 82:7    aspects 34:2       191:25 193:2
      61:16,16 62:4      148:24 149:17    89:1,2 92:9,24     216:19           196:24 197:12
      131:1 262:14       151:6 161:12     93:4,12 94:6     asphyxiate         197:13,21
      281:5 298:19       161:22 162:13    96:15 154:23       178:24           198:16,16
      334:7 337:21     asbestos 57:21     174:6 182:1      asphyxiation       199:5,10,25
      345:2 355:24       146:13 148:3,3   201:21,25          178:18,20        201:6,14 202:3
    areas 54:15          148:5,11,11      237:8 239:6      assays 257:19      203:13 204:5,8
      56:22,22 58:13     162:14 163:17    241:4 273:19     assess 52:25       204:11 205:8
      58:14,15 61:21     197:3 221:14     286:14 298:10      140:2 185:23     205:10,11,13
      61:24 81:17        224:16,17,22     322:13 323:4       235:22 282:6     205:15,23
      94:7 336:1         226:15,18        323:14,17,17     assessed 256:6     206:20 210:12
    argue 182:5          248:10 249:16    327:9 334:1,6      319:24           212:20 213:9
      224:12 225:25      249:21 250:9     334:10 340:16    assessing 35:21    214:1,4 216:3
      327:10             251:9,10         360:19 361:3       115:4 153:16     221:16 230:6
    argument             252:14 253:17    364:21 365:10      209:19 235:25    234:17 236:2
      188:19             253:18,23        369:8              355:20           238:5 244:20
    arising 181:1        254:3,9,20     asking 23:16       assessment 4:22    246:17 255:25
    Arlon 250:4          255:3,5,8,12     25:17 28:8,11      16:12 17:8       268:20 271:12
    Arndt 3:20 6:3       255:15,17,23     28:15 39:25        31:5 34:20       272:22 275:6
    arrived 12:10        256:4,12,21      40:2 41:16         35:11,13,24      275:20,24
    arsenic 267:1        257:6,16 258:6   48:25 49:3         36:12,14,18,20   278:8,20 283:3
      268:23             258:10,18,19     50:6,7,15,24       36:21 38:3,11    285:8,22
    article 26:7         259:4 260:1,11   71:6,8,11,12       39:3 40:24       289:11,14
      27:10 60:10        260:12,20,23     102:9 110:1,3      49:21 74:11      291:3,4 294:21
      63:4 68:19         261:9 262:7,10   113:23 134:5       75:21,22 76:1    294:24 314:12
      69:4,12 99:4       262:11,23        144:2 145:4,5      76:25 77:1       314:23 320:1
      135:21 251:17      285:4,5,8,16     168:2 176:15       78:11 79:3,5,6   321:24 323:19
      313:25 350:11      286:3,9          203:14 206:12      81:5 82:9        324:11,11,16
      350:24 351:4     asbestos-free      210:14 211:1,5     85:22 87:6,22    324:17,20
    articles 25:23       223:20 257:22    219:5 225:18       89:6 99:13       325:25 326:15
      26:1,4 27:6,22     258:22 260:16    229:12 233:8       107:3 114:20     327:20 328:1,6
      59:12,15,24        261:4            233:10,11          115:8,13,17,24   328:9,22
      60:20 61:6,18    asbestos-like      234:18 235:1       117:19 120:10    329:18 330:9
      62:16 63:11,18     250:10           236:25 260:18      120:11 122:1     330:19 331:3
      64:2 68:15,16    asbestos-only      271:1 274:20       122:23,25        331:25 332:14
      71:23 83:9         226:11 285:10    277:18 284:22      123:2,5 126:12   333:14 334:16
      87:13 98:11,11   ASHCRAFT           298:16 312:12      127:4,12         346:5 353:9
      100:14 103:21      2:8              315:12 321:11      135:16 136:6     357:6
      121:20 122:19    aside 11:20        321:13,15          138:7,19 141:6 assessment's

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16       Filed 07/23/24     Page 100 of 147
                                     PageID: 195725
                Confidential - Pursuant to Protective Order
                                                                                  Page 380

     assessments        attack 180:21      authorities       187:25 248:14     200:24 215:15
       85:9 99:9        attempt 88:25        66:19 81:22     251:15 261:11     246:15 273:16
       115:21 117:5       132:9 160:6      authority 45:9    308:9 320:23      276:16 280:4
       149:19 209:7       161:10,19          82:8            320:24 321:3      287:6,22 321:6
       230:20 273:17      171:1 172:12     authors 105:21    321:21,25         321:7 346:22
       277:4,5 329:10     182:2 187:13       105:21 117:19   322:6 343:1,4     355:23 364:5
       336:18 346:12      208:20,24          135:1 207:4     343:5 345:21      364:18 369:2
       351:7 360:8        214:20 224:24      209:1 239:19    346:14,15        background
     assessor 143:16      250:22             240:19,24       349:11 353:17     157:13 160:4
       167:6 334:3      attempted            245:3           354:9,20 355:1    171:21 172:11
     assign 78:12         165:13 215:2     authorship        355:5 357:20      199:13 260:1
       82:21 95:24        219:5 237:18       245:15          364:1,22          286:9 306:25
       97:3,6 105:19      240:23 243:9     automatically     367:23            336:15 356:21
       106:10,17          272:5,6 281:7      247:14                            357:14,17,20
       210:20,22          295:16 316:1     availability            B          badly 232:2
     assigned 79:7      attempts 130:15      283:13         baby 8:11 10:25   bar 352:15
       89:3 96:5        attend 344:20      available 21:11   19:9 34:12,18    barriers 232:23
       134:12 227:8     attended 344:6       21:13,15 53:23  37:2,2 40:12     based 18:3
     assisted 25:18       344:8,16 345:3     54:16 62:2      41:3 80:4         20:24 22:10
       25:21            attending 11:13      67:3 73:23      117:2,24 124:7    28:23 29:11
     associated 47:6    attention 84:17      86:17 90:25     126:14 133:21     30:22 32:19
       80:3 154:17        212:4 253:6        115:20 118:2    141:1 143:3       36:8,14 39:5
       157:3 178:15     attorney 24:8,14     121:22 138:4    144:7,19          39:11 40:21
       235:8              54:5 372:11,13     139:1 140:2     150:25 151:4      41:23 44:18
     association 4:19     373:15             141:12 156:23   153:23 155:17     48:6,11 49:14
       38:23 112:15     attorney's 25:4      165:23 170:5    157:4 160:23      50:22 71:15
       112:17,18,22       53:17              172:6,14        161:13 167:19     82:15 83:21
       119:5 204:1,3    attorney-client      187:24 194:10   169:10 170:8      85:8 86:6,19
       204:17 322:4       23:23              194:11 197:15   173:20 176:4      87:14 92:10
       326:17           attorney/client      224:13 235:19   176:23 180:5      94:18 98:24
     assume 89:9          54:4               237:11 248:20   188:11 198:2      105:15 116:5
       148:10 261:18    attorneys 12:8       251:4 253:11    248:1,5 249:11    117:13 118:3,6
       275:23 282:9       12:10 18:13        253:13 260:17   249:14,22         121:5 125:6
       294:21             22:14 23:17        276:16 293:24   250:14 251:16     126:12 140:1
     assumed 285:9        25:16,16 53:24     316:14 328:10   252:12,15         144:7 146:23
       317:4              54:19 116:8        331:1 337:4,6   308:19            150:14 154:1
     assumption           334:24             340:1 345:8    back 15:2,16       156:24 169:23
       282:8 368:10     attribute 315:1    average 302:8     17:14 25:12       172:16,22
     assurance          August 4:15        avoid 129:10      29:23 32:7        173:16 174:2
       222:14             14:16 20:3,9     avoiding 202:25   51:11,25 52:3     182:7,19 185:6
     assure 223:10        267:3            aware 68:10       61:8 63:18        187:22 191:10
     attach 180:14      author 27:5          108:1,5,10,11   68:20 69:6        194:19 197:22
     attached 5:3         105:7 240:2        109:8 120:24    74:11 94:25       205:2,24
       363:22 373:11    author's 16:14       122:10 131:20   99:24 118:12      207:25 208:4
       374:7              241:11             136:9 142:14    136:14 137:15     210:12 215:25
     attaching          authoritative        154:8 177:17    137:17,20         217:15,18,25
       180:19             336:12 339:17      177:19 178:17   146:7 188:6,23    223:5 225:9

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16          Filed 07/23/24      Page 101 of 147
                                    PageID: 195726
                Confidential - Pursuant to Protective Order
                                                                                     Page 381

      226:21 233:1      beginning           204:17 206:16    biggest 182:22        369:20
      245:2,22 247:3     206:22             207:24 209:8     bill 10:20 11:24    biology 294:17
      247:17 250:20     begins 64:2         212:2 213:7        12:1              biopsies 186:2
      257:17 258:7       267:13             219:8 222:14     billed 11:24        bit 31:11 35:21
      264:4 269:16      behalf 7:24 8:6     223:3 243:21     billing 10:3,7,15     37:8 38:10
      270:25 274:15      53:11 246:21       244:2 245:21       17:18 19:23         39:16 42:18
      293:16 297:8       248:4 287:10       247:18 248:16      20:14,15,17         53:5 81:18
      299:12,17          322:11 351:11      251:18,19          62:22               95:4 165:5
      301:11 302:14      368:7              254:23 257:7     bin 118:8,9,10        201:5 339:7
      304:25 307:1      belief 31:25        257:15 258:7       217:9,23          Blejer 250:4
      309:1 310:15       71:22              269:25 271:20      252:24,25,25      blood 264:12
      311:22 315:7      believe 10:1        276:15,17,22       254:5,6             312:3,21,23
      316:13 319:25      15:25 17:25        278:10 279:3     binning 216:16        313:3,10
      320:7,8 324:8      18:1 19:15,24      280:14 281:19      216:20,25         Blount 163:4,15
      327:10 328:10      20:12 29:11        283:7 286:13       217:14              250:2 252:5,11
      330:19,25          31:12 32:8         288:8 299:11     bins 118:8 217:2    Blount's 162:9
      334:6,7 342:14     33:16 39:9         299:17 300:6,9     217:18 281:7        249:6 251:15
      347:18 348:16      41:1 48:3 62:1     300:13 306:20    bioaccessibility      252:2
      356:13 361:9       66:14,19 71:16     308:24 314:6       265:2             board 105:14
      362:12 367:20      81:4,16 82:3       318:23 332:19    bioaccessible       Bockus 3:1 4:6
      368:3,12           83:9 89:23         335:16 336:24      264:8,10,13,18      7:10,10 94:12
     basic 35:25         93:19 95:11        337:13,19          264:21              287:15,18
      36:18 38:7         96:19 98:9,17      339:12 340:15    bioassay 232:4        292:10 293:10
      79:21 274:6        100:8 105:24       340:15,18        biocompatibil...      296:13 297:12
      323:17,18,23       106:1,3 108:21     342:6 344:18       266:18              298:15 299:23
     basing 49:25        109:3,12,13        344:20 345:2     biologic 34:4         300:19 303:11
      284:15             110:15 111:1       349:8 354:6        37:13 77:9          303:17 304:17
     basis 50:18,25      119:8 120:8,14     357:2,16           88:9 179:8          306:14 307:18
      61:11 98:16        134:17 139:9       366:22 367:4       193:1 194:2,7       308:1,10 309:7
      150:12 155:5       141:23 143:15      367:22             194:18 195:9        310:1 312:1,6
      200:15,15          143:24 157:12    believed 122:14      195:14,16           312:13 315:20
      232:12 258:13      157:23 158:13      273:13             268:11,11           317:1 318:24
      271:16 272:1       158:23 160:18    bell 206:5           289:3 314:20        369:23 370:23
      280:8 302:3,21     162:6,9 163:18   beneficiation        370:7,12          bodies 31:16
      346:3              163:20 173:6       131:13 132:1     biological 106:2      65:5 67:11
     Bates 22:6 58:25    175:12 181:15    Bergfeld 352:21      124:14 179:9        161:1 173:11
     bathroom 299:7      182:1,9,16,25      354:14 355:13      188:10,25           256:6,19
     Baylen 2:14         183:4 185:4      best 110:20          189:16 192:14       332:23
     bear 47:4           187:21 188:20      159:21 372:9       194:14 195:2      body 21:23,24
     Beasley 2:2 3:18    189:5,6,14       better 110:18        195:12 196:6        22:4 36:5
     Beattie 2:4 6:22    190:19 191:3       228:10,11,12       219:23 278:12       41:17,18,19
      6:22 18:17         191:10,14,16       230:21 357:11    biologically          63:20 67:15
     beauty 145:7        192:6,7,23       beyond 220:14        42:10,11 189:8      78:22 118:21
     becoming            196:12 197:18      220:15,22          191:22 194:2,6      121:14 125:18
      220:19 223:6       198:19 199:9       235:14 327:19      194:24 196:12       128:18,19
     began 23:7          200:12 201:22    bias 245:22          221:19 227:18       129:15 130:14
      31:24 317:8        203:24,25        big 263:13           229:14 277:6        146:20 150:10

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16         Filed 07/23/24    Page 102 of 147
                                  PageID: 195727
                Confidential - Pursuant to Protective Order
                                                                                Page 382

      154:11 161:20    91:6 93:10,24    brief 286:16       107:23 108:2      173:21 176:3
      162:25 164:8     94:20 95:2       briefly 17:16      151:2 202:2       179:10,23
      170:3 173:9      96:17 99:19       287:23            206:1             180:25 181:12
      175:21 192:21    100:1 106:8      bring 9:23 10:2  calling 112:16      188:13 189:1
      198:21 219:18    107:7,21 111:6    16:11 157:15    calls 24:16         189:18 190:2
      228:4 232:20     111:16,24         201:12 251:13   Campbell 1:16       190:12 191:1
      233:17 253:4     113:24 118:23    bringing 105:12    7:18 372:3,17     191:12,23
      256:15 265:16    121:19 127:13    brings 77:22     Canada 5:2          192:5,17 193:4
      283:1,9 293:18   130:8 131:24      155:1             16:13 17:5        193:5,18
      295:14 301:15    133:3 134:8      broad 227:5        117:20 201:6      194:15,23
      301:16 306:23    135:19 137:2     broader 29:14      201:14,17,25      196:2,7,22
      313:2,9 316:14   137:14 139:7      134:6 326:5       202:10 204:13     198:3,23 200:5
      318:3 320:7,9    140:3 142:11     broke 140:7        204:25 205:6      202:12,19
      325:24 329:3,4   144:1,20         broken 100:18      205:10 206:20     203:7 204:16
      370:15           145:15 146:1     brought 16:20      211:8,12 212:8    207:22 208:23
     body's 228:14     155:11 156:20     169:19 349:10     282:23 283:21     220:1 221:3,10
     bottle 145:3      158:11 160:1     bucket 324:3       284:13            223:1 227:14
     bottom 267:13     161:3 162:20     buckets 323:23   Canada's 4:21       227:21 228:9
      318:15 359:10    164:6,15 166:1    329:9             284:7             229:20,21
     Bouquet 142:22    167:15 171:16    bullet 15:19,21  Canadian 78:25      232:3 236:20
      143:2,14 144:5   174:4,13 176:8   bullets 135:9      79:4 87:12        237:4,15
      144:8,13         180:1 181:9      burden 313:2,9     89:11 90:21       238:10,13
      145:13 163:21    183:11 185:15    bursal 101:19      91:19,20 93:14    239:19 240:15
      164:2,10         187:11 188:1,8                      191:25            241:23 254:12
     Bradford 74:14    190:22 193:21            C        canal 180:9         254:23 256:8,8
      74:17,18,21      196:3,18         C 2:1            cancer 4:20,23      256:23 258:1,4
      75:2,9 114:20    199:15 200:19    cadmium 267:2      4:25 34:13,19     260:21 264:8
      159:14 194:8     201:1 211:16       268:24,25        34:19 36:13,15    269:1,18,19,23
      195:9 196:17     215:14 221:23    calculate 36:15    37:4 40:14        270:12 271:15
     brand 164:8       223:23 234:5     calculating        41:4 57:1,1,2     271:16 272:2,3
     brands 162:24     234:19 238:19      88:14            57:21 61:17,18    272:13,18,19
     Branscome 2:21    241:9 242:6      calculation        61:20,20 62:9     272:25 273:6
      4:5 7:14,15 8:2  253:15 255:21      259:7,9 263:25   80:5 86:22        273:10,12,13
      8:6,15 13:14     259:11,20          264:3            88:15 107:9,12    273:15,21
      13:19 16:18      260:24 261:14    California 1:18    107:17 108:6,8    274:1,13,14,25
      17:11 23:19      262:1 263:4        2:23 349:13      109:18 110:5,7    275:7,17,20
      24:10,21 25:2    270:23 279:8       372:19           110:13,24,25      276:6,14 278:7
      25:6,14 28:16    280:7 282:14     call 30:14 35:14   111:2 112:6,8     279:20,23
      29:15 32:14      284:5,24 287:1     54:3 64:6,7      112:24 113:10     281:14,22
      33:11 39:14      287:8 370:21       77:1 92:6        119:6 124:6       282:19 285:4
      40:3 43:1 45:7 break 76:14          118:7 124:16     125:10,12         285:17 286:5
      49:4,24 50:16    94:12,19           252:25 307:24    127:21,23         286:11,19,23
      51:15 53:3       100:12,20          309:3,4 310:21   149:19 151:21     288:20,24
      56:14 59:4       169:17 287:2       311:13 336:8     156:11,15,18      289:7,14
      73:12 74:9       362:21 363:1     called 20:16       157:6,9 158:3     291:11,12,13
      75:6 87:1        368:22             26:9 35:11       160:4 165:10      291:18 294:17
      88:19 90:2      breaking 137:24     53:17 63:18      169:4 171:23      294:20 306:19

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16           Filed 07/23/24     Page 103 of 147
                                      PageID: 195728
                Confidential - Pursuant to Protective Order
                                                                                       Page 383

       306:24 312:8       7:5                  262:17 334:24      195:5             40:23 42:5,23
       319:19 321:2     caroline.tinsle...     346:22           causes 34:13        51:25 59:22
       322:5 324:7,12     3:13               Cashmere             38:15 110:25      70:18 71:13
       324:12,22        Carrie 1:16 7:17       142:22 143:2       220:25 286:18     73:4,24 74:20
       325:2,17 326:1     372:3,17             143:14 144:5,7   causing 157:6       76:24 79:13,20
       326:5,24 327:6   carried 264:12         144:12 145:13      196:21 208:23     81:25 83:17,19
       330:1 331:5      carry 170:23           163:21 164:2       260:20 266:2      85:7 86:5
       332:7,15           313:1                164:10             270:13 275:16     87:12 89:22,22
       335:17 369:22    carrying 245:13      categories 31:20   caveat 198:24       91:25 98:17
       370:10,14        Casarett 289:20        56:19,21 138:8   cell 220:3,7,8      99:11 101:3
     cancers 270:8        290:4,5,15,16        208:17,25          221:25 222:4,4    116:20 119:17
       271:20,21          290:18               210:7,17           222:9 228:24      123:20 128:23
     capability         case 10:10,24          215:17,20,25       233:1,4,14,16     129:25 130:12
       140:19 279:22      19:16,18 32:17     categorization       233:24,25,25      135:12 136:9
     capable 181:25       40:12,14 60:13       209:24             234:8,10,14,16    137:23 138:1
       266:1 275:16       85:13 91:14        categorize           237:21 279:19     138:16 143:12
     capacity 312:24      96:12,14 97:11       141:13 210:11      279:20,20         143:13 144:13
     carcinogen           97:18 116:8          326:3              281:16            149:9 150:3,6
       197:6 271:18       122:8 126:24       category 151:6     cells 224:2         150:21 153:10
       280:25 281:21      173:17 226:11        197:8 210:23       228:10,21,22      153:13 155:22
       281:24             226:12 230:19      causation 34:1,7     233:10,16,20      158:21,24
     carcinogenesis       231:11 232:8         35:1,6,15,15       233:20,21         160:20 162:2,3
       227:25 272:12      236:17 237:13        36:21 37:21        281:18            167:5,9 168:5
       274:6 277:6        239:3 255:17         38:4,11 39:2     cellular 220:6      169:13 172:23
     carcinogenic         268:16 287:19        41:18 79:11        228:16 314:9      173:8 175:18
       88:10 148:7        311:7 318:8          119:14 192:16    Center 367:2        177:19,24
       197:3,10 198:7     329:2 335:6          203:12,17        certain 12:15       178:1 179:21
       220:20 256:3       342:12 357:25        285:18 326:19      15:11 34:2        184:7 185:22
       256:10 257:11      360:21,24            331:20,22          38:2 44:15        187:23 191:9
       268:18 278:2     case-by-case           332:2 358:1        53:18 77:17       200:12 209:4
       279:17,18          98:16 155:5        cause 34:3 37:3      78:14,17,18       216:18 219:3
       282:1,19 288:3   case-control           75:14 110:15       84:19 99:1        223:15 227:17
       288:13             79:16 113:3          110:16,22          114:15 125:2      227:24 229:21
     carcinogenicity    case-specific          128:9 189:1,18     131:7 140:15      230:5 234:13
       151:9              304:3 305:7,22       190:11,25          140:16 150:1      235:21 245:4
     carcinogens          305:25 306:2         196:6 220:1        151:4 152:17      245:17,20
       254:16 256:13    cases 1:7 11:2,5       221:3 254:12       153:3,5 159:17    246:24 248:19
       256:17 269:7       11:9,19 19:19        264:22 269:17      175:10 190:1      249:15 252:23
       275:12,22          29:14 33:21,23       269:18 270:1       216:4 219:9       253:5 254:15
       276:11 280:20      78:18,19 82:6        270:12 272:2       225:3 226:16      257:18 260:8
       282:9              82:10 85:16          273:10,13          228:23 231:8      263:5 270:17
     Care 3:10 7:4        92:15 116:19         276:6 286:4        232:22 237:24     273:3 277:19
       31:1 319:6         134:25 135:5         314:17 324:6       253:4 271:10      294:23 298:25
     careful 225:12       178:16 179:17        325:1,17           294:19,20         305:10,17
       315:23             227:25 231:23        326:24 327:5       311:23 320:22     312:22 314:11
     carefully 373:4      245:25 248:10        332:7            certainly 25:24     315:9,17 317:5
     Caroline 3:12        262:3,5,8,12       caused 181:12        32:20 38:1,7      317:19,21

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16          Filed 07/23/24     Page 104 of 147
                                      PageID: 195729
                Confidential - Pursuant to Protective Order
                                                                                      Page 384

       318:5,8 319:25     301:19 373:10       178:22 297:1       97:13 99:14        63:11,18 64:8
       323:15 326:9       374:6             Chinese 136:23       100:4 120:3,10     64:13 66:12
       332:16 336:16    changing 53:5       choose 20:18         120:24 121:21      68:16,17,19
       337:19 339:2       55:12 222:3         119:25             122:3,3 210:18     77:19 82:25
       339:21 340:17    chapter 76:9        choosing 130:24      245:4 336:7,12     90:19 118:18
       343:5,7 346:12     290:3,19 291:2      202:24             336:15,20          120:18 121:18
       351:2 353:10     characteristic      chose 46:11          337:1,5 339:16     176:19 177:11
       353:18,24          148:12              106:10 118:13      340:3,5,10,19      206:19 212:14
       354:10 366:24    characteristics     chosen 174:1         341:9 342:2,21     276:2 280:15
       367:22             70:4 71:25        Chris 6:24           343:11,18          292:22 315:8
     certainty 37:21      92:11 131:7       CHRISTOPH...         344:2 345:18       315:10
       41:3 157:24        132:10 134:20       2:13               345:25 346:7     cites 339:16
       173:6,18 185:8     147:25 148:1      chromium             346:15 347:5     citing 66:19
       186:16 222:13      148:19 149:6        224:15 263:18      347:10 349:4,4     69:12,16 73:1
       259:23,24          209:7 224:20        267:1 268:1        353:6 355:14       139:14 141:23
     CERTIFICA...         233:18              271:17 276:17      356:8              242:10 243:20
       372:1            characterizati...     278:25 312:4     circumstance         277:3 290:15
     Certified 1:17       198:1,6 203:5       313:10             98:18 231:20       290:16 338:2
       1:19,20 372:3      247:24            chronic 72:20      circumstances        339:2 349:17
       372:4,18,19,20   characterize          126:6 128:12       91:11 97:5         365:14 366:18
       372:20,21,22       37:18 70:14         179:15,22,23       155:14 231:17    citizens 359:20
     certify 372:4,7      75:18 119:16        186:25 187:17      231:19             361:19,21
       372:11 374:4       188:10 248:4        189:20 190:4     citation 27:16       362:10 363:2
     cervical 180:9     characterized         190:12 191:1       66:13,15 67:21     363:10,14
     cetera 170:7         198:5               192:13 196:7       99:1               364:25
     CFR 46:21 47:2     characterizing        198:25 199:16    cite 33:14 48:16   claim 188:11
       47:25              198:4               199:19,21          48:25 65:21        222:18
     chair 355:7,13     chart 89:16,21        200:14 219:25      68:24 76:6,6     claimed 96:19
     chance 226:15      check 279:4           220:5,22           76:16,17 85:23   claiming 223:18
       327:13           chemical 220:13       222:23 227:19      118:13 123:20      253:8 344:21
     change 36:8          228:8 266:6         305:12,13          126:20 133:4     claims 222:20
       81:11,14,25        281:13 294:8,9      307:4,10,11,12     141:21 142:20    clarify 63:24
       82:14 168:16       294:11 295:11     chronological        212:11 241:14    classification
       220:2 221:24       295:13              14:5               250:6 266:16       271:17 280:9
       222:8 225:24     chemical-grade      chronologically      266:16 274:17    classified 197:2
       256:22 279:19      227:7               62:10              274:23 285:12      269:5 288:1
       293:8 316:11     chemicals 166:5     chrysotile           285:13 289:20    classify 309:12
       317:14,17          166:10,25           253:24 254:23      290:3,6,14       classifying
     CHANGE/RE...         167:8 281:6         254:25 255:5       295:20,21          208:15 215:16
       375:3              290:22 292:25       309:24             313:18 336:12    clause 47:15
     changed 109:21       294:2,19          ciliary 180:10       336:20 338:21      50:1,9
       110:10 164:18      336:21 337:2      CIR 31:10 49:20      339:20           clear 78:25 87:3
       164:21 165:9       338:10,12,16        57:8,22 65:10    cited 12:14          239:20 256:25
     changes 45:19        346:6               65:23 66:2,6       15:19 16:1,9       262:16 323:11
       81:15 88:9       Chemistry             66:12,22 67:7      17:3 20:23       cleared 311:19
       165:2 220:6        247:9 351:12        67:14 95:4,17      21:23 22:2       Cleveland
       276:12 279:12    children 178:6        95:25 96:21        33:15,18 54:22     354:16,19

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16          Filed 07/23/24    Page 105 of 147
                                    PageID: 195730
                Confidential - Pursuant to Protective Order
                                                                                   Page 385

     client 52:8          306:6             50:8 56:18,25      129:3             24:17 40:25
     clients 44:6       coming 84:22        57:12,17 58:5    component           96:5 97:4,6
       214:1 312:18       179:6 343:13      59:8 123:3,8       127:19 132:2      98:20 170:2
       334:9 346:2      commencement        123:13 136:19      149:21 169:12     189:7 198:11
     clinical 238:11      372:4             144:11 158:8       171:15            198:19 212:5
     clipboard 26:13    commencing          161:8 165:1      components          212:17 221:2
     close 368:3          1:15              166:21 167:25      132:2 146:17      241:12 258:14
     co-occur 225:14    comment 48:18       177:12 244:3       152:13 163:1      305:25 320:3
     coating 175:15       242:3 243:15      318:1 321:14       164:17 166:4      320:10
     cobalt 221:14        271:5 341:2,6     324:9 325:12       167:19 168:8    conclusions 41:7
       224:15 226:20      360:11 368:6      325:19 326:4       169:6,18,25       85:8 95:25
       267:1 268:1      comments 27:17      328:5,23 330:5     170:6 171:3       97:12,14 98:4
       276:17 278:25      341:16,19         334:11 352:1       174:19 190:1      98:21 99:11,15
       280:3 312:4        342:21 343:7    compare 144:4        205:16 222:8      99:16 119:22
       313:10             343:17,22,25      156:18 176:21      224:5 226:10      138:12 140:1
     cohort 113:3         345:17 363:15   compared 33:5        227:2,10          141:19 152:11
     cold 301:9,18      Commerce 2:5        164:4 204:11       228:19 247:25     168:17,18
     collect 312:17     commercially        229:9 231:4        248:5 293:24      202:16 230:1
       329:16             251:4           comparison           310:11            233:1 234:9
     collected 70:14    commission          161:25 176:11    compound            240:20 319:22
       77:9 226:2         374:17            176:16,18          39:13 269:17      320:17,18
       239:10,11        committee           177:13 266:13    compounds 34:6      339:1
       241:6 257:17       340:6,10,14     comparisons          189:21 225:5    concordance
       258:9 260:13       355:9             348:5              270:11 272:17     271:4
       260:15 270:4     common 48:2       compilation          273:22 275:16   conditions 39:12
       271:8 273:1        115:3 140:12      61:10              277:8 279:12    conducted 58:5
       296:8 300:17       199:23 213:23   complete 28:14       338:17            181:18 244:2
       328:13             254:2             59:6 73:2        comprehensive       246:20
     collecting 229:7   commonly            170:12 270:11      328:9           confidence 40:7
     collection 202:8     313:5             320:1            computer 26:19      230:1 370:12
       211:7 212:7      communicatio...   completed 91:22      56:9,13         CONFIDENT...
     combination          23:17             93:15 201:9      concentration       1:9
       168:22           community         completely           295:4 347:18    confirm 14:9,17
     combine 65:20        98:14 106:23      163:3 179:8      concept 280:19      14:24 74:13
     combined             114:15 115:2    completing 23:8      283:17 289:5      106:6 181:18
       201:20 202:1       182:9 183:1     complex 125:17       290:20            288:6,11
     come 17:14           190:11,25         146:12,17        concern 223:14      361:16 362:22
       58:16 85:8         192:15            151:24 152:2     concerned 52:21     362:24 365:17
       98:19 99:10      companies 31:3      153:7 167:8      concerns 48:10      366:4,23
       117:6 121:13       31:22 32:1        168:21 169:15      323:21          conflict 349:21
       146:15 193:12      43:13 46:3        225:7 226:3,9    conclude 241:17     350:7,9 351:2
       219:19 320:2,9     51:5              226:22 256:2     concluded 196:5     352:3,3
       335:8            company 30:9        256:15,16          239:20 322:3    conflicts 247:11
     comes 123:12         30:23 43:4,15     257:3,9            371:3             349:5 353:7
       197:11 285:14      44:1,16,19,23   compliance 44:1    concludes         confused 333:11
       301:22 328:5       45:9,15,22,23     44:24 46:11        370:25            338:1
     comfortable          46:4,9,11,12    complicated        conclusion        confusion 64:9

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 106 of 147
                                     PageID: 195731
                Confidential - Pursuant to Protective Order
                                                                                     Page 386

       252:10             145:9 152:23     consultants        contend 100:4       74:15 75:3,12
     connected            153:3 156:4        361:10 362:16      121:1 169:9       78:13 79:8
       333:11             159:15 173:12    consulting 336:2   content 26:24       80:11 84:2,6
     connection           191:12 194:20    consumer 35:12     contents 262:19     84:10 85:24
       10:17,23 108:8     221:10             125:20 126:13    context 93:22       86:5 87:7
     consensus          consistent 49:16     126:23 127:9       115:19 205:23     91:23 93:16
       181:11 190:10      49:18,19 79:14     127:17 129:4       207:20 213:6,8    95:6,13 96:1
       190:24 191:10      88:10 90:22        129:13,15          213:11,25         96:21 105:22
       191:17,19          119:9 130:2        131:15 132:4       216:22 218:20     107:9,13 108:3
       192:16,25          172:25 187:6       132:11,22          221:9 271:7       108:9 109:10
       193:7,15           190:2 191:17       137:9 142:21       307:6 308:19      113:18 118:15
     consider 24:11       191:19,24          144:5 153:20     context-specific    118:25 119:6
       27:6 30:2 42:6     192:2,6,8,23       154:5,14           212:19            121:23 124:7
       42:20 93:8         193:6 194:8,14     155:23 156:2     continual           124:15 126:14
       95:7 96:6 97:1     196:16 200:17      157:19 158:15      299:20            126:24 133:12
       97:7,7,19          209:15 217:13      159:4 161:13     contribute          134:7 136:2
       100:14 115:16      218:17 305:15      164:20 172:15      104:3             142:13,17,18
       115:22 122:23      323:25 338:22      175:5,21         contributes         142:22 144:23
       132:25 135:6       339:3,13           176:14,23          104:8,12          152:5,15 159:6
       151:7 155:4      consistently         178:3,11 180:6   control 209:16      161:5 164:10
       167:4 209:19       41:12              226:12 317:25      209:17            164:12 166:8
       234:14 246:24    constituent        consumers          controls 83:13      170:9 171:4,19
       247:17,21          150:1 152:4,12     30:11 167:13       218:4             173:21 174:8
       248:2,19,21        152:14 163:1       327:16 328:25    conversation        175:6 178:18
       252:22 255:7       164:17 167:18      330:25             168:7             179:11 180:15
       313:22 334:18      169:6 170:6      contact 187:16     convince 82:3       180:24 192:17
       334:21             174:19 222:8       231:13 264:17    copies 14:2 18:8    195:5 196:22
     consideration        224:3 226:6,7      274:8,8 295:18   copper 117:11       197:4,6 201:10
       38:24 39:1         227:1 247:25       296:23 297:3       117:11,14,16      204:19 205:18
       288:23,25          262:10             299:3              117:25 217:3      207:6 213:3
     considerations     constituents       contacts 264:25      226:19            219:2 221:3
       36:24 87:16        29:22,25         contain 10:15      copy 13:21          225:24 227:2
       114:21 224:10      127:15 164:3       13:23 59:6         16:11,20 111:7    228:16 233:5
     considered           164:20 169:18      145:18,21          111:10            234:22 236:15
       35:18 87:5         189:22 221:9       256:21 277:23    cornstarch          238:13 244:5
       89:5,17 96:20      225:15,22        contained 9:15       72:18 266:1,10    251:1,17 261:9
       107:11 120:17      256:16 263:16      10:13 33:7       correct 10:11       262:4 263:6
       120:25 167:12      273:2 274:16       66:10 75:17        14:19 15:1        264:9 269:7
       177:2 241:14       274:23 275:10      122:18 209:22      19:16 20:5        270:13 276:6
       305:9 311:22       276:10 277:11      251:7 369:17       22:16,22 23:10    278:15 279:13
       355:14             277:14,23,25       369:17             34:14 35:1        282:2,20
     considering          278:15,18        containing           43:5,22,23        283:18,23
       48:9 124:5         289:15 369:10      197:2 225:13       46:13 47:12,20    284:17 287:21
       165:22 325:1       369:16,19        contains 74:25       47:21 51:22       288:23 289:18
       346:5              370:9              93:13 166:10       59:9 60:23,24     290:9 291:8
     consistency 41:9   consultant         contamination        63:6 67:22        292:18 293:13
       87:25 119:18       45:22 344:25       249:16             69:19,22 73:16    296:16 298:3

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16        Filed 07/23/24     Page 107 of 147
                                     PageID: 195732
                Confidential - Pursuant to Protective Order
                                                                                   Page 387

       307:22 308:5       336:13 339:17    Cralley's 338:11   200:15 296:16     238:22 240:6,6
       308:14 318:22      344:25 346:21      338:21 339:9     301:8             240:7 251:6
       321:2,9,19         347:1 359:23     Cramer 342:20 damage 178:21          254:18,18
       322:19 329:10      360:4,7,19         343:1,3 365:6    228:5,23 231:3    255:2,15
       330:1 331:6      cosmetic-grade     crappy 232:2      data 36:4,5,12     257:17,19
       332:8 336:13       135:14 138:17    CRE 362:2,3        36:14,22,23       258:8 260:9
       337:8 340:6,7    cosmetics 30:7       367:15,23        37:8,16 38:25     265:19 270:3,4
       340:10,20          43:12 44:2,25    create 276:12      41:6,10 61:17     270:7,11 271:6
       341:21 342:5       46:17 161:16       306:8            70:19 76:14       271:8 272:25
       343:12,19,23       328:3 335:10     criteria 212:21    77:5,8 84:19      273:15 275:5
       348:22 349:6       336:22 366:11    critical 236:8     88:2 92:21        276:2,15,18,23
       356:11 359:17    cosmetics'           295:12           101:9,10          280:1,6 281:20
       359:19,24          346:19           criticism 353:11   104:16 106:24     282:7 289:12
       360:4,12 361:5   cosponsor 361:4    criticisms         107:24 114:2      293:21 296:8
       361:10,15,25     Council 3:10 7:4     348:25 349:1,3   114:19 115:21     297:15,19
       363:14,19          31:2 247:10      criticize 88:7     118:9,10          299:18 300:17
       367:3 374:5        319:6 351:12     criticized 84:1,9  119:17 120:12     301:15 302:13
     correction         counsel 2:19,24      348:20 352:20    124:9 138:5       302:23 305:1
       245:24             3:5,10,15 6:16     353:4            140:9,11 145:7    306:21 307:1,2
     corrections          122:10 287:11    criticizing 353:5  145:7 151:1       313:23 320:7,9
       373:4,7 374:6      322:12,13          353:6            153:19,19         328:12,14
     correctly 63:3       346:8 372:12     critiqued 365:5    157:16,17        database 53:16
       112:25 113:1,5     372:13           cross 56:1         158:7,13          53:25 55:24
       204:14 212:24    counted 339:23       180:11           163:12,13,14      56:2,5,10
       236:14 289:22    couple 100:9       CROSS-EXA...       170:5 171:3,7     57:13,18 58:23
     correspondence       269:22 287:23      369:4            172:6,8,8,13      79:19,23
       27:13              290:6 319:7      crosses 40:7       172:16,23,23      117:11
     cosmetic 43:9,11     320:12 370:1     CROW 2:2           173:10 174:3     databases 54:8
       44:11 46:10      course 204:24      CTFA 31:2          177:3 182:16      58:5
       47:3 133:11        250:7 299:2        361:4            182:17 187:24    date 1:16 6:6
       134:14 135:11      369:9            ctisi@levinla...   194:21,22         9:11 111:14,19
       140:18,25        court 1:1,20         2:13             195:22,22         260:8 307:9
       142:2,3,13,15      6:12 7:17        current 5:1        205:24 209:8,9    372:9 373:9
       142:20 145:20      39:19 137:20       202:7 211:12     216:4,10,14       374:12
       150:25 161:20      213:16 372:20    currently 44:7     217:1,5,16       dated 9:10 14:8
       162:25 164:8       372:22 373:19    customers          218:11,12,14      14:15,21 19:14
       184:12,19        courtroom            318:21           218:15 221:18     267:3 372:23
       185:17 187:17      286:25           CV 354:21,25       221:21 223:2     dates 57:7,8
       188:12,25        cover 31:11 70:2     355:5,11         225:1 226:2,14   Daubert 8:10
       189:17 190:11      362:1 363:18                        229:25 230:2,3   day 80:10 298:3
       190:25 197:2       363:20,21,22              D         230:4,7,10,13     300:1,15
       202:11 203:5     covered 32:9       D 3:19 337:12      230:13 231:2      303:21 369:7,9
       204:16 232:19      61:24,25 74:12   DABT 1:13 4:13     231:14,17,18      374:16
       233:2 308:12     covering 59:21       4:15,17 7:20     231:19,20,23     days 122:5
       309:5 322:18     Cralley 250:5        372:5 374:12     231:24 232:5      373:15
       322:18 324:4       337:8,17,18      daily 178:10       237:17 238:16    DC 3:9
       324:10 336:6       339:16             187:5 199:22     238:18,20,22     deal 52:11 69:21

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16          Filed 07/23/24     Page 108 of 147
                                      PageID: 195733
                Confidential - Pursuant to Protective Order
                                                                                      Page 388

      125:3 155:23       237:19,21           269:21,21,22      describe 28:12      223:24 224:6
     dealing 49:15      definitely 85:10     269:24 296:20      28:13 29:16        224:11 241:2
      51:5 61:17,19      95:15 153:12        297:5,6 320:4      37:24 43:11        291:20 297:23
      131:10 156:1       278:18 308:8        334:23 335:5       47:23 77:14       designed 42:15
     deals 168:20        323:16             deponent 6:14       86:9 91:16         209:15 230:17
     dealt 54:18        definition 48:2,4    374:1              101:16 102:7       232:2,8 239:5
      57:13 145:12       128:20 237:1       deposed 261:21      103:2 104:14       239:15 240:18
      271:14             253:16,18          deposes 7:23        105:10 112:15      291:8
     deaths 178:16       264:11 281:21      deposing 373:14     117:5 135:1,21    desirable 132:11
      178:18             283:11             deposit 184:22      144:17 148:6      detail 9:18 66:23
     December 1:8       definitions         deposited           148:18 149:5       70:3 90:9
      6:6 10:20 11:1     196:15              184:13 185:20      185:3 189:19       93:13 94:3
      111:17            definitive 195:4     296:10,15          196:11,15          128:5 166:4
     decide 26:20       definitively         297:16             249:2 253:19       214:2
      42:4 334:25        189:2,5 227:15     deposition 1:12     289:2 334:2       detailed 215:7
     decided 60:2        227:17 366:2        4:11 5:3 6:8      described 21:24    details 93:22
     decision 45:5      degree 41:2          8:9,17 9:8,10      31:15 45:10        109:25 120:21
      56:15 67:20        157:23 173:18       9:16 10:4,8,9      48:8 49:17         132:7 208:12
     decision-maki...    185:8 186:15        10:14 11:4,6       51:13 56:25        222:1 345:6
      43:21,25 44:23     259:23,24           11:13,15,21        58:16 79:3        detect 42:19
      45:8 284:8        demonstrate          12:2,3,5 13:1      103:23 104:6      detectable
     decisions 97:16     183:14              14:6,11,14,25      104:11 130:12      310:14
      205:1 213:10      demonstrated         15:6,6,9 16:22     143:11,12,14      detected 170:24
     deemed 373:18       69:14 220:25        17:13,17 19:24     145:3 148:5        258:16 310:6
     Defendant 2:24      274:24              20:4 22:18         152:19 164:25     detecting 310:25
      3:5,10 7:24       demonstrating        35:10 111:9        196:10 219:6      detection 151:1
     defendants          73:14               112:5 122:5        219:15 242:20      151:3 250:9
      248:4 320:16      departure            206:15 211:18      245:16 266:15      258:21 310:15
     defense 85:14       117:12              211:21 216:2       329:8 330:4       determine 38:15
      247:1,16          depend 96:14         251:19,23          342:15 352:5       162:5 163:8
      248:17 261:6       230:11 299:2        252:3,6 261:23    describes           223:8
      261:22 320:25     dependent            263:23 266:22      141:15            determines
      335:23             155:8 226:18        280:12 365:15     describing          294:9
     defenses 228:15     231:21              366:18 371:1,3     49:19 83:22       determining
     define 39:24       depending            373:3,12,16,17     87:22 119:23       36:5 86:18
      48:19 169:11       137:1 150:11       depositions 18:8    120:13 133:17     develop 176:2
      199:16 236:22      229:6 232:19        92:15 94:2         142:3 184:4        179:10 194:15
      237:1 238:5        296:24 319:23       108:19 136:18      249:3              210:6 220:13
      239:5 272:6        319:23              365:18            description 4:10    227:14,15,17
      300:20 310:21     depends 96:11       deps@golkow...      74:25 135:4        230:24
     defined 227:10      96:12,13 97:9       1:22               199:23 214:21     developed
      231:6 302:4        128:11 152:16      dermal 233:12       306:20 331:24      182:12
      305:13 307:14      154:22 168:5       dermatology        descriptions       developing
     defines 236:18      170:16 175:7        352:25 353:14      89:24 90:18        269:1 273:22
      237:2              228:17 229:11       354:7,13 355:8     102:6 156:3       development
     defining 236:9      230:12 234:25      Dermatopath...      311:2              24:24 221:22
      236:11 237:16      236:21 264:19       355:3             design 182:2,19     237:15 238:12

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16          Filed 07/23/24     Page 109 of 147
                                   PageID: 195734
                Confidential - Pursuant to Protective Order
                                                                                   Page 389

       240:14 272:13    123:9 125:2,3      341:22,23        disagreement       discusses 123:17
       274:1            126:1 133:9        342:17,17          321:8              146:4 193:5
     dialog 213:20      136:8,24,25        348:18 357:9     disclose 247:11      251:20
     diapering          137:5,6 139:5      357:14 368:6       350:9,11 353:7   discussing 54:24
       177:15           139:13,22,24       369:10,15          365:6,20           57:1,20 62:14
     dictates 295:11    140:9,11         differentiate      discount 246:14      100:22 104:2
     die 178:23         142:13,16          165:13             247:4,5,13         105:8 116:17
     differ 233:13      146:5 152:12     differently 37:9   discounted           120:4 132:15
     difference 67:2    152:24 156:15      41:22 81:24        244:25             206:19 276:4
       72:17,21,24      161:12,21          84:20 85:12      discouraging         325:11
       146:9 168:17     162:24 174:18      229:6              282:25 284:15    discussion 66:20
       235:4 314:1      174:19 175:16    difficult 182:18   discovery 21:12      77:25 90:20
       326:13 348:6,7   177:20 178:8       186:3 222:12       54:18              102:11,13
     differences 71:9   179:8,16           224:7 225:9      discuss 67:15,18     103:14,19,22
       71:14 72:5       189:13 198:15      291:20 298:1       83:17 98:6         138:24 147:13
       79:15 82:25      199:4,5 204:22   dig 67:3             100:6 102:22       148:16 162:11
       84:16 101:11     208:25 213:15    Diplomate 1:17       103:1 104:25       180:24 195:8
       101:18 103:11    213:18 215:16      372:3,18           113:9,13           195:11 214:24
       148:24 156:14    215:17,19,20     direct 8:1 46:23     118:14 119:13      215:3 221:17
       164:24 216:13    218:22 219:14      76:3 212:4         121:21 124:13      223:5 265:7
       225:4 233:3      219:16 224:3       274:8 281:1,7      126:4 132:23       269:13 274:21
       234:1,7 254:14   224:21 226:25      281:16 287:11      133:8 140:22       277:2 285:21
       265:20,21        226:25 227:1,2     297:3              146:10 178:14      325:9
       266:8,14,17      228:25 229:1,3   directed 53:10       187:9 189:12     discussions
       357:17           230:23 231:22      54:10 74:6         191:20 192:1       26:23 89:25
     different 20:21    233:7,16 234:8     162:4 163:8        211:3 220:4        154:9 326:12
       22:10 29:7,8,9   234:10 237:25      357:16             242:7 248:25     disease 38:15
       29:25 30:16,18   244:18 252:24    directions 329:1     263:6 277:5        195:5
       30:23 31:6,8     252:25 253:19    directly 43:17       280:17 285:1     disreputable
       32:11 34:5,20    253:22 254:9       59:20 76:8         289:16 290:8       354:7
       35:5,21,23       254:12 256:12      273:9 367:14       290:19 355:22    disseminated
       37:5,20 38:1,9   261:2 265:3      disagree 73:25       360:22 362:24      30:22 244:16
       38:10 39:1       266:4 267:18       85:16,17 120:2   discussed 17:19      244:16
       45:24 46:7       269:6 270:18       127:2 143:22       22:9 35:9        dissemination
       50:14 55:19      272:12,15          199:7 214:19       42:17 54:8         123:4,8
       57:5,5 58:24     275:10 277:14      215:13 238:21      65:4 67:10       distinguish
       62:24 66:21,21   283:2,8 290:7      241:11,20          77:10 91:4         149:17
       70:20 71:7       290:12,22          283:25 319:17      108:18 138:20    distinguishing
       75:25 76:13,20   296:9 305:19       319:22 320:16      148:10 149:20      148:18
       78:7 81:18       306:11 311:20      320:25 324:8       152:25 154:2     distress 126:7
       83:25 84:13,14   320:3,9 322:7      339:8,11 342:7     171:17 176:19      129:12
       84:23 85:3,5,6   325:18,22          350:2,6,8          181:15 216:1     distribute 270:2
       85:8,23 87:15    326:6,8,19         356:15,18          221:12 223:16    District 1:1,1
       90:10,10 99:10   328:1,2 329:9    disagreed            263:23 276:13      6:12,12
       99:11 114:8      329:14 330:14      321:19             277:1 292:19     diversity 212:20
       115:25 119:22    330:16,17        disagreeing          354:22 362:19    dividing 220:8
       120:5,12 123:7   332:23 335:21      343:8              364:6 367:21     divorce 332:13

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16         Filed 07/23/24    Page 110 of 147
                                  PageID: 195735
                Confidential - Pursuant to Protective Order
                                                                                Page 390

      334:14          54:15,21 55:14     302:1 304:3       14:22 23:18,20    230:1 232:25
     Doc 26:9         55:21,25 56:18     324:1,16,17       24:11 25:4,15     240:19 305:24
     doctor 319:5     56:20,24 58:3      327:20 328:9      34:11,23 44:22    319:23
      359:16          58:3,17,21,22      330:11 331:21     46:7 50:17       drawing 138:11
     document 1:6     59:1,8 76:17       332:2 334:12      63:25 80:2        141:20 152:11
      8:19,23 9:1,7   76:21 77:18        348:5 373:8       87:2 88:20        234:9
      16:20,25 17:2   83:3 86:8 91:5    dose 187:8,14      93:11 94:1       drawn 98:4
      49:3 51:18,19   108:24 109:6       225:2 230:22      95:3 102:10       168:19
      53:20 54:22     118:13 123:16      234:21 235:10     105:17 110:3     draws 97:13
      55:5 59:19      129:19 130:1       235:10 237:16     111:11 112:4      202:16
      64:4,5,7 66:17  130:10 144:11      237:19,21,22      113:6 117:18     Dreessen 135:21
      75:2 77:11,14   148:9 154:10       237:25 238:1,3    139:8 140:21     drew 99:16
      79:1 80:16      161:6,8 164:25     238:5,9,24        162:7,9 163:4    drilling 193:19
      81:9 83:17      165:1 201:12       239:1,2,5,16      163:19 167:24    driven 116:15
      90:22 91:19     201:20 202:1,9     239:21 240:10     177:15 201:3      241:1 313:3
      92:3,5 111:11   204:12 205:4       240:13,20,23      211:22 236:24    driving 225:23
      113:14 170:17   211:7 212:7,13     242:4,14,21       247:24 248:18    Drs 244:11
      177:11 201:17   221:11 246:7       243:2,16          248:22 249:3,6    361:14,24
      202:3,4 206:14  246:12 248:8       254:14 259:4      251:15 252:2,5    362:15 363:23
      211:10,19,22    248:12 249:1,4     259:25 260:22     252:11 259:17     364:3 365:23
      212:6,16 245:5  250:8 252:21       263:18,25         261:7,18         drug 355:7
      251:22 282:24   253:19 259:16      281:25 282:18     262:20 287:8     drugs 189:22
      290:17 292:22   284:9 288:15       282:21 284:14     287:16 314:4     Duces 4:12
      292:23 341:23   309:11 321:10      286:3 293:25      337:8,17,18      due 128:17
      342:19 364:2    321:13,14          294:8,22          338:11,21         291:18
      364:22 365:2    323:24 341:7       295:11 302:19     339:9,16         duly 7:21 372:5
      365:13 368:9    342:17 348:17     dose-response      342:20 343:1,3   duration 239:10
      368:13,18       350:10 354:24      224:14 235:13     349:9 352:20      302:19 305:12
     documentation    362:13 364:5       235:19,24         354:14 355:13    dust 15:16
      10:6 48:18      366:3,7 367:20     236:11,18         357:1 361:8,8    duties 329:14
      82:16 212:22    368:13             237:2,6 241:16    364:23 365:4,5   duty 318:14
      214:9,14       doing 33:25 34:7    241:18 293:23     365:6,15,19,22    325:12,19,19
      218:22 278:11   38:4 53:15         294:12 295:17     369:6,8 370:18    326:3 327:3,4
     documenting      74:10 79:11       doses 231:5       draft 20:19        329:14,15,21
      249:21 273:9    94:8 115:5,24      242:19 295:3,4    74:21 201:14      330:5 331:16
      274:18          116:3,5 119:14    doubt 230:14       202:3 205:11      332:16
     documents 9:23   123:3 130:13       242:3 312:20      341:23 342:1     DYKEMA 3:1
      10:13 12:13,14  155:21 157:10     doubts 230:14      343:18,25
      15:11,19,22,25  169:14 171:24     Doull 289:21       345:22                   E
      17:15,21 20:22  181:25 205:1       290:4,5,18       drafted 32:20     E 2:1,1 3:1,19
      21:3,6,10,18    208:3 214:1       download           46:16,18           3:19
      21:20 22:13     216:3 217:13       123:19 345:9      343:23           earlier 9:2 20:2
      27:4 29:1       218:13 234:23      345:13,15        drafting 23:12      62:13 63:3
      30:24 32:12,18  234:24 244:23     dozens 97:25       24:2 26:1 66:1     68:17 74:12
      33:15,17 51:12  287:11 291:14     Dr 6:14 8:4        68:10 80:19        104:18 205:13
      52:1 53:12,21   293:8 296:20       12:23 13:20      draw 41:6 140:1     237:8 265:1,22
      53:22,25 54:7   301:3,4,10         14:7,10,15,17     168:17 170:2       297:14 298:10


                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16           Filed 07/23/24      Page 111 of 147
                                     PageID: 195736
                Confidential - Pursuant to Protective Order
                                                                                       Page 391

       305:13 317:7       114:19 132:21    entirety 57:25        77:3,21 116:11     38:8,14 39:5
       330:21             136:22 191:4     entitled 206:23       154:10 202:17      42:5,24 67:2
     early 20:12 23:3     202:24 224:2       211:10              217:14 222:16      70:9 73:21
       80:20 179:6        244:3 245:14     entity 147:23         328:21 331:23      75:24 76:10
       285:13             269:6 273:6,8    environment         establish 185:17     77:13,17,20
     easily 72:8          274:12 290:12      103:15 229:2        275:15             78:3,10,13
     East 3:3             292:6,16 302:3     306:8,12          established          80:6 81:6,13
     easy 62:7            326:25 347:18    environmental         189:3 195:4        83:7 84:13
     Eberl 15:21          353:11             105:5             establishes 71:1     85:23 86:10,23
     Edelstam 68:4      elements 152:4     EPA 65:10,22        et 4:20 170:7        87:4,6,14 88:5
       69:2 70:23         152:15 310:5       213:13 243:20     ethicality           88:18 89:4,6
       73:14,20         elicit 23:22         243:21 290:14       182:23             89:16 90:5,11
     editor 27:9,13     eliminate            290:16 292:22     ethicist 352:8,11    90:19 96:7
       27:17              312:25             292:23              352:17             97:2,19 98:24
     effect 34:3        ELLIS 2:21         epi 42:14,21        ethics 73:22         103:5 104:3
       140:20 145:20      3:12               106:24 173:10       187:22             105:11,16
       235:24 240:25    else's 357:18        173:13 208:4      evaluate 37:8        107:2 112:15
       278:3 282:1      emphasis 47:10     epidemiological       104:15 271:25      112:17,21
       289:10,19        emphasize            41:20 79:9        evaluated 32:17      113:16,17
       291:6 293:2        47:19              106:23 114:2,6      37:8 66:5          114:12 115:16
       294:10           employed 75:16       114:19 115:16     evaluating           116:1,10,15
     Effectiveness      employee 45:21       116:1 172:7,8       40:11 44:1,24      117:8 120:19
       367:3              365:16 366:18      205:17 239:14       96:8 127:16        135:7 139:23
     effects 29:24        372:11,13          312:11 357:7        137:4 205:17       139:25 143:19
       77:9 124:14      employees            357:23              225:21 246:19      155:2 159:11
       132:1 139:4        136:19           epidemiologist        252:14             172:9,21 173:2
       146:19 153:3     enable 26:6          41:16 84:20       evaluation 27:2      173:9 174:16
       156:4 169:25     enables 273:11       85:1 356:3,7        65:25 105:7        176:16,17,20
       190:3 224:5,14   encompassing         357:24              169:22 174:2       177:2 192:22
       236:13 242:5       108:22           epidemiology          192:12 196:20      194:9,10
       242:16 243:13    encounter            37:11 38:25         245:18 289:1       197:23 198:13
       290:21 292:13      335:22             81:17,18 89:11      304:10 357:6       199:9 205:16
       292:14,17        ended 136:1,7        106:4 115:2       evaluations          208:25 209:10
       294:2 295:2        141:1              295:10 355:22       244:17             210:1,9,25
     effort 348:6       ends 31:15           355:24 356:21     evening 12:9         211:10,11
     Egli 16:6            80:21 131:14     epithelial          event 184:5          213:2 214:15
     eight 11:10,17       132:3              233:19              281:9 367:24       215:4,24
       96:20 97:24      England 27:10      equal 232:12        events 128:2         218:23,24
       98:2,5 100:2,5   English 48:2         248:6               194:18 220:16      222:23 223:17
       100:13,25        engulf 150:18,18   errata 373:6,9        294:14,16          229:5,5,19
       102:5 104:18     engulfed 125:7       373:11,14           367:25             236:8 240:4
       104:22 120:25    ensure 130:17        374:7 375:1       eventually 80:22     244:14,20,24
       121:20 183:23    entire 43:10       escape 180:12         81:9               245:1,6,18,23
     either 9:2 31:16     105:2 171:14     especially 61:16    everybody            246:14 248:23
       36:6 41:7          171:19             212:23 274:7        228:7              249:15 250:7
       51:17 55:5       entirely 179:16      297:24 312:23     evidence 5:1         252:13 254:19
       61:18 82:17        284:16           essentially 12:12     21:14 37:11        257:15 260:16

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 112 of 147
                                     PageID: 195737
                Confidential - Pursuant to Protective Order
                                                                                     Page 392

       261:4 285:22       78:12 79:5       exercise 86:11       265:20,22,24       261:20 320:16
       288:20 296:18      80:10 82:2         120:6 216:16       274:13 302:14      320:23,25
       326:2 327:12       83:24 86:20,24     216:20,24        expected 175:9       335:22
       339:3 365:25       87:11 88:3         219:14,17          289:9            expires 374:17
       366:22 367:1,4     89:16 97:23        326:20,22        experience         explain 35:7,22
       367:14 368:1       101:8 102:20     exercises 218:8      37:18 39:6         41:13 49:2
       369:20             114:10 117:3       327:1              44:4 46:10         93:21 100:11
     evidence-based       123:16 125:5     exerted 31:22        48:7 49:14         120:6 121:7
       295:10             133:5 134:14     exhibit 8:13,18      50:3,23,25         135:18 174:15
     Eviron 346:15        135:5,8,20         9:8 14:6,11,14     51:5,22 77:23      235:2,3
       346:25             142:22 143:2       14:18,20,25        84:23 105:13     explains 133:22
     evolved 109:21       148:5 149:16       15:7 16:16,22      115:11 116:5     explanation
     exact 65:18,19       151:8,18           17:9,14 19:23      207:25 264:5       59:7 195:3
       110:16 167:17      155:15 163:15      20:4 22:21         271:7 320:8      explore 94:6
       193:12 203:2       163:21 165:4       23:9,13 24:13      334:7 336:3      exploring 285:3
       321:23 339:20      167:20 173:19      25:19 26:25        344:5            expose 224:2
     exactly 47:13        175:8,12 177:3     28:5 29:2        experiencing         291:21
       67:24 69:24        192:24,25          46:24 53:6         99:8             exposed 156:10
       73:10 82:5         196:5 204:6        64:3,19 65:14    experiment           176:24 187:15
       89:14 134:18       216:9 221:15       66:11 75:3,12      223:25 224:1       220:12,12
       168:11 178:25      222:19,22          75:18 76:5         291:7,14 293:9     226:8 228:8
       190:16,20          229:10 232:23      90:8 93:16         293:12             237:14 258:11
       204:6 205:3        233:19,24          95:11 111:4,9    experiments          259:5,25
       209:3 221:7        237:13 239:7       111:13 112:5       181:18 293:21      263:19 286:10
       223:8 224:21       240:7,16           113:12 155:14    expert 4:11,13       290:22 291:23
       224:22 249:2       242:24 246:3       201:10 202:15      4:14,16 12:25      301:17 335:14
       253:19 303:4       247:23 263:19      206:16 209:23      13:5 14:7,15     exposure 16:4
       304:19 320:20      270:5,9 271:11     210:22 211:14      14:21 15:5         36:8 37:2,16
     examination 8:1      271:13 281:17      211:18,21          20:19 23:8         39:11 41:3
       287:14 319:3       285:12 286:2       219:16 266:22      24:24 130:22       52:23,24 76:14
       372:5              292:9 296:21     Exhibits 4:9 5:3     137:3 139:11       77:6 78:7 81:1
     EXAMINATI...         296:25 299:5       13:17 28:1,4       148:23 213:16      112:12,21,23
       4:4                311:6 312:24       33:7 57:24         246:21 247:1,1     117:15 132:23
     examine 161:11       314:22 322:3     exist 43:10          248:17 255:8       133:16 160:19
       161:20             334:1 335:1,23     150:20 268:22      255:20 261:12      174:20 175:3
     examined 207:9       336:21 342:12    existed 318:20       261:22 262:20      175:11,20,23
     examines 266:8       361:3            existence 346:15     334:19 342:4       175:25 176:12
     examining          examples           exists 151:12        344:12,15          176:21 177:14
       295:12             245:10             169:20 200:8       346:19,24          177:16 178:3,5
     example 27:3       exception 81:16      226:23 228:15      347:2 349:5        178:10,11
       36:16,19 37:9      172:7 178:4        261:5 306:25     expertise 255:13     179:21,22,24
       38:16 40:16        296:1            exit 180:22          269:17 355:19      194:12,16,22
       51:21 56:23      exclusively        expanded             357:22 358:6       195:19 198:20
       58:19 59:18        54:13 176:3        331:18           experts 29:8         198:21 199:12
       60:13 61:16      excrete 313:5      expect 72:8,20       85:14 148:17       199:20 200:13
       62:12 70:24      excuse 214:18        73:7,10 178:1      181:16 248:3       202:21 203:1
       72:7 76:22         275:22             233:21 261:24      248:15 261:6       203:21 204:2

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 113 of 147
                                     PageID: 195738
                Confidential - Pursuant to Protective Order
                                                                                     Page 393

       217:11 218:11    extrapolation      factors 112:14     FDA 43:12 44:1       365:20
       218:12 220:15      232:13 270:5       156:15             44:24 47:23      financially
       226:11,12        extremely 50:10    factory 175:15       74:4 244:17        372:13
       230:20 231:11      80:15 97:19      fail 373:17          328:19,19        find 57:18 78:4
       233:12 235:8       99:18 100:10     failed 95:17         336:17 340:4,5     84:8 133:6
       236:10,12,19       100:14 138:18      355:18 365:6       340:14 359:22      146:3,6 155:25
       237:3 238:25       231:14           failing 97:7         360:2,18 361:3     177:7 209:23
       242:16 243:17                         353:6 365:20       361:7,15           210:20 222:5
       243:19 257:16            F          fails 96:6         FDA's 332:5          246:1 249:18
       258:3,5,10       F 3:8              failure 97:1,18      355:7,7            262:21 269:13
       262:7,9,11       face 250:25        fair 23:6 60:19    feel 121:8           276:18,22
       269:25 272:22      251:2,16 284:9     122:17 199:25      129:14 306:6       280:16 292:13
       274:15 285:10      319:9              199:25 231:16    feels 94:16          364:6
       286:4 291:19     fact 12:24 15:3      299:24 304:18    felt 59:19         finding 41:8
       292:4 294:9        32:1 34:17       fairly 128:19      female 103:11        42:10,13 55:25
       296:6 297:10       62:14 66:24        231:9               183:16 184:3    findings 67:19
       299:19,21          67:15 75:7       fall 23:3             295:24            91:3 172:25
       300:8 301:12       79:1 88:6        fallopian 4:23     fiber 147:22       fine 14:3 275:5
       301:24 305:12      91:18 100:18       103:16 180:11       150:5,6 255:3     313:16 336:10
       305:14 306:13      108:2,6 125:17     180:22 181:8        258:18            364:14
       307:4,11 313:4     128:17 129:2,3     181:13 183:17    fibers 251:8,9     finer 129:14
       322:4,15           134:23,25        falls 295:5          256:7 258:16     fines 130:20
       324:22 329:6       136:10 150:23    familiar 107:8       259:1              131:3,5
       347:19 370:14      151:24 167:25      107:22 118:24    fibrous 124:23     fingerprint
     exposure-resp...     168:20 177:20      123:21 130:19      124:24 126:1       145:5
       230:15             179:3 197:1        131:25 132:7,8     146:9 147:14     finish 94:13
     exposures 217:9      205:14 207:17      147:4 166:7        148:24 149:14    finished 44:18
       243:4,14           217:3 221:3,17     196:20 205:25      150:14 151:2       127:6 308:12
       300:24 301:8       222:13 225:3       211:21 216:15      151:19 161:11    first 7:21 11:5
       301:20             230:7 243:13       283:16 313:7       161:22 253:20      15:19 16:14
     expressed            252:11 256:1       319:10             255:2,3            19:13,18 28:24
       109:23 286:22      257:9 258:20     far 11:10 39:6     figure 103:7         28:25 32:5,17
       320:21 323:25      272:13 273:22      66:20 77:5       figures 103:9        32:17 33:16
       333:15             281:23 289:4       84:21 88:14      file 80:17           36:1,2 48:1
     expressing           292:12 299:17      92:22 107:5      filed 12:7 16:10     52:2 53:9
       166:19 316:7       301:16,19          117:7 128:1         18:2 23:4         54:11 56:17
       339:13             302:20 321:4       130:23 145:3     files 57:12,12       61:8,11 65:21
     expression           321:25 324:9       146:19 149:9        251:24 253:14     87:21 112:19
       194:4              332:13 346:9       165:2 167:7      filter 129:8         137:12,18
     extent 55:20         348:10 349:15      170:13 171:11    fimbriae 180:12      147:11 198:16
       183:8 214:20       370:8              192:4 193:15     final 37:1           210:6 212:6,17
       215:13 252:9     factor 36:16         216:8 227:9        138:11 153:11      215:25 217:2
       268:22 309:12      88:15 110:18       233:18 238:6       172:14 174:11      248:25 256:25
     extra 228:21         111:2 157:9        244:17 268:11      343:23             326:22 327:5
     extrapolate          158:3 169:3        272:22 293:22    finalized 316:4      329:15,22
       232:16 272:1       171:23 225:23      328:4 336:18     finally 42:4         331:11,12,14
       273:11             272:21 295:12    fax 1:22           financial 365:7      331:15 343:18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16         Filed 07/23/24     Page 114 of 147
                                      PageID: 195739
                 Confidential - Pursuant to Protective Order
                                                                                     Page 394

       352:22 354:15     foreign 128:19      198:13,18        frequency          304:25 308:4
       354:18 355:2        150:10            237:5 260:7,9      184:18 185:19    348:25 366:5
       359:25            forgot 11:16        265:13 274:11      186:10 239:10  generally 29:20
     fits 41:11 281:20   form 49:10          286:6 299:14       302:18           57:2 61:20
       281:20 283:11       73:17 75:11       303:9,22,25      frequent 305:2     64:23 70:10
     five 210:17           87:8 89:19        306:17 307:8     frequently         72:25 77:20
       249:9               90:12 91:24       337:24 338:7       359:22 360:2,6   81:23 98:13
     flags 13:24           99:5 105:23       338:11 339:10      360:23 366:11    101:12 126:9
     Fletcher 313:20       106:13 107:15     353:16 354:1,8   Friday 9:4         127:22 130:21
       313:21 314:18       116:11,18         355:15,17        front 13:21        139:15 219:25
       314:19 315:2        118:16 121:3      358:8              206:14           222:2 237:6
     Florida 2:14          121:15 126:25   former 355:7       full 34:7 35:15    253:2 282:25
     fluids 72:9           130:7 133:25    formerly 31:2        57:25 119:14     289:7 291:11
     FLW 1:5               137:11 141:2    forming 53:13        163:12 331:22    291:24 294:24
     focus 58:12 94:5      145:23 147:20     61:7 80:1        fully 282:6        295:15 297:7
       151:20 153:14       150:14,15         85:24 89:17        366:8            360:24
       155:22 268:14       153:4 154:20      103:4 324:21     functions 332:5  generate 276:12
       270:8 321:16        157:7 159:7     forms 73:20        fundamental        279:12
       330:8 363:8         160:10 162:1      130:17 148:4,4     294:1          generates 27:4
     focused 22:18         171:5 180:16      253:22 254:3     funding 350:12   genetically
       37:12 58:17         185:6 186:11      255:3,4            350:13,14        292:1
       262:11 268:8        186:22 187:18   formulated         further 65:24    genital 37:3 68:7
       370:5               191:6 195:6       300:5              67:4 93:21       69:10,15 70:6
     focusing 36:18        198:8 214:18    Forrest 10:9,14      141:16 197:19    72:1 73:16
       56:23 77:12         242:21 252:16   forth 75:1           314:16 368:19    110:13 202:25
       125:9 129:17        255:6 259:10      323:10 372:9       370:17 372:7     265:5 295:23
       168:7 179:23        261:10 262:24   found 41:8           372:11           295:25
       204:10 348:10       264:14,19         91:18 100:10                      genotoxic
       348:10              270:14 283:24     264:21 311:5            G           280:20 281:7,8
     folder 26:17          284:18 298:6      337:5            G 3:19             281:9,18
     follow 46:12          300:3 303:8     foundations        gain 226:5       genotoxicity
       67:6 117:22         330:19 337:17     161:17           game 122:17        281:15
       346:4 358:22        343:25 345:22   four 1:13 172:5    Gardner 68:4     geologist 149:8
     follow-up             351:20 356:10     208:16 271:12    gather 78:3,7    geology 132:15
       358:12              369:24 374:6      290:23           gathering 77:5     255:11
     followed 113:17     formal 113:17     Fourth 3:13          293:22         GEREL 2:8
     following 25:3      formation         fragrance 166:4    general 5:1      getting 31:15
       40:8 66:25          215:11 276:13     167:22 168:6,8     27:23 30:18      54:2 301:7
       345:25            formed 32:19        169:7 275:10       33:25 34:25      327:3 331:13
     follows 7:25          66:15 125:14      276:10 278:14      35:14 75:14    ghostwritten
       46:4                145:24 146:2      278:17 308:22      78:15 125:24     246:9
     food 311:6            151:22,24         337:3              126:8 151:6    GI 233:24
     footnote 317:8        166:17 167:10   frame 20:13          154:9 192:15     271:20
       318:16 336:22       176:6 181:14      54:23              209:16 211:11 give 26:12 34:25
       336:24              184:15,17,21    framework            265:7 275:19     46:2,8 51:21
     foregoing 372:8       184:25 186:24     204:25             278:4 291:2      60:25 80:7
       374:4               190:17 191:3    free 26:15           294:4,25 295:2   83:8 84:5 85:5

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16        Filed 07/23/24     Page 115 of 147
                                   PageID: 195740
                Confidential - Pursuant to Protective Order
                                                                                 Page 395

       88:22 92:12      25:7 26:15       131:10 132:14    guarantee           31:6 45:14
       93:5 98:4,12     32:6 35:20       135:15 136:14      293:14            46:2 360:14
       98:20 101:4,22   36:25 37:5       148:18 167:8     guess 18:20        happens 27:10
       102:18 103:20    38:9 45:6        175:23 188:3       30:13 56:22       27:14 82:13
       103:24 110:9     49:11 51:11,25   200:21 228:9       101:15,21         85:9,18 291:15
       114:5,18 120:3   52:3 55:24       230:3 232:8        143:22 147:24     298:17 302:3
       133:23 138:17    56:10 57:18      235:16 241:22      149:11 178:10     342:8
       140:23 141:7     61:5 66:24       259:2 287:3        193:9 202:2      happy 370:18
       155:6,14         68:20 75:25      300:7,10 328:8     285:14 311:21    hard 193:24
       217:19,23        76:11 77:3,15    341:9 343:6,12     323:23 351:10    hazard 36:1,2
       229:8,12 230:9   94:20 102:15     345:22 347:24      366:15            37:15 47:6
       230:18 244:1     104:15 106:24    349:22,23        guidance 49:3       48:14,14 77:1
       248:6 252:13     109:24 120:19    359:1,4,8          49:13 51:12       77:2 82:2,4
       255:16 259:22    123:19 130:23    364:14,15          61:1 76:17        143:19 153:9
       303:3 314:1,11   141:16 146:7     368:24 369:14      290:17            165:21 167:2
       334:9 368:17     152:21 153:13    371:1            guidelines 186:5    168:12,14
     given 27:5 60:16   159:13 178:22 Golkow 1:21         guides 335:9        169:12,19
       89:23 94:1       188:2 194:11     3:20 6:4         gynecologic         170:23 171:8
       99:2 109:5       200:20 219:20 Golomb 2:16,17        359:15            171:10 197:21
       121:14 127:14    220:7,19         7:1,1 19:5       gynecological       197:22 204:7
       154:16 166:22    221:16 222:3   Gonzales 118:14      182:9,25 356:1    229:21 234:24
       174:10 210:24    235:21 245:23    120:1,14,16        356:1 358:3       235:1,5,6,8,11
       212:18,19        251:19,25      Gonzalez 118:25      359:12            235:14,15
       219:4 226:14     254:24 259:18 good 8:3 58:8                           237:23 243:15
       230:6 244:25     273:16 274:19    100:17 168:10            H           256:8 268:18
       251:20 255:16    276:16 280:4     192:25 201:2,4   H 3:19              285:15 289:6,7
       261:22 280:15    280:10,13,14     270:7 287:16     habit 187:5         297:24 314:22
       302:7 304:5      280:16 287:22    302:3 369:6       200:13 299:20      326:1,3,6
       315:17 351:2     288:21 289:4   Gordon 250:3        299:21 301:21      327:16 332:15
       374:5            299:7 312:16   government          307:3,10           334:4 338:18
     gives 50:25        321:6,7 323:3    17:4             habits 101:13       370:10
       99:15 202:19     330:6 337:19   grabbed 121:25      301:11            hazards 15:15
       246:10           338:20 341:8   grade 135:11       Hamilton            178:14 236:10
     giving 8:9 46:1    346:3 347:8      140:15,18,18      242:25             322:15,16
       83:21 104:4,5    353:25 358:11    142:8            hand 53:1 83:16     323:9 335:11
       105:6 107:5      359:4,6,6      great 211:4        handed 8:20 9:7    he'll 26:15
       114:11 115:25    364:4,8 366:23 greater 38:14       111:12 211:20     head 52:4
       120:9 141:5,6    368:14           125:1 178:2      handing 8:16       health 4:21 5:2
       158:1 171:22   goal 36:23         292:16 303:7      111:10             15:15 36:3,20
       171:23 203:16 goes 42:23 121:6    303:12,15        handled 122:3       47:6 48:13
       219:1,12         192:3 251:25     304:15           handles 122:3       107:3 115:7
       306:20 353:10 going 13:7 24:18 group 122:2         Hang 23:14          166:11 178:14
     globally 142:16   25:10 40:25       131:6 217:22     happen 69:3         201:6,13,17,25
     GLP 88:3 232:3    55:12 80:15     grouped 118:6       97:4 181:6         202:9 204:13
     glutathione       81:1,6 85:10    groups 209:17       300:8 343:21       204:24 205:6,9
       228:22          94:15,22 99:21    209:17 217:15     361:1              205:23 206:20
     go 13:5,13,14     101:24 118:1      218:15 219:6     happened 27:22      211:7,12 212:8

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16        Filed 07/23/24      Page 116 of 147
                                     PageID: 195741
                Confidential - Pursuant to Protective Order
                                                                                    Page 396

       216:3 236:13       29:23              295:19 302:24    283:12 289:6        117:12 141:14
       283:21 284:7     history 354:25       305:1 322:14     300:23 301:5        156:7 235:16
       284:13 312:16    hold 24:4 267:14     323:9 334:3,16   306:21              366:12
       322:15 323:9       294:18 318:4     humans 101:12 identification         ignore 46:13
       331:25 334:16      339:6 358:10       101:14,18        8:14 9:13         Illinois 1:18
     heard 357:15       holiday 370:19       117:14 182:13    13:18 16:17         372:20
     heavily 344:6      honed 79:24          197:3 231:9      17:10 111:5       imagine 46:14
     heavy 146:13       honestly 61:24       232:17 270:6,9   206:24 211:15     Imerys 3:5 7:9
       169:9 170:7      HONIK 2:16           270:21,24        285:19              7:11 30:25
       264:1 266:25     Hope 2:23            279:24 291:22 identified 9:17        58:22 144:16
       267:18 268:1,6   hopefully 34:8     Huncharek          17:23 23:12         250:8 287:18
       268:8 269:5        315:6              244:11 246:2     24:13 25:24         307:20 308:3
       272:3 273:9      hospital 178:22      361:8,14,25      26:25 33:2          308:11,24
       274:22 276:10    hot 301:6            362:15 363:23    53:20 54:1          316:15,20
       278:14 288:1     Hotel 1:14           364:3,23 365:5   65:10 75:3          317:8,19,24
       310:11 311:2,3   hour 19:3            365:23           83:25 113:11        318:2,13,20
       311:13 312:17    hours 11:10,18     hundred 166:25     122:11 147:24       367:5 368:4
       312:21,22          18:20,21 19:4    hurry 292:2        147:25 148:1      Imerys' 317:22
       313:2,9            88:21            husband 25:23      158:16 170:20     immediate
     held 1:13 6:8      Houston 26:8         26:4,23 62:15    200:6 212:8         178:20
     help 25:23         human 15:15          62:19            236:9 245:13      immediately
       236:23             36:3,20 37:18                       253:6 288:2,12      178:24
     helpful 13:4,12      71:25 96:20              I          309:10 332:15     immune 276:21
       84:9 94:3          100:7 101:9,24   IARC 31:12         338:13 362:16     impact 334:11
       112:1              104:4 107:3        65:10,22 76:25 identifies 37:14    imperative
     helping 151:15       115:7,20 118:6     148:6 149:16     282:17              373:13
     helps 111:20         118:9 119:8,17     151:8 191:20   identify 6:16 9:6   importance
     hereinbefore         142:2 153:19       192:24 196:4     13:2 15:7 27:5      101:1 104:10
       372:9              153:19 157:16      196:20 197:1     55:15,24 59:8       104:23 105:6
     high 88:4,16         157:17 158:13      198:5,9,17       68:15 77:1          256:14
       235:10 295:3       160:7 172:23       199:5 204:7      95:10 96:19       important 21:1
     higher 175:4         172:23 182:16      221:15 232:4     100:3 133:10        30:5 50:10
       198:4 229:18       186:5 187:22       254:4,16         139:22,23           81:4 84:25
     highlight 80:14      197:5 205:23       271:18 277:3,4   144:15 154:3        93:22 97:20
       80:17              216:3,10,25        277:4 280:9,13   156:14 160:6        99:12,18
     highlightings        217:7 219:7        287:25 288:10    168:14 224:4        100:10,15,23
       13:24 16:25        229:3 230:10       324:24 325:23    225:2 235:11        103:3,6 104:9
     highly 314:8         230:13,13,18       348:3,14         237:12 250:12       104:19 105:3
     Hill 36:24 38:24     231:4,14,18,19   idea 44:12 46:4    250:23 251:16       122:14 135:15
       74:15,17,18,21     231:24 232:2,3     48:8 86:16       266:25 267:17       138:18 141:18
       75:2,9 114:20      232:12 238:16      90:23 118:8,9    267:25,25           143:18 150:19
       159:14 194:8       239:3,13 240:6     125:22 126:5,7   276:11 282:10       152:3,6,11,13
       195:10 196:17      240:17 241:13      149:25 152:20    282:16 294:22       152:22 159:12
     hired 364:3,23       256:17 269:7       160:18 166:5     305:21 310:4        167:17 168:3
       367:15             270:7 271:6,12     194:2,9 220:13   326:17 332:14       169:8,21
     hiring 367:4         271:17 279:25      243:16 246:5   identifying           212:23 215:10
     historically         280:1 295:14       256:6 273:21     53:12 61:6          229:16 231:15

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24      Page 117 of 147
                                     PageID: 195742
                Confidential - Pursuant to Protective Order
                                                                                      Page 397

       234:6,21,25        219:19 237:23      160:12 180:21    induced 279:7        26:5 30:8,12
       235:20 242:13      274:25 369:21      226:14 260:10    inducing 281:14      30:21 35:18,21
       245:8 256:4      increased 36:11      305:1 306:22     indus 344:19         37:14 39:8,10
       260:23 271:6       37:10,23 39:11   indicating 364:2   industrial           41:11 54:4
       314:21 357:24      39:17 112:23       364:22             133:12 134:13      70:13 74:3
       358:2,6            146:16 156:8     indicative           135:11 140:18      76:15 78:2,4,8
     impossibility        157:12,22,25       179:18 238:11      142:8 155:16       79:23 80:14
       347:25             158:14 159:17    indirect 281:15    industrial-gra...    82:15 86:18
     impossible           160:3 172:2,4      282:11             145:18 227:6       91:1 92:8,11
       186:4 207:24       172:10 173:1,3   individual 29:21   industry 31:14       103:3,4,23
       224:8 348:13       173:5,12,19        120:12 127:9       124:1 245:19       104:8 106:2
     imprecise 283:5      174:7,8 200:4      127:15 152:14      340:23 341:3       118:3 121:14
     in-depth 71:14       204:21 229:20      169:17 171:15      344:8,19,22        122:22 123:4,9
       71:21 72:4         239:21 274:14      173:8,9 183:22     345:1 350:14       127:15 134:13
     inaccurate           286:11 306:18      189:23 200:11      350:15 352:1       135:13,17
       67:13              324:22 326:18      221:8 224:4        362:18 365:21      138:13,17,25
     incapable            327:21 332:7       225:22 226:10      366:12 368:8       141:15,18
       270:13,16          332:20 335:17      239:25 246:6     inert 183:15         143:5 158:24
     include 11:12      increases 34:18      259:25 263:19      184:10 185:4       159:3 162:6
       60:14 87:13        35:4 38:17         278:20 286:5     inflammation         164:14 165:23
       120:1 150:22       39:20 40:13        293:24 305:9       61:19 126:6        165:24 166:20
       202:2 210:24       41:4 157:18        322:1,6 334:23     127:24 128:2,9     167:13 168:3
       239:9 262:10       198:22 203:22      334:24 350:15      128:13 140:14      170:10,11
       273:2 342:3        203:25 237:22      350:15             196:7 219:25       180:20 185:23
       347:21 355:18      238:3 286:22     individual's         220:1,15,18,19     191:14 194:14
     included 122:1       306:24 319:18      180:7 185:21       220:20 221:1       197:15,18,19
       210:1 218:24       321:1 329:25     individually         221:20 227:20      198:17 205:4,9
       239:9 338:16       331:5 370:11       100:21 149:7       268:13 276:5       216:12 217:6
     includes 86:22     increasing 169:3     154:8 158:25     inflammatory         217:15 218:11
       87:15 151:25     independence         171:12 219:21      128:16 168:25      218:12 219:10
       198:17 256:16      348:7              234:4 272:8        189:20 190:4       221:1,6,12
       274:15           independent          275:8              190:12 191:1       237:11 239:9
     including 11:14      51:18 257:8      individuals          191:21 192:13      241:6 247:2,4
       29:21 62:18        272:7 325:24       25:18 78:14        220:5,23           247:18,19
       71:18 215:5        329:9 337:18       85:11 115:13       222:23 228:1       253:1,1,3,12
       219:25 251:5,9     340:4 362:16       121:13 131:9       243:18 266:2,5     253:13 260:12
       261:6            independently        159:5 218:9        266:9,11           260:14 284:6
     inclusion 218:3      338:10             228:11 239:7       272:14 274:9       293:23 304:5
       331:19           INDEX 4:1            241:3 244:2        276:19 277:9       314:8 318:19
     inconsistency      indicate 227:13      256:9 286:10       279:2,6,10         323:23 329:16
       317:14,17,18       240:24 247:19      305:7 320:6      influence 31:4       331:1,24
     inconsistent         254:19 299:18      342:18 349:18      31:22              332:23 334:11
       113:4 275:4        307:3 317:8        353:8,12,18,20   influenced 32:1      336:15,17
     increase 37:10       327:12             354:2 355:19     influences 123:7     337:1,4 339:12
       39:18 40:15,19   indicated 63:3     induce 277:8       information          339:25 342:2
       158:4 171:21       250:25             278:23 279:22      10:12 15:15        349:16 359:23
       172:1 199:12     indicates 113:2      281:22             17:18,20 23:22     360:3,3,20

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16           Filed 07/23/24   Page 118 of 147
                                     PageID: 195743
                Confidential - Pursuant to Protective Order
                                                                                     Page 398

       368:7 370:3,5    initiation 281:10   interest 349:5       246:6             146:15 150:16
     informative        injections 292:8      349:22 350:7     investment          154:9 163:17
       84:10 100:23     injury 178:19         351:3 352:4        244:4             165:17 167:3
       101:6 219:10       231:8 264:22        353:7            involve 24:23       180:18 182:3
       219:11 221:6     input 44:8 45:5     interested 88:22     154:14 214:2      182:17 186:25
     informed 95:18       45:11 245:15        94:8 249:12        258:5 295:24      187:8 191:18
     ingredient 52:21     340:19,23           372:13           involved 11:3       193:14,23
       125:21 132:21      341:2             interesting          23:11 24:1        205:6 216:9
       307:25 308:2     insertions            121:25 140:10      25:16 44:16       217:11 220:10
       309:3 336:6        101:14              178:13 297:22      66:1 140:12       225:5 226:3
       341:20 342:3     inside 105:6        interim 231:1        195:21 248:10     227:22 231:2
       346:21             296:7             internal 30:23       262:6 277:12      232:11 241:22
     ingredients        installation          144:11 246:12      320:11 331:13     243:12,12
       44:10,15,17        242:20              321:14             353:8             244:18 245:7
       125:18 127:10    instance 79:5       internally 67:9    involving 19:9      245:14,20
       144:4 168:22       230:9               67:16 297:10       153:20 347:1      246:24 247:20
       309:14,18,20     instances 53:10       326:7            irrelevant          249:16 252:8
       322:18 324:4       62:15 84:4,8      International        143:23            260:22 262:6
       336:13 337:3       184:22              346:10           irritant 166:6,11   272:9,9,16,24
       339:18 341:9     Institute 4:25      interpret 230:3      167:2 243:17      273:14 277:16
       344:9 346:19       107:9,17 108:6    interpretation       338:9,18          280:3 283:1
       347:1,5,12         110:6,24 112:6      49:7 50:1 51:1   irritants 274:9     291:12 292:23
       348:2              113:10              255:14           irritation          292:24 293:1,3
     inhalation 175:4   instruct 24:18      interpreted          127:24 128:3      294:17,23
       175:20,24        instructing           50:11              140:14 167:7      296:3,6 304:11
       176:4 177:5,14     24:22,25          interpreting         168:23,24         305:7 314:20
       177:25 178:2,6   instructions          50:18 51:19        179:19 268:11     321:9 323:20
       180:3 230:20       25:4 373:1        interrupt 359:2      268:12 276:19     324:17,19
       233:12 235:9     insult 225:3          359:9            isolated 228:24     325:14,25
       258:12 291:14      281:1,8           interrupting       ISRTP 31:7          326:23 330:22
       292:6            insults 195:25        358:15           issue 37:10         331:15 333:21
     inhaled 264:21     intact 229:1,2,3    interruptions        42:19 49:22       333:22 334:15
     inhaling 178:7     intend 203:15         136:24             52:10,17 53:1     335:14 350:25
       258:25           intended 23:22      interval 40:7        57:21 64:12       351:4,22 352:2
     inherent 245:22    intending 33:24     intimately           65:4 67:18        356:2 362:23
     initial 21:15,16     34:11 43:3          334:15             69:17 73:4,5      370:2
       55:9,11 56:24    intention 130:4     intraperitoneal      73:23 74:8      issued 24:12
       64:16 65:25      interact 264:15       292:8              78:17 81:18       109:9 110:24
       82:1 231:8         277:15            introduced 8:4       83:6 86:15        113:11
       235:6 246:13     interaction         introductory         87:18 92:16     issues 30:20
       281:22 342:3       276:21 277:20       124:17             95:19 96:7        67:1,5 72:18
     initially 54:11      360:14 367:23     invented 115:14      97:15 99:7,13     97:17 117:13
       55:2,3 329:12      368:4             investigate          103:17 105:4      123:10 182:22
     initiate 128:16    interactions          353:3              107:23 109:23     182:22 192:1
     initiated 88:11      31:3,13           investigations       123:2,6,11,23     287:23 294:18
       220:14           interchangeably       239:14             124:8 126:23      312:19 314:9
     initiates 328:6      75:23             investigator         132:25 142:1,1    324:12 334:9

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16       Filed 07/23/24     Page 119 of 147
                                     PageID: 195744
                Confidential - Pursuant to Protective Order
                                                                                  Page 399

       335:5 346:2        316:16,16,21       77:23 84:12,14 know 19:23 29:7    304:13,20
       355:21 360:12      316:21 317:6,6     84:24,24 86:16  34:4 37:17,24     306:25 307:7
       366:5              317:9,9,20,20      99:7 105:13     40:9 46:1 51:9    308:7,17,25
     issuing 56:17        317:21 318:3,4     156:24 217:25   55:16 56:3,6      309:1,2 312:17
     It'll 69:6           318:9 327:24       320:7           57:7,19 58:7      315:5 317:3,16
     Italian 136:22       327:25,25        judgments         59:2 60:5         320:15,19
     Iturrulde 16:6       337:3,4 368:4      86:23,24 88:17  63:10,16,22       328:17,17
                          368:5            June 20:12        68:12 69:3        330:23,24
             J          Johnson's 8:11       111:19          70:7 81:1         332:12 339:15
     J 3:2                19:9 34:12,18                      82:23 85:6,7      339:19 344:11
     J&J 58:21 250:8      40:12 80:4               K         85:13 89:20       344:13,14,14
       307:21             117:2,24 124:7   Kansas 1:20       91:9 92:15        344:16,25
     Jacob 3:20 6:3       126:13 129:18      372:22          98:25 104:13      346:7 352:22
     Jane 3:1 7:10        129:20 130:3     KATIE 3:18        105:9 107:18      353:1,2,18
       287:17             132:4 133:21     keep 18:9 55:4    109:12 110:16     354:12,14,22
     jbockus@dyk...       136:1 141:1        80:5,24 81:8    119:3,12          354:25 355:5
       3:2                143:3 144:6        286:16 358:18   120:23 121:9      355:10 356:23
     Jean 164:9           148:9 153:23       358:24          122:15,16         357:1,1 369:7
     Jersey 1:1 6:13      154:11,18        key 56:21 57:2    130:11 134:17    knowing 144:21
     Johnson 1:3,3        155:17 157:4       97:16 169:2     136:11,17         194:20 297:24
       2:24,25 6:9,10     160:9,23           355:20 370:4    139:18 140:5,8    314:3 328:11
       7:13,13,15,15      161:13 163:20    Kimberly 2:21     143:21 145:2     knowledge 34:5
       7:24,24 8:6,7      164:4,18,19        7:14 8:5        146:24 150:25     293:11 316:14
       10:18,18,24,25     165:8 167:19     kimberly.bra...   155:8 168:10      355:11
       11:19,20 21:9      169:10 170:8       2:22            168:11 169:13    known 29:24
       21:10 30:24,24     173:20 176:4     kind 30:13        182:7 183:23      31:2 56:25
       30:25,25 34:17     176:23 180:5,6     76:13 81:8      189:23,25         128:1 170:23
       129:18 130:3       188:11 189:18      82:9 83:10      190:3,15 192:3    178:15 184:5
       132:4 137:9,10     198:1 200:3        114:16 160:17   194:15 196:9      185:4 194:17
       139:16,16          248:1,5 249:11     160:21 194:18   204:25 205:20     196:1 197:24
       144:16,16,18       249:14,22          213:12 287:12   206:3 216:6       246:11 256:17
       144:18 148:9       250:14 251:16      293:21          222:2 225:6,10    269:6 271:17
       154:6,6,15,15      252:11,15        kinds 36:16,22    225:11,14         272:18 273:12
       154:18 158:18      255:24 256:20      43:16 57:8,14   229:13 237:9      279:25 285:16
       158:19 160:5,5     258:4 260:2        58:15 92:25     242:2 243:7       370:10
       160:9 161:23       261:7 262:22       98:15 101:20    245:22 247:3     Krewski 117:18
       161:23 164:4       263:20 274:24      175:15 185:24   247:10 250:19    Kunz 68:19
       164:19 165:8       308:19 317:21      187:20 209:18   252:18 257:18
       180:6 189:17       318:10             231:8 271:10    259:18 263:7             L
       200:3 251:6,6    joined 19:4          305:6 323:16    263:22 270:15    lab 310:23
       251:24,24        Journal 27:11      KIRKLAND          274:19 277:22    label 47:3
       253:10,10,14       346:11             2:21            278:21 279:4     labeled 166:11
       253:14 268:22    journals 27:12     Klaassen 357:1    279:15,21        labeling 44:9
       274:23 287:10      346:10           Klimisch 206:1    287:18 289:21      51:8 52:16
       287:10 308:12    judge 87:13          207:11          289:25 292:15    laboratory
       308:12,19,21       247:2            knew 57:18,19     293:19 300:24      181:22 182:20
       308:22 309:4,5   judgment 39:5        57:20 361:7     301:13 303:4     laid 40:22 59:10


                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16           Filed 07/23/24    Page 120 of 147
                                     PageID: 195745
                Confidential - Pursuant to Protective Order
                                                                                      Page 400

       87:11 113:21     lead 97:2 191:23      258:21 266:4        110:12 285:3      139:3 147:13
       154:7 158:25       195:19 220:15       282:10 286:9        318:7,9           148:3,8,14,22
       164:23 216:12      221:22 227:19       306:25 311:13    linked 42:12         149:12,14,15
       333:15             228:23 267:1        338:18 348:1        167:2 227:20      150:22 151:13
     landing 181:12       268:23 273:24       348:13,15           228:1 238:6       151:16 152:18
     language 28:4        279:5 283:14     levels 161:11          254:16 277:7      152:21,23
       45:18,19 46:21     296:22 312:23       166:22 168:15       285:17 338:17     153:8 154:2
       47:2,20 48:2     leader 107:12         175:11 176:12    linking 57:4         170:3 180:25
       48:16 49:7       leading 107:19        176:21 228:21       58:20             182:8 187:14
       50:18 52:10        107:20 222:24       229:4 251:8      lipsticks 161:17     199:19 200:8
       110:16 315:24      281:14              256:7 267:16     list 22:1,6,8        200:18 206:23
       316:5 333:24     leads 129:12          310:14 311:16       55:10,13 59:13    209:25 223:4
       339:20             220:6 313:9         311:18 312:18       59:25 60:1,15     236:9 248:25
     large 44:19        leave 366:13          312:21,22           60:20 61:2        249:2,21
       53:22 61:23      led 215:11         LEVIN 2:12             63:6,12,13,17     266:15 273:8
       128:17,21          329:24           LHG 1:5                63:21 64:1,2,7    273:11 281:3,5
       129:11 130:4     legal 24:16        liabilities 73:9       64:11 68:23       282:17 285:13
       178:5,7,21       length 265:17      liability 1:5          83:3 108:16,21    286:23 297:9
       243:9,12         lesions 222:25        351:18              108:22 109:2,4    299:12 311:3
     large-dose 243:3     230:24 240:14    libraries 26:12        118:19 120:15     312:11 314:5
     larger 21:25       lesser 324:19      library 26:10,11       122:6,7,9,18      321:13,17,23
       22:7 68:23       let's 14:4 16:21      62:22 63:1          211:9 212:1    litigation 1:5,21
       125:8,25           20:10 21:5       lies 360:15            241:15 250:13     3:20 6:4 10:17
       128:13 129:1       63:7,24 70:23    life 187:5 200:16      263:14,14         12:7 19:9 29:4
     late 9:3 317:10      102:18 110:21       228:12 302:2     listed 55:10         131:9 218:20
     Laura 1:12 4:13      128:7 151:20        303:19,20           59:13 63:5        246:1,4,22
       4:14,16 6:14       180:3 184:18     lifetime 185:17        108:15,17         248:10,13,14
       7:20 14:15         188:16 189:11       185:20 187:17       111:1 197:8       248:18 249:7
       372:5 374:12       235:8 321:16        200:10 263:21       211:24 310:17     261:20 320:12
     law 39:19            327:2 333:13     Lily 164:9             310:18 347:5      320:20 324:1
     lawful 7:21          352:19 359:20    limit 170:15           354:23            331:13,22
     lawyer 352:12        362:21 363:8        228:5 241:22     listened 32:21       346:17,17,18
       352:15           letter 27:13,17       310:15,24        literally 346:4      346:21 347:1
     LAWYER'S             361:23 362:1        311:9            literature 25:22     351:1
       376:1              363:18,20,21     limitations            57:16 61:14    litigations 29:9
     lawyers 350:20       363:23              79:16 239:13        62:3,18 68:24 little 31:11
       351:18           letters 27:8          241:5 347:11        71:15 77:25       38:10 39:16
     lay 66:22 77:16    level 37:20           347:17              78:11 79:2,7      42:18 44:19
       77:24 79:19        39:17 117:15     limited 169:7          79:10 82:25       45:23 53:5
       98:3 134:19        121:8 132:2         283:12 312:24       85:5 90:24        61:1,25 67:4
       135:9 138:25       145:20,22           358:17              97:8 103:10       81:18 84:5
       153:2 158:20       159:17 198:4     limiting 264:11        121:23 125:2      95:4,24 96:6
       215:2              213:15 214:2     line 359:10            126:21 128:22     97:3,6,20 99:2
     layer 229:24         216:7 217:19        375:3 376:3         128:24 132:18     120:3,9 121:2
     laying 151:11        226:19,20        lingering 183:9        132:20 133:1      193:24,24
       332:22             227:8 228:16     link 61:19 99:17       133:15 134:20     201:5 203:20
     lays 76:12 92:5      229:18 258:21       109:17 110:12       134:22 135:6      210:20 211:3

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16        Filed 07/23/24     Page 121 of 147
                                    PageID: 195746
                 Confidential - Pursuant to Protective Order
                                                                                  Page 401

       245:13 335:21     51:11 52:1,3     281:19 282:23      112:9,11           73:15 183:16
       338:1 339:7       53:24 56:18      284:10 288:5,6     115:18 117:2       229:8 295:4
       365:9             60:4,6 62:9,10   288:10,21          117:11 119:4       328:2
     liver 233:25        68:20,25 72:16   291:14 292:2,7     119:17 123:13    lung 125:5
     lives 345:2         75:15 78:25      293:3,6 295:17     131:5 132:17       178:20 179:19
     living 81:9 294:3   79:13 82:24      315:14 317:13      138:12 141:11      231:3,8 254:22
     LLC 3:15,15 7:6     83:11 84:15      317:15 318:15      142:6 145:9        264:22,23
       7:7               85:11 91:1       320:6 323:2        152:2 153:5        291:15
     LLP 2:8,21 3:7      92:3,4,10,16     324:25 326:23      162:12 169:14    lungs 178:19
       3:12              92:25 96:22      327:5,11           170:18 171:13
     Loansome 26:9       97:23 98:10      334:10 338:20      194:16,17              M
     local 26:10         105:1,25 106:5   361:16 364:5       195:21 207:21    M 3:12 4:13,15
     locally 242:16      109:19 110:17    364:10 367:5,7     218:13 225:6      4:16
     Locke 3:7 4:7       110:19 117:4     368:14             225:12 226:2     ma'am 312:14
       7:3,3 111:14      118:18 119:7   looked 15:4,8,18     231:1 239:18     macrophage
       111:21 319:1,4    119:10 130:16    15:20 16:5,6,9     240:3,4 257:2     125:7
       319:5 322:9       133:14 134:1     17:3 52:15,16      258:15,17        macrophages
       323:1 325:15      143:10 145:2     69:25 70:19        262:7 272:25      150:17
       326:21 329:7      146:7 150:17     73:3,5 98:1        273:17 277:17    magnitude
       329:19 330:12     153:18 155:25    109:11 123:21      293:1 294:20      293:7
       333:1 336:4       159:10,12,14     142:9 159:20       302:18 315:21    main 97:12
       337:11 340:24     159:24 160:8     161:1 163:11       320:8 324:19     maintain 319:11
       343:10 351:14     160:16 162:7     163:16,22          325:25 326:1     maintained
       352:6 354:4       162:16 166:24    165:17 173:11      327:4 330:22      59:25 62:16
       356:19 357:10     170:22 172:21    175:13 179:20      331:15 336:14    majority 74:2
       358:11,16,20      174:20 177:6     185:22 187:8       352:2             141:22 142:23
       359:3,11          182:3,17         192:21 217:8     looks 41:17,18      160:13 184:9
       364:14,20         183:21 189:22    224:14 238:7       41:19 197:14     makeup 355:18
       368:19            195:11 202:15    238:24,25          197:14           making 37:1
     long 18:18 179:4    208:6,13         239:1 256:25     Loretz 365:15       44:17 74:5
       304:23 343:24     210:11 221:5     271:23 278:19      365:22            173:2 243:14
       358:20 369:7      225:3,4 229:4    285:1 304:4      Los 2:23            245:24 253:7
     long-term 72:20     232:5,11 234:3   319:9 333:8      lot 27:10 44:19     261:15 317:11
       178:19            237:19,20        336:25,25          61:10 79:1        318:2 338:24
     longer 95:6         239:12,15        338:10 348:17      170:12 182:6     male 103:12
       220:21 303:2      240:6,10,13,23 looking 19:7         229:12 271:14    manner 231:24
       305:11 359:4,7    241:7,12,15      31:21 32:18        315:8 346:1,2     232:17 265:25
     Longo 163:19        245:20 246:25    36:4 37:15         350:19           manual 76:10
       177:15 249:3      247:7 248:20     40:5,6 48:7      lots 62:9 267:4    manufactured
       259:17            249:13 252:1     49:21 52:11,20   Louis 1:15 3:14     137:9 139:15
     Longo's 162:7       254:18,24        53:19,21 54:21     6:9 19:19         154:5,15
       247:24 248:18     256:13 259:19    55:13 61:15,21     20:21             158:18 160:5
       248:22            263:9 267:23     64:18 68:13      love 230:25,25      164:19 165:9
     look 19:22 21:13    274:6,19         74:7 76:8 78:6   low 145:22          316:15
       22:3 27:19        275:21 276:17    80:21 81:22        235:10 256:7     manufacturer
       29:23 31:2        277:14 278:5     83:16 86:7,16      258:20 319:11     309:5 331:16
       36:22 49:12       280:5,11,11      88:1,9 93:2      lower 68:6 69:15   manufacturer's


                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16       Filed 07/23/24    Page 122 of 147
                                  PageID: 195747
                Confidential - Pursuant to Protective Order
                                                                              Page 402

      329:21            211:25 212:10  143:7 144:9,24    325:5 330:6       321:17,22
     manufacturers      263:8,10 321:7 154:21 155:18     331:4 346:18      359:16
      144:12 359:24     333:8 342:4    166:14 173:22     347:7,22 350:4   medicine 26:11
      360:4,7,19       Mattenklott     174:9 179:12      353:25 360:6      27:11 353:24
     mark 8:17 13:5     250:3          180:17 183:8      361:23            354:16,19
      13:13,15 14:1    matter 21:14    192:18 221:4     meaning 47:24     meet 114:23
      14:4,13,21        60:8 186:1     222:10 234:12     189:9 264:13     meeting 12:8,9
      16:22 17:12       235:9          252:17 260:4     means 50:19        18:14,17,19,24
      111:8 211:17     Matthew 261:7   298:21 303:14     99:1 118:20       19:1 343:16
     marked 8:13       MDL 1:4 8:10    304:16 306:9      127:3 310:23      344:17,20
      13:18 14:10,18    11:8,21 13:8   307:13,23        meant 35:8         345:7
      14:24 16:16       14:23 22:19,20 308:6,15          140:6            meetings 31:7
      17:9 20:4         23:1,7 24:3,12 309:16 310:8     measurement        344:2,6,8
      22:21 23:9        29:4,10,17     312:5,9 315:4     177:16           member 344:22
      25:19 28:1        31:21 32:21    316:22 322:20    meat 30:2         members
      53:6 90:8         33:4,10,20,24  325:3,21 327:7   mechanism          353:19 354:11
      93:15 95:11       34:1,8,12 35:1 329:11 330:2      88:11 140:12      356:8
      111:4,12          58:1 61:7,9,15 332:9 334:20      179:8,10         memory 12:16
      155:13 201:10     65:14 66:11    337:9 342:23      188:11,25         362:5 367:21
      206:15 209:23     74:14,21 75:1  350:21 351:19     189:9,16,24      mention 90:3
      211:14,20         82:18 83:1     356:12,24         191:19,22         119:20,21
      266:21            85:15,24 87:6  358:10,14,19      192:4,14 193:1    147:5 168:9
     market 2:18        89:7,18 91:23  358:25 359:8      193:5,16,19       340:8,9,13
      43:16 154:12      113:11 115:17  368:21            194:3,6 195:13    347:10,14
      160:17 161:4,9    116:24 117:23 mean 11:8 13:9     195:17 196:6     mentioned
      308:13 326:8      118:15 139:12  21:19 28:7,12     196:13 219:24     18:12,23 31:19
      329:16            157:2 160:3    28:13 38:5,6      221:10,20         33:19 35:3
     marketed 43:14     188:15 198:3   39:24 41:13       223:1 227:18      118:21 121:21
     marketing 1:4      203:15 214:13  53:14 56:3        228:3 229:15      148:13 163:4,5
      6:10 322:17       216:23 236:3   58:11 70:17       268:10,12         209:12 264:2
      324:4             255:25 261:12  72:4 83:23        272:20 276:4      282:22 314:6
     markets 324:9      262:4 267:8,22 85:10 89:21       277:7,17 278:2    327:3
     marking 14:6       268:9,21 269:3 105:10 109:25     278:6,12         mesh 129:7,7
     markings 13:23     269:8 285:3    116:2,12,22       281:16 282:12     130:13
      16:24             288:2 335:7    120:18 124:22     289:3 293:5      mesothelial
     match 231:9       Meadows 2:3     127:7 131:19      314:21 370:7      233:20
     material 61:10     6:18,18 13:12  131:23 135:16    mechanisms        messed 339:5
      82:19 175:14      18:16 23:14    137:17 152:17     146:20 189:13    met 18:13
      208:9 263:14      24:4,15,25     154:25 181:21     191:11,13         287:17 319:7
      307:21            28:21 32:3     183:18 189:4,5    228:5 274:7      Meta-Analysis
     materials 9:17     38:19 39:22    196:23 197:9      275:23 281:22     4:19
      20:24 21:19       40:17 51:2     216:5 232:4      mechanistic       metal 264:7
      45:6 57:25        56:7 58:6 86:2 236:21,22         195:22 217:1,5    310:11 311:3
      68:14,22 82:20    93:17 94:10,13 247:13 254:24    medical 26:10      311:14 312:17
      83:23 108:18      106:12 131:17  263:13 275:5      27:12 62:2        312:21,22
      122:6,10,11       132:5 134:15   281:9 294:15      147:13 157:24     313:3
      175:15 208:3      136:3 139:17   301:18 320:5      266:15 321:12    metals 146:14

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16         Filed 07/23/24    Page 123 of 147
                                   PageID: 195748
                Confidential - Pursuant to Protective Order
                                                                                 Page 403

      264:1 267:1,18    215:7 216:9       163:3 186:12      301:2,2 303:13    287:17 319:9
      268:1,6,8         295:22 299:22     296:18            303:16,19,20      327:23 344:14
      269:5 272:3,7     300:1,9 335:14   mistake 69:8       303:21,25        name's 319:5
      272:10 273:3,9    356:2            mistaken 108:24    304:15 305:2     names 149:12
      274:22 275:7     migratory 71:24   MITCHELL           305:14            289:22 349:17
      276:10 278:14    MILES 2:3          2:12             months 301:3,18   narrow 11:6
      288:1 289:2      miller 178:1      mixes 308:22      Moon 250:3         28:18 33:20
      293:19 309:19    milling 132:24    mixture 125:18    morning 8:3        57:7
      310:3 311:3,24   million 158:5,5    146:12,17         306:21 327:22    narrower 61:25
     methodologic...   millions 53:22     151:25 152:2,5   morphology        Nate 164:9
      155:12            53:22             152:8 153:7       147:24 149:6     nation's 107:12
     methodology       Millman 250:5      167:9 168:21     motion 180:10     National 4:24
      75:16,19 76:4    mind 14:1 38:8     169:15,16        mouse 292:1        26:11 107:9,16
      90:21 114:24     mine 130:24        225:7 226:3,9    move 70:10         108:6 110:5,24
      116:23 117:1      136:22,23,23      256:2,15,16       73:10 125:6       112:6 113:9
      117:22 173:16     142:8 145:6       257:3,10          180:9 183:15     natural 223:7
     methods 214:22     357:9             272:23 277:11     265:4,10,12       225:15 228:14
      214:24 236:8     mined 131:14       277:21           moved 112:14      naturally
     METHVIN 2:2        135:22 142:15    mixtures 292:24   movement 71:5      310:12 311:5
     Michelle 2:8      miner 175:8       mode 278:5,5       73:6 74:8        nature 48:19
      6:20              178:1             289:8 292:25      103:14 105:4      55:22 133:12
     microenviron...   mineral 253:20     370:5,10          183:20,25         212:19 258:18
      228:25            254:2            model 182:12       184:10            266:6
     microns 124:25    minerals 250:10   modified 65:20    moving 358:18     NCI 110:4
      124:25 125:1      309:10 311:23    molecular          358:24            113:16
     microphone        mines 136:25       189:24           mparfitt@ash...   NCRA 372:18
      339:6             142:16 150:1     moment 12:19       2:9              near 348:14,15
     middle 316:13     minimize           74:13 99:20      multiple 27:4     necessarily
     migrate 64:24      202:20            242:8             169:24 256:2      21:22 116:18
      68:6 69:14       minimum 303:5     Monday 9:4         275:21,22         197:9 214:2,6
      70:5,22 72:11     303:6             12:8,11 18:13     301:23            225:25 227:23
      73:15 182:10     mining 132:24      18:15,17         multiply 292:15    231:25 265:24
      185:5 283:13      135:11 175:16    money 349:22      Muscat 244:11      268:16 269:20
     migrated 300:14   minute 208:14      350:19 351:17     246:2 361:8,14    276:5
     migrates 181:19    219:24 364:9      351:25            361:25 362:15    necessary 47:5
      183:5 186:16     minutes 288:9     monitor 235:17     363:24 364:3      47:16,25 48:19
      301:14            299:6 356:14     monkey 182:23      364:23 365:4      49:8 50:2,19
     migrating         misheard          monkeys 182:21     365:24            51:19 52:19
      185:11            298:13            182:23                              286:4 373:4
     migration 66:5    missed 137:19     monograph                N          need 9:12 39:18
      67:9,15 69:10     316:3             288:17,18        N 2:1              39:23 45:17
      69:17,21,24,25   missing 200:7     monographs        N.W 3:8            52:17 62:3
      71:2,10,17        297:19            149:17           name 6:3 8:5       105:25 110:19
      73:24 74:6       Missouri 1:15     Montgomery         16:14 19:17       119:10 146:6
      81:2 95:19        1:19 3:14 6:9     2:6               80:25 119:3       151:12 206:4
      97:12,15 100:6    372:20           month 11:1,10      126:18 206:5      213:9 221:1
      182:13 184:3     misstates 86:1     11:18 300:2,25    206:11 263:3      229:22 231:13

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 124 of 147
                                     PageID: 195749
                Confidential - Pursuant to Protective Order
                                                                                     Page 404

       233:3 244:9        291:6 293:15       88:3,24 142:4      58:6 72:2          307:13,23
       247:17 274:19      312:4 313:10       222:19 230:25      73:17 75:5         308:6,15,16
       276:16 278:1     night 16:7 18:24     240:16             85:25 86:2         309:15,16
       280:4 292:12     NIH 26:11           number 9:8 14:7     87:8 89:19         310:8 312:5,9
       306:5 347:8      nine 183:24          14:11,14,18,20     90:12 91:24        315:4 316:22
       355:23 359:5,6   noise 365:9          14:25 15:7         93:17 94:10,14     321:20 322:20
       361:16 362:4,5   non 294:13           16:23 17:14        96:9 99:5          325:3,21 327:7
       364:4,6 365:16   non-asbestifor...    20:4 96:22         105:23 106:12      329:11 330:2
       366:16,19,20       147:15 148:25      111:9 112:6        106:13 107:14      332:9 334:20
       366:23 368:13      149:18 151:7       122:19 126:20      113:19 118:16      337:9,10
     needed 48:15         193:3              133:5,8 142:16     121:3 126:25       340:21 342:23
       213:16           noncancer            158:2 172:3        130:6 131:17       342:24 350:21
     needing 264:17       294:16,24          174:7,11           132:5 133:25       350:22 351:19
     needs 52:12        nondirect 281:8      185:13 189:12      134:15 136:3       351:20 353:22
       94:17 167:11     nongeno 294:15       211:18,21          137:11 139:17      356:12,24
       264:8 328:3      nongenotoxic         241:2 258:15       141:2 143:7,8    objections 18:2
       352:4              280:20,25          302:5,7,21         144:9,24,25      observations
     negative 42:3        281:21,24          303:3,5,7          145:23 154:20      184:8 226:22
     negatives 79:18      282:9 294:13       304:1,2 347:4      154:21 155:18      270:19
     neither 372:11     Nonhuman             347:8 348:16       157:7 159:7      observe 230:24
       372:12             206:25             354:11             160:10 162:1     observed 222:5
     neuronal 233:24    nonlitigation       numbers 22:6        163:2 164:11       227:24
     never 43:21 52:8     213:25 218:19      58:25 100:17       165:11 166:13    observing 222:6
       58:8 205:20      nontremolite         177:20,21          171:5 173:22       242:22
       246:11 255:16      149:23             348:9              174:9 176:5      obviously 28:24
       293:12           normal 222:3        numerical 86:11     179:12 180:16      41:21 57:16
     new 1:1 6:13         279:20             87:3,10 89:3       184:24 186:11      83:4 93:6
       27:10 33:5,10    normally 220:8       101:2 103:24       187:18 190:14      122:15 135:13
       54:15,15,18      North 1:14           105:14,19          192:18 195:6       153:17 196:19
       55:16 61:15,23   Notary 372:22        106:10 107:6       196:8 198:8        219:12,17
       62:4 78:23         374:19             114:18 115:9       214:17,18          229:24 239:12
       135:23,25        notation 317:12      134:4 141:7        221:4 222:10       314:16
       140:24 211:9     notations 16:25      160:22 219:4       233:6 234:11     occasional
       211:24           note 82:24           315:18             234:12 238:14      218:25 283:2
     news 122:19,21       218:10            Nurses' 312:15      239:22 241:19    occupation
       123:11           noted 373:10                            252:16,17          175:7
     newspaper            374:7                   O             255:10 259:10    occupational
       124:3            notes 80:16 81:8    O 3:19              259:13 260:4,5     174:21,25
     Newton 16:7          376:1             object 28:9         261:10 262:24      175:2,10,19
     nice 101:16        notice 4:11 9:9      183:10 369:23      270:14 278:16      176:13,22
       168:10             9:16 17:17        objection 23:14     279:14 282:3       177:22 178:11
     Nicholson            141:24 173:4       24:15 28:21        283:24 284:18    occupationally
       365:19             290:25             32:3 33:8          291:9 292:20       132:23
     nickel 267:2       November 4:17        38:19 39:22        296:4,17 298:6   occur 71:10
       268:2 276:16       14:22 22:20        40:17 45:1         298:21,22          175:25 179:1
       276:18,20,22     NRC 76:11            48:22 49:10        300:3 303:8,14     184:5 194:23
       278:11 279:5     NTP 31:8 57:6        50:5 51:2,3,23     304:16 306:9       194:25 295:3

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16          Filed 07/23/24   Page 125 of 147
                                   PageID: 195750
                Confidential - Pursuant to Protective Order
                                                                                 Page 405

       303:24 311:7     85:19 89:13        264:18 265:15     268:9 362:17   239:17 244:6
       342:11           91:12,17 94:9      266:24 267:14    online 26:12    256:22 257:12
     occurring 226:7    95:10,16,23        267:21 269:4     open 344:2,4    259:22 260:7,8
       310:12 311:5     96:18 100:2        269:10,10,15     opening 296:23  260:21 261:3
     occurs 131:13      107:22 109:1,8     270:10 271:24    operate 278:11  262:4 265:11
       186:10 253:21    110:22 113:15      274:17 276:24     278:13         265:13 268:21
       299:19,22        114:25 115:10      277:10,25        operating       269:2 274:11
       300:1            115:15,15,23       280:17 281:23     272:14         277:10 280:24
     October 4:13       116:23 118:12      284:12,25        Ophthalmology   285:2,14 286:3
       14:8 19:14       119:4,24           285:24 286:8      355:8          286:7,8,12,22
       21:4             121:20 122:4       286:14 288:7     opine 31:20     298:2,17
     offer 34:11 43:3   124:3,11,13,19     288:22 289:25     33:24          299:15,16,25
       203:15           126:11,19          290:2,2,5        opined 33:22    300:5 303:10
     offered 33:6       127:14 128:4       306:13 308:2      257:2,5,7      303:23 304:1
       34:24 60:12      131:11 133:4       318:11 324:2     opinion 34:12   304:22 306:7
       262:18 320:16    133:18 137:22      329:8,20 340:2    34:17 35:1     306:17,19,22
     offering 33:3      140:4 142:25       341:15,18         37:1,22,22     307:1 316:7
       60:3 157:2       145:16 146:2       345:14 351:15     39:19 41:1     318:4 319:15
       268:21 269:3     146:25 147:11      352:19 359:3      43:3 66:22     319:17 321:1
     office 53:17       147:19 151:14      362:4 365:8       70:3 86:19     321:19 324:21
       56:13            152:1,10           367:18            95:8,21 125:13 329:24,25
     official 14:2      153:25 156:21    old 18:8            125:15 128:6   332:4,6 333:21
     offset 292:17      158:12 161:10    older 15:17         128:10 144:6   338:7,12 339:1
     oh 60:9 69:9       162:21 164:7       111:2             145:25 146:3   339:10,13
       267:10 269:9     165:7 166:2,14   OLVEY 2:21          147:19 149:1   346:19 353:16
       313:14 348:23    170:4 173:15     omission 98:25      151:19,22,23   354:1,9 355:12
       355:22 361:20    174:14 175:1       121:1             160:2 164:2    355:16 356:10
     okay 8:22 9:5      180:2,17         omitted 96:16       166:17,18      358:8
       10:5,22 11:9     181:10,17          98:8,10,19        167:10 175:23 opinions 10:24
       12:19 14:1       182:4 186:6      once 43:15 60:1     176:1,7 181:14 21:22 22:10
       18:12,23 19:7    187:12 188:1       67:3 187:3        182:11 183:6   28:3 29:19
       20:18 22:12,17   189:11 190:23      261:20 290:23     184:11,15,17   30:13 32:6,18
       23:6,11 25:9     192:11 193:22      300:1,1 301:2     184:21 185:1,6 32:23 33:3,6
       26:3,22 27:20    194:1 196:19     oncologist 358:4    185:7 186:6,22 33:10 34:2
       27:24 29:16      197:7 200:19       359:13,15         186:24 188:24  53:13 60:3,12
       32:15 33:12      201:16 203:16    one-expert          189:15 190:9   61:7 66:16
       39:15 43:2,7     206:7 207:16       348:12            190:16 191:4,6 75:1,17 76:5
       44:4 46:16       208:8 210:5,18   one-to-one          191:14,20      80:2 81:11,24
       53:4 55:4 56:7   211:6 212:3,15     271:4             193:8,12 196:4 82:14 85:17,17
       60:19 61:5       215:15 217:17    ones 16:2 26:21     197:25 198:14  85:24 89:6,17
       62:13 63:2,14    218:21 219:23      53:25 70:13,18    199:3 200:1,5  109:22 110:2
       64:15,18 65:13   221:24 227:12      76:19 81:3        203:9,9,12,13  116:13 125:16
       66:9 68:9 69:2   232:18 234:20      101:5,6 119:23    203:14,17,19   151:17 157:1
       69:20 74:23      235:6 236:1,6      122:12 123:21     204:15 208:22  174:11 191:16
       75:15 76:2       242:7 243:23       138:19 148:6      212:9 213:14   192:7,8 215:12
       77:12 78:21      250:17 259:21      170:24 229:17     216:10 219:9   216:21,23
       80:1 84:4        260:25 263:12      234:16 254:2      236:17 237:2   226:17,21

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 126 of 147
                                     PageID: 195751
                Confidential - Pursuant to Protective Order
                                                                                     Page 406

       237:5 244:10       83:1,2 314:15      273:6,10,13,15     35:18             348:20 355:14
       262:18 306:4       373:14             274:13,14,25     overlapped          355:18 356:8
       307:8,20         originally 19:15     275:6,16           11:25             357:2,22 358:7
       314:14 320:21    outcome 35:5,19      282:19 285:4     overlaps 350:24    panel's 121:22
       320:22 322:14      38:18 39:21        286:4,18,23      overview 30:6      panelists 349:5
       323:9,24           40:13 244:5        288:20,24        overwhelming       panels 348:14
       330:19 333:15    outline 80:22        289:13 291:12      154:12           Paoletti 250:2
       335:10,15          90:9 188:14        291:18 306:18    overwritten        PAPANTONIO
       337:18,21,25     outlines 126:8       306:24 312:8       80:21             2:12
       339:4 355:17     outside 105:5        319:18 321:2     owns 44:19         paper 15:20
     opportunity          116:18 117:1       322:5 324:6,12   oxidative 227:13    71:4,16 72:15
       297:10 298:25      141:24 228:15      325:1,17           228:2,6 277:8     73:1 81:3,3
       299:4,10,11        286:23 295:25      326:24 327:6       278:23 279:2,6    93:12 103:16
     opposed 54:10        296:6              330:1 331:5                          105:3 117:10
       134:13 140:24    ovarian 4:20,23      332:7 335:17             P           138:3 162:10
       205:22 255:5       34:13,19 37:4      369:22 370:14    P 2:1,1 3:19        195:10 209:1
       266:10             40:14 57:1,21    ovaries 64:25      P.A 2:12            239:25 247:15
     oral 4:11 9:9        61:18,20 80:4      180:7,12,14      P.C 2:3,16          250:23 251:15
     oranges 120:8        108:8 109:18       181:2,20         p.m 188:4,5,7       284:17 321:22
     order 1:9 14:5       110:7,13,25        182:14 183:5       200:22,23,25      351:23
       26:6 30:10         111:2 112:8,24     183:17 184:14      287:4,5,7        papers 15:17
       36:25 38:14        119:6 124:6        184:23 185:21      364:16,17,19      80:13,13 104:2
       39:18 48:13        125:10,12          186:9,20           368:25 369:1,3    104:7 117:18
       52:1 82:20,22      127:21,23          187:16 243:1       370:25 371:3      138:3,8 149:22
       82:24 92:23        151:21 156:11      305:22           page 4:2,10 53:8    182:8 215:9
       106:17 114:22      157:6 160:4      ovary 101:19         53:9 64:3,20      246:6 314:3
       202:20 221:2       165:10 169:3       181:8 288:3,13     65:15 100:3       322:2,6
       231:3 232:25       173:21 176:2       298:5,20           112:10 147:9     paragraph
       264:6 282:5        179:10,23        overall 54:6         183:12 206:21     15:13,24 16:1
       326:16 365:17      180:25 181:11      71:17 73:21        206:22 212:16     46:24 53:7,9
     ordered 62:23        188:13 189:1       81:4 85:9          236:4 242:9       54:8 64:16,19
     ore 130:24           189:18 190:12      120:10,15          267:13 280:19     65:15 66:10
     organism             191:1,23 192:5     123:2 125:20       289:17,23,24      68:1,17 75:7
       294:10             192:17 193:4       126:12,23          313:14,17         76:18 77:19
     organisms 294:3      193:17 196:2,7     127:12,16          316:12 318:16     78:23 80:25
     organization         196:22 198:3       141:19 143:18      336:19,20         90:20 92:4
       353:15 354:10      198:22 200:5       150:7 159:11       337:14 367:7,8    95:12,16
     organizations        202:12,18          168:17,18          375:3 376:3       100:17 102:19
       349:24             203:6 204:16       169:21 173:2     pages 374:5         103:2 124:12
     organize 196:14      207:22 208:23      187:14 207:10    paid 244:3          124:14,17
     organs 117:13        220:1 221:25       215:21 229:20      350:13,19         126:4 133:6
       146:19 235:18      222:9 236:19       241:13 246:16      362:17            134:21 147:8
     original 20:23       237:4,15           314:12 319:14    panel 95:17 96:1    147:12 150:16
       21:2 22:4          238:10,12          348:25 355:17      96:21 97:13       166:3 168:7
       29:12 32:7,9       239:19 241:23    overdose 178:9       100:4 120:24      177:5 183:12
       54:22 68:14,18     256:23 258:1,3   overlap 28:13        121:11,13         188:18,20
       68:23 74:19        269:1 272:2,24     28:14 33:17        342:4 348:12      190:7 212:18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16          Filed 07/23/24    Page 127 of 147
                                  PageID: 195752
                Confidential - Pursuant to Protective Order
                                                                                 Page 407

      236:3,7 242:9    162:1 163:2       209:5 210:9        145:6 174:7      pause 99:19
      242:12 249:10    164:11 165:11     211:6,8 213:19     185:1 205:16      246:10
      249:19,24        166:13 171:5      215:21 234:21      210:8,24         pay 62:25 84:17
      250:13 251:1     176:5 180:16      236:2 238:4        217:20 218:4      253:5
      266:16,23        184:24 186:11     241:1 246:24       220:25 226:19    PCPC 31:1,23
      267:23 272:10    187:18 190:14     268:19 285:2       226:20 228:8      32:2 58:24
      280:19 281:4     195:6 196:8       288:22,24,25       244:8 245:1       360:11 362:3
      289:17,24        198:8 214:17      302:4 304:10       252:13 264:24     363:13 364:2
      313:13,15        233:6 234:11      323:3 325:10       274:22 275:15     364:23 365:15
      315:21 316:12    238:14 239:22     359:25 369:10      300:15,16         365:23 366:17
      336:20 337:15    241:19 252:16    participate         302:5 337:25      367:1,14,22
      337:25 338:4,6   255:10 259:10     25:25              346:1 347:22      368:4
      340:11 362:7     259:13 260:5     particle 69:17      348:24 349:2     PCPC's 122:2
      364:7 365:2,12   261:10,15         69:18 70:12       particularly       361:9
      367:8,12,14,17   262:24 270:14     72:12 74:8         20:22 101:6      PDF 80:17
      367:19           278:16 279:14     93:4 124:24        104:19 117:2     PDQ 108:7
     paragraphs        282:3 283:24      125:8,11,25        175:3 207:20      109:9,17 110:4
      12:15,17,25      284:18 291:9      126:1,2 128:8     particulate        113:10,16
      13:3 15:4,7,10   292:20 296:4      128:14 150:5       71:17            PDQ)-Health
      15:11 22:5       296:17 298:6      150:15            parties 372:12     4:24
      75:8 90:7        298:22 300:3     particles 70:1,4   partly 116:14     PDQs 108:2
      100:13 120:18    303:8 308:16      70:9,16,18,21     parts 59:17        111:3
      366:4 370:1      309:15 321:20     71:19 95:19        218:4 312:7      Pecan 3:3
     parameters        337:10 340:21     125:24 126:9       320:22 322:24    peer 116:11
      306:4            342:24 350:22     127:20,25          336:11            209:12 216:8
     parentheses       351:20 353:22     128:13,23,24      party 366:12      peer-reviewed
      65:9 133:10      369:5 370:16      129:1,14,22       pass 180:7         83:12 87:17
     parenthetical    Parmley 16:5       130:5 183:15      passage 181:6      90:25 92:17
      66:12            102:20,22         183:25 184:3      passed 352:14      313:25 314:5
     Parfitt 2:8 6:20  105:2 296:2       184:10 185:5      patent 15:18,22   pending 11:3
      6:20 28:9 33:8 part 26:18 30:5     185:10 230:23      352:15           Pennsylvania
      45:1 48:22       30:5 40:5 49:1    264:20 265:4      pathogenesis       2:18
      49:10 50:5       52:2,9 66:5       265:16 283:13      272:11           Pensacola 2:14
      51:3,23 72:2     67:14 76:22       295:23            pathway 175:20    people 16:13
      73:17 75:5       78:2 87:5 89:5   particular 26:7     175:23 194:11     18:7 73:3 85:7
      85:25 87:8       93:9 103:4        35:5 38:17         195:4             85:14,16 88:7
      89:19 90:12      107:2 108:20      39:20 40:11       patients 183:20    160:8,22
      91:24 96:9       109:5 115:16      47:11 50:9         183:24,24,25      186:20 187:2,3
      99:5 105:23      116:14 122:24     54:7 77:14         184:9             193:11 226:8
      107:14 113:19    123:6,24 124:5    78:13 79:7        pattern 41:10      228:9 247:7,10
      118:16 121:3     137:3,12 141:6    87:4 89:4 96:5     52:23 71:2,10     247:12 301:6
      126:25 130:6     152:8 153:9       97:3,18 98:23      164:3 170:22      301:25 305:20
      133:25 137:11    159:23 170:21     102:5,24           239:21 294:8      320:2 352:20
      141:2 143:8      171:7,8,9         103:20 104:22      301:11 305:23     353:21,23
      144:25 145:23    173:1 177:1       120:4 125:21       313:4 329:6       354:12
      154:20 157:7     188:19,19         128:8 132:20      patterns 301:24   people's 195:11
      159:7 160:10     193:2 198:12      133:23 137:7       305:6            percent 40:16

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16          Filed 07/23/24      Page 128 of 147
                                    PageID: 195753
                Confidential - Pursuant to Protective Order
                                                                                     Page 408

      40:20 121:5      period 21:9 82:9   physical 26:18     plate 129:22         111:4,9,11
      145:19 167:1      179:4 302:1,21    physician          plateaued 238:2      112:4 113:6
      172:10 173:1,5    341:2,6 348:12      107:23 359:18    platy 124:24         139:8 140:21
      173:14,19         355:24 361:12     piece 78:1 84:19     130:4,16,18        167:24 201:3
      174:7,8 223:13    361:17 365:11       85:4 119:16        146:9 150:5,15     211:14,18,20
      338:17 347:11    periods 57:6         120:12 155:1       223:13,20,21       211:22 236:24
      351:16 366:21     368:5               168:20 172:9       277:24 293:20      287:8,16 369:6
     percentage 54:6   peritoneal 4:23      173:9 176:15     plausibility 34:4    369:8 370:18
      161:21 297:17     180:11,13           205:9 245:1        194:7 195:2,9      372:5 374:12
      302:9 347:4      peritoneum           248:23 250:7       195:14 268:12     point 24:17 25:6
     percentages        180:23              252:13 284:16      289:3 314:20       49:5 50:3,12
      166:22 167:18    persist 301:16       302:12 332:1       370:7,13           52:5 56:16
      168:1 169:5,8    person 84:18         339:3 370:4      plausible 189:8      59:20 66:17
      170:6 183:19      366:13            pieces 76:20         191:22 194:2,4     67:23,24 71:1
     perform 53:10     personal 3:10        77:17 78:13        194:6,25 195:3     71:21 84:2
     performance        7:4 31:1 49:6       79:7 80:5          196:13 221:19      90:7 100:16
      129:15            50:2,22,25          81:12 85:23        227:18 229:14      102:3,10,21
     performed 55:6     51:22 319:6         87:4 89:4 90:5     277:6 369:20       134:21,23
      55:7 181:22       353:11              90:11 97:8       play 117:7           138:14 139:10
      207:4 245:19     personally           115:25 116:10      125:11 127:20      140:22 146:21
      268:20 331:8      181:17 344:13       121:23 122:21      146:15 169:19      162:22 163:23
     performing         349:23 353:2        125:2 126:20       255:24 268:25      165:14 176:7
      122:23           perspective          139:24 208:25    played 246:16        176:10 177:4
     perineal 4:19      328:23              209:25 215:3     please 6:16 25:8     181:7 192:22
      67:10,16         PERTAINS 1:7         218:14,23          27:18 249:20       210:21 221:14
      112:12,20,23     pesticides 351:8     304:4 314:7        373:3,8            225:17 248:22
      119:5 175:24     petition 359:21    place 83:14        plenty 252:20        254:22 261:16
      177:16 183:3      361:19,21           102:11,12        pleurodesis          273:8,15
      184:12,19         362:11 363:2        115:3 131:21       126:5 128:15       275:14 276:25
      185:18 186:8      363:10,14           210:22 232:23      129:9              281:2 282:16
      193:3,4 198:21    364:25              299:4 301:22     Plunkett 1:13        284:25 288:16
      203:21,22        ph 1:22              372:9              4:13,15,17         296:10 297:25
      231:11 258:11    Ph.D 1:13 4:13     places 46:23         6:15 7:20 8:4      300:5 302:12
      260:2 263:20      4:15,17 7:20        193:13 315:9       8:13,17 9:8        303:23 304:2
      263:25 291:19     372:5 374:12      plaintiff 247:2      12:23 13:17,20     316:9 347:23
      292:4 296:21     phagocytosis         247:16 304:5       14:6,7,10,15       362:23 366:2
      297:11 298:19     180:13            plaintiff's          14:17,22 16:16     368:10
      306:23           pharmaceutic...      322:12,13          16:22 17:9,13     pointed 109:4
     perineally         227:6               344:12,15          23:18,20 24:11     221:11
      185:12 186:21    phenotype            346:8              25:4,15 34:11     pointing 86:9
      187:5 237:14      220:3,7 221:25    plaintiffs 2:19      34:23 44:22        91:5 152:19
      258:11,24         222:3,9             6:19,21,23,25      46:7 50:17         190:7 219:16
      259:1,5 322:5    phenotypic           7:2 22:15          63:25 80:2         226:6 244:9
      329:4             225:23 276:12       246:21             87:2 88:20         250:2 276:2
     perineum 180:8     279:12,19         plaintiffs' 4:11     93:11 94:1        points 31:9
      181:20 182:14    Philadelphia         350:20 351:1       95:3 102:10        86:13,14
      295:24            2:18                351:17             105:17 110:3       117:12 165:16

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16         Filed 07/23/24    Page 129 of 147
                                    PageID: 195754
                Confidential - Pursuant to Protective Order
                                                                                  Page 409

      229:6 231:5        295:8 299:8       133:21 141:1     precise 74:23     Prevention 4:24
      235:16 254:24      301:24 305:4      143:3 144:7,19    315:24           primarily 166:3
      294:25 367:24      312:15 316:8      151:4 153:23     precursor 318:1    334:19
     policy-type         316:24 343:21     155:17 157:4     predicate 31:25   primary 4:23
      351:11             354:22            160:24 161:14    predominant        136:10
     Pooley 250:4       possibly 61:1      162:11 167:19     175:21,22        primed 274:1
     pools 78:8          197:3 198:7       169:10 170:8     premarket         principal 136:21
     poorly 232:7       potencies          173:20 175:22     329:17           principle 126:8
     population          254:13            176:4,24 178:7   preneoplastic      278:7 283:17
      159:19 228:11     potency 36:15      180:5 184:12      222:24            294:1
     populations         88:15 156:15      188:12 198:2,2   prep 11:25        principles 5:1
      157:19 158:14      156:18 157:9      200:3 248:2,5    preparation        36:1 125:24
     portion 112:1       158:3 171:23      249:11,14,22      11:25 13:1        209:16 211:11
     portions 47:11      225:4,21          250:14 251:4      15:5,8 20:16      275:19 278:4
     PORTIS 2:3          254:15 256:12     251:16 252:12    prepare 12:4       290:7 291:1,2
     pose 256:7,23       256:12            252:15 253:10    prepared 335:7     304:25
      268:18            potent 254:21      255:24 256:20     335:18 361:8     print 201:15
     posed 143:20       potential 37:16    258:19 260:2     preparing 25:18    202:13
      295:12 322:15      77:6 108:7        261:8 262:22      315:22           printed 17:6
      327:16 334:4       127:25 151:20     263:21 268:23    presence 163:18    111:17 201:12
     position 28:2,7     157:5 165:8,14    283:2,9 289:15    222:5 227:12      202:23
      43:21,25 44:23     166:6 167:7       290:19 293:18     258:18 261:8     printout 4:21
      66:4,7 109:16      168:25 178:2      306:23 308:20     273:4 275:21      17:4
      110:2,5,10,10      189:13 202:10     309:13 318:3      294:11 295:13    prior 10:8 56:17
      110:23 112:5       208:22 238:12     322:16 329:3      305:21 309:23     68:2,3,10 75:9
      117:21 120:22      241:15 245:2      369:11,18,21      309:23 312:3      90:4 96:25
      145:17 166:9       263:16,25        powders 129:16    present 3:17       346:7,16 372:4
      202:7 296:11       266:14,18         130:14 150:25     18:14,25         privilege 23:23
     positive 42:2       272:17,19         154:11 161:21     188:13 252:14     54:5
     positives 79:18     274:23 275:11     162:25 164:9      259:2 264:7      privileged 23:25
     possession 17:22    276:11 278:1      175:14 198:22     369:18,19        probability
     possibility         282:19 285:3      251:5,7 253:2    presentation       197:24
      196:21 197:20      285:19 289:9      253:4 256:15      20:25            probable 269:6
      197:24 255:23      290:21 302:15     267:5 277:22     presents 145:19   probably 9:11
      281:13 327:18      327:14,15         277:23 313:9      203:6             11:10,23 18:20
      327:19             332:19 350:9      316:15 370:15    president          19:2 23:5
     possible 56:4,11   potentially       power 42:19        352:23,24         54:17 60:25
      62:21 68:21        207:5 217:11      218:1             354:15 355:2,2    294:15
      98:18 109:17       270:18           practice 115:8    Presumably        problem 223:3
      155:5,7 186:7     powder 1:3 4:22    116:4 336:1,2     80:9              231:10 282:5
      197:5,16 199:8     8:11 10:25        353:24 354:12    pretty 27:12       291:17
      202:18 203:6       19:10 29:21      practices 1:4      66:23            problematic
      203:23 204:3       34:13,18 37:2     6:11 114:15      prevalence         224:18
      204:18,21          37:2 40:13       precancerous       295:18           problems
      207:17 223:24      41:3 80:4         240:14           prevent 47:5       146:11
      239:25 269:7       117:3,24 124:7   precautionary      48:13 114:11     process 27:23
      282:4 284:1,3      125:19 126:14     283:17,23         115:23 116:2      30:7 31:4,8,10

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS     Document 33000-16         Filed 07/23/24    Page 130 of 147
                                 PageID: 195755
               Confidential - Pursuant to Protective Order
                                                                               Page 410

      31:23 32:5     produced 10:8      326:8 327:17      283:9 319:12      121:14 122:16
      35:11,14,25     10:13 14:23       328:7,15,16,17   profiles 169:20    167:25 177:2
      36:18 37:1      17:19,24 19:8     328:24 330:23    progress 220:22    211:8 212:13
      38:1 43:10      19:14,15 20:2     334:4            project 82:1,7     216:22 251:14
      45:16 57:6,8    20:8 22:19,25    production 66:2    82:11             261:5,13
      57:22 59:7      24:2 54:18       products 1:4      prominent          262:13,19
      60:7 66:1       57:24 58:1        3:10 6:10 7:4     99:14             284:11 342:4
      67:14 76:25     74:25 82:17       29:21 31:1,18    promoted 44:11     346:16 348:2,3
      77:16,22 78:1   91:21 122:7       35:12 44:9,12    promotion 44:8     367:16
      78:16 79:21     139:11 178:21     44:18 49:15      pronouncing       provides 338:23
      83:7 92:5,7,7   190:3 195:23      51:6 52:16        16:15 289:21     providing 34:2
      93:9 98:24      214:13 350:10     126:23 127:17    proper 83:13       44:12 45:10,12
      104:14 105:11 produces 294:10     128:15 129:10     311:13            167:13 215:8
      105:14 113:22 product 1:5 24:8    129:13,18,21     properly 42:16     347:25
      115:14 116:11   24:14 29:22       130:5,14         properties        PTI 3:15,15 7:6
      118:1,5,11      30:12 36:9        131:15 132:4      124:21 146:18     7:6
      121:6 122:3     37:16 43:15       133:19 136:2,7    148:7 153:5      public 116:18
      131:13 132:8    47:4,7 48:9,12    139:15 142:21    proposed           123:3,8 132:19
      138:7 153:14    48:12,21 49:9     143:11,17         343:15            244:16 253:12
      189:21 190:1,5  50:20 52:12,22    154:11,19        proposing 179:9    308:4 340:20
      191:2,21        54:5 56:2         160:5,9 161:13   proposition        341:2,5,18
      192:13 213:18   125:20 126:13     161:23 164:19     69:13             344:3,5,7
      213:19 218:13   126:18 127:6,9    164:20,24        propounded         345:8 372:22
      220:5,20,23     129:4 132:10      165:9,22 180:6    374:6             374:19
      222:24 266:2    132:12,22         187:1 188:12     prospective       publication 76:2
      279:3,6,10      137:9 138:4,14    189:18 198:2      79:17 239:8       77:15 116:13
      281:14 292:2    144:4 145:8       200:3 202:21     protect 228:22     116:21 117:1
      324:25 325:6    153:15,20         224:3 226:12     protected 23:23    210:19
      325:13,23       154:5,15          226:16 227:1      54:4             publications
      340:3 341:20    155:24 156:2      250:23 251:5     protective 1:9     107:23 117:5
      343:6 345:21    157:20 158:15     255:24 256:21     228:4 232:23     publicly 30:22
      348:25 353:6    158:18 162:12     258:5,8,17,19    prove 282:7        57:15 62:2
      362:14          163:9,10,10       260:3 261:8      proven 285:18      90:25 118:2
     processed 131:6  165:4 166:10      262:22 263:21    provide 18:3       121:22 286:21
     processes 38:9   169:22,24         268:23 274:24     26:5 27:3         328:11 337:5
      274:9 276:19    171:14,15,19      306:23 308:4      29:19 30:6,11    published 17:7,8
      277:9           172:15 175:6      311:20 317:21     44:8 51:17        62:2,11 78:11
     processing       178:4 179:4       318:10 319:6      87:3,10 122:9     91:21 92:1
      130:22 131:10   197:7,9 198:23    322:16,18         213:20 214:21     93:14 103:9
      132:16          199:14 202:25     324:4 325:9       263:17 322:14     108:7 117:10
     PROCTOR          223:8 225:15      351:17 369:11     323:4,8 331:16    117:17,18
      2:12            226:22 283:22     369:18,21         331:24 335:10     147:12 152:18
     produce 44:11    285:23 310:12    Professional       369:20            162:10 163:14
      140:19 168:25   311:8,15          4:24             provided 9:1       163:16 247:8
      190:4 194:17    317:25 318:14    profile 39:13      10:3 21:10,11     248:25 249:1,4
      196:1 242:15    318:14 324:10     86:21 150:24      50:21 55:20       249:21 250:12
      272:18 326:16   324:18,20         254:7,10 283:8    85:21 89:15       286:17 314:4

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS        Document 33000-16         Filed 07/23/24     Page 131 of 147
                                    PageID: 195756
                Confidential - Pursuant to Protective Order
                                                                                   Page 411

      321:12,17,22       355:23           46:6 48:24          25:14,17 28:16    275:9 279:8
     publishes          puts 254:4        52:2 55:18,21       29:15 32:14       280:7 282:14
      343:11 346:11     putting 118:3     58:8 67:7 68:1      33:11 39:14       284:5,24
     pull 20:15 60:10    135:10 138:21    71:17 78:5          40:3 43:1 45:7    286:15 287:9
      61:2 62:15         197:13 254:5     83:15 88:25         49:4,24 50:16     287:15 292:10
      76:19 93:3,5      puzzle 168:20     89:2 90:4 92:9      51:15 53:3        293:10 296:13
      110:8 119:2,10                      92:24 93:1,3        56:14 59:4        297:12 298:15
      172:19 183:22             Q         93:11,20 94:6       67:7 73:12        299:23 300:19
      208:2,6,11        qualified 355:13  94:16,17 96:15      74:9 75:6 87:1    303:11,17
      249:25 250:15      357:11           102:2 103:18        88:19 90:2        304:17 306:14
      250:18 251:12     qualitative       104:17 112:4        91:6 93:10,24     307:18 308:1
      271:19,22          89:15,21,23      113:8 120:8         95:2 96:17        308:10 309:7
      278:19 365:1       114:5            126:19 127:18       100:1 106:8       310:1 312:1,6
      365:13,16         qualitatively     134:3,9,18          107:7,21 111:6    312:13 315:13
      366:3,8            36:7             136:8 137:13        111:24 113:24     315:20 317:1
     pulled 15:24       qualities 139:5   137:21 139:9        118:23 121:19     319:2,4,14
      59:20 63:4        quality 88:3,4    154:23 155:3        127:13 130:8      322:9 323:1
      212:12,12          88:16 91:1       174:6 178:14        131:24 133:3      325:15 326:21
      323:4              92:22 207:10     182:24 183:9        134:8 135:19      329:7,19
     pulling 27:9        232:3            205:12 210:14       137:2 139:7       330:12 333:1
      104:8 129:25      quantification    222:12 224:19       140:3 142:11      336:4,5 337:11
     pure 142:4          36:13 157:21     224:25 226:4        144:1,20          340:24 343:10
      222:7,16,18,20     170:16 310:24    229:11,13,17        145:15 146:1      348:19 351:14
      222:21 223:21     quantified 298:9  229:18 232:15       155:11 156:20     352:6 354:4
     purely 283:23      quantify 36:6     233:8 234:18        158:11 160:1      356:19 357:10
     purities 139:6      77:2 86:4        234:25 235:7        161:3 162:20      358:12,21,23
     purity 135:4        88:13 168:12     235:12 237:7        164:6,15 166:1    359:5,11
      227:8 311:14       168:13,15        241:10 257:25       167:15 171:16     364:20 368:20
     purport 278:13      171:2 172:13     260:18 261:2        174:4,13 176:8    369:5,12
     purportedly         172:22 187:13    266:20 267:21       180:1 181:9       370:17,22,23
      336:21             237:24 243:9     273:7,19,19         183:11 185:15     374:6
     purpose 8:10        298:8,11         298:13 302:6        187:11 188:8     quick 106:5,7
      22:18 133:13      quantifying       302:16 306:11       190:22 193:21     177:6
     purposes 9:5        156:6 157:3,11   309:6 316:17        196:3,18         quickly 177:7
      16:21 17:13        157:25 171:11    324:6 327:9,11      199:15 201:1      265:12 313:6
     PURSUANT 1:9        171:12,18,20     329:23 332:12       201:21,24        quite 37:25 70:8
     put 22:5 26:13      171:25           340:16 357:15       204:10 211:16     79:22 130:12
      26:16 51:7,7      quantitative      359:25 364:21       215:14 217:16     196:11 298:24
      58:21 62:8         78:12 85:21      366:9,10,21         218:16 221:23     300:6 319:20
      78:14 80:16,25     114:6,11         367:13              223:23 232:6     quote 95:24
      83:13 136:17       115:24 205:15 questioning            234:5,19         quote/unquote
      179:4 193:11       207:19           366:16              238:19 239:6      70:15 142:7
      198:24 218:10     queries 107:24   questions 8:2,15     241:4,9 242:6     175:10
      224:10 231:22     question 15:3     13:19 16:18         253:15 255:21
      246:6 247:11       24:6 25:1        17:11 22:10         259:11,20                R
      271:7 281:7        28:10,18 37:6    23:19,21 24:10      260:24 262:1     R 2:1 3:19,19
      307:5 347:11       42:16 44:21      24:19,23 25:2       263:4 270:23     rabbits 69:11


                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 132 of 147
                                     PageID: 195757
                Confidential - Pursuant to Protective Order
                                                                                     Page 412

     RAFFERTY             100:22 102:14      185:7 186:15     records 14:2       reflected 312:3
       2:12               112:25 113:1,5     259:23 319:16      55:4 62:16,22    reflection 316:6
     raised 314:9         120:15 137:14      320:5              62:25 136:14       322:23
     raises 178:13        137:16,20        reasons 120:9        321:6            refresh 12:15
       366:25             138:6 169:1        153:18 170:20    recovered            362:5
     range 125:4          205:11 212:24      215:6              283:15           refreshed 15:16
       128:25 129:5       236:14 251:3     recall 9:3 50:12   redo 74:20         refuse 24:22
       173:13             284:9,16 316:3     51:14 120:21     reduce 252:12      regard 84:16
     ranges 125:3         337:22,23,24       162:17 174:22      252:19 292:18      123:3 295:19
     rank 100:25          338:3,3,5,6        206:9 207:15     reevaluate           306:4 318:18
       101:2 197:22       349:12 367:10      208:3,11 250:1     246:15           regarding 252:7
     ranked 256:18        367:11 373:3       263:1,3 265:6    refer 13:7 16:13     321:9 332:4
     ranking 101:22       374:4              278:24 280:21      21:21 22:13        339:17 342:21
       103:24 113:18    reading 52:18        288:5 319:8        35:13 131:8        344:22 345:18
       114:2,22           59:18 60:2,11      347:6 368:16       161:22 202:9       361:15
     rankings 107:6       81:2 183:7         369:12             250:19 349:18    regardless 71:20
       114:18 115:9       243:25 314:25    receipt 373:15     reference 9:16       140:14 145:8
       134:4 141:8        315:2            receive 346:10       22:5 46:20,22      153:4 159:18
     rate 265:11        reads 47:3           351:16             49:1 64:11         181:6 258:10
     ratings 218:22       212:18           received 122:4       75:9 76:10         258:23 273:21
     rats 271:13        ready 13:10        recognize 8:19       93:13 118:19       289:8
     raw 307:21           308:13             61:3 111:11        158:12 263:14    Registered 1:17
     reach 76:4 180:7   real 54:15 62:7      128:18 140:8       280:18 337:12      372:3,18
       186:8              106:5 177:6        226:24 270:10    referenced         regularly
     reached 95:25      realize 60:11      recognized           12:23 15:3         296:15
       181:11 189:7     really 37:12         220:17             46:9 91:17       regulation 43:12
       189:14 190:10      57:24 59:20      recognizing          167:24             46:10,18 48:17
       190:24 191:20      98:15 106:6        138:2            references 63:18     49:1
       192:8,15           129:10 154:25    recollection         64:8 218:25      regulations
       198:11 236:17      195:15 225:10      362:12           referencing          30:10 43:5,7,9
     reaches 96:4         225:11 232:2     recommendat...       318:17             44:2,14,24
     reaching 75:16       289:2 298:16       283:22           referring 13:6       46:17 48:4
       89:6 160:2         333:2 347:23     record 6:2 9:6       15:12 22:14        327:10 328:20
       186:20 208:22      355:20 356:23      10:15 16:21        43:8 64:1,2,22   regulator 214:3
       258:13 261:3       356:23             17:13 19:23        89:10 116:8      regulators 31:16
     reaction 140:17    realm 24:9           25:7,10,11,13      148:11 161:15      32:2 219:21
       233:2            Realtime 1:18        55:8,9,20,22       201:16,18,19     regulatory 30:7
     reactions 140:16     372:3,18           56:12 94:21,23     201:22 205:14      30:13 31:23
       179:18 243:18    reason 73:1          94:24 95:1         206:5 238:17       43:18,22 47:23
     reactive 150:10      97:10,13 98:1      99:22,23,25        242:17 309:18      65:5 67:11
     read 32:22 34:9      202:23 212:12      111:8 188:2,4      321:11 341:5       81:21 82:8
       34:16 59:14,17     245:21 281:3       188:5,7 200:20     360:9 362:8        213:6,8,11,25
       59:21 60:1,22      347:22 354:5       200:22,23,25     refers 64:22         214:3 219:17
       64:10,12 71:23     366:10,15          287:4,5,7          202:4 214:8        256:6,19 284:2
       77:21 80:9,13      373:5              364:9,13,16,17   refine 81:24         290:13 307:19
       81:12 83:21      reasonable 41:2      364:19 368:25      82:4               322:17 323:20
       90:16,17           157:23 173:17      369:1,3 371:2    reflect 20:14        324:3,25 325:6

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16          Filed 07/23/24     Page 133 of 147
                                      PageID: 195758
                Confidential - Pursuant to Protective Order
                                                                                      Page 413

       325:13 326:4       241:18 294:13       313:23,24        repair 283:15       102:10,22
       326:13 331:12      295:17 365:21     reliably 42:9      repeat 12:20        104:21 113:10
       332:14 333:5       370:13              232:14 291:22      365:8             118:14,15,19
       333:10,21        relative 146:4      reliance 20:24     repeated 198:25     118:22 119:13
       334:8,8 335:4      152:14 372:11       21:18 22:1,8       199:17 300:24     119:15 121:18
       335:9,24 367:2     372:12              55:10,13 59:13     302:20 305:11     122:8,13
     relate 11:21       relatively            59:25 60:1,15    repeatedly          123:11,12,24
       19:11 28:20,22     319:13              60:20 63:5,12      339:16            124:12 133:8
       29:2,3 46:17     relevance 70:16       63:13,21 64:1    repetition 87:24    133:22 134:10
       52:25 76:20        84:22 92:8          64:6 68:14,22    rephrase 161:18     138:6 139:11
       101:14 126:22      153:8,10            83:2 108:16,21   replicate 58:4      140:22 141:20
       127:3,3 129:19     207:10 218:1        108:22 109:2,4     58:10 98:23       142:20 143:6
       133:9 137:5,8      231:7 232:13        120:15 122:7     replicated 47:2     146:3 147:5,9
       139:15 140:23    relevancy 118:4       211:9 212:1        75:11             154:3,4 155:13
       140:25 162:24    relevant 36:3         241:15 263:8     report 4:13,14      158:16,21
       178:17 211:7       54:7 60:2,12        263:10,13          4:16 12:15        159:1 169:1
       212:6 250:13       69:17,23 71:16    relied 70:19         13:8 14:7,15      176:11 182:16
       322:16 324:12      76:8 78:4           74:3 109:6         14:21 15:5        183:2,7 185:3
       351:3 355:17       80:16 83:10,15      130:1 162:23       16:4,9,10 17:3    187:10 188:15
     related 8:11         96:7 97:1,8         174:24 214:23      19:13,21 20:2     189:14 201:9
       10:6,25 29:19      101:24 123:1,1      215:4,9 238:24     20:8,17,19,23     209:22 214:12
       30:9,20 31:17      127:4,11,16       relies 336:17        21:2,16,24,25     214:21 215:3
       50:20 68:5         131:15 135:17     rely 41:5,5          22:4,9,20,25      236:2,25
       123:11 125:17      138:9 141:11        105:22 156:23      23:4,7,8,12       241:14 242:8
       134:12 135:21      150:24 153:12       160:8 205:7        24:2,12,19,24     243:25 256:25
       165:20 207:3       182:17 202:22       207:18 212:11      25:19,21 26:2     261:18 262:20
       255:15 259:16      206:24 207:5        247:23 277:20      26:24 28:25       263:6 266:8,21
       265:2 318:9        212:8 216:5,11      337:7,16 360:6     29:12 30:17       267:3,8,12,22
       322:14 323:9       225:21 234:17     relying 45:4         32:7,10,11,21     268:9 269:8
       323:20 324:14      258:3 271:11        143:5 338:25       32:24 34:8,9      274:18,20
       332:6 342:19       314:8 324:5       remain 265:16        34:16 46:21       275:3,11 277:1
     relates 77:7         351:16 366:7      remember             53:6 54:23        280:18 285:20
       127:11 132:18    reliability 66:16     242:13 259:15      55:11 56:17,24    288:2 289:17
       143:2 149:1        67:19 83:11         317:11 327:23      59:6 61:9,15      290:8 295:22
       155:9,15           84:21 118:4         362:7 368:12       63:11,17,20       309:11 310:4
       255:14 258:1       207:10 208:17     remove 45:17         64:14,16 65:14    313:13 314:25
     relating 253:9       209:1,11,24         65:23 67:21        65:25 66:3,11     315:3,8,19,23
     relation 365:7       210:7,13            268:5              66:22 67:8,24     316:4 317:7
     relationship         215:17,21         removed 109:13       68:3,14,18,23     322:25 323:3
       27:25 34:3         216:7 218:1       removing 268:7       74:18,22,24       326:11 331:14
       110:7 112:7        247:20            render 37:21,22      75:20 76:12       332:22 333:16
       193:17 202:11    reliable 42:8         39:19              80:20,23 81:10    336:11 337:7
       204:15 207:21      66:20 83:9        rendered 144:6       82:17 83:1,21     337:13,17,20
       230:16 235:13      95:7 209:9          237:1 262:3        84:1 86:3 90:8    337:22 338:2
       235:24 236:11      210:20 216:6        286:2              91:22 93:15       338:11,21,22
       236:18 237:3,6     216:11 231:2      rendering            95:11 99:14       339:9,21 340:2
       238:9 241:16       232:17 305:25       216:21             100:3,12 102:3    340:9,17

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 134 of 147
                                     PageID: 195759
                Confidential - Pursuant to Protective Order
                                                                                     Page 414

       343:18,23          18:10 26:14      respective 80:7    results 113:3        79:24 80:6
       347:3,21 361:7   requested          respiratory          184:13 334:17      82:20 90:6
       361:15,24          322:11             126:6 129:12     retained 248:3       108:13 110:4
       362:10,20        requests 17:17     respond 228:10       365:23 367:2       116:9,16
       363:23 365:11      17:23              228:10,12        retention 346:8      120:20 122:13
     reported 42:7      required 30:10       233:21 234:2       361:9              129:17,19
       87:20 117:23       37:21 43:4       responded          retrieval 25:24      151:8 163:24
       160:16 170:14      219:18 324:10      363:13             63:1               177:12 183:14
       177:22 178:16      326:16           response 9:24      retrieve 25:23       201:8 243:20
       183:20 267:4     requirement          76:15 77:5,7       26:6,21 27:18      252:2,4 323:24
       295:3 310:14       49:8 114:22        78:7 90:3        retrieved 26:4       342:18 344:10
       310:22 328:12    requirements         126:2 128:17       60:17,17 207:9     347:12 356:14
     reporter 1:17,18     114:23 322:17      128:19 150:10    retrieves 26:14      356:22
       1:19,20 7:17       324:3              169:1 179:14     Retrograde 69:9    reviewing 31:17
       137:20 372:3,4   requiring            187:8 190:13     return 74:12         58:2 81:19
       372:4,18,18,19     279:10             194:12,16          373:13             82:19 133:1
       372:20,20,21     research 107:12      195:20 204:2     returning 17:16      208:21 343:2
       372:22           resource 290:6       223:22 225:2       96:24 118:12     reviews 81:21
     reports 12:6,7     resources            228:1 230:22       219:23             82:2 98:14
       12:25 13:5,15      214:23             232:19 237:17    Reuters 123:12       280:13 321:14
       13:21 19:8,11    respect 17:20        237:19,21,25       123:16             348:8,11
       27:25 28:20        28:3 31:7,8        238:1 239:16     revealed 261:21    revisit 182:6
       29:13 33:16        43:3,25 44:2,5     240:10,13,20     review 4:18 26:1   rgolomb@gol...
       57:23 61:11,17     44:25 48:20        240:24 241:23      30:23 32:19        2:17
       63:10 68:11        53:12 62:17        242:4 254:14       53:12 56:20      Richard 2:17
       74:20 75:9         69:2 70:5 80:4     266:9,12           57:6 59:8 61:7     7:1
       85:15 178:5        106:1,3 109:17     293:25 364:24      63:5 65:5        right 8:3,4,25
       179:5 248:1        110:6 112:7        365:3              67:11 71:15        9:14 10:12
       249:6 257:2        117:23 125:12    responses 72:21      78:1 82:8,15       12:2,22 15:2
       261:6,12,22        127:21,23          195:23 238:2,6     82:22,24 83:5      16:19 17:12
       314:15 337:20      128:7 129:21       242:23 266:5       85:4 98:11         18:18 19:7,20
     represent            144:6 151:17       272:14 273:24      111:25 116:11      20:1 21:17
       287:18 319:6       151:21 157:5     responsibilities     121:16 156:24      23:2,5 34:22
     representative       162:25 165:10      332:5              160:12 182:8       40:10 41:25
       133:20             170:7 171:2,18   responsibility       184:2 208:8        46:20 47:1,14
     representing         172:14 173:20      360:15,18          209:13 211:9       59:12 63:13
       22:15              179:11 192:16    responsive           216:8 245:5        67:24,25 69:24
     reproductive         196:21 198:3       17:22              297:8 321:5        82:5 89:14
       70:11 71:18        202:10 204:13    rest 281:20          336:6 338:9        95:3 96:23,24
       95:20 101:11       204:15 212:7     restate 190:19       341:9,20           102:1 107:11
       101:15 103:11      256:22,23        result 98:2          342:15 343:12      108:1,5 109:15
       103:12 183:16      262:18,22          119:15 132:9       343:13 348:1       111:25 112:19
       184:4 297:18       263:15 272:3       153:8 169:14       348:14,15,18       113:2 119:11
       302:10             282:18 283:22      170:17,17          349:2 368:12       124:11 126:16
     reputable            284:7              194:19 198:18    reviewed 9:21        133:6 134:6
       353:15,20        respectfully         213:22 272:20      12:6,24 21:3       178:24,25
     request 9:17,24      139:8              304:21             32:13 67:5         188:22 198:14

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16          Filed 07/23/24     Page 135 of 147
                                   PageID: 195760
                Confidential - Pursuant to Protective Order
                                                                                   Page 415

       204:9 205:25     157:19,25          301:20 306:18      106:22 114:17    sampling 170:14
       206:10,13        158:4,14           306:24 314:12      183:5,15,18        186:1
       207:8 208:13     159:17 160:3       314:14,16          187:4 227:25     San 3:4
       211:17,19        165:8,14,21        319:18 321:1       283:10 300:8     Sanchez 261:7
       236:16 243:15    167:5 168:13       323:19 324:16      300:10,21          261:18 262:20
       245:12 263:15    169:3,23           324:22 326:15      301:7 302:25     sat 74:21
       276:8 283:20     170:21 171:2,8     326:18 327:21      342:8            save 80:12
       306:15 318:6     171:13,13,18       329:25 330:9     Rowlands 250:4     saved 56:9
       320:13,17        172:2,10,13        330:18,20        Royston 3:15       saw 179:18
       323:13 324:7     173:1,3,5,7,12     331:3,5,25         7:6                259:15
       330:15 331:9     173:19 174:8,8     332:7,20         rsullivan@dy...    saying 45:4
       333:8 336:9      188:13 191:25      333:14 334:3,4     3:3                106:9 123:13
       338:14 339:22    197:13 198:1,4     334:16 335:17    rule 4:16 305:17     143:23 149:3,4
       341:10 344:3     198:5,22 199:9     357:6 369:21     rules 106:17         150:12 158:2
       344:17 345:8     199:12,13        risks 143:20       Ryan 2:4 3:2         159:10 173:24
       349:12,14        200:4 201:14       154:17 275:24      6:22 7:8           193:9 203:23
       352:17 359:13    202:3,18 203:6     351:8            Ryan.Beattie...      213:17,18
       360:24 363:3     203:12,23,24     Risperdal 246:4      2:5                224:8 227:23
       369:6,14         203:25 204:11    road 2:9 220:19                         231:12 240:5
     ring 206:5         204:18,21,22       222:25                   S            251:8 256:11
     risk 4:20,21       205:8,11,13,23   robust 128:19      S 2:1                262:15 273:3,6
       16:12 17:8       206:20 208:23    robustness 88:2    sac 101:19           274:14 281:12
       34:18 35:5,11    212:20 213:8     Rohl 250:3         sacrifices 231:1     304:20,20,24
       35:24 36:6,8     214:1 216:3      role 29:10,14,17   Saed 313:21          316:19 334:14
       36:11,12,13,17   229:20 231:3       33:20,20 75:14     314:4 315:2        338:8,15
       36:20 37:10,15   234:17,23          99:14 124:1      safe 117:15          356:20 357:13
       37:19,23 38:2    235:4,22 236:2     125:10 127:20      294:22 328:18      357:14,19
       38:3,10,17       236:12,19          246:15 255:22      328:24 347:18      366:16
       39:3,10,17,20    237:4,23,23        268:25 306:1     safety 30:12,21    says 7:23 104:10
       40:13,23 41:4    239:18,21          331:19             31:5 35:13         109:20 110:21
       74:11 75:21,25   244:20,24        roles 334:22         36:21 49:21        129:24 191:11
       76:9,24 77:2     255:25 256:8     route 52:24          53:1 75:22         191:15 250:2
       80:3 85:1,2      256:22 257:6,9     231:12 258:3       97:17 99:17        361:23 365:4
       88:13,18 107:3   264:8 266:4        269:25 292:5       324:10,11,17     scenarios
       110:18 111:2     268:18,20          347:19             324:20 328:6       179:24
       112:23 115:7     269:1 271:12     routes 233:11        328:10,15        Schedule 9:18
       115:13,17,21     272:7,19,21      routine 115:8        329:17 331:1       9:21,25 17:18
       117:5,13,13,19   273:5 274:14       178:3 184:7        346:12 347:16      17:23
       122:23,24        274:25 275:7       200:13,15          355:20 360:7     schools 290:13
       123:5 124:6      275:20,24          207:25 282:25    sake 111:8         science 31:14,15
       125:12 127:12    278:8 283:3,8      283:3 284:15     Sales 1:4 6:10       31:17 105:16
       138:7 141:21     283:9 285:7,22     296:16 299:20    sample 129:4         191:11 192:9
       143:16 146:16    286:11,23          301:1,6,10,25      131:5 170:12       274:6
       149:19 150:7     289:10 291:2,3     302:17,17          252:10           sciences 356:2
       153:11 154:24    292:15,18          305:11 307:3     samples 151:4      scientific 41:2
       155:2 156:7,10   293:7 294:20       307:10 346:3       163:21 179:20      62:18 65:5
       157:3,12,13,15   294:24 295:12    routinely 106:21     223:11 247:25      67:11 76:10

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24      Page 136 of 147
                                     PageID: 195761
                Confidential - Pursuant to Protective Order
                                                                                      Page 416

       80:6 81:12         58:4 61:14,23      235:23 240:25    select 129:6,6        217:14 218:14
       96:7 97:2,8        62:17,19           249:14,22          130:4             serial 231:5
       98:13 99:4       searching 54:12      254:2 261:24     selecting 141:13    series 220:16
       121:23 122:22      54:20              265:19 267:6     selection 130:13      232:8 246:5
       124:9 134:22     season 301:7         267:19 268:3     sell 308:4          serpentine
       173:18 182:8     Seasons 1:14         270:17,18        selling 316:20        255:6
       183:1 185:8      second 23:15         279:11 284:21      317:19,24         served 33:21
       186:16 190:10      24:5 52:6 69:7     297:23 316:19      318:2             serves 246:20
       190:24 192:15      188:2 273:18       318:16 337:14    Seminary 2:9        service 26:8
       205:16 209:25      324:2              341:9 353:25     sense 40:19         Services 1:21
       210:8 245:1      second-guess         365:18             182:6 195:17        3:20 6:5
       259:23,24          198:10           seeing 63:19         195:19 285:11     set 29:8,11
       272:1 273:8,10   section 16:3         170:24 270:9       285:25 332:25       30:17 31:4,21
       275:14 276:9       66:25 100:20       367:20           sensitivity 223:6     36:14 55:23
       278:10 282:16      105:2 112:10     seeks 359:22       sensitizer            56:19 75:1
       321:6 324:5        112:13,20          360:2,6            276:20              84:24 106:16
       326:23 329:22      123:25 124:1,2   seen 8:22 21:7     sent 63:21            117:14 146:7
       333:5,7,8          126:21 133:7       42:6 48:3        sentence 47:11        180:3 188:18
       334:10 359:23      139:21 140:6       78:18 85:14        47:15 64:21         210:16 220:5
       360:3,12,19        179:2 188:15       106:20,22          65:3,19 66:10       304:1 311:10
     scientifically       206:23 212:5       107:1 110:14       67:8 112:20         311:15 372:9
       30:8               212:17 215:7       110:15 111:22      147:11 212:17     setting 11:20
     scientist 77:22      333:16             115:1 123:18       236:23 243:10       23:24 35:25
       191:8 320:5      sections 30:15       129:23 130:1,9     251:3 267:12        148:20 174:21
     scientists 84:13     30:17 326:10       148:12,21          317:4,6 339:14      175:2 176:13
       99:10 104:15     see 9:11,19          149:21 151:1       366:6               176:22 222:25
       105:12 107:4       16:19 18:11        153:4 154:10     sentences 65:21       273:25
       114:16,17,18       20:10 30:16        161:6 170:13     separate 30:4       settle 182:24
       319:17,22          34:8 39:18         176:12,13          48:4 63:12,21     settled 182:25
       321:18 322:2       47:1,8,17          177:13 187:13      64:4,5,7 124:8    seven 88:21
     scope 117:8          51:12 64:21        205:14,21          139:5 177:1         316:4
     scoring 206:1        65:1,7,11,18       207:14 211:13      201:13 202:4,5    SEYFARTH 3:7
       207:11,19          66:20 79:2         211:23 225:17      208:24 215:24     shape 127:25
       208:4              87:10,24           225:19 228:20      217:9,18 224:4    sharded-type
     screen 92:8          102:18 110:21      241:24 248:7       244:21 251:22       255:1
     screening 209:5      115:3,3 123:22     248:16 252:6       260:10 263:23     share 146:18
     se 124:10            134:2 136:6        259:12 260:9       285:7 289:13        154:12 160:17
     search 26:12         147:17 149:24      261:17,25          318:14 323:20       161:5,9 233:17
       27:4,19 53:18      151:3 154:2        262:2 263:10       324:17 325:14       272:19 278:22
       59:10 62:4,7       156:5 159:16       270:25 288:21      325:24 326:10       370:10
       90:24 121:11       163:14 166:25      299:13 306:22      329:23 333:16     sharp 254:25,25
       206:24             177:7,10,21        309:12 311:19      333:21,22,25      SHAW 3:7
     searched 338:13      188:16 199:24      312:2 313:11     separated 210:8     sheet 373:6,9,11
     searches 25:22       203:2 205:19       321:8 342:14       215:19 217:4        373:14 374:7
       26:20 53:11,16     206:22 207:1       361:1 362:13     separately 12:1     Shifting 307:19
       54:6,12,17         207:12,13        segregate 59:1       13:11 330:21      Shimmer
       55:5,23 57:5       208:18 214:10      145:12           separating            126:17 157:5

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24     Page 137 of 147
                                     PageID: 195762
                Confidential - Pursuant to Protective Order
                                                                                     Page 417

       161:14 308:20    signal 173:12        250:11,18        solely 351:17        139:13 144:17
     short 12:9         significance         259:21 276:24    solicit 340:23       162:18 167:7
       348:11 368:21      40:6 41:24         278:9 280:23     soliciting 342:2     266:17 313:23
     shorter 306:13       42:14,23 92:20     368:18           solicits 340:19    sourcing 137:1
     Shorthand 1:19     significant        site 64:24         solubilized 72:8   South 2:14,23
       372:4,19,20,21     33:17 41:8         180:21 242:16      264:11,17          3:13
     shot 28:18           42:11,12 91:3      243:18 264:23      265:23           space 180:11,13
     show 103:8           133:5 157:18       281:16 295:4     soluble 72:12        373:6
       150:4 159:16       172:24 257:16    sitting 18:16      somebody           specialist 47:24
       172:8 206:4        313:2 357:5        368:15             173:25 225:19    species 68:6
       221:21 229:19    signing 373:9      situation 96:11      246:10 283:10      182:20
       238:9 244:9      signs 238:11         96:18 97:22        305:18 318:3     specific 12:24
       246:8 250:9      silica 264:18,20     246:2 273:25       320:19 335:25      15:4 22:20
       257:15 270:5       264:20             297:6 326:5        357:3,4,17,21      29:5 39:25
       276:9 280:2      similar 54:21        342:11           somewhat 265:2       50:4 51:1,21
       301:15 305:19      70:4,12 71:2     situations 246:1     313:3              56:19 71:9
     showed 177:2         71:24 79:23        361:1            sorry 11:8 12:21     76:22 82:21
       183:25             117:7 118:11     six 18:20,21         19:6 137:13        91:10 93:2
     SHOWER               144:23 145:2       97:24 98:1,5       226:20 257:14      103:17 105:4
       126:14,14          153:15 169:25      172:5 249:10       267:11 269:10      109:22 110:9
       157:4,4 161:14     231:24 233:17      266:25 267:17      274:4 289:23       116:10 123:10
       161:14 308:20      243:21 254:6       301:3 316:4        289:25 298:12      123:10 124:18
       308:20             268:10 272:20    size 92:23           310:2 313:14       125:15 129:18
     showing 42:7         273:23 275:22      124:20 125:3,4     313:15 333:3       141:21 147:24
       68:5 103:8         276:18 289:7       125:7,10,15,23     339:5 345:13       148:15 159:4
       157:17 172:24    similarities         127:19,25          355:23,24          164:3 166:17
       184:10 221:18      233:4 234:8        128:7,8 129:6      358:25 360:1       168:1 172:3
       237:22 274:21    simple 36:11         129:21 150:11      363:5 365:8        174:11 185:13
     shown 41:23          264:16           sizes 124:24         367:8              189:16 202:16
       70:22 153:6      simply 26:5          128:14 129:5     sort 15:14 30:1      202:19 210:16
       242:15 251:7       38:16 67:8         230:23             30:2 37:13         210:23 211:2
       256:9 257:11       89:2 93:12       skin 271:21          85:21 178:9        212:22 214:14
       257:19 260:15      106:9 110:3      slightly 46:6        235:17 299:20      218:21 224:10
       271:11 272:18      113:9 139:2        55:18 65:20        332:1 351:10       224:20 250:24
       279:5,16,17        144:2 241:12     small 129:10       sound 323:7,13       253:4 259:6
       281:18             294:11 306:3       202:14 243:12    sounds 96:23         275:6 277:2
     shows 36:7         single 242:14,21   smaller 125:4        322:22             282:21 304:2
       41:10 70:9         243:2,14,16,17     126:2 129:6,14   source 133:11        310:19 321:12
       71:5 103:13        283:1 298:18       177:21             136:10,15          345:5 349:1
       145:7 151:1        368:9            Smith 2:22 7:12      216:11 251:21      354:1 355:16
       158:13 169:24    sit 34:10,23         7:12 42:18         336:12,17          357:22 368:17
       199:10 245:6       51:16 60:21        257:14             337:1 339:17     specifically
       302:23             74:16 110:23     Society 355:3        339:25 340:1       11:22 15:8
     sick 178:23          119:11 120:22    sold 48:13           349:16             21:23 22:8,19
     side 335:23          145:16 162:21      138:15 251:6     sourced 318:13       22:25 43:8
     sides 248:15         176:1 188:9        253:10 308:13    sources 130:16       46:22,23 50:13
     sign 373:8           202:6 245:12       316:15 325:10      136:21 137:6       69:21 77:12

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16            Filed 07/23/24     Page 138 of 147
                                     PageID: 195763
                Confidential - Pursuant to Protective Order
                                                                                       Page 418

       91:13 97:10        57:10 60:11        365:3              streams 27:8        154:14 155:1
       100:6 102:2        62:10 80:19      statements 17:6      Street 1:14 2:5     155:10,23
       113:13 118:21      81:21 82:1,11      35:20 74:5           2:14,18,23 3:3    156:1,25 158:8
       119:23 125:9       90:23 93:19        110:12 191:18        3:8,13            158:9,17,22
       135:2 151:20       127:24 128:7       193:11,16          strength 38:13      159:3,9,16,18
       153:22 154:4       189:11 216:25      202:17 336:7         38:22,23 39:4     160:7,7 163:16
       154:18 158:17      248:24,24          351:3              strengths           172:25 173:13
       160:7 163:9        298:13 326:16    states 1:1 6:11        102:15            174:23 175:10
       189:12,17          365:7              47:15 49:13        stress 227:13       175:16,19
       196:2 201:18     started 8:5          65:4 67:9            228:2,6 277:8     177:18,22
       214:8 227:11       19:25 32:5,17      112:21 207:8         278:23 279:2,7    178:4 183:14
       244:12 249:17      32:23 54:12        322:19             stressors 228:23    183:22 184:9
       258:1 264:7        59:18 60:2       stating 134:25       stretched 297:2     185:24 187:7
       265:4 272:4        74:17 95:4         204:14 243:11      stronger 203:9      187:20 205:17
       285:2 350:13       163:7 323:8      statistical 40:1,5     203:20 204:18     206:25 207:6,9
       354:21 355:25      329:13 331:11      41:8,24 42:13      structure 59:11     207:20 208:4,5
     specification        331:12             42:22 92:19          124:20 125:11     208:16,21
       311:11           starting 15:13       209:13 218:2         125:16,23         210:8,12
     specifications       102:19 138:25    statistically 91:2     127:19 255:1      215:16,20
       129:20 165:3     starts 35:25         92:19 157:18       studied 70:22       216:7,10 217:6
       311:15           state 53:8 70:8      158:14 172:24        159:5 255:18      217:7,9,10,22
     speed 73:11          84:5 95:17,23    statistics 92:20       269:23,24         217:25 218:3
     spent 10:23          135:4 147:12     stay 220:21          studies 41:20,21    222:15,17
       11:13,18,20        164:1 173:6        337:13 364:12        41:22 68:2,5,9    223:11,19
       12:1               183:2 190:20     steering 340:6         69:13 73:22       224:13,21
     spoken 345:4         236:6 242:12       340:10,14            74:6 81:19        225:17 228:14
     sponsored 247:9      284:20 286:18    Steinberg              83:12,25 84:6     228:20 229:15
     St 1:14 3:14 6:9     293:16 340:2       344:11               87:25 91:2        230:17,18
       19:19 20:21        340:18 373:5     stenographica...       95:18 96:20       234:9 237:20
     stages 272:13,15   stated 28:3          372:8                97:24 98:6        237:21 238:7,9
       341:23             34:20 109:16     step 36:2 139:21       99:1 100:2,5,9    238:23 239:4,4
     stakeholders         112:5 183:13       139:25 188:23        100:25 101:4      239:8,18 240:8
       344:8              208:1 251:10       189:23 235:14        101:24,25         240:9,9,12,16
     standard 49:20       298:24 344:24      235:22 279:1         102:5,7,16        240:17,18,22
       116:4 185:10     statement 36:10      332:24               104:5,18,22       241:13,17,25
       186:17 285:18      42:9 47:4        steps 75:25            105:19 106:4      242:20 243:24
       324:19 326:14      48:15 52:18        76:13 77:3,4         106:19 113:4      245:17 246:16
       327:11 328:2,3     110:9,25 173:3   sticky 218:10          114:8,22 115:5    274:18,21
     standards 38:7       192:3,5 199:4    stilled 243:1          115:5,9 117:10    275:14 276:9
     starch 69:10,25      202:5 204:22     stimulate              119:18,21         277:19,21
       70:1 71:2,6,10     211:2 213:5        273:23               120:4,25 127:8    285:3,6 288:21
       71:23 72:6,7       230:9 240:2      stomach 271:13         133:24 138:16     291:18 293:17
       72:13 73:7         243:22 250:20    stop 82:11 334:5       140:23,24         295:20,21
       93:4,7 265:10      253:7 284:12     stopped 331:7          141:21,23         296:9 302:24
       265:16,22          284:14 318:7     stopping 116:3         142:3,4,5,6,19    310:6 312:2,8
       266:19             338:24 347:16    story 178:9            143:13 145:12     312:8 313:8
     start 8:16 31:25     349:25 350:3     strategy 58:12         152:17 154:4      314:10,15,18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24   Page 139 of 147
                                     PageID: 195764
                Confidential - Pursuant to Protective Order
                                                                                   Page 419

       314:19 315:14    submission           7:8              surprised 79:22 takes 26:13
       357:7,23 358:1     364:25           summarized         survey 139:2       102:11,12
     study 36:19        submissions          202:14           susceptible      talc 3:5 4:19
       42:14,15 69:3      362:6            summary 83:18        292:1            15:16 17:6
       69:20 73:4,14    submit 341:15      summer 20:11       suspended          29:25,25 30:21
       73:20 79:17        341:19 343:7       21:5               177:14           31:5 57:22
       84:9 87:19         343:17,22        supplemental       suspicion          62:8 64:23
       88:4,8,8,14,16     345:17 368:7       4:14 14:14         366:25           65:6 66:5 67:9
       89:25 92:17,22   submitted 10:16      20:2,8,17,19     sustained          67:12,16 68:6
       96:4 99:2          10:20 116:13       23:4,8 32:10       140:17           69:14,18,21,24
       102:13,14,24       116:21,25          266:21 267:3     swear 7:18         70:12 71:3,11
       104:4,10,11,25     342:21 344:1     supplementary      sworn 7:21         71:19,24 72:6
       114:7,10           361:14 363:2       208:2,9            372:5 374:15     72:11,19 73:8
       118:15,25          363:11,15        supplied 204:12    system 26:10       73:15,25 74:7
       119:8 120:2      submitting         supplier 307:21      87:15 90:4,9     77:10,10 86:21
       134:12 145:10      361:24             307:25 308:2       90:14 91:10,13   93:7 95:19
       152:12 155:9     Subscribed           309:4              91:18 92:6       97:17 100:6
       155:15,16          374:15           supplies 308:11      113:18 206:2     108:8 109:18
       156:17 159:19    subsidiaries       supplying 317:9      207:11,19        110:7,13,25
       160:12,23          44:20            support 21:21        276:21 335:9     112:7,12,20,23
       170:17 172:18    substance 35:4       22:9 112:18,22   Systematic 4:18    119:5 124:14
       175:13,17          40:12 103:14       139:14 338:23    systematically     124:20 125:3
       182:19 206:18      147:23 374:7       350:14             264:12           125:11 126:22
       207:18 209:14    substances         supported 184:8                       127:19 128:8
       209:20 210:24      70:21 72:22      supporting                 T          129:4,13 130:4
       211:3 216:1        105:5 256:3        37:11 48:17      T 3:7              130:16,18,23
       217:20 218:2     substantial          307:2            T-a-h-e-r 16:14    131:14 132:3
       220:11,24          226:15 258:5,9   supportive         table 79:19 86:4   133:9,10
       222:19,22        substantive          337:20             87:12 89:11      134:13,14
       223:17 224:5       26:24            supports 194:11      203:18           135:2,3,14,22
       225:18,20        substituted        sure 19:17 24:7    Taher 4:20         135:25 136:11
       228:17 229:9       174:6              27:21 56:4         16:14 201:23     136:15 137:5,6
       229:10,22        successfully         63:8 78:24         205:8,13         137:8 138:10
       230:22 231:1,4     182:12             109:12 120:23      206:18 215:16    138:18 139:4
       232:2,3 233:1    suffice 43:20        121:5 123:17     take 28:17 36:12   139:13,14
       235:10,19        sufficient 40:15     177:9 242:10       70:23 94:19      140:24,25
       239:20 241:2,3     276:6 306:8        269:14 271:21      103:4 128:7      142:2,3,4,7,13
       241:8 244:3,5      326:2              278:13 281:11      131:22 160:15    142:15,21
       244:8 246:19     suggest 281:24       287:13 308:25      188:22 197:19    143:1,3,20
       291:8,21,25      suggested 51:20      316:5 323:10       203:18 208:13    144:17,22
       292:1,13           313:8              323:12 364:11      223:7,15,16      145:18,20
       297:21,24        suggesting           367:5              228:21 243:23    146:5 147:1,3
       298:1 312:16       114:7 284:13     surety 121:8         246:18 287:2     147:14,14,15
     studying 73:25     suggests 195:2     surface 180:14     taken 110:6        147:15,20
     subject 43:12      Suite 2:9,14,18      180:19 264:22      131:11 218:9     148:13,24,25
       287:10 373:10      3:3,13             329:4              299:10 368:6     148:25 149:13
     subjects 100:7     Sullivan 3:2 7:8   surprise 345:1,3     372:8            149:14,16,18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS      Document 33000-16        Filed 07/23/24    Page 140 of 147
                                  PageID: 195765
               Confidential - Pursuant to Protective Order
                                                                               Page 420

      149:18,21,23     259:2 260:11     369:11,17,21       128:12 153:21   tell 7:22 12:17
      149:24 151:2     260:11,16      talk 13:9,9          156:12 167:12     52:4 53:2 59:3
      151:19 152:24    261:5 262:9,19   31:11 34:4,16      167:21,22         60:25 68:25
      153:5 155:16     263:16 265:10    75:21 77:19        168:6 175:22      76:19 78:24
      159:4 161:11     265:15,24        79:15,17 85:2      177:25 202:1      100:21 101:9
      161:12,20,23     266:5,10,19      100:20 101:4       203:11 209:11     101:22 102:8
      162:14,18,25     267:5 272:20     107:1 112:12       216:2 223:25      109:20 119:8
      163:18 164:8     273:1,1 274:15   119:1 123:7        238:15,18         121:7 123:25
      164:17 174:18    277:12,24        124:19 128:25      240:3 248:8       129:24 136:16
      174:20 175:14    278:13 280:24    138:11 146:11      262:9 270:20      139:19 141:17
      177:14,17        281:17,23        146:14,25          270:21 281:15     153:2 155:20
      178:15 179:11    282:18 283:9     147:2 149:13       291:10,13         169:18 182:15
      180:4,6 181:12   285:22 286:18    149:22 150:17      294:4 302:17      188:17 191:9
      181:19 182:13    286:22 291:6     153:11 161:8       302:19 305:6      192:19,20
      183:3 184:12     293:15,20        162:18 164:24      306:16 309:21     193:10 200:9
      184:13,19,22     296:14 297:16    166:2,3,5          309:22 310:3      201:11 236:22
      185:10,18,20     297:24 298:4,5   184:2 192:4        329:13,20         245:12 249:10
      186:7,19         298:18,19        194:1 201:5        330:5 333:4       251:2,11
      187:14,17        301:13 302:8,9   208:6 209:11       334:15 338:14     262:25 300:13
      188:12,25        305:21 306:5     219:6,21           348:5,8 351:7     305:3 307:7
      189:1,17 190:3   306:23 308:23    221:13 252:21      361:12,17         314:25 316:2
      190:4,11,25      310:7 316:14     264:6 266:17       362:10 365:19     316:10 339:24
      191:13 193:3     317:9,19,25      269:4 272:11       367:24          telling 52:7,15
      193:18 195:24    318:2 319:18     272:12 277:11    talks 17:5 71:5     105:1 138:9
      196:6,20 197:2   320:12 321:1     282:24 283:4,6     72:17 73:5        172:4 186:14
      198:21 202:11    322:5 324:6,13   285:16 311:4       103:10,13         210:3 284:21
      202:18 203:1,6   324:23 325:1     333:13,17          128:24 139:3      309:2 315:13
      203:21 204:16    325:17 326:23    335:2,8,11,19      149:14,15       tells 62:23 83:5
      207:21 208:23    327:5 329:25     340:12 347:3       202:17 208:15     232:6 265:19
      221:24 222:7     331:5 332:6      347:17 352:19      292:12 296:5      302:13
      222:16,19,21     335:12,13,14     359:20 370:2       365:12          ten 11:11,18
      222:21 223:12    341:16 342:12 talked 43:2 88:5    tangent 330:7       183:23,24
      223:13,20,21     342:21 344:16    95:14 138:21     target 117:13       184:20,20
      224:3,18,22      344:23 345:18    146:8 148:21       146:19 168:22   tend 344:7
      225:10 226:13    346:1,18         165:5 173:11       235:17 274:13   term 130:19
      226:25,25        355:14,21        174:17 186:23    task 330:19         131:3,4 146:25
      232:19 233:2     356:10 361:5     201:7 221:8        331:3,8,11,12     183:4 194:4
      236:10,12,19     361:15 370:15    265:1,3 268:9      333:25 347:25     216:15 303:2
      237:3,14       talc's 86:21       276:3 294:5      tasks 330:17      termed 34:25
      238:10 239:18 talcum 1:3 4:22     305:13 314:17    teaching 291:2    terms 27:24
      240:10 241:16    29:20 198:2      327:21,25        teasing 293:23      74:10 75:23
      241:21 242:1,5   200:3 251:4      335:3 355:25     technically         101:19 147:14
      242:14,21        255:24 256:20    369:16             342:6,9           150:10 151:10
      249:17 250:10    258:4,19 260:2 talking 15:14      Tecum 4:12          157:8 159:13
      253:2 256:15     261:8 262:22     16:4 27:23       Ted 2:3 6:18        171:21 187:15
      257:10,21        263:20 268:23    63:8,13 84:25    Ted.Meadows...      323:14
      258:24,25        290:19 322:15    86:8 95:4          2:4             test 40:1 127:8

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS       Document 33000-16        Filed 07/23/24     Page 141 of 147
                                   PageID: 195766
                Confidential - Pursuant to Protective Order
                                                                                 Page 421

       160:8 181:22     45:13 52:24      96:10,13,16        304:14 305:5,8     281:25 282:17
     tested 132:19      53:18 57:9,14    97:9 99:6          311:12 318:6,6     282:18 283:11
       139:24 248:1     57:15,22 61:12   100:21 101:3,5     318:16,24          284:14 294:22
       252:11 257:10    62:5 63:19       101:9,23,23        319:7 320:4        295:5 303:4
     testified 265:9    80:25 83:14      103:1 104:9        323:3,25 325:4     304:7,11,21
       297:14           85:11 88:23      106:15 119:21      325:11 328:7     thresholds
     testify 365:23     91:4 92:25       123:24 125:14      332:10 333:20      283:5
       372:5            93:5 98:15,19    126:3,9,17         335:5,20 349:4   throw 143:13
     testifying         101:13,20        136:4 139:20       349:10,18        tie 49:8
       255:19 346:24    103:7 125:8      141:17 145:1       351:15,24        tied 334:16
       347:2            133:12 140:9     146:8,23           355:15,23        tight 297:4
     testimony 30:5     140:11 146:13    151:11 153:1       357:24 358:2     tightly 231:6
       32:22 86:1       150:19 151:25    160:25 162:6       362:19 365:16    time 6:7 10:4,22
       108:20,23        153:6 159:15     162:17 163:6       366:6,7 370:1      11:12,15,20,25
       109:5,7 136:18   160:16,17        164:23 165:5     thinking 37:5        12:1 17:7
       163:3 186:12     161:16 163:19    166:15,16,18       120:6 219:22       20:13,20 21:3
       209:21 210:2     163:22,24        167:9,10 169:2     316:23 346:22      21:9 24:6
       213:16 252:6     169:16 179:1     174:16 176:25    third 126:18         29:23 31:9
       255:16 261:23    181:5,5 184:6    177:5 181:3,4      212:18             32:20,23 34:6
       262:13,20        194:23,24        182:5,15         third-party          56:16 57:6,20
       342:16,18        196:16 197:22    183:13 185:2       51:18              59:16 66:17
       349:13,19        204:2 209:12     186:14,18        thirty 373:15        84:2 109:21,21
       350:5 372:8      209:18 216:13    188:15,18        THOMAS 2:12          110:11 131:14
     testing 142:20     225:14 233:13    189:5,7 190:7      3:7                136:16,24
       170:5 182:13     234:3 235:18     190:20 191:24    thoroughly           139:1 163:11
       182:21 186:5     247:8 269:22     192:2 200:17       94:16              164:21 165:10
       187:23           289:4 293:19     202:14 203:8,9   thought 21:1         165:15,17,24
     tests 144:7        305:23 312:23    203:19 204:22      38:21 58:9         170:8,24,25
       181:18           315:18 323:16    223:9,13 224:7     77:25 92:2         176:7 177:8
     Texas 1:19 3:4     323:18 324:13    224:24 227:16      100:23 108:19      179:5 215:23
       372:21           328:18 330:14    233:9 234:13       108:20 215:10      226:14 228:12
     textbook 292:11    331:15 335:19    237:8 238:22       233:10 330:4       230:25 231:5
       294:6            343:15 349:10    242:1,25 243:8     347:2              265:17 286:7
     textbooks        think 18:6 28:6    244:12,20        thousand 158:6       294:18 298:18
       290:11           30:16 31:10      245:11 246:3       200:10             299:3,16
     thank 7:16         32:21 33:9,13    247:15 248:11    thousands 346:6      301:21 302:9
       111:21 287:13    34:15 38:20      249:20 256:24    three 12:7 13:5      302:15 303:23
       318:25 370:16    41:15 48:23      257:1,8 260:6      13:6,15,21         306:13 331:2
       370:17,20        49:16 50:11      261:11 275:3       19:8,11 27:25      345:23 346:1,4
     theory 181:19      52:6 58:11,13    282:22,23          254:1 264:2        348:6,12 349:9
     thing 10:1 16:8    58:16 61:22      283:11 284:13      268:1,5,8,15       356:6 358:17
       63:9 326:6       66:23 68:18      287:1 288:15       278:21 279:23      361:11,14,17
       333:9 355:4      72:23 76:6       294:5 297:7,25     280:14 290:23      364:10 365:11
     things 18:3,5      80:15 82:23      298:10,23,25       301:17 310:3       367:23 368:5
       22:1,7 29:6      83:19 84:15,17   299:16 301:23    threshold 39:17      370:24 372:9
       30:5 36:16       90:13 91:15      302:11 303:6       39:24 200:2,7    timeline 15:14
       43:13,16 45:13   93:22 95:14      303:12 304:12      237:10,13          138:22

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16           Filed 07/23/24      Page 142 of 147
                                      PageID: 195767
                 Confidential - Pursuant to Protective Order
                                                                                        Page 422

     times 62:24           368:18             242:1 254:6,10      101:15 103:12       165:6 186:23
       82:10 114:4       today's 6:6 13:1     266:13,14,18        103:12 183:16       252:5 335:1,8
       172:5,5,5           15:5 22:18         283:14 294:25       184:4 265:5,12      349:19
       184:20,21         told 58:11           295:6               295:23,25         trials 20:21
       199:2 201:20        103:24 171:22    toxicokinetics        297:1,18            335:3 349:13
       216:2 253:22        185:12 209:6       65:6 67:12          302:10            tried 91:15
       302:7 310:17        210:15 219:3,8   toxicological       tracts 101:11         92:12 141:3
       311:17 316:4        245:5 257:12       114:10 167:3      trail 55:16           155:19 160:21
       319:7 339:22        257:13 265:21      234:22 290:7      trained 86:7          174:15 185:2
       341:13,19           307:17 315:17      304:10              115:12 352:10       191:5,5 192:22
       362:14            Tom 7:3 319:5      toxicologist 72:5     352:15 359:14       201:22 307:5
     timing 28:24        tool 75:24 77:13     84:18,25          training 39:6       triggered
       343:6               356:5,9            126:10 143:16       77:23 84:23         146:20 266:10
     Tinsley 3:12 7:5    tools 81:7           145:17 150:19       99:7 105:12       triggering 228:2
       7:5                 212:20 356:17      152:3 166:23        115:12 264:5      trimellitic
     Tisi 2:13 6:24,24   top 52:3 184:1       167:16 168:3        356:5,7 357:9       135:22,25
       19:3,4              218:10             170:1 181:24      transcript 372:8    trouble 333:23
     tissue 125:5        topic 54:24          195:15 199:20       373:16,17         true 59:11 67:17
       126:1 128:1         58:13,14 64:23     224:6 234:21      transcription         73:11 74:22
       140:13 179:17       97:2 124:18        255:19 264:5        374:5               75:4 79:10
       227:13,14           289:16             305:10 307:5      transcripts           84:3,11 105:25
       228:5 229:1       topics 29:5          307:15 334:3        345:7,10            106:1,3 107:20
       231:14 232:20       30:18 33:2,5       357:3             transition            118:20 127:10
       242:22 264:15       33:22 53:5       toxicologists         124:17              136:11 157:9
       264:16,24           58:15              72:25 85:4        transparency          164:7 171:24
       274:1,8,8         Totally 326:8,19     115:4 281:6         213:12,15           174:5,12
       276:19 283:14     touch 287:22       toxicology 29:20      214:4 219:20        177:23 195:10
       289:8 293:4       toxic 29:24          76:9 77:10          244:15 350:17       207:7 213:7
     tissues 273:24        125:4 145:20       81:20,23          transparent           227:4 230:10
     title 69:3 290:25     146:18 151:19      125:25 182:21       212:21 214:9        232:22 233:15
     tlocke@seyfar...      153:3 195:23       199:24 209:16       362:14              241:1 251:18
       3:8                 195:25 223:21      255:13 275:20     tremolite 135:10      282:13 284:23
     today 8:8 12:5        242:4 243:13       278:5 291:1,3       145:19,21,21        293:9 294:15
       23:21 34:10,23      273:23 306:8       294:1,5 295:2       147:16,20,21        294:25 295:16
       51:16,20 60:21      306:11             295:10 304:25       147:22 148:10       296:1,12
       88:21 109:10      toxicities 34:6      323:19 334:8        148:11,12,13        297:20 308:8
       109:11,20         toxicity 39:13       335:2,4,12,25       148:25 149:20       316:25 317:5
       110:23 119:12       86:21 126:2,22     346:11              149:22 150:6,8      320:10 332:11
       120:23 145:16       127:17,20        trace 309:14,20       151:3,21            336:18 340:18
       149:2 162:22        128:1 139:14       310:4,15,17,21      162:15 253:25       342:7 343:9,16
       176:2 188:9         140:13 146:5       310:23 311:4        309:23              344:4 347:19
       200:8 202:6         149:1,10,13      track 56:5,11       tremolite-cont...     359:15 361:20
       209:21 210:2        150:4,24           80:5,24             149:23              361:21 363:12
       250:11 259:22       151:17 152:14    tract 68:7 69:10    trial 20:25 21:19     363:25 367:6
       276:25 280:23       169:20 224:15      69:15 70:6,11       21:21 22:7,11     truly 222:21
       297:14 315:11       235:17 240:11      71:18 72:1          22:13 32:22       truth 7:22,22,23
       354:24 368:15       241:16,21          73:16 95:20         109:23 138:20       372:6,6,6

                   Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS         Document 33000-16          Filed 07/23/24    Page 143 of 147
                                     PageID: 195768
                Confidential - Pursuant to Protective Order
                                                                                    Page 423

     try 61:2 77:24       172:4 204:1        254:9 267:18      151:16 152:4,7   unfortunately
       93:20,21 98:23     233:4,16,16        269:18,23         152:13,22         59:16 74:2
       102:15 129:9       279:25 280:1       270:6,8 271:15    155:13 167:17     166:21 170:11
       141:17 145:11      281:7 283:8        271:16,25         169:2,8 170:4     185:24 225:14
       152:9 162:4        289:4 290:21       273:12 311:23     175:1,19          237:7 239:4
       163:8 198:10       292:16 313:18    typical 178:10      195:16 204:14     297:20
       228:22 229:14      318:7 323:17       182:20 205:21     213:9 219:22     Union 3:15 7:6
       319:11 339:6       323:18,22          214:7 294:12      229:14 231:3     unique 103:9
     trying 28:19         324:13 329:8     typically 36:25     233:3 234:7      United 1:1 6:11
       53:2 57:11         329:14 330:14      42:12 52:14       247:6 262:15      322:19
       73:2 78:5          330:16,17          63:11,17 80:12    281:12 283:20    universities
       106:15 117:14      349:4 363:4        80:12 107:5       291:20 297:13     290:12
       119:16 128:5     two-thirds           114:14 122:22     304:9 325:5      unsafe 347:5
       130:15 133:6       236:7              199:21 205:19     328:22 330:13    up-to-date
       151:14,16        type 55:22 81:3      253:20,21         332:18 333:20     10:15
       153:14 155:22      84:19 116:25       261:19 307:15     338:7 357:5      update 62:8
       156:14 169:11      133:16 135:2                         360:5            updated 61:21
       195:15 219:18      138:3 140:13             U          understanding      111:19
       238:5 243:19       140:20 145:8     Uh-huh 122:20       8:8,12 10:6,19   updating 61:14
       259:14 260:19      147:22 159:4       286:1 304:8       19:10 21:8        62:5
       269:13 273:20      162:11 172:20    Uhl 19:16           22:17 29:17,18   upper 68:7
       289:1,1 304:6      215:18,25        ultimate 127:17     34:24 35:2        69:15 73:15
       306:3 316:5        232:20 233:20      237:12            40:4 44:13       upright 101:12
       347:23             254:20 269:18    ultimately 132:3    47:22 55:19       101:13
     tube 4:23 180:22     270:12,13          133:20 140:25     98:12 101:5      upwards 95:20
       181:8              271:15 272:2     underlying 34:5     108:25 109:16    usage 283:22
     tubes 103:16         286:11 326:20      37:13 191:11      116:15 123:15    use 4:19 21:21
       180:11 181:2       327:15 348:18      191:21 274:7      125:23 130:3      26:8 27:23
       181:13 183:17    type's 233:2         277:17 278:1      131:2,4 132:14    37:11 38:7
     Tucker 3:12,18     types 35:17          293:4             133:18 136:20     44:11 48:2
       18:16              43:13 51:6       underpinnings       150:2 154:1       49:23 58:14
     tumor 221:22         70:20 77:4         314:22            169:5 194:3       75:22 76:13
       222:4,6            106:18 114:8     underpins 294:2     202:7 213:1,20    80:3,17 81:8,9
     tumors 181:1         137:5,7 139:13   understand          249:8 308:21      88:16 90:18
       220:13 270:6       139:22 140:16      23:25 28:6,19    understands        105:12 110:13
       271:10,13          142:13 143:17      32:22 33:1,3      45:15             110:18 113:22
       279:22             146:5,19           48:24 57:11,17   understood 63:2    114:16,21,23
     turn 53:7 64:15      149:11 152:17      67:1 82:19        182:10 227:19     115:12 117:14
       65:14 124:12       152:24 156:4       83:20,20 88:20    242:10 329:6      119:5 127:2
       206:21 212:15      156:16 161:16      93:25 94:2        349:9             153:20 160:4
       282:11             169:25 174:18      102:4,23         undertook          171:3 173:20
     turned 311:21        179:5 195:25       104:21 113:15     330:18,18         175:5,22,24
     Turning 215:15       216:4 218:15       114:3 117:15     underwear          178:3,12
     two 19:4 28:25       219:9 226:25       128:5 133:15      296:22 297:17     179:11 183:4,4
       33:16 35:19        229:5 233:4,14     134:11 142:12     298:4 299:6       185:17 187:1,4
       65:21 68:2         233:17 234:8       148:17 150:20    unethical          187:17 193:4
       72:22 85:3         234:10,14,16       151:12,15,15      185:25            193:18 194:5

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS          Document 33000-16       Filed 07/23/24   Page 144 of 147
                                      PageID: 195769
                Confidential - Pursuant to Protective Order
                                                                                 Page 424

       195:11,18        variety 21:6          364:15,18       183:22 188:16   364:9
       196:14 198:12      58:23 70:20         368:24 369:2    195:12 201:5   water 117:16
       198:23,25,25       248:7 253:21        370:24          204:4 212:4    way 34:20 35:20
       199:17,21,21       274:16 293:19     videotaped 1:12   229:13,23       36:7 37:5,25
       200:2 203:3        358:1 370:9         4:11 9:10       232:7 235:2,3   38:10,21 40:21
       204:4 205:22     various 55:5        view 33:5 38:13   241:7 242:9     49:13 51:13
       209:9,19 216:5     208:21 218:23       49:6 84:18,20   247:12 249:18   55:14 56:10
       225:1 239:10       320:15 369:19       96:3 97:20      281:11 283:4    58:2 70:8
       258:4,7 260:2    vary 232:19           127:14 165:7    287:22 305:17   73:19 78:22
       263:20 282:25    vast 160:13           181:10 189:1    316:8,9 317:16  79:12 86:7
       283:1,2,3        venturing 24:8        197:9 236:16    330:8,10,13     89:9 94:18
       284:15 289:12    verbatim 372:8        254:8 258:2     333:19 347:7    98:22 101:1,16
       296:15 301:25    verify 347:8          269:16 349:21   358:13 362:22   105:15 110:20
       306:5,23 313:8   Vermont 136:22      vitro 115:5       364:8 366:20    115:6 130:12
       324:13 327:17    Version 4:24          117:9 118:10   wanted 19:10     131:12 137:25
       328:25 329:1     versus 38:11,11       142:5 205:24    56:18,20 57:17  138:24 140:8
       334:25 347:18      67:4 72:18          207:5,20        61:6 105:18     142:10 144:14
       356:6              76:14 79:16         208:16 217:1    133:14 159:13   144:21,22
     uses 78:16           83:1 85:1           219:7 224:1     201:11 280:11   146:4,23 151:7
       184:19 194:8       101:12,13,16        228:13,17       319:14 323:10   156:10 158:1
       196:17 283:8       101:25 118:6        229:9,15,22,25  329:21          159:21 161:25
       283:10 298:4       120:10 125:7        230:4 240:8,8 warm 301:8        171:3 172:19
       302:8 339:19       126:6 140:18      vitro/only 217:5 warn 327:3,4     173:7 176:21
     usually 18:7,10      146:9 150:15      vivo 229:10       328:8 329:15    185:1 191:4
       63:16 64:6         151:6 163:9,10      230:2,2,7       332:16          192:9,12
       93:20 261:22       165:1,2 170:15                     warned 165:18    194:22 195:23
       310:21             175:21 178:10            W          330:25 332:17   196:11 209:3
     uterus 180:9         179:14,22         wait 242:8       warning 47:4     209:15 210:15
                          181:2 205:7       waiting 301:2     48:14,14 52:13  230:16 231:22
             V            219:7,7 224:22    walk 13:16        52:17 153:11    233:22 236:7
     V 2:13 3:19          227:6 231:9       wander 137:18     166:12 179:2,3  240:15 241:3,5
     VA 2:10              233:12,24,25      want 8:16 12:16   285:15,17       245:15 246:19
     vagina 103:15        238:25 240:7,8      12:20 13:9      326:14 328:4    256:5 265:3
       180:8 296:11       243:12 247:1        20:10,11 24:7   334:15,19       275:4 283:5
     vaginal 296:23       260:11 264:17       27:6 30:14     warnings 51:7    291:21,22
     Valley 164:9         266:19 270:21       41:12 60:5      141:25 165:18   293:6 297:22
     valuable 88:8        281:8 283:9         72:16 74:12     285:15,20       298:5,24 300:6
     value 87:4,10        305:14 314:21       78:24 94:19     330:22 331:17   302:9 314:24
       106:10 160:22      324:20 326:14       100:10 102:18 Washington 3:9    319:21,24
     values 78:12         327:18 357:17       106:5 109:24   wasn't 15:10     320:1 325:10
       79:6 89:3        Vetner 16:6           110:8 119:1     21:14 59:20     332:1,11
       105:19 219:4     videographer          120:6 121:7     62:3 119:14     353:17 354:9
     variable 199:18      6:1,4 7:16 25:9     123:24 129:15   123:19 171:22   356:17 362:5
     varied 251:7         25:12 94:22,25      135:18 148:15   257:13 262:11   366:23
       267:15             99:21,24 188:3      149:4,5 150:3   334:2 345:21   ways 58:24
     varies 128:22        188:6 200:21        153:11 162:15   349:22 353:5    78:10 80:24
       134:22             200:24 287:3,6      169:13 177:4,8 waste 177:8      219:19 256:18

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS     Document 33000-16       Filed 07/23/24    Page 145 of 147
                                 PageID: 195770
               Confidential - Pursuant to Protective Order
                                                                             Page 425

      294:20          87:6,14 88:5      90:5 98:23      160:11 162:2     women 37:4
     we'll 11:6 17:12 88:17 89:5,24     99:3 116:9      163:6 164:12      41:4 70:11
      39:15 70:2      90:10,18 93:6    well-controlled  165:12 166:15     185:11 186:1
      166:3 252:24    95:25 96:6        172:18          171:6 173:23      198:23 199:13
      359:3           97:3,6,21 98:4   well-recognized  174:10 176:6      202:19 203:22
     we're 13:8 24:7  98:7,9,21 99:2    290:11          179:13 180:18     237:13 265:5
      63:8 64:18      101:8 102:4,23   went 12:12,13    184:25 186:13     296:15,20
      78:25 84:22     103:5,20,22       15:16 61:1,8    187:19 190:15    women's 312:3
      94:22 194:16    104:3,5,12        61:12 77:4      192:19 195:7     Woodruff 16:5
      194:17 226:5    105:11,15         123:9 246:15    196:9 198:9       102:21,22
      323:11 361:24   107:2 112:17     weren't 21:11    214:19 221:5      105:3 296:2
      368:22,22       112:21 113:16     21:22 22:1,8    222:11 233:7     word 57:2 59:22
     we've 22:21      114:6,12,12       60:2 83:3       234:13 238:15     60:22 64:11,13
      138:20,21       115:25 117:8      163:19 239:6    239:23 241:20     110:18 127:3
      174:17 206:15   120:4,10,11,19    318:13          252:18 255:11     157:22 172:1
      369:16          121:2 133:23     wide 358:1       259:14 260:6      187:4 194:5
     weakened         134:11 135:7     widespread       261:17 262:25     195:13 216:5
      110:11          140:23 141:4,5    258:17          270:15 278:17     237:9 300:20
     weaknesses       143:18 154:16    William 2:22     279:15 282:4      354:18
      102:16          155:6,16          7:12            283:25 284:19    words 22:3
     weather 301:9    172:21 173:2     Wilma 352:20     287:13 291:10     34:15 45:14
     web 288:14       198:12 205:15    wiped 299:8      292:21 296:5      53:20 56:22
     website 17:5     209:10 210:1,9   witness 7:19     296:19 298:7      58:20 126:3
      109:9 212:13    210:21,23,25      28:11,22 32:4   298:23 300:4      136:13 137:18
      284:11,22       211:3,4,10,11     33:9 38:20      303:9,15          146:16 149:11
      288:11,15       213:2 214:15      39:23 40:18     306:10 307:14     156:8 169:15
      341:8 345:11    215:20,24         45:3 48:23      307:24 308:7      183:21 187:2
      345:16          217:19,24         49:11 50:6      308:17 309:17     191:7 194:13
     websites 26:16   218:18,24         51:4,24 56:8    310:9 312:10      195:18 203:2
      123:19          219:1,12 229:9    58:7 72:3       315:5 316:23      204:4 216:1
     WEDNESDAY        229:12 230:6      73:18 86:3      321:21 322:21     239:6 242:19
      1:8             230:10,18         87:9 89:20      325:4,22 327:8    257:4 294:19
     week 9:3,3       231:18,19         90:13 91:25     329:12 330:3      305:11
      300:1,24        232:1 236:8       93:18 96:10     332:10 334:21    work 10:16
     weekly 302:3     240:4 244:1,14    99:6 105:24     340:22 342:25     18:22 19:21
     weigh 38:8       244:19,19,19      106:14 107:16   350:23 351:21     20:7 22:24
      106:19 199:8    244:23,25         111:18,22       353:23 356:13     23:7 24:8,14
      217:24 247:12   245:14,18,23      113:20 118:17   356:25 369:25     26:2 29:9 44:7
     weighed 135:12   246:13,19         121:4 127:1     370:20 373:1      45:24 54:5
      184:6 205:5,10  248:6 252:12      131:18 132:6   WOE 212:23         56:2 69:5
     weight 5:1 41:21 252:19,24         134:1,16 136:4  213:2             74:14 82:1,7
      42:4,24 73:21   285:21 314:1      137:12,16,22   woman 296:24       121:22 162:8
      75:24 77:13,20  314:11 315:1      139:18 141:3    296:25 297:5      213:23 216:19
      78:3,10 80:7    315:18            143:9 144:10    298:4,18 302:7    217:3 218:19
      82:21 83:7,21 weighted 77:17      145:1,24        302:8 352:23      244:11 245:25
      84:5,12 85:5,7  231:24            154:22 155:19   354:15            247:9,13 248:2
      85:22 86:10,23 weighting 41:22    157:8 159:8    woman's 200:16     255:18 286:24

                 Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS            Document 33000-16       Filed 07/23/24     Page 146 of 147
                                        PageID: 195771
                 Confidential - Pursuant to Protective Order
                                                                                     Page 426

      351:6,9,11          196:23 202:3       129:11 158:5       363:5            213 2:24
      362:18 365:5        227:7 261:14       174:7            1997 68:4 69:3     215 2:19
      365:21              269:12 298:16    10:41 94:23,24       70:23            218 2:5
     worked 20:20         318:11 368:21    10:56 95:1                            22 46:24 111:19
      43:17 50:8        year 20:3 54:14    100 3:13 223:13            2          22311 2:10
      52:9 248:9,14       54:17,25 62:11     338:16 366:21    2 4:3,13 13:17     23 336:20
      248:19 262:6,8      102:25 300:25    11 212:16            14:7,11 28:1,4   25 128:25
      262:13 346:23       301:4,7,10       11:00 99:22,23       29:2,2 33:7      26 4:16
      346:25              302:4 303:1,7    11:01 99:25          57:24 64:19      269-2343 2:6
     working 10:23        304:13           111 4:23             290:19           278-4449 2:19
      11:19 45:22       years 28:25 31:5   112 3:3            2:57 287:4,5       28 65:15
      82:11 116:19        82:10 108:11     118 315:21         20 174:8 339:22    287 4:6
      334:7 344:18        136:21 199:21      316:12             374:16           29 4:15 14:16
      344:22              199:23 302:21    12 112:10 236:3    200 129:7            20:3 183:12
     workload             305:14 307:11    12/20/18 372:23      130:13             267:3
      347:24              307:15 320:13    12:23 188:4,5      2000 290:15        2900 2:18
     works 344:19         321:7            12:24 188:7        20004 3:9          2B 197:6,8
     workshop 361:4     yellow 80:14,17    12:36 200:22,23    2005 365:3,5,12      198:6
     worried 291:11       218:10           13 4:13,14,16        365:24           2nd 1:14
     wouldn't 73:7,9    Yep 211:23           76:18 77:19      2006 324:24
      73:18 81:25       yesterday 10:9       78:23 90:20      2008 363:3,6,9             3
      92:6 99:3           10:14 11:21        92:4               363:10           3 4:14 13:17
      122:16 235:20       12:2,9 13:10     13921 372:19       2009 361:19          14:14,18 20:4
      257:3 282:11        17:19 19:5       14 111:17            362:23 363:14      23:9 28:1,4
      319:20 337:16       35:9 42:18       16 4:17,18 14:22     364:24 365:10      29:3 33:7
      355:5               186:24 257:14      22:20            2010 65:10,22        57:24 266:22
     write 80:18 81:1     263:24 297:14    16-2738 1:4        2012 341:16        3:13 287:7
      322:21 323:6      yesterday's        17 4:21            2013 65:10,23      30 147:8,12
      350:11,18           11:15 19:24      1715 372:22          66:6,12 67:14      172:10 173:1,5
     write-up 356:15    York 135:23,25     18 112:10            95:5 96:21         173:14,19
     writing 25:21        140:24           1800 3:3             120:3,3 210:18     299:6 373:15
      32:24 74:17                          1835 2:18          2015 19:25         31 124:12
      247:17                   Z           1894 136:14        2016 4:13 14:8       336:24
     written 90:15                         19 1:8 6:6 147:9     19:15 21:4,12    314 3:14
      91:9,12 104:21           0             317:20             65:25 118:14     316 2:14
      121:15 350:24     01 40:16,19        19103 2:18           118:25 120:1     319 4:7
      361:24 365:3      084-004229         1948 15:21         2018 1:8 4:15,17   32 249:24
     wrong 16:15          372:21           1950s 316:14,21      6:7 14:16,22       250:13
      198:14 208:7      09 365:4             317:20 318:1       20:3,9,13 21:5   32502 2:14
     wrote 21:15                             318:21             22:21 23:3       333 2:23
                                1                               111:17,19        334 2:6
      317:3 331:14                         1980s 317:10
                        1 4:11 8:13,18                          267:3            35 166:3 321:7
      338:4,5                              1981 68:4
                          9:8 29:2 40:7                       202 3:9              336:20
                                           1989 317:9
            X             158:5                               21 46:21 47:2,25   36 267:23
                                           1991 249:7
                        1:35 200:25                             64:16,19         36104 2:6
                                           1992 65:10,22
            Y           10 53:7 54:8                          210 3:4            37 100:3 134:21
                                             363:5
     yeah 40:9            64:20 124:25                        211 5:1            38 15:13 242:9
                                           1994 361:4

                  Golkow Litigation Services - 877.370.DEPS
Case 3:16-md-02738-MAS-RLS            Document 33000-16    Filed 07/23/24   Page 147 of 147
                                        PageID: 195772
                Confidential - Pursuant to Protective Order
                                                                                Page 427

     39 16:1            58 242:9,12        9:12 1:15 6:7
                                           9:30 25:10,11
             4                  6          9:32 25:13
     4 4:16 13:17       6 4:21 17:9,14     90 365:2,12
       14:20,25 15:7      86:14 202:15       366:5
       22:21 23:13        267:13           90071 2:23
       24:13 25:19      600 2:14 3:13      90s 31:7
       26:25 28:1,5     63 367:8           917.591.5672
       46:24 53:6       63102 3:14           1:22
       57:24 64:3       64 313:15          93 231:1
       65:14 66:11      65 188:18 190:7    931-5500 2:10
       75:3,12,18       650 2:9            9328 372:21
       76:5 90:8        67 188:21 190:8    95 367:8
       93:16 95:11        266:23 313:13    975 3:8
       113:12 155:14    68 289:17,24       99.9 121:5
       201:10 206:22    680-8370 2:24      999 1:14
       209:23 210:22    69 280:19
     4:23 364:16,17
     4:25 364:19                7
     4:30 368:25        7 4:23 53:8,9
       369:1              111:4,9,13
     4:45 369:3           112:6 124:2
     4:47 370:25          208:9 318:16
       371:3            70 145:19 167:1
     40 64:3              338:17
     400 129:7          703 2:10
     43 65:15 66:10     70s 165:1
       68:1,17 183:12   740.1 46:21 47:3
     435-7000 2:15        47:25
     44 103:2 313:17    75 125:1 128:25
     46 313:14          77 316:12
     463-2400 3:9       78205 3:4
     47 280:19
       289:17,24                8
     4900 2:9           8 4:5,11 5:1
                          208:9 211:14
             5            211:18,21
     5 4:13,18 14:8       219:16 236:4
       16:3,16,23       80s 165:2
       19:14 86:13      850 2:15
       124:25 206:16    859 372:20
       206:21           877.370.3377
     50 347:11            1:22
       351:16           89 318:8 366:4
     554-5500 3:4
     56 95:12,16                  9
     571-4965 3:14      9 208:9


                  Golkow Litigation Services - 877.370.DEPS
